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                                          Nos. 23-2882, 23-2886, 23-3146


                                  UNITED STATES COURT OF APPEALS
                                      FOR THE NINTH CIRCUIT

                              CENTER FOR BIOLOGICAL DIVERSITY, et al.,
                                       P/aim'v-A2)2')€//€es/ P/4int v-Appe//anti,
                                                          and
                               ALLIANCE FOR THE WILD ROCKIES, et al.,
                                            P/ainz'v-Az')pe//e€s/P/WW v,
                                                           v.
                                UNITED STATES FOREST SERVICE, et al.,
                              D wa'anLv-Appe//anz€v/Dej%wa'anz's/ D¢j%na'aw's-Appe//ees,

                                                          and
                                       KOOTENAI TRIBE OF IDAHO,
                                Im'ewet1or-D¢j%t1a'at1t/Itztetwnor-Dej%na'4w'-Appe//am'/
                                            Intervenor D¢j%tz¢z'anz'-Appe//ee.


                    Appeal from the United States District Court for the District of Montana
                                  No. 9:22-cv-114 (Hon. Donald W. Molloy)

                                     JOINT EXCERPTS OF RECORD
                                           VOLUME 3 OF 10

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                                                    APPENDIX A
              2020 Road Densities, Core Habitat in the Colville National Forest's portion of the Selkirk
                                     Mountains Grizzly Bear Recovery Zone
                                                    March 22, 2021




             SELKIRK / CABINET-YAAK GRIZZLY BEAR RECOVERY ZONES - BEAR YEAR 2020 ANNUAL COMPLIANCE MONITORING
                                              FINAL SUMMARY REPORT (07/20/2021)
                                                           46

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             United States         Forest          Colvi11e       Newport - Sullivan Lake Ranger Districts
             Department of         Service         National       12641 Sullivan Lake Road,
             Agriculture                           Forest         Metaline Falls, WA 99153 (509) 446-7500

             Reply To: 2672                                       Date: March 22, 2021

             Subject: 2020 Road Densities, Core Habitat in the Colville National Forest's portion of the
                      Selkirk Mountains Grizzly Bear Recovery Zone

                 To: Kat Sarensen, Endangered Species Coordinator, USDI Fish and Wildlife Service,
                 Karen Honeycutt, Natural Resources Program Manager, Colville National Forest,
                 Diane Probasco, Forest Wildlife Biologist, Idaho Panhandle National Forests,
                 Carin Vadala, District Ranger, Newport-Sullivan Lake Ranger Districts,
                 Rodney Smoldon, Forest Supervisor, Colville National Forest


             INTRODUCTION

             There are six designated recovery zones for grizzly bears in the lower 48 United States (USDI 1993).
             The Selkirk Mountains Grizzly Bear Recovery Zone includes lands in northeast Washington,
             northwest Idaho, and southeast British Columbia. In Washington, this recovery zone includes
             portions of the Colville National Forest (CNF) and Idaho Panhandle National Forests (IPNF) lying
             east of the Pend Oreille River, and north of the Mill Creek drainage. Each recovery zone is divided
             into individual Grizzly Bear Management Units (BMUs) which biologists use for habitat evaluation
             and population monitoring. An individual BMU is roughly 100 square miles in size, the approximate
             area required to support an adult sow with cubs. Three BMUs are shared between the CNF and the
             IPNF.

             Roads provide access for people into grizzly bear habitat. In areas of high road densities, grizzly
             bears are prone to being disturbed by vehicle traffic or people on foot. A bear may learn to avoid
             areas near open roads, forgoing access to any suitable habitats within the road corridor. The risk of a
             grizzly being shot is higher in areas with high road densities, than in areas with few or no roads .
             Between 1993 and 2004, there were no known human-caused grizzly bear mortalities away from
             roads in the Selkirk Mountains Ecosystem, while 15 mortalities were recorded near roads during that
             period (Wakinnen and Kasworm 2004). These authors consider human-caused mortality to be a
             significant factor affecting grizzly population growth in the recovery zone.

             This document describes the habitat conditions fer grizzly bears related to reads in the three BMUs
             shared between the CNF and IPNF, in 2020. Road management activities and closed read monitoring
             are also discussed here.

             2020 ROAD DENSITIES & CORE HABITAT

             Each BMU has its own set of standards for open and total road densities and core habitat for grizzly
             bears. Areas of high road densities should not exceed a defined maximum percentage of each BMU.
             A minimum percent of each BMU should be providing core habitat, defined as lands lying further
             than 500 meters from open or restricted (gated) roads. The following table displays the current
             habitat standards for the three BMUs shared between the CNF and IPNF (USDA 201 l, 2019).


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             Table 1. Present grizzly bear habitat standards for the shared BMUs of the CNF and IPNF

                    BMU              Federal        Open roads               Total roads           Core habitat
                                      land         >1 mile/sq. mi.          >2 mile / sq. mi

              Salmo-priest            99 %            <= 33 %                  <= 26 %               >= 64 °/o
              Sullivan-Hughes I       99 % I          <= 24 °/0         n      <= 19 %         n     >= 61 °/0
              LeClerc         I       64 % I          <= 48 %           n      <= 60 %         n     >= 27 °/0

             Using a geographic information system (computerized mapping), we completed a "moving windows"
             analysis of road densities in each BMU per established protocol. We buffered open and restricted
             roads by 500 meters to obtain core habitat levels. The following table displays the 2020 habitat data
             for each of the three BMUs. In 2020, road densities and core habitat were all within standards .

             Table 2. 2020 grizzly bear habitat data for the shared BMUs of the CNF and IPNF

                    BMU              Federal        Open roads               Total roads           Core habitat
                                      land          >1 ml'isq. mi.           >2 ml'/ sq. mi

              Salmo-Priest            99 °/0            27 °/0                   22 °/0               68 %
              Sullivan-Hughes         99 %              23 %                     18 %                 63 %
              LeClerc         I       64 %     I        46 %            n        56 %          n      27 %

             2020 MANAGEMENT ACTIVITIES

             Vehicle access on closed roads may be required for a host of forest management activities such as
             timber sales, prescribed burning, wildland fire suppression, and tree planting. Closed read access
             may also be occasionally required for administrative activities such as scientific research, forest
             survey and measurement, and law enforcement. If the total number of motorized entries (number of
             vehicles) on a given restricted road exceeds the thresholds in the following table, we must count the
             affected road segment as "active" (e.g., open) for the purposes of calculating road densities for that
             year.

             Table 3. Maximum allowable administrative entries on restricted roads in the Selkirk
             Mountains Grizzly Bear Recovery Area

              Bear season                 Dates                      Maximum no.
                                                                     vehicle entries
              spring         n   April 1 -June 15                n         19
              summer             June 16 - September 15                    23
              fall               September 16 - Nov. 15                    15
              "bear yeaw         April 1 - November 15                     57

             Because there are many vehicle entries 01'1 restricted reads being used for a timber sale, we class the
             affected road segments as active (open) for the years they are used.

             The Salmo-Priest and Sullivan Hughes BMUs are almost entirely on National Forest System (NFS)
             lands. LeClerc BMU has a checkerboard ownership pattern with alternating sections of NFS lands
             and private or state-owned lands. The principal private landowner is Stimson Lumber Company
             (Stimson). Presently all the major landowners and cooperators track motorized vehicle entries on
             restricted roads in the recovery area and report that data to the Forest Service. See Appendix A for a

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             summary of motorized entries on restricted reads that occurred in 2020 in the three BMUs. The
             following is a brief description of management activities that affected road densities and core habitat
             in the three BMUs.

             Salmo-Priest BMU
             CNF Projects
             The Forest completed no management activities that affected road densities Cr core habitat in this
             BMU in 2020.

             Department of Homeland Security, Customs and Border Protection (CBP)
             Closed road entries by CBP law enforcement officers occur in this BMU each year. Based on data
             provided by M. Avey (2021), these vehicle trips were within allowable thresholds.

             Sullivan-Hughes BMU
             CNF Projects
             The Forest installed a gate on Forest Road (FR) 2200242 to provide security to a private recreation
             residence. This gate was requested by the cabin owner after his cabin was broken into and
             vandalized in recent years. The resulting change in status of this road from open to restricted had an
             insignificant effect on road densities and core habitat.

             Projects on Other Ownerships
             There were no other activities on other ownerships that affected road densities or core habitat in this
             BMU (pers. comm. with J. Durbin and M. Bessey 2021).

             LeCIerc BMU
             CNF Projects
             The Forest completed no management activities that affected road densities Cr core habitat in this
             BMU in 2020.

             WA Department of Natural Resources Projects
             The DNR completed some road grading, herbicide spraying, and pile burning associated with their
             holding near Fourth of July Peak (T. 36N, R. 44E, Section 36). Motorized entries on the Seco Creek
             Road (Forest Road 1934070) required to accomplish this work were well within allowable thresholds.

             Stimson Lumber Company Projects
             Stimson timber sales, timber stand improvement work, and administrative entries resulted in several
             closed road segments being classed as active (open) in 2020, as displayed in the following table.




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             Table 4. Stimson projects in the LeCIerc BMU which increased open road densities in 2020
             (based on data provided by M. Bessey, LeClerc Unit Manager)

               Stimson project           Project         Restricted      Season                   Comments
                     name               location        roads used        active
              Going Hungry           T36N, R44E,       1934070          spring,     Units 1 - 6
              Timber Sale,           Section 23, 25    (Seco Ck)        summer,
              Seco East TSI                                             fall
              Pulp Road TSI          T36N, R44E,       1934080          summer      Units 2, 3, 4
                                     Section13,        (Pulp Road)
                                     T36N, R45E,
                                     Section 7
              Pulp End Timber        T36N, R44E,       1934080          winter      outside the "active bear year"
              Sale                   Section 1         (Pulp Road)
              unspecified entries    T36N, R44E,       1934200          summer      29 entries - 6 above the
                                     Section 13        (private)                    summer entry threshold
              unspecified entries    T36N, R44E,       1934200          summer      46 entries - 23 above the
                                     Section 33        (Cement                      summer entry threshold
                                                       Bridge Rd)
              Going Hungry           T36N, R45E,       1934800          spring,     Units 1, 2, 3
              Timber Sale            Section 19        (private)        summer
              Oh Notta Line,         T37N, R44E,       1935024          summer,     Unit 1 2
                                                                                           5


              Oh Not Again           Section 3, 11     (Onata Ck)       fall        Unit 1
              Timber Sales
              Hanlon Purge           T36N, R44E,       1935112          winter      outside the "active bear year"
              Timber Sale            Section 17
              unspecified entries    T38N, R44E,       1936200          summer      36 entries - 13 above summer
                                     Section 31 ,                                   entry threshold
                                     T37N, R44E,
                                     Section 5

             2020 CLOSED ROAD MONITORING

             We monitor closed roads in the recovery zone as time and budgets allow. We repair or replace any
             vandalized gates and locks as soon as possible. Where a road closure has been breached, we take
             steps re-work the closure in order to block this illegal access as soon as possible.

             The closure on the Yocum Lake Road (FR l 900640) was breached by OHV riders who have
             pioneered a trail up a steep hill from county land through a Stimson harvest unit, and onto the road
             behind the gate. Both the CNF and Stimson have attempted to block this user-created trail without
             success to date. We believe use of this challenging access route is very occasional / sporadic and
             most likely does not cause allowable administrative use levels to be exceeded on this road. We will
             continue to explore methods to deter this access.

             Stimson Road 3503003 in the West Branch of LeClerc Creek continues to be breached by OHVs
             originating from private land in T. 36N, R. 44E, Section 30. This gate is difficult to secure due to its
             location near private residences, and the flat topography in the area. Therefore, we count this road
             and side spurs as "active" (open) for the purpose of calculating open road densities.

             The following table displays the monitoring effort we completed this year in the three BMUs shared
             between the two forests. Note that impassable roads are no longer safely or prudently drivable due to

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             earthen berms or boulders installed on the road entrance. Many impassable reads are brushed in. It
             is quite rare for us to document motorized use on roads classed as impassable.

             Table 5. CNF closed road monitoring effort in 2020

               BMU                 Closure type        Number of     Road           Percent       Breaches
                                   (all ownerships)    roads         closures       monitored     detected
                                                                     monitored
               Salmo-Priest        gate                     21            19             90
                                   guardrail                2              2            100
                                   impassable               26            21            81
               Sullivan-Hughes     gate                     9             8             89
               (CNF portion)       guardrail                0
                                   impassable               6              2             33
               LeClerc             gate                     43            29             67             3
                                   guardrail                1             1             100
                                   impassable               19            12             63
               All                 All                     127            94            74              3



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             Michael A. Borysewicz
             East Zone Wildlife Biologist
             Colville National Forest


             CITATIONS
             Avey, M. 2021. Public Lands Liason Agent, USDHS Customs and Border Protection, Metaline
                   Station, Spokane Sector, WA. Personal communication.

             Bessey, M. 2021. LeC1erc Unit Manager, Stimson Lumber Company, Newport, WA. Personal
                    communication.

             Durbin, J. 2021. Wildlife Technician, Idaho Panhandle National Forests, Sandpoint Ranger District,
                   Sandpoint, ID. Personal communication.

             Godley, C. 2021. Forester, Washington Department of Natural Resources, Colville, WA. Personal
                   communication.

             USDA Forest Service. 2019. Colville National Forest Land Management Plan. Colville, WA. 236
                  pp.

             USDA Forest Service. 2011. Record of Decision - Forest plan amendments for motorized access
                  management within the Selkirk and Cabinet-Yaak Grizzly Bear Recovery Zones. Kootenai,
                  Lolo, and Idaho Panhandle National Forests. Signed November II, 2011. 68 pp.

             USDI Fish and Wildlife Service. 1993. Grizzly bear recovery plan. Missoula, MT. 181 pp.


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             Wakinnen, W. and Kasworm, W. 2004. Demographics and population trends of grizzly bears in the
                   Cabinet-Yaak and Selkirk Ecosystems of British Columbia, Idaho, Montana, and Washington.
                   Ursus. April 2004. pp. 65-75.




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             APPENDIX A: 2020 Administrative Entries on Restricted Roads

             In a given year, motorized entries en restricted reads in the grizzly bear recovery zone may be
             completed by employees, permittees, cooperators, and contractors of the: USDA Forest Service (FS),
             USDHS Customs and Border Protection (CBP), USDI Fish and Wildlife Service (FWS), WA
             Department of Natural Resources (DNR), WA Department of Fish and Wildlife (WDFW), Stimson
             Lumber Company (SLC), Pend Oreille County (POC), and Kalispel Tribe Natural Resources
             Department (KNRD). The following tables display the known restricted road entries in the three
             grizzly bear management units (BMUs) on the Colville National Forest over the 2020 "bear year".

             Note that the list of restricted roads for each BMU may change from year to year due to new road
             closures, restricted roads made un-drivable (with excavated berms Cr other means), or corrections to
             road status based on field review.

             Salmo-priest BMU
             All restricted roads in this BMU are Forest Service roads administered by the CNF. The following
             table displays administrative entries on restricted roads in 2020. Roads in shaded blocks were either
             open in that season, or had administrative use exceeding allowable levels .

             Table A1. Administrative vehicle trips on restricted roads in the Salmo-Priest BMU in 2020.

             CNF              Road Name /           Closure                       Vehicle Entries
             Roads               Area               Period           Spring          Summer            Fall
                                                                   (4/1 - 6/15)    (6/16 - 9/ 15) (9/16 - 11/15)
             2212100        Kinyon Creek          year-round
             2212155        T39, R44, Sec. 26     year-round
             2212165        T39, R44, Sec. 23     year-round
             2212168        talc mine             year-round
             2212198        T39, R44, Sec. 13     year-round
             2212200      . Bear Pasture          8/15 - 5/15                            2               2
             2212229        T39, 944, Sec. 13     year-round
             2212245        Sullivan Lookout      year-round                                             1
             2212250        WB Lookout Ck.        year-round
             2212445        T39, R44, Sec. 32     year-round
             3155           Slate Creek             4/1 - 7/1           7                4           road open
             3155 U         Upper Slate Creek     year-round            2                9
             3155010        1st Slate Ck. spur    year-round
             3155100        Uncas Gulch           year-round            1                1
             3155215        T40, R44, Sec. 14     year-round
             3155220        Styx Creek            year-round            2                3               1
             3155230        Beaver slide          year-round            2                5               1
             3160           Slumber Creek          12/1 - 7/1           9                2           road open
             3160485        T40, 944, Sec. 8      year-round
             Entries / restricted roads                              23/19            26/19            5/ 17
             2020 average number of vehicle trips / restricted road in the BMU
             spring season       1.2 trips / road
             summer season       1.4 trips / read
             fall season         0.3 trips / road

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             Sullivan-Hughes BMU
             Restricted roads in this BMU are administered by the Forest Service. Roads in shaded blocks were
             either open in that season, or had administrative use exceeding allowable levels. We classed the
             affected road segments as "active" (open) in 2020, for the purposes of calculating road densities.

             Table A2. Administrative trips on restricted roads in the Sullivan-Hughes BMU in 2020.

             CNF Roads        Road Name /          Closure                       Vehicle Entries
                                 Area               Dates           Spring          Summer          Fall
                                                                  (4/1 -6/15)     <6/16-9v 15) <9/16- 11/15)
             1935018        east of Onata         year-round
             (cost-share)   Creek Road
             1935030        North Fork            year-round           1                 4
                            Harvey Creek
             1935031        Grassy Top Trail     year-round
             2200280        Old Pass Ck. Rd      year-round
             2200360        Mankato Creek        year-round
             2200394        Thor Creek           year-round
             2200400        Fetus-Gypo           year-round
             2200500 L      John's Creek          12/1 -7/1                                         road open
             2200500 U      Hall Mountain        8/15 - 11/30                                           3
             2200508        Lower Pass Crk       year-round
             IPNF roads
             662            Hughes Cabin          4/1 - 6/30,                           4
                                                 9/10 - 11/15
             2764            Ruby Creek          year-round
             1327            Fish Hatchery       year-round
             1343            Hughes Ridge        year-round                                              1
             1343C           Hughes Helispot     year-round
             1399            Jackson Creek        4/1 - 6/30,
                             Trail               9/10 - 11/15
             662             Hughes Meadow        4/1 - 6/30                                        road open
             662A            662 road on right   year-round
             1391            Ledge Creek         year-round
             1382            Gold Creek          year-round
             401             Gold Peak           year-round
             656             Hemlock Loop        year-round
             1388            Lime Creek Trail    year-round
             1013C           before Lime Ck.     year-round
             1013A           North Gold Creek    year-round
             302F            Pass Creek          year-round
             Entries / restricted roads                              1 /26            8/25             4/24


             2020 average number of vehicle trips / restricted road in the BMU (does net include "active" reads)
             spring seasen       0.04 trips / road
             summer season       0.3 trips / read
             fall season         0.2 trips / read




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             LeCIerc BMU
             All Forest Service roads in this BMU are administered by the CNF. There are presently no seasonal
             road closures in this BMU, all closures are year-round. Roads in shaded blocks had administrative
             use exceeding allowable levels. We classed these affected road segments as "active" (open) in 2020,
             for the purposes of calculating road densities.

             Table A3. Administrative vehicle trips on restricted roads in the LeClerc BMU in 2020.

             Road             Road Name /                              Vehicle Entries
             System              Area                  Sprung              Summer                  Fall
                                                     (4/1 -6/15)         (6/16-9/ 15)         (9/16- 11/15)
             19006409      South Dry Ridge                                    7
             1932          4th of July
             1932012       4th of July spur
             1933080P      T36, R43, Sec. 25                                    9
             19331054      W.B. Township                                        2
             19331104      Ridge Lake                                           2
             1933130P      Scotchman Lake                                      5
             19340704      Seco Creek            23 Stimson, 2 DNR         Going Hungry TS, Seco E. TSI
                                                   admin. entries                    (Stimson)
             19340804      Pulp Road                     9               Pulp Road TSI              3
                                                                           (Stimson)
             19340904      Kalispel Rock                 1                     8
             19341504      Prominence                    6                     3
             19342004      Cement Bridge                 14            46 Stimson admin.            2
                                                                             entries
             1934200P      W. Pulp Road                  12            29 Stimson admin
                                                                             entries
             1934210P      Seco tie-through
             1934281 P     T36, R44, Sec. 28
             1934282P      T36, R44, Sec. 28              2                     2
             1934295       T36, 944, Sec. 28
             1934303P      T36, 944, Sec. 24
             1934705P      T36,R45,Sec.7                 2                  15
             1934800P      T36, R44, Sec. 13           Going Hungry TS (Stimson)                 2
             1935011 4     Railroad Bridge                                   6
             19350184      opposite Onata                                    4
             19350244      Onata Creek                   4              Oh Not Again, Oh Notta Line TS
                                                                                 (Stimson)
             1935090       Harvey Rock Pit
             19351104      N. Hanlon Mtn.
             19351124      Hanlon Mountain                1                     9
             1935115P      T36, R44, Sec. 9
             19351164      116 road
             1935200       S. Mineral Creek
             1935204P      T36, R44, Sec. 9                                     5
             1935400P      G-Hollow                       3                     2
             19355004      Saucon Creek                   1




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             Table A3 continued.

             Road            Road Name /                               Vehicle Entries
             System             Area                  Sprung              Summer                   Fall
                                                    (4/1 - 6/15)          (6/16-9/ 15)        (9/16- 11/15)
             1935502P      Monumental 1
             1935504P      Monumental 2
             1935702P      N. of Bunchgrass
             1935704P      N. of Bunchgrass
             1936010       SW Molybdenite                                      1
             19360404      Upper Paupac
             19361004      Cato Creek                                          1                     1
             19362004      Rocky Fork                    8            36 Stimson admin               6
                                                                            entries
             19363004      1st Paupac spur                                    2                      7
             3503003P      W Branch detour
             3503200P      Caldwell Lake
             3521080P
             3521200P      Midway                        4                     2
             DNR           T36, 944, Sec. 36
             Entries / restricted roads               67/44                 85/39                 21 /44


             6: Cost-share roads that access beth private and CNF lands
             P: Private roads (usually Stimson Lumber Company)


             2020 average number of vehicle trips / restricted road in the BMU (does not include "active" reads)
             spring season       1.5 trips / road
             summer season       2.2 trips / road
             fall season         0.5 trips / road




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             APPENDIX B: 2020 Core Habitat Maps



                                              2020 Core Habitat
                                               Salmo-Priest GBMU




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                                                                                          APPENDIX B

               Recovery Zone Unauthorized Motorized Use on Existing Restricted Routes or User Created Routes
             Summaries of the current bear year documented unauthorized motorized access on existing routes and user created routes within the Kootenai
             NF, Lolo NF, and the Idaho Panhandle NF portions of the Cabinet-Yaak E and Selkirk Recovery Zone BMUs for Bear Year 2020. Please see
             attached PDFs of excel Spreadsheet for this information for all Kootenai National Forest BMUs.

             Idaho Panhandle National Forest Cabinet-Yaak Recovery Zone unauthorized use
             Table 24. 5ummary of Unauthorized Motorized Access on Existing Routes documented during BY 2020 within the Cabinet-Yuak Recovery Zone on
             the Idaho Panhandle NF
              BMU        Affected   Route District Existing Route         Date of   Problem    Date of   Corrective Actions or Repeat Unauthorized
                         Routes'    Name              Closure   Miles     Survey/              Repair    reason repair not       motorized use?4
                          Route ID                                 Devices                Breach                                 completed
                                                                                          Found
              13-Keno     2225          Goat       BF              Berm/roc    2.4       10/2020         Rocks/dead              Need equipment               yes
                                        Mtn                        k/trees                               fall moved
              13-Keno     435UAO                   BF              Gates (2)   4.4        7/19/20        Slider       7/27/20    Slider replaced, but ATVs    yes
                                                                                                         stolen                  still circumventing gates.
                                                                                                                                 Need equipment
              19-Grouse   404           Trail Ck   BF              gate         4-6      10/7/20         Gate         10/10/20   Slider & locks replaced      no
                                                                                                         damaged

             lRoute documented to have unauthorized motorized access during the active bear year.
             2Existing Closure Device (gate or Barrier (earth err berm, vegetation, rocks, concrete, or Other device as described)
             3 Describe how device was repaired (berm reinforced, lock replaced, existing gate replaced with berm etc), or anticipated time to implement
             4 If Route has received unauthorized motorized use since 2011 and up through the current BY, list all years in which it has occurred. For any Bear Year listed
             prior to 2020, please refer to that past BY monitoring report (from 2011 - 2019 see Table 3.).

             Table 25. Summary of Unauthorized Motorized Access on User Created Routes documented during BY2020 within the Cabinet-Yaak Recovery
             Zone on the Idaho Panhandle NF.
              BMU           Affected      Route         District      Existing        Route    Date of         Date of     Problem      Corrective Action3/ or
                            Routes'       Name                        Closure         Miles    Survey/         Repair                   Reason repair not
                            Route ID                                  Device2                  Breach                                   completed
                                                                                               Found
              none

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             Lolo National Forest Cabinet-Yaak Recovery Zone BMU 22 unauthorized motorized use

             The following Table displays the gate and barrier monitoring conducted by the Lolo National Forest during Bear Year 2020.

             Table 26. Lolo NF 2020 Gate Barrier Inspections within BMU 22, Cabinet-Yaak Recovery Zone: Summary of roads checked with road number, lock
             type, gate condition, motor vehicle breach, and whether signs are needed.

                                                               Vehicle          Signs
                 Road          Lock          Condition       breach- Y/N     Needed- YM                Comments
                Number


              7679          No Lock       Good-Effective   N                N              Veg. barrier behind open gate
              7610          FS Only       Good-Marginal    Motorcycle       N              Could get motorcycle around gate
                                                                                           and veg barrier
              7681          FS Only       Good- Marginal    Motorcycle      Y- Missing
              7657                        Exc.-Effective   N                               Partially obliterated, no gate, veg
                                                                                           barrier
              603          No Lock        Exc.-Effective   N                Y- need        Veg/ bridge in poor shape
                                                                            replaced
              7671          FS Only      Exc. -Effective   N                Y- missing
              7668          FS Only      Exo.-Effective    N                N
              16271         FS Only      Exc. -Effective   N                Yes-Missing    Newer gate
              529           FS Only       Good-Effective   N                Y-Need
                                                                            replaced
              7666         No Lock        Good-Effective   N                N              Spur road on a seasonally closed
                                                                                           main road
              17068         FS Only       Good-Effective   N                N
              529           No Lock       Poor-Effective    N               Yes-Missing    Piece of gate missing, no t or
                                                                                           lock, large tree across road near
                                                                                           gate
              38016         FS Only       Exc.-Effective   N                N

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                                                            Vehicle         Signs
                Road          Lock         Condition      breach- Y/N    Needed- YM                 Comments
               Number


              7640         FS &         Good-Effective   N               N              Weyerhaeuser gate
                           Timber Co
              18807        FS Only      Good-Effective   N               N
              16212                                      Yes->50"                       No gate
              16215        FS Only      Good-Effective   "N              N
              16734        No Lock      Good-Effective   N               Y-Need         Need to put lock on gate
                                                                         replaced
              16211       FS Only       Good-Effective   N               N              Locked Open
              38025       FS &          Good-Effective   N               N
                          Timber Co
              7692        FS Only       Good-Effective   N               Y- Missing
              7609        FS Only       Exc.-Effective   N               N
              687                       Good-Marginal    Y-Motorcycle                   No gate, partial dirt barrier
              5571        FS Only       Good-Marginal    N               Y-Need
                                                                         Replaced
              16715                     Good-Effective   N                              Veg barrier
              7571                      Exc.-Effective   N               N              Entrance obliterated
              7563                      Good-Marginal    Y- Motorcycle                  Obliterated entrance, could get
                                                                                        motorcycle around entrance
              18467       FS Only       Good-Effective   N               N              Gate bent in middle, still effective
              7555        FS Only       Exc.-Effective   N               N
              18461       FS Only       Exc.-Effective   N               Y-Missing
              18289       FS Only       Exo.-Effective   N               Y-Missing
              18469       FS Only       Exo.-Effective   N               N
              16541       FS Only       Exc.-Effective   N               Y-Missing


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                                                              Vehicle        Signs
                Road          Lock         Condition        breach- Y/N   Needed- YM                Comments
               Number


              16544        FS Only      Exc.-Effective     N              Y- Missing
              462          FS Only      Exo.-Effective     N              Y-Need
                                                                          replaced
              16545        FS Only      Exo.-Effective     N              Y-Missing
              16176        FS Only      Good-Marginal      Y-Motorcycle   Y-Missing
              5571         No Lock      Exc.-Ineffective   y- >50"        Y-Missing
              16717        FS Only      Exc.-Effective     N              Y-Missing
              17325        FS Only      Good-Marginal      Y-<50"         Y-Missing      Gate post loose in ground and
                                                                                         falling over
              7564         FS Only      Exo.-Marginal      Y-Motorcycle   N
              7561         FS Only      Exc.-Effective     N              Y-Missing
              17359                     Exc.-Effective     N                             No gate, dirt and veg barrier

              1045         No Lock      Good-Marginal      N              Y-Missing
              16388        FS Only      Good-Effective     N              N
              16182        FS Only      Good-Effective     N              N
              9992         FS Only      Good-Effective     N              Y-Missing      Gate open but veg barrier just
                                                                                         behind gate
              16393        FS Only      Good-Effective     N              N
              18824                     Good-Effective     N              N              No visible road, just veg
              16392        FS Only      Good-Effective     N              N
              7691         FS Only      Good-Effective     N              N
              9992         FS Only      Good-Effective     N              N
              3800         FS Only      Good-Effective     N              Y-Missing
              17391        FS Only      Good-Effective     N              N

               SELKIRK / CABINET-YAAK GRIZZLY BEAR RECOVERY ZONES - BEAR YEAR 2020 ANNUAL COMPLIANCE MONITORING FINAL SUMMARY REPORT (07/20/2021)
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                                                                 Vehicle        Signs
                Road          Lock         Condition           breach- Y/N   Needed- YM                Comments
               Number


              894          FS &         Good-Effective     N                 Y-Need
                           Timber Co                                         Replaced
              875          FS Only      Good-Effective     N                 Y-Need
                                                                             Replaced
              18815        Other        Exc.-Effective     N                 N              Lock looked like a silver yale but
                                                                                            did not sale yale on it
              18817        FS &         Good-Effective     N                 Y-Need
                           Timber Co                                         Replaced
              18818                                                                         No gate or obvious road
              7572         Other        Exo.-Effective     N                 Y-Need
                                                                             Replaced
              17336        FS Only      Good-Effective     N                 Y-Need
                                                                             Replaced
              17335        FS Only      Good-Effective     N                 N
              17355                                        Y->50"                           Map said dirt berm but road was
                                                                                            open with no barrier
              17354        FS Only      Good-Effective     N                 Y-Missing
              16181        FS Only      Exc.-Marginal      Y-Motorcycle      Y-Missing
              16610        FS Only      Exo.-Effective     N                 Y-Missing
              18301        FS Only      Good-Effective     "N                Y-Need
                                                                             Replaced
              18300        FS Only      Good-Effective     Y-Motorcycle      Y-Missing
              16611        FS Only      Good- Effective " N                  N
              18299       FS &          Good-Effective     N                 N
                          Timber Co
              18932       No Lock       Good-Ineffective   Y->50"            Y-Missing
              18934        FS Only      Exc.-Effective     N                 N




               SELKIRK / CABINET-YAAK GRIZZLY BEAR RECOVERY ZONES - BEAR YEAR 2020 ANNUAL COMPLIANCE MONITORING FINAL SUMMARY REPORT (07/20/2021)
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             Idaho Panhandle National Forest Selkirk Recovery Zone unauthorized use
             The following two tables summaries the Idaho Panhandle National Forest existing routes and unauthorized user created routes within the Selkirk
             RZ.
             Table 27. Summary of Unauthorized Motorized Access on Existing Routes documented during BY 2020 within the Selkirk Recovery Zone.
              BMU               Affected        Route          District       Existing       Route       Date of       Date of   Problem       Corrective Action3 / or          Repeat
                                Routes'         Name                          Closure        Miles       Survey/       Repair                  Reason repair not                Unauthorized
                                Route ID                                      Device2                    Breach                                completed                        motorized
                                                                                                         Found                                                                  use?4
              Blue Grass        2258            Italian        BF             gate           6.3         ~4/2/20       4/2/20    Lock shot     Chained shut 4/2; lock           no
                                                Ck                                                                               off           replaced 4/30
              Long-Smith        2443B           Cutoff         BF             gate           1.9         9/23/20                 Tracks        Leads to private land - single   no
                                                B                                                                                around        occurrence, need equipment
                                                                                                                                 gate
               Kalispell-       311              Petit         PL             gate           5           8/12/20       8/24/20   Pvt lock      Locked w/ FS                     yes
             . Granite      _                  _ Lake      _              _              _           _             _             missing
             lRoute documented to have unauthorized motorized access during the active bear year.
             2Existing Closure Device (gate or Barrier (earth err berm, vegetation, rocks, concrete, or other device as described)
             3 Describe how device was repaired (berm reinforced, lock replaced, existing gate replaced with berm etc), or anticipated time to implement
             4 If Route has received unauthorized motorized use since 2011 and up through the current BY, list all years in which it has occurred. For any Bear Year listed
             prior to 2020, please refer to that past BY monitoring report (from 2011 - 2019 see Table 3.).

             Table 28. Summary of Unauthorized Motorized Access on User Created Routes documented during BY2020 within the Selkirk Recovery Zone

              BMU                      Affected          Route       District        Existing              Route         Date of             Date of       Problem         Corrective Actions
                                       Routes'           Name                        Closure               Miles         Survey/             Repair                        / or Reason repair
                                       Route ID                                      Device2                             Breach Found                                      not completed
               Myrtle                  633UI                         BF              berm                  0.5           9/1/20                            ATV use         Private land




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                                                 Kootenai National Forest Documented Unauthorized Motorized Use on Existing Routes during Bear Year 2020 within the CYE Recovery Zone

                                                                                                                                                                                                                                                                  Prior documented
                 BY20                                                                                                                              Device                        closure   closure                                                                unauthorized
                 AGOL                                          Juris       Survey       Existing                                                   Funct BY20        Repair      Device    Device               Corrective       Reason For not Repairing in      motorized use? If yes,
         BMU     CD#      Road ID Name          Miles district diction     Date         Device           Problem                                   tonal ? repair?   Date        Gate      Type    barrier Type Action BY20      BY20                             state BY report           2021 Status as of 07/09/2021
         BMU
                                                                                                                                                                                                                                 Covid-19 limitations, repair                               District to consider inclusion in
         BMU 1   CD957    6196    "blank"       I0.4   ID4                 110/19/20    lone         INO barrier exists. drivable to the end                                               barrier    other                      needed 2021                                               IGNA contract
         BMU 2


                                                                                                    exist igbc 3, ATVS driving over barrier.
                                                                                                    Barrier needs reinforcement. CD845
                                                                                                    documents the repair with earth barrier
                                                                                                    on 09/10/20. this is same point as
                                   BEAR CR H                                                        CD847 which documented the breach on                                                                           earthern
         BMU 2   IcD845   l278H   l(278Hatv)    10.5   105                 107/06/20    earth berm 107/06/2020.                                                      109/10/20             barrier    earthen berm berm installed NA
         BMU 1
                                  1-        _
                                  LAKE CREEK/                                                             3erm needs to be rebuilt. 4wheeler-                                                                                   `[E)vid-19 limitations, repair                             [District to consider inclusion
         BMU 3   CD855    384     SPAR LAKE     3.3    D4                  110/15/20    earth berm       tracks going over it                                                              barrier    earthen berm               needed 2021                                               IGNA contract
                                                                                                                                                                                                                                 Covid-19 limitations, repair                              'District to consider inclusions
         BMU 3   CD1106 4580      CARR DRAW     4.7    D4         FS       10/15/20     gate         _4wheeler trail around gate                   no      No                    gate                                            needed 2021                      no                        GNA contract
                                  SOUTH FACE                                                         Link cut out of chain, chain replaced                                                                           Chain
         BMU 3   CD753    4628    MTVERNON      2.8    D4         FS       10/13/20     gate         10/13/2020                                    no      Yes       10/13/20 gate                                   replaced    NA                               no


                                                                                                                                                                                                                                                                                            District to consider inclusion in
                                                                                                                                                                                                                                                                                            GNA contract (are duplicated
                                                                                                      Barrier rocks moved ATV path around                                                                                        Covid-19 limitations, accesses                             points with same entry but will
                                   SOUTH FACE                                                         gate, looks like someone locked the gate                                                                                   Troy Mine, Repair needed /big                              filter out the duplicate if
         BMU 3   'cD755   4628A   IMTVERNON A 0.6      ID4                 110/13/20    'rocks       I shut with their own lock                                                  ' gate                                         I rocks 2021                                                included in GNA the state

                                                                                                                                                                                                                                Limited funding, contract
                                                                                                                                                                                                                                                          _                                                _
                                                                                                     'coded igbc 3, Open drivable no berm.                                                                                       limitations, repair needed                                 District to consider inclusion in



                                                                                                                                                                                                                                                                                                                        1
         BMU 4   CD355    2280C   GOV'T RIDGE C 0.8    D7     ,Fs          108/04/20    none             Barrier needed                                                                    'barrier   vegetation                12021                             no                       IGNA contract
                                                                                                                                                                                                                                I
                                                       I                                                                                                                                                                         D7 will verify jurisdiction of                             District to consider inclusion in
                                                                                                                                                                                                                                 route, if private or FS. If                                GNA contract, district to make
                                                                                                         coded igbc 3, no berm or gate. drivable.                                                                                private, will do a database                                a decision on jurisdiction prior
         BMU 4   CD375    2280    GOV'T RIDGE   4.0    D7      (blank)     08/04/20     none             Section of 2280 open. Private.           l"°      No                              barrier    vegetation                 correction                       no                        to including
                                                                                                                                                                                                                                 Limited funding, contract
                                                                                                       coded igbc 1. Drivable by atvs but not                                                                                    limitations, repair needed                                 District to consider inclusion in
         BMU 4   CD390    150F    ROCK CREEK F 0.3     D7         FS & P   08/04/20                  [sure how far. Needs barrier                  no      No                              barrier    vegetation                 2021                             no                        GNA contract
                                                                                                     I                                                                                                                           Limited funding, contract
                                                              I                                          coded igbc 1, No berm, filled in, atvs                                                                                  limitations, repair needed                                 submited to district for priority
         BMU 4   CD397    2775    2275          0.5    D7         FS       ~.08/04/20   earthberm        have been using a little. Needs Barrier   no      No                              barrier    earthen berm               2021                             no                        GNA contract consideration

                                                                                                         coded igbc 1. No berm or vegetation,                                                                                    Limited funding, contract                                  District to consider inclusion in
                                                                                                         road drivable. Needs barrier or decor.                                                                                  limitations, repair needed                                 GNA contract (AGOL input said
         BMU 4   CD432    2292B   FATMAN B      0.3    D7         FS       .08/06/20    none             Downed tree blocking                   l"°        No                              barrier    vegetation                 2021                             no                        was user created, is not)
                                                                                                     I                                                                                                                           Limited funding, contract
                                                                                                         coded igbc 1. No vegetation or berm.                                                                                    limitations, repair needed                                 District to consider inclusion in
         BMU 4   CD443    2293C   DEAD HORSE c 0.5     D7         FS       .08/06/20    none             Area is flat and difficult to close       l"°     No                              barrier    vegetation                 2021                             no                        GNA contract
                                                                                                     I                                                                                                                           Limited funding, contract
                                                              I                                     coded igbc 1, no vegetation or berm.                                                                                         limitations, repair needed                                 District to consider inclusion in
         BMU 4   CD464    22926   FATMAN G      0.3    D7         FS       .08/06/20    none        needs barrier                        l"°               No                              barrier    vegetation                 2021                             no                        GNA contract
                                                                                                   'coded igbc 1. Firewood getting
                                                                                                    happening and removed berm, atv can                                                                                          Limited funding, contract
                                  W FK BLUE                                                         drive need berm. Barrier needs                                                                                               limitations, repair needed                                 District to consider inclusion in
         BMU 4   CD472    2745B   CREEKB        0.3    D7         FS       08/06/20     earth berm enhancement                            no               No                              barrier    earthen berm               2021                             no                        GNA contract


                                                Kootenai National Forest Documented Unauthorized Motorized Use on Existing Routes during Bear Year 2020 within the CYE Recovery Zone                                                                                                       KNF App B Page 1
                                                                                                                                                                                                                                                                                                            FWS001050
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                                                                                                                                                                                                                                                                         unauthorized
                  BY20
                                                                                                                                                                                                                                                                         motorized use? If yes,
                  AGOL                                                 Juris   Survey       Existing                                                  Funct       BY20      Repair   Device   Device                   Corrective       Reason For not Repairing in
         BMU      CD#     Road ID Name              Miles district diction     Date         Device           Problem                                      tonal ? repair?   Date     Gate     Type      barrier Type Action BY20     BY20                                state BY report          2021 Status as of 07/09/2021

                          114729   \blank          \0.1      D7        FS
                                                                                                         \coded igbc 1, not sure if drivable but      I                                       barrier
                                                                                                                                                                                                                                                                                                  (will be fixed per CD472 being
                  II II                                                                                                                                                                                                             lllll
         BMU 4                                                                                            behind breached point                                                                                                                                         no                        fixed)
                                                                                                                                                                                                                                    |
                                                                                                                                                                                                                                        2110A is shown as
                                                                                                             coded igbc 1 no vegetation or berm.                                                                                        decommissioned in the
                                                                                                             Heavy use, needs decommissioning                                                                                           database, but 2 drivable
                                                                                                             because barrier would not work,                                                                                            routes leave the open road                                District to consider inclusion in
         BMU 4    CD520   2110A        2110A           0.2   D7        FS      07/28/20     none             motorized use off off power line access, no          No                          barrier   earthen berm                    where the 2110A used to be      no                        GNA contract
                                                                                                                                                                                                                                        Route currently open, will be
                                                                                                                                                                                                                                        used and barbered after Dry
                                                                   I                                         coded igbc 1 No berm. Going to be used                                                                                     Creek TS where off road                                   Not submitted to district for
         BMU 4    CD590   14694        blank        0.4      D7        FS      07/29/20     none             for Dry Creek TS as a temp               lo          No                          barrier   vegetation                      equipment (je. Skidders) may    no                        contract, is part of TS

                                                                   I
                                                                                                                                                                                                                                        Route currently open, will be
                                                                                                                                                                                                                                        used and barbered after Dry
                                                                                                                                                                                                                                     Creek TS where off road
                                                                                                          coded igbc 1 No berm or vegetation,                                                                                        equipment (je. Skidders) may
                                                                                                          Going to be used for Dry Creek TS as a                                                                                     travel on it. Post sale will                                 not submitted to district for
         BMU 4    CD592   14693    114692          10.1      ID7               107/29/20    'none        Itemp                                                                                barrier   vegetation                  lrehab skid trails                                            contract, is part of TS
         BMU I



                                                                                                             coded igbc 1 Not a lot of vegetation and
                                                                                                             no berm. First culvert is plugged washed                                                                                   Limited funding, contract
                                                                                                             out needs fixed water going over Road.                                                                                     limitations, repair needed                                District to consider inclusion in
                                                                                                                                                                                                  .   I      .
         BMU 5    CD3035 2117          2117        '0.1      D7                07/15/20     none             Becomes underivable at culvert washout no                                        barrier vegetation                        2021                                                      GNA contract
                                                                                                             coded igbc 4. No vegetation or berm or

                                   I               I               I                                         barrier at 0.2 mile yet. Will do a
                                                                                                             database correction of igbc for
                                                                                                                                                                                                                                        Limited funding, contract
                                                                                                                                                                                                                                        limitations, repair needed                             District to consider inclusion in
         BMU 5    CD307   150B         ROCK CREEK B 0.2      D7    I"          07/15/20     none             appropriate segment                       no         No                          barrier   vegetation                      2021                            BY2012 (USDA 2013, corr GNA contract
                                                                               07/15/20     none             coded igbc 1, Not a lot of brush or berm. no         No                                                                    Limited funding, contract
                          150B         ROCK CREEK B 0.3      D7        FS                                    Needs berm                                                                       barrier   vegetation                      limitations, repair needed                                District to consider inclusion in
         BMU 5    CD319                                                                                  l                                                                                                                              2021                                                      GNA contract

                          150C         ROCK CREEK C 0.4      D7
                                                                   I   FS
                                                                               07/15/20     none             coded igbc 1, No vegetation or berm,
                                                                                                             road continues, needs barrier
                                                                                                                                                      no          No
                                                                                                                                                                                              barrier   vegetation
                                                                                                                                                                                                                                        Limited funding, contract
                                                                                                                                                                                                                                        limitations, repair needed                                District to consider inclusion in
         IBMu 5   CD314                                                                                                                                                                                                                 2021                            no                        GNA contract

                                                                                                             coded igbc 1, Access Radio tower site
                                                                                                             but rd continues onto pvt completely                                                                                                                                                 District to consider inclusion in
                                                                                                             vegged in from there. Originates on FS                                                                                                                                               GNA contract/district to make
                                                                   I                                         lands no special use permit & not an                                                                                       D7 will discuss access with                               determination of status prior
         BMU 5    CD386   1506         ROCK CREEKG 0.1       D7        P       08/04/20     vegetation       open FS road                             lo          No                          barrier   vegetation                      Radio Tower site operator       no                        to including
                                                                               08/04/20     none             coded igbc 3, No berm, barrier needed    'no         No                                                                    Lack of funding, contract
                          150T         ROCK CREEKT 0.6       D7        FS                                                                                                                     barrier   earthen berm                    limitations, repair needed                                submited to district for priority
         BMU 5    CD405                                                                                                                                                                                                                 2021                            no                        GNA contract consideration

                                                                                                                                                                                                                                        Originates on FS lands no                                 District to consider inclusion in
                                                                   I                                                                                                                                                                    special use permit and not an                             GNA contract/district needs to
                                       CHICAGO                                                               coded igbc 1, No veg. or berm, barrier                                                                                     open FS road. Access HECLA                                make determination of status
         BMU 5    CD409   2741T        PEAKT       10.1      D7    ,Fs         07/15/20     none             needed                                   no          No                          barrier   vegetation                      MT, Inc land.                 no                          prior to including
                                                                   I
                                                                                                                                                                                                                                        Limited funding, contract
                                                                                                             coded igbc 1. not completely vegetation                                                                                    limitations, repair needed                                District to consider inclusion in
         BMU 5    CD423   27411        27411        0.2      D7        FS      ~.07/15/20   none             blocked. Motorized use, needs berm.     no           no                          barrier   vegetation                      2021                          no                          GNA contract

                                                                                                                                                                                                                                        Originates on FS lands no                                 District to consider inclusion in
                                                                                                                                                                                                                                        special use permit and not an                             GNA contract/district to make
                                                                   H                                         coded igbc 1, No vegetation or berm,                                                                                       open FS road. Access HECLA                                determination of status prior
         BMU 5    CD411   2741K        2741K        0.4      D7        FS      _07/15/20    none             barrier needed                           no          No                          barrier   rocks                           MT, Inc land.                 no                          to including




                                                    Kootenai National Forest Documented Unauthorized Motorized Use on Existing Routes during Bear Year 2020 within the CYE Recovery Zone                                                                                                           KNF App B Page 2
                                                                                                                                                                                                                                                                                                            FWS001051
                                                                                                                                                                3-ER-385
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                     BY20
                                                                                                                                                                                                                                                                                  unauthorized
                     AGOL                                                Juris           Survey     Existing                                                       Funct BY20        Repair   Device   Device                  Corrective        Reason For not Repairing in      motorized use? If yes,
             BMU     CD#         RoadlD Name             Miles district diction          Date       Device           Problem                                       tonal ? repair?   Date     Gate     Type      barrier Type Action BY20        BY20                             state BY report              2021 Status as of 07/09/2021


                                                                                                                                                                                                                                                 Originates on FS lands no                                 District to consider inclusion in
                                                                                                                                                                                                                                                 special use permit and not an                             GNA contract/district to make
                                          CHICAGO                      I                                                                                                                                                                         open FS road. Access to HECLA                             determination of status prior
         BMU 5           CD415   2741P    PEAKTP         0.2   D7          FS            07/15/20   earthberm        Berm filled in, barrier needed                no         No                       barrier   earthen berm                    Montana, Inc, land.           no                          to including

                                                                                                                                                                                                                                                 Originates on FS lands no                                 District to consider inclusion in
                                                                                                                                                                                                                                                 special use permit and not an                             GNA contract/district to make
                                                                                                                                                                                                                                                 open FS road. Access to HECLA                             determination of status prior
         BMU 5           CD417   2741L    2741L          0.2   D7      Ms               07/15/20
                                                                                                           .
                                                                                                    vegetation
                                                                                                                 l                        .         .
                                                                                                                     Not a lot of vegetation, barrier needed       no          o                       barrier   vegetation                      Montana Inc, land.            no                          to including
                                                                                     I                                                                                               I
                                                                                                                                                                                                                                                 D7 will pursue discussion with                          District needs to pursue gate
                     I
                                                                                                                                                                                                                                                 Avista needs to install gate,                           installation with Avista. did not
                                          AVISTA FISH                                                                                                                                                                                            but no timeframe currently                              submit to district for GNA
         BMU 5       CD492       2278F    ACCESS         0.1   D7                    107/28/20      none             Avista needs to install gate                                             gate                                               specified                      was added to system in B contract consideration
             BMU J


         I
                                                                                                                     igbc 2, gated year-round. Lock missing,
                                                                                                                     new lock added, and lock missing again.
                                                                                                                     Happened 4 times over the summer in
                                                                        5.2 mi FS and                                2021. 2314 extends into BMU 7 where
                                          CORRAL                        1.5 Mi P .                                   spurs are listed (2314M, 99808, 99809,                                                                                                                     BY2018 (USDA 2019 v2);
         BMU 6           CD349   2314     SECONDARY      6.8   D5       HECLA            08/24/20   Gate             99809A,99809B, 99809C, 99810                         I          l        gate                              Replaced lock NA                                BY2019 (USDA 2020)
                                                                                                                                                                                     I
                                                                                                                                                                                                                                Replaced lock
         BMU 6           CD342   2315     TRAILCREEK     2.8   D5          FS            08/24/20   gate             existing igbc 2, lock post damaged            yes        Yes    08/24/20 gate                              post on 2315 NA                                 no

                                                                                                                     routes located behind breached AGOL point                                                                  access route
                                                                                                                     on main access route 2315 No indication in                                                                 2315 lock post
                     ml
         BMU 6                   2315A    SPOTTED TAIL   0.6   D5       FS                                           AGOI of status. assumed breached.                                        gate                              replaced       NA                               no

                                                                                                                                                                                                                                Ill              II II
         BMU 6       1111
                                 2315B    KICKING BEAR   1.4   _Ds      FS & P                                       see above. 0.7 mi FS & 0.8 Mi Hecla MT. Inc                              gate                                                                              no

                                                                                                                                                                                                                                Ill              II II
         BMU 6       1111
                                 2315D    WOUNDED KNEE 0.7     D5       FS                                           see above                                                                gate                                                                              no
                                          TRAIL CREEK
                                                                                                                                                                                                                                                 II II
         BMU 6                                                                                                                                                                                gate                                                                                                         I
                     1111                                                                                                                                                                                                       I I I I
                                 99817    99817          0.6   D5       P                                            see above                                                                                                                                                  no
                                          TRAIL CREEK
                                                                                                                                                                                                                                Ill              II II
         BMU 6       1111
                                 99818    99818          0.7   _Ds      P                                            see above                                                                gate                                                                              no
                                          TRAIL CREEK
         BMU 6       1111
                                 99821    99821          1.0   D5       P                                            see above                                                                gate                              I I I I
                                                                                                                                                                                                                                                                                no
                                          TRAIL CREEK
                     ml
         BMU 6                   99822    99822          1.0   D5       P                                            see above                                                                gate                              I I I I
                                                                                                                                                                                                                                                                                no
                                          TRAIL CREEK
         BMU 6       1111
                                 99822A   99822A         0.2   .D5      P                                            see above                                                                gate                              I I I I
                                                                                                                                                                                                                                                                                no


                                                                                                                     existing igbc 2, Lock missing, sign of
                                          N FORK MILLER                                                              firewood cutters all the way to the end                                                                    Installed Yale
         BMU 6           CD451   4725     CR            3.8    D5          FS            10/16/20   gate         .of the road. Restriction sign missing            ye s       Yes    10/16/20 gate                              Lock           NA                               no
                                                                                                                  Lock and tee missing. Contacted
                                                                                                                  Stimson. Lock and T were at SUP
                                                                                                                 ,holder's house. Put back after just a
         BMU 6           CD248   8378     TIMBER RIDGE 0.0     D7                    107/15/20      gate          couple days.                                                Yes    07/22/20 gate                              Lock replaced
         BMU

                                                                                                                  Routes located behind breached Route 2314                                                                     access route
                                          PORCUPINE                                                              lusted under BMU 6. No indication in AGOI of                                                                   12314, CS lock                                  'By2018 (USDA 2019 v2);
         BMU 7       CD349       l2314M   RIDGE M                                                   Gate          status. assumed breached.                                                   gate                              replaced         NA                              BY2019 (USDA 2020)
                                                                                                                                                                                                                                                                                                           I
                   T
                                          CORRAL
                                          SECONDARY                    Ip - HECLA                                                                                                                                                                                               BY2018 (USDA 2019 v2);
         BMU 7       1111
                                 99808    99808          0.3           IMT. Inc                                      in                                                                                                         ml
                                                                                                                                                                                                                                                 NA                             BY2019 (USDA 2020)



                                                                                                                                                                                                                                                                                                                   KNF App B Page 3
                                                         Kootenai National Forest Documented Unauthorized Motorized Use on Existing Routes during Bear Year 2020 within the CYE Recovery Zone                                                                                                                               FWS001052
                                                                                                                                                                          3-ER-386
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                      BY20                                                                                                                                            vice                    c osure    c osure                                                                 unauthorized motorized
                      AGOL                                                      Juris         Survey      Existing                                                 Funct BY20        Repair   Device     Device               Corrective         Reason For not Repairing in     use? If yes,
                                                                                                                                                                                                                                                 BY20                            state BY report
         BMU          CD#         Road ID Name                Miles district diction          Date        Device           Problem                                 tonal ? repair?   Date     Gate       Type    barrier Type Action BY20                                                                     2021 Status as of 07/09/2021
                                               CORRAL                                                                                                                                                                                                                                                     W

                                               SECONDARY                        P-HECLA                                                                                                                                                                                          BY2018 (USDA 2019 v2);
                      ml
                                               99809                            MT. Inc
                                                                                                                       '                                                  I                   '                                       IIII
                                                                                                                                                                                                                                                                                                                                                  n
         BMU 7                    99809                       1.7    D5                                                                                                                                                                          NA                              BY2019 (USDA 2020)
                                               CORRAL
                                                                                                                                                                                                                                                                                 BY2018 (USDA 2019 v2);
                      ml
                                               SECONDARY                        P-HECLA                                                                                                                                           I
         BMU 7                    99809A       99809A         0.4    D5         MT. Inc                                                                                                                                               IIII
                                                                                                                                                                                                                                                 NA                              BY2019 (USDA 2020)
                                               CORRAL
                                               SECONDARY                        P-HECLA                                                                                                                                           I                                              BY2018 (USDA 2019 v2);
                      ml                                                                                                                                                                                                              IIII
         BMU 7                    99809B       99809B         0.8    D5         MT. Inc                                                                                                                                                          NA                              BY2019 (USDA 2020)
                                               CORRAL
                                               SECONDARY                        P-HECLA                                                                                                                                           I                                              BY2018 (USDA 2019 v2);
                      ml                                                                                                                                                                                                              IIII
         BMU 7                    99809C       99809C         0.9    D5         MT. Inc                                                                                                                                                          NA                              BY2019 (USDA 2020)
                                               CORRAL
                                               SECONDARY                        P-HECLA                                                                                                                                           I                                              BY2018 (USDA 2019 v2);
                      ml                                                                                                                                                                                                              IIII
         BMU 7                    99809D       99809D         0.1    D5         MT. Inc                                                                                                                                                          NA                              BY2019 (USDA 2020)




                                                                                                                                                                                                                                                                                                                                    4
                                               CORRAL
                                               SECONDARY                        P - HECLA                                                                                                                                                                                        BY2018 (USDA 2019 v2);
                      ml
         BMU 7                                 99810                 D5         MT. Inc                                                                                                                                                                                          BY2019 (USDA 2020)
                           - ! - K - !
                                  99810                       1.5
         BMU 8

                                               SILVER BUTTE                     FS - FOREST                                exist igbcv 3, No vegetation or berm,                                                                                 covid-19 work limitations, ran                               District to consider inclusion in
         BMU 8        CD146       5008         PASS II        0.3    D5         SERVICE       08/26/20    none             open to motorized use. Needs barrier    no      No                            barrier   earthen berm                  out of time                    no                            GNA contract

                                                                                                                                                                                                                                                 D7 contacted Hecla MT, Inc
                                                                                                                                                                                                                                                 about missing lock in BY20                                   not submitted to district for
                                                                                                                                                                                                                                                 and management intentions                                    GNA contract, private gate.
                                                                                                                                                                                                                                                 for routes (gated igbc 2 or                                  District needs to follow up and
                              I                                             I                                                                                                                                                                     open). FS will adjust code                                  adjust NRM IGBC code
         BMU 8     CD64        8436         (blank)           0.5    D7         P             06/30/20    gate             Gate Open. Private gate                 no      No                     gate                                            based on response              no                           depending upon response
                  Inn
         BMU 8                l8436A       l(blank)           10.4              P                                                                                                             | gate                                              see above                      no
                              I                                                                                                                                                                                                                  l Limited funding, contract
                                                                                                                                                                                                                                                 limitations, repair needed                                   District to consider inclusion in
         BMU 8        CD73        2232D        SIMS CREEK D 0.2      D7         FS            06/30/20    earthberm        Barrier not long enough                 no      No                            barrier   earthen berm                  2021                            no                           GNA contract


                  I                                                         I                                                                                                                                                                    D7 contacted Hecla MT, Inc,
                                                                                                                                                                                                                                                 about missing lock in BY20                                   not submitted to district for
                                                                                                                                                                                                                                                 and management intentions                                    GNA contract, private gate.
                                                                                                                                                                                                                                                 for routes (gated igbc 2 or                                  District needs to follow up, and
                                                                                                                                                                                                                                                 open). FS will adjust code                                   adjust NRM IGBC code
                                           l
         BMU 8        cola    18588            (bla n k)      0.3    D7                       .06/30/20   gate         No lock, PRIVATE GATE                        no     No                     gate                                           based on response               no                           depending upon response
                                               SILVER BUTTE                                                            routes located behind main access route 8588
         BMU 8    |....                                              ..D7    FS and p                                  with lock missing                                                          gate                                           see above
                              11480            pAss D         1.9                                                                                                                                                                                                                no
         BMU 8    I           18587        18587              2.4      D7   .p                                                                                            I                       gate                                           see above                       no
         BMU 8    I           18587A       18587A             0.1      D7    P                                                                                                                    gate                                           see above                       no
         BMU 8    I           18587B       l8587B             0.3      D7    P                                                                                                                    gate                                           see above
         BMU 8    I           18587C       18587C             0.8      D7    P                                                                                                                    gate                                           see above
         BMU 8                18587D       l8587D             0.3      D7   .p                                                                                                                    gate                                           see above
         BMU 8                                                1.0      D7   .p                                         in                                                                         gate                                           see above
                  i           18589        18589
                                                                                                                       in
         BMU 8
         BMU  I
                              18589A       l8589A
                                                              - - _
                                                              0.2      D7    P
                                                                                                                                                                                     _
                                                                                                                                                                                                  gate
                                                                                                                                                                                                   -      -           _                      -
                                                                                                                                                                                                                                                 see above


                                               BURNTCREEK
                                               DUTCH CREEK                                                              Gate can/has been lifted off hinges but                                                                                   Covid-19 limitations, repair                                District to consider inclusion in
         BMU 11 CD2293 472F                    F           30         D4        FS                                                                                 no     .No
                              111i111111211i111l
                                                                                              10/16/20    ,gate        ,replaced.                                                             | gate                                             .needed 2021                    ,no                          GNA contract
         BMU 12
                                                                                                                                                                                                                                                 Covid-19 limitations, repair                                 District    n
                                                                                                                                                                                                                                                                                                               i i i to consider inclusion in
         BMU 12       CD1610 4601              COOL PLACE     0.2     D4    ,Fs               10/20/20    earthberm        Barrier has been circumnavigated.       lno     No                            barrier   earthen berm                  needed 2021                     no                       !GNA contract
                                                                            I
                                                                                                                                                                                                                                                 Covid-19 limitations, repair                              District to consider inclusion in
         BMU 12       CD1707 5929              PINE AWAY      0.3     D4        FS            10/20/20    vegetation       barrier should be at powerline ROW;     no      No                            barrier   vegetation                    needed 2021                     no                           GNA contract




                                                              Kootenai National Forest Documented Unauthorized Motorized Use on Existing Routes during Bear Year 2020 within the CYE Recovery Zone                                                                                                            KNF App B Page 4
                                                                                                                                                                                                                                                                                                                              FWS001053
                                                                                                                                                                         3-ER-387
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                  BY20                                                                                                                                 vice                     c osure   c osure                                                                   unauthorized motorized
                  AGOL                                             Juris     Survey      Existing                                                   Funct BY20         Repair   Device    Device                Corrective          Reason For not Repairing in     use? If yes,
         BMU          CD#   Road ID Name            Miles district diction   Date        Device       Problem                                       tonal ? repair?    Date     Gate      Type    barrier Type Action BY20         BY20                             state BY report        2021 Status as of 07/09/2021
                                                                                                                                                                                                                                                                                                                              I
                                                                                                       This one looks like it's being driven                                                                                        Covid-19 limitations, repair                          District to consider inclusion in
         BMU 12 'C31735 408A        I LEONIA A      10.4   ID4               110/20/20   learthberm   laround uphill side by ATV traffic.                                                 barrier   earthen berm                   I reeded 2021                                         IGNA contract
         BMU
                                                                                                                                                                                                                   T and lock-
                                    DODGE                                                             'T is broken off. Did not have one on                                                                        placed on       ' Repaired within a month of
         BMU 16 CD2726 470          SUMMIT          5.0    D1/D3   FS        18/18/2020 gate           hand to fix.                               'yes      Yes        09/10/20 gate                               gate              discovery.                    BY2017 (USDA 2018)
         BMU 16 CD2637 6064         TURNER          6.1    D4      FS        [10/06/20  gate           Lock and chain replaced is gone. Bolt                           11/01/20 gate                               lock & chain
                                    CREEK                                                              sheared off. "BLM" graffiti on reflectors.                                                                  replaced in
                  I         I                                                                          Did not replace lock and chain yet,                                                                         2020, district
                                                                                                       would still be compromised anyway,                                                                          W ibio verified




                                                                                                      Center rock boulder drug 200 ft down
                                                                                                      the road, possible for a full size truck to
                                                                                                      pass thru the barrier. Lots of firewood                                                                                       Covid-19 limitations, repair                          District to consider inclusion in
         BMU 16 CD2690 746B         AURORA          2.6    D4      FSs       09/01/20    rocks        cutting                                       no      No                            barrier   rocks                           needed 2021                    no                     GNA contract

                                                                                                      Same as 746 gates, someone shot
                                    BUNKER HILL                                                       lock/chain and spray painted "BLM" on
         BMU 16 CD2807 6047         CREEK           5.2    D4      FS        10/05/20    gate         gate reflectors.                              no      Yes        01/14/21 gate                               lock replaced NA                                no

                                                                                                      Route located behind reported AGOL breach            lYes. via
                                    BUNKER HILLCR                                                     on access route 6047. No indication in AGOI          16047                                                   flock replaced on
         BMU 16   CD2807    6047F   F               0.3    D4      FS                                 of status. assumed breached.                         Irepair              Agate     n                        lmain route      INA                            no




                                                    Kootenai National Forest Documented Unauthorized Motorized Use on Existing Routes during Bear Year 2020 within the CYE Recovery Zone                                                                                                    KNF App B Page 5




                                                                                                                                                                                                                                                                                                          FVVS001054
                                                                                                                                                          3-ER-388
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                                                                                Kootenai National Forest Documented Unauthorized Motorized Use on User Created Routes during Bear Year 2020 within the CYE Recovery Zone

                                               BY20                                                                                                                                          Device                              Closure
                                               AGOL       Other District                       Survey             Existing                                                                   funct        2020            Repair Device
             BMU         User created ID       identifier Name                  Miles District Date               Device         Problem                                                     tonal?       Repair?          Date Type     Barrier Type Corrective Action              Reasoning not repaired in BY20                                2021 status as of 07/09/2021
             BMU 2
                                                                                                                                                                                                                                                  earthed
         BMU 2       ,Unk                      CD853                        ,Unk      ID5      ,07/06/20                         No barrier                                              no               no        H           ,barrier          berm         l                    Covid-19 work limitations, ran out of time
                                                                                                                                                                                                                                                  earthed
         BMU 2       11.7 million 867      IcD854                           IUnk      105      109/10/20                         user created route                                      no               Yes           09/10/20 barrier          berm             Installed berm   NA
                                                                                                                                                                                                      I                                           earthern
             BMU 2       Unk                   CD856                            Unk       D5       07/06/20   I                  No barrier                                              no               No            09/04/20 barrier          berm             NA               No Action Taken, Mining Claim Acces
                                                                                                                                                                                                                                                                                    Limited funding, contract limitations, repair needed
         BMU 2           User created          CD718                            Unk       D7       07/28/20                      Atv user created motorized, cut open route                                                         barrier       vegetation                        2021                                                           District to consider inclusion in GNA contract
         BMU 1


         I                                               I
                                                             usercreated off |
                                                                                                                     Dirt and logs used to fill in trench behind earthen
                                                                                                                     barrier allowing motorized use. Continuing Issue at                                                                      'earthen                              I Covid-19 limitations on work, Timing, unable to get to it
         BMU 3           4555              ICD1130           of road 4555     Unk         D4   _08/27/20 .earthberm .site., user created motorized tracks also present                                                              barrier    berm                                 in the fall                                                    District to consider inclusion in GNA contract
         BMU I
                                                                                                                                                                                                                                                                                                                                                  1       to consider inclusion in GNA contract/district to
         I                                                                                                                                                                                                                                                                          District will discusss with HECLA. Road extends from           make determination of status prior to including in
             BMU 4       Unk                   CD235                            0.1       D7       08/04/20                      No berm or gate.                                                                                   barrier       vegetation                        powerline to Hecla private                                     contract
                                                         i                                                                                                                                                                                        earthed                           Limited funding, contract limitations, repair needed
             BMU 4       Unk                   CD323                            Unk       D7       07/30/20                      Atv and firewood gathering                              no               No                        barrier       berm                              2021                                                           District to consider inclusion in GNA contract
                                                                                                                                 Main gate broke, PvT off 2128. driveable loop rd                                                                                                   Private gate, no authority for NFS to repair. Will adjust
         BMU 4       ,Unk                      CD361                        ,0.1      _D7      _08/04/zo                         connects to point 500' ish feet east                    no               No                        gate                                            NRM to reflect as open route
                                                                                                                                 Main gate broken. Driveable loop road connects to                                                                                                  Private gate, no authority for NFS to repair. Will adjust
         'BMU 4
                     n
                         Unk                   CD362
                                                                            Iunk      ID       108/04/20                         point 500 ish feet west                                 no               No                        gate                                            NRM to reflect as open route
                                                                                                                                                                                                                                                                                    Unmapped road that ties in to 2128 at 2128E. District          District to consider inclusion in GNA contract/district
                                                                                                                                                                                                                                                                                    needs to determine if is valid private road or user            needs to make determination of status prior to including
         BMU 4           Unk               ICD371        1                      0.1       D7   108/04/20                         Main gate broken and this is located just behind gate   no               No                        gate                                            created on FS?                                                 in contract

                                                                                                                                 No berm or vegetation. Area is flat and difficult to                                                                                               lLlmited funding, contract limitations, repair needed
         BMU 4       ,Unk                      CD466                            unk                08/06/20                      close. Firewood gathering occurring                  no                  no        I           ,barrier          vegetation                         2021                                                         ,District to consider inclusion in GNA contract
                                                                                                                                 No berm or gate. Need barrier on main 2705, road has                                                                                                Limited funding, contract limitations, repair needed
         'BMU 4
                     n
                         2705              iCD471        I                      0.3       D7       07/30/20                      been reopened by public,                             no                  No        I               barrier       vegetation                         2021                                                          District to consider inclusion in GNA contract
                                                         I                                                                       Opened for 2015 fire chipping pile. Only goes abou                                 I                             earthern                           Limited funding, contract limitations, repair needed
             BMU 4       2705              !cD473                               0.1       D7       07/30/20                      300 feet in. Needs barrier now                       no                  No                        barrier       berm                               2021                                                          District to consider inclusion in GNA contract
                                                                                                                                                                                                                                                                                     Limited funding, contract limitations, repair needed
             BMU 4       Unk                   CD475     I                      unk       D7       07/29/20                      Open driveable, needs berm.                              no              No                        barrier       vegetation                         2021                                                          District to consider inclusion in GNA contract
                                                                                                                                 Needs bermed. Illegal trap site. User created trail into                                                                                            Limited funding, contract limitations, repair needed
         BMU 4       ,User created             CD477 |                      ,0.1      ,D7          07/29/20                      old unit                                                 no              No                        barrier       vegetation   .                     2021                                                         ,District to consider inclusion in GNA contract

             BMU 4       Unk                   CD493
                                                     I                      Iunk I                 08/06/20                      No vegetation or berm, user created for firewood      no                 No                        barrier       vegetation
                                                                                                                                                                                                                                                               n                     Limited funding, contract limitations, repair needed
                                                                                                                                                                                                                                                                                     2021                                                          District to consider inclusion in GNA contract
                                                                                                                                 No vegetation or berm. Motorized use off of                                                                                                         Limited funding, contract limitations, repair needed
             BMU 4       2110 dunk spur        CD519     II                     unk       D7       08/12/20                      powerline access                                      no                 No                        barrier       vegetation                         2021                                                          District to consider inclusion in GNA contract
                                                                                                                                 User created. Difficult to control access because of                                                                                                Limited funding, contract limitations, repair needed
             BMU 4       User Created          CD520                            0.1       D7                                     power line and 2017 fires.                                                                                                                          2021                                                          District to consider inclusion in GNA contract

             BMU 4       Unk                   CD525    II                  ,unk          D7       08/12/20
                                                                                                                                 No vegetation or berm. Motorized use off of
                                                                                                                                 powerline access
                                                                                                                                 User created. Difficult to control access because of
                                                                                                                                                                                      ,no                 no                        barrier       vegetation   l
                                                                                                                                                                                                                                                               I
                                                                                                                                                                                                                                                                                     Limited funding, contract limitations, repair needed
                                                                                                                                                                                                                                                                                     2021
                                                                                                                                                                                                                                                                                     Limited funding, contract limitations, repair needed
                                                                                                                                                                                                                                                                                                                                                   District to consider inclusion in GNA contract
                                                                                                                                                                                                                                                                                                                                                   District to consider inclusion in GNA contract district to
             BMU 4                             CD529                        10.4          D7                                     power line and 2017 fires.                                                                         barrier       vegetation                         2021                                                          make decision prior to including
                                                                                                                                 No vegetation or berm.User Created motorized use off                 I                                                                              Limited funding, contract limitations, repair needed
             BMU 4       Unk                   CD587     I|                     0.5       D7       08/12/20                      of powerline for firewood                             no                 No                        barrier       vegetation                         2021                                                          District to consider inclusion in GNA contract
                                                                                                                                                                                                                                                                                                                                                   District to consider inclusion in GNA contract/district to
                                                                                                                                 No berm or vegetation. 1118a- being used as                                                                                                                                                                       make determination of status prior to including in
         BMU 4           Unk                   CD588                            0.1       D7       07/29/20                      dispersed camping camping access 500'                   no               No                        barrier       vegetation                        D7 to determine what to do with route.                         contract
                                                                                                                                                                                                                                                                                                                                                   District to consider inclusion in GNA contract/district to
                                                                                                                                 No berm or gate or vegetation. Rd keeps going past                                                                                                                                                                make determination of status prior to including in
             BMU 4       14611                 CD597                            unk       D7       07/30/20                      where mapped                                            no               No                        barrier       vegetation                        D7 to determine what to do with route.                         contract
                     I                     I             I                  l         I        l              I              I                                                           I            I             l           l             I                I                                                                              I
                                                                                                                                                                                                                                                                                    District will barrier after use as temp road for Dry Creek |
         'BMU 4      'Unk                  ICD606                           junk      ID7      107/29/20
                                                                                                                             I Needs berm but very flat ground                                                                       .   I      .
                                                                                                                                                                                                                                lbarrler vegetation                                                                                             Not sub rited. District will barrier with TS
          BMU'
                                                                                                                                 No berm or vegetation, user created route. AGOL
                                                                                                                                 comments by engineer state creek is end of the road                                     creek is
                                                                                                                                 and that device is functional. No repair date as none                                    end of
         BMU 5           User created          CD484                            unk       D7       07/28/20                      needed                                                  no               No                road barrier          vegetation                        NA



                                                                            Kootenai National Forest Documented Unauthorized Motorized Use on User Created Routes during Bear Year 2020 within the CYE Recovery Zone                                                                                                                                                      KNF App B Page 6
                                                                                                                                                                                                                                                                                                                                                                                   FWS001055
                                                                                                                                                                                                      3-ER-389
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                                 svzo
                                                                                    ..
                                                                                                                                                       gm                     Guan
                           AM(      out¢nuli¢              SM!                                                                                         Dunc:    2020     lqseiheaice
         MY       uwam¢a1n ideuliier tum      liles Distric! on                    Devin:   Mile!                                                      ianll?   sq.-an    Dlt¢Tlpe      ImioTyp¢ Cnnuetilnehdinn    Iasalilg nd npinadil8VN                                    Z11!21stNlslsdU7/09/208
                                                                                                                                                                                                                                                                               District to consider inclusion in GNA contract/district to
                                                                                                                                                                                                                                                                               make determination of status prior to including in
         BMU 5    User Created   CD485     User Created   0.1    D7    107/28/20            Motorized Use.Needs to be added to system or closed No              No            barrier   vegetation                 1 D7 will determine status of route                         contract
                                                                                                                                                                                                                                                                               District to consider inclusion in GNA contract/district to
                                                                                             No berm or gate, user created trail leads to private                                       earthed                                                                                make determination of status prior to including in
         BMU 5    Unk            CD528                    0.2    D7    07/28/20             .land                                                      no       No            barrier   berm                       District to determine if route starts on NFS land           contract
         BMU
                                                                                                                                                                                                                                                                               District to consider inclusion in GNA contract/district to
                                                                                            Not enough vegetation to be considered closed.                                                                                                                                     make determination of status prior to including in
         BMU 6    Unk            CD212                    unk    D7    07/14/20             Firewood getting happening                                 no       No            barrier   vegetation                 j                                                           contract
                                                                                                                                                                                                                                                                               District to consider inclusion in GNA contract/district to
                                                                                            Not sure if this route is on FS land or private possibly                                                                                                                           make determination of status prior to including in
         BMU 6    Unk            CD223                    unk    D7    07/14/20             needs a berm.                                              no       No            barrier                              District to determine if route is NFS or private            contract
                                                                                                                                                                                                                                                                               District to consider inclusion in GNA contract/district to
                                                                                                                                                                                        earthed                    Limited funding, contract limitations, repair needed        make determination of status prior to including in
         BMU6     User created   CD233                    unk    D7    07/15/20             No berm. Needs bermed                                      no       No            barrier   berm                       2021                                                        contract
                  _ - 1 l - 1 - - -                                            I                                                                                                                                                                                                                                     _
                                                                                            user created motorized route. near intersection of
                                                                                            gatedroad 2206 cold creek and open road 367 Graves
                                                                                            Vermilion. We added a point to 2020 AGOL on                                                                            Limited funding, contract limitations, repair needed
         BMU 8 User Created
         BMU 10
                                 CD3039                   0.3    D7                         07092021

                                                                                            user created motorized route off of road 601.point
                                                                                                                                                                - - _ - - _ _ _ ._ _ _ _ _ _ _ _ _ _ _ _ *-        2021                                                        District to consider inclusion in GNA contract



         BMU 10 Track 13
         BMU
                                 ICD3040   Track 13       0.1    D5
                                                                       _ _                         _
                                                                                            added on 07092021

                                                                                            Earthen berm knocked down to fill the trench. not
                                                                                                                                                                " _    -         l      earthed
                                                                                                                                                                                                                   Covid-19 work Iimitiations: ran out of time.

                                                                                                                                                                                                                    Covid»19 limitations on work, Timing, unable to get to it
                                                                                                                                                                                                                                                                               District to consider inclusion in GNA contract


         BMU 12 User created     CD1771                   Unk    D4    09/01/20             functional                                                          No            barrier   berm                        in the fall                                                District to consider inclusion in GNA contract
                                                                                                                                                                                        earthed                     Covid-19 limitations on work, Timing, unable to get to it
         BMU 12 2338             ICD1868                  ,Unk   ,D4   _08/06/20            USer created route around berm. not functional                      No            ,barrier ,berm                       ,in the fall                                               ,District to consider inclusion in GNA contract
         BMU:

                                           User created                                     No closure device. User created firewood cutting route                                                                 Covid-19 limitations on work, Timing, unable to get to it I
         BMU 15   5886 rd        CD2599    off 5886 rd    Unk    D4    08/06/20             with multiple branchs, length estimated at 0.5 miles   no           No            barrier                              in the fall                                                 District to consider inclusion in GNA contract




                                                                                                                                                                                                                                                                                                  KNF App B Page 7
                                                          Kootenai National Forest Documented Unauthorized Motorized Use on User Created Routes during Bear Year 2020 within the CYE Recovery Zone




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                                                                           APPENDIXC

                       BORZ Unauthorized Motorized Use on Existing Restricted Routes or User Created Routes

             Kootenai National Forest Unauthorized Motorized Use in BORZ
             Please see attached PDFs of excel Spreadsheets for all existing routes and user created routes with documented unauthorized motorized use
             during the active bear year within the Recovery Zone and BORZ.



             Idaho Panhandle National Forest BORZ unauthorized use
             Summaries of the current bear year documented unauthorized motorized access on existing routes and user created routes within the Idaho
             Panhandle NF BORZ areas are displayed below

             Table 29. Summary of Unauthorized motorized access on Existing Routes documented during BY20 in BORZ associated with the IPNF
              BORZ         Affected      Route     District     Existing       Route     Date survey     Problem      Date of      Corrective Actions
                            Routes'         Name                 Closure          Miles     Breach Found                    Repair     /or reason not
                            Route ID                             Devices                                                               completed
              Priest Lake    1385*                     PL        Felled tree      2         9/9/20          Tree cut open              Will fix in 2021
                                                                                                                                       .H
              Priest Lake    2250*                     PL        Multiple         2.5       9/2/20          Cut open
                                                                 downed trees
                                                                 or                                         or
              Priest Lake     2291UF*                  PL                                   7/29/20                         Prior to   Trees felled
                                                                                                                            8/2/20
              Priest Lake     313DUB*                  PL        None             1.1       7/27/20         No barrier      Prior to   Trees felled
                                                                                                            present         8/12/20
              Priest Lake    313DUC*                   PL        None             1.1       7/28/20         No barrier      Prior to   Trees felled
                                                                                                            present         8/4/20
              Pack River      2258          McPearso   SPT       none             1.8       5/15/20         ATVS going                 Need equipment
                                            n                                                               past trail on
                                                                                                            closed road
              Pack River      293UI                    SPT       berm             0.2       5/15/20         Berm driven                Need equipment
                                                                                                            over
              Pack River      2607          Very       SPT       berm             1.8       5/15/20         Berm driven                Need equipment
                                            Ridge                                                           over
              Pack River      2605UH & UA              SPT       berm             1.8       5/15/20         Berm driven                Need equipment
                                                                                                            over
               SELKIRK / CABINET-YAAK GRIZZLY BEAR RECOVERY ZONES - BEAR YEAR 2020 ANNUAL COMPLIANCE MONITORING FINAL SUMMARY REPORT (07/20/2021)
                                                                                   53

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              Pack River       293UH                      SPT             berm            0.6          5/15/20           Berm driven                  Need equipment

              Pack River
                             I 2605UB        I            SPT             berm
                                                                                        I 1.4        I 5/15/20           over
                                                                                                                         Berm driven
                                                                                                                                                    I Need equipment
                                                                                                                         over
             lRoute was documented to have unauthorized motorized access during the active bear year.
             2Existing Closure Device (gate or Barrier (Barrier defined as earth berm, vegetation, rocks, concrete, or Other device as described)
             3 Briefly describe how existing device was repaired if work completed (je, berm reinforced, lock replaced), or anticipated time to implement
             4 If Routes received unauthorized motorized use since 2011 and up through the current BY, if so list all years in which unauthorized use has occurred. For any
             Bear Year listed prior to 2020, please refer to that past BY monitoring report (from 2011 - 2019) under the individual BORZ discussion.
             *Routes are all part of a groomed winter ski trail system. Proposal to erect bollards to allow grooming and restrict summer wheeled use. Project under
             litigation and bollards not yet available. Felled trees for temp fix.

             Table 30 Summary of Unauthorized Motorized Access on User Created Routes documented during BY20 within the IPNF BORZ
              BORZ          Affected      Route     District    Existing     Route      Date of       Date of     Problem       Corrective Actions / or
                            Routes'       Name                  Closure      Miles      Survey/       Repair                    Reason repair not
                            Route ID                            Devices                 Breach                                  completed
                                                                                        Found




               SELKIRK / CABINET-YAAK GRIZZLY BEAR RECOVERY ZONES - BEAR YEAR 2020 ANNUAL COMPLIANCE MONITORING FINAL SUMMARY REPORT (07/20/2021)
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                                                                    Kootenai National Forest Documented Unauthorized Motorized Use on Existing Routes during Bear Year 2020 within Bears Outside Recovery Zones (BORZ)

                         I                       I                                                                                                                                                                                                                                                     Prior documented
                                                                                                                                                                       Device                      Closure   Closure                                                                                   unauthorized
                         BY20                                                         Juris     Survey                                                                 Funct    By z0   Repair     Device    Device                                                  Reason for not repairing in BY motorized use? If yes,
         BORZ                AGOL ID   Road ID   Nam e               MILES DISTRICT   diction   Date       Existing Device Problem                                     tonal?   Repair? Date       gate      Type      barrier Type   Corrective Action              z0                                state BY report       zozl Status as of 07/09/2021
         Cabinet Face   - P F I -                HORSE MTN
                                                           - H                                  F                         end of 4776, coded igbc 3, barrier filled
         Cabinet Face        CD594     4776      LOOKOUT             1.6   D5         FS        09/09/20   barrier        in with brush                                         Yes     09/09/20             barrier   earthen berm existing berm reinforced

                                                                                                                                                                                                                                                                     FRTA required Weyerhauser
                                                                                                                          Segment constructed to access                                                                                                              install gate for activity and a                         Not submitted for GNA contract as
                                                                                                                          corporate timber land has been tossed                                                                                                      barrier when completed.                                 the FRTA requires the corporate
                                                                                                                          to the side and has been missing since                                                                                                     New landowner Stimson was                               timber owner to barrier. District will
         Cabinet Face        NA        4400C     HOODOO CR C         0.4   D5         FS                   wooden gate    2019                                         no       No                 gate                                                              contacted in BY20                 BY2019 (USDA 2020)    follow up,
         .na:L.ia:k.l                                                      -          -         7                         igbc 2, room on left side of gate for dirt
                                                                                                                                                                                1                            1
                                                                                                                          bikes to drive around gate & evidence of                                                                                                   Limited funding, contract
                                                                                                                          their use. carbonite sign broken on                                                                                                        limitations, repair needed                              District to consider inclusion in GNA
         Clark Fork      CD111         2214H     STEVENS RIDGE H     2.2   D7         FS        08/04/20   gate           ground.                                    no         No                 gate                                                              2021                              no                    contract

                                                                                                                          igbc 2, lock was removed/cut from gate.
                                                                                                                          Unauthorized motorized use, signs of
         Clark Fork          CD286     2747      RICE BENCH          1.8   D7         FS        08/04/20   gate           tree removal.                                no       Yes     08/04/20   gate                               lock replaced multiple times                                     no

                                                                                                                          coded as igbc 4, breach?, was opened up                                                                                                                                                            District to consider inclusion in GNA
                                                                                                                          recently, No vegetation or berm. Starting                                                                                                  .Transportation and Special                             contract/district to make
                                                                                                                          at mm 0.32 road is undetermined and on                                                                                                     Uses deterring if this needs a                          determination of status prior to
         Clark Fork      CD291         8347      8347                0.3   D7         P         08/13/20   none           FS lands.                                 no          No                           barrier   vegetation                                    permit or is a trespass           no                    including in contract




                                                                                                                          coded as igbc 4, breach?, No vegetation
                                                                                                                          or berm . Starting at mm 0.32 road is
                                                                                                                          undetermined and on FS lands. Rd goes                                                                                                      Transportation & Special Uses
                                                                                                                          all the way to private land. Road recently                                                                                                 determining if this needs a
                                                                                                                          gravelled. This point is tied to the                                                                                                       permit or is a trespass. There
                                                                                                                          linear feature IN USER CREATED ROUTE                                                                                                       appears to be a non system                              District to consider inclusion in GNA
                                                                                                                          LAYER for 2020 as "User created                                                                                                            route that ties from the end of                         contract/district to make
                                                                                                                          motorized route tresspass between                                                                                                          8347 back south to private                              determination of status prior to
         Clark Fork          CD298     8347      8347                0.5   D7         FS        08/13/20   none           private". where it says its 0.3 miles        no       No                           barrier   vegetation                                    property.                         no                    including in contract

                                                                                                                                                                                                                                                                     Route left open, less than 300
                                                                                                                                                                                                                                                                     feet currently open. Route will
                                                                                                                          coded igbc 1, No vegetation or berm can                                                                                                    be used and closed by the                               not submitted to contract. district
         Clark Fork          CD337     2295N     BEAVER PEAK N       0.3   D7         FS        08/06/20   none           only go 300feet.                        no            No                           barrier   vegetation                                    Lazy Jack TS.                     no                    using in TS and will barrier after
                                                                                                                          coded igbc 1, behind a seasonal gate                                                                                                       Limited funding, contract
                                                                                                                          but the road itself does not have any                                                                                                      limitations, repair needed                              District to consider inclusion in GNA
         Clark Fork          CD94      14605     LOWER FIRE CREEK    0.9   D7         FS        08/11/20   Gate           barrier. needs a barrier                     no       No                           barrier   other                                         2021                                                    contract


                                                                                                                          coded igbc 1, No barrier present, is                                                                                                       Limited funding, contract
                                                                                                                          behind an admin gate . Is accessible by                                                                                                    limitations, repair needed                              District to consider inclusion in GNA
         Clark Fork          CD96      14606     UPPER FIRE CREEK    0.9   D7         FS        08/11/20   Gate           admin motorized vehicles, needs barrier no            No                           barrier   other                                         2021                              no                    contract
         .-m                                                         _ -
                                                                                                                          needs berm. Vegetation is not closing in                                                                                                   Covid-19 work Iimitiationsz ran                         District to consider inclusion in GNA
         Tobacco         CD1427        3507D     ZELLER CREEK D      0.1   D1/D3      FS         07/01/20 vegetation      the road                                no            no                           barrier   vegetation                                    out of time                     no                      contract
                                                                                                                          No device, needs berm. Has been
                                                                                                                          accessed recently but steep slope would                                                                                                    Covid-19 work limitations, ran                          District to consider inclusion in GNA
         Tobacco         CD1467        35206     TWIN MEADOWS G      0.3   D1/D3      FS         10/01/20 none            likely deter most.                      no            no                           barrier   earthen berm                                  out of time.                   no                       contract

                                                                                                                          Taurus rail is missing. Guard rail                                                                                                         Covid-19 work limitiations: ran                         District to consider inclusion in GNA
         Tobacco         CD1669        3533D     OLD ROUTE           0.8   D1/D3      FS         06/30/20 guard rail      ineffective. needs barrier                   no       no                           barrier   other                                         out of time                     no                      contract

                                                                                                                          Guard rail ineffective.Taken down.                                                                                                         Covid-19 work Iimitiations: ran                         District to consider inclusion in GNA
         Tobacco         CD1682        3533C     SMALL SADDLE        0.9   D1/D3      FS         06/30/20 guard rail      Needs berm                               no           no                           barrier   other                                         out of time                     no                      contract
                                                                                                                          No gate found; NRM & IGBC are
                                                                                                                          consistent. IGBC 2- gated, admin access.                                                                                                   Has had no gate - review of
                                                                                                                          Needs gate, Decision - Gate install                                                                                                        NEPA has confirmed gate is                              District to consider inclusion in GNA
         Tobacco         CD1689        3716      PARK                0.8   D1/D3      FS         07/15/20 none            needed 2021.                             no           no                 gate                                                              needed.-                          no                    contract



                                                                    Kootenai National Forest Documented Unauthorized Motorized Use on Existing Routes during Bear Year 2020 within Bears Outside Recovery Zones (BORZ)                                                                                                           KNF Appexwkindiopg 1
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                                                                                                                                                                .
                                                                                                                                                             Dulce              I           Club-sure   Unsure                                                                                l..1nu01-ntied
                     Ann                                                    Juris   Surwq                                                                    Fund    B]'1':lb   lqanir     ID~n'il::    Device                                                 leusunfurnui repaii\gi'IBl' mulutized useT Nye,
         Kunz       ,naiuun \fun:uI:l
                                        Ihm:               'u's \nu5nlucT ,¢u':rinn 'rung      \EZliS'li14DL'l'ilt 1rml11¢1                                 \infill! 'unfair 'mu           ,p1;n.:1     FW"       lunniurwn itnmndil hrlino                    In
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                                                                                                                                                                                                                                                                                                                |                       no: n u             I
                                                                                                                                                                                                                                                               currently no gate, 3716A will
                                                                                                                                                                                                                                                               be effectively restricted when
         Tobacco    CD1689    3716A     PARKA              0.8    D1/D3     FS                 assumed none spur route, assumed open                                 no                                                                                        gate on 3716 installed.        no                (will be fixed per 3716 being rgated)
                                                                                                                                                                                                                                 earth berm installed. is
         Tobacco    CD1807    14268     (blank)            0.2    D1/D3     FS      07/16/20   none              No barricade: needs berm                    yes     yes        10/14/20                barrier   vegetation     behind gated road             NA                             no


                                                                                                                                                                                                                                 currently being used for
                                                                                                                                                                                                                                 salvage sale, needs barrier   behind a gate currently- - will                  District to consider inclusion in GNA
         Tobacco    CD1833    3566B     STERLING RIDGE     0.8    D1/D3     FS      06/30/20   barrier           Damaged during the 10 mile fire             no      no                                 barrier                  when work completed           be reviewed in 2021 ;           no               contract
         Tobacco    CD2016    7994      MCGUIRE BREAKS     6.4    D1/D3     FS      07/23/20   gate              Missing lock.                               yes     yes        08/10/20    gate                                 lock replaced                 NA                              no
         Tobacco    CD2016    7994B     LOWER MCGUIRE      2.2    D1/D3     FS                 gate              spur route, assumed open                            yes        08/10/20    gate                                 7994 lock replaced            NA                              no
         Tobacco    CD2032    851B      TREGO FLATS B      0.4    D1/D3     FS      07/17/20   none              No closure device present.                  yes     yes        10/14/20                barrier   other          Berm installed                NA                              no

         Tobacco    CD2035    851A      TREGO FLATS A      0.3    D1/D3     FS      07/17/20   none              Drove road. Found no closure device         yes     yes        08/13/20                barrier   other          Berm installed                NA                             no


         Tobacco    CD2037    15824     DEER FIELD         0.2    D1/D3     FS      07/17/20   none              Drove road and found no closure device yes          yes        10/14/20                barrier                  Berm installed                NA                             no



                                                                                                                                                                                                                                                               Covid-19 work limitiations -
                                                                                                                 No berm present, needs barrier . Road                                                                                                         needs berm on pvt land/fs                        District to consider inclusion in GNA
         Tobacco    CD2057    3592A     EDNA BENCHES A     0.3    D1/D3     FS      07/17/20   none              drivable to private land                    no      no                                 barrier                                                boundary- Ran out of time      no                contract
         Tobacco    CD2058    4945      SUTTON SWAMP s     0.1    D1/D3     FS      07/23/20   none              No barrier. AW tracks                       yes     yes        08/11/20                barrier   other          Berm installed                                               no

                                                                                                                                                                                                                                                               Covid-19 work limitations. ran
                                                                                                                 needs barrier. Was a log down                                                                                                                 out of time. Scheduled                           District to consider inclusion in GNA
         Tobacco    CD2098    3719B     DUDLEYMACB         0.2    D1/D3     FS      06/30/20   none              originalaly, then no log or berm.           no      no                                 barrier   other                                        summer of 2021                 no                contract

                                                                                                                 No closure device present. Needs berm.                                                                                                        Covid-19 work limitations. ran                   District to consider inclusion in GNA
         Tobacco    CD2123    3637C     POSTON CAMP C      0.2    D1/D3     FS      07/17/20   none              Road is drivable. Berm atjctn with 7836 no          no                                 barrier                                                out of time.                   no                contract

         Tobacco    CD2190    14282     (blank)            0.5    D1/D3     FS      07/01/20   none              Drivable                                    yes     yes        08/27/20                barrier   earthen berm Berm installed                  NA                             no



                                                                                                                                                                                                                                                               Covid-19 work limitations, ran
                                        MEADOW CREEK                                                             No barrier, signs of light breaching.                                                                                                         out of time, No repair                           District to consider inclusion in GNA
         Tobacco    CD2236    14279     BUCKHORN SPUR      0.4    D1/D3     FS      07/01/20   vegetation        Needs a berm                                no      no                                 barrier   vegetation                                   completed. Needs a berm        no                contract
                    CD2258                                                                                       There is no barrier people can easily
         Tobacco              14053     (blank)            0.2    D1/D3     FS      07/21/20   none              drive it                                    yes     yes        07/29/20                barrier   earthen berm Berm installed                  NA                             no
                    CD2264
                                        EAST PINKHAM                                                             Driving around barrier from private land                                                                                                      Covid-19 work limitations. ran                   District to consider inclusion in GNA
         Tobacco              14200     PATROL             1.3    D1/D3     FS      07/16/20   earth berm        onto south end of 14200. needs a berm no            no                                 barrier   earthen berm                                 out of time                    no                contract
                    CD2284
                                                                                                                                                                                                                                                               Covid-19 work limitations. ran                   District to consider inclusion in GNA
         Tobacco              1044A     MARLRIDGEA         0.1    D1/D3     FS      07/16/20   vegetation        needs a berm. or road decor                 no      no                                 barrier   vegetation                                   out of time                    no                contract
                    CD2341

                                                                                                                                                                                                                                                               Covid-19 work limitations. ran
                                                                                                                 Needs berm on both ends (off of 7217                                                                                                          out of time, No repair                           District to consider inclusion in GNA
         Tobacco              7214C     WORKMAN DRAW C 0.2        D1/D3     FS      07/30/20   none              and 856 rd)                                 no      no                                 barrier   other                                        completed. Needs a berm        no                contract
                    CD2371
                                                                                                                 Trail around left side of rocks. Site is vew                                                                                                  Covid-19 work limitations. ran                   District to consider inclusion in GNA
         Tobacco              7961      SHORT TEEPEE       1.0    D1/D3     FS      07/30/20   rocks             open. Needs barrier with rocks               no     no                                 barrier   rocks                                        out of time                    no                contract
                    CD2373                                                                                                                                                                                                     Bermed (extended and
                                                                                                                                                                                                                               deepened berm with
         Tobacco              7147C     DRY MEADOW         1.7    D1/D3     FS      07/30/20   earth berm        Shallow berm                                yes     yes        09/24/20                barrier   earthen berm backhoe)                        NA                             no
                    CD2382
                                                                                                                 Gate needs berm on right side, could be                                                                                                       Covid-19 work limitations. ran                       District to consider inclusion in GNA
         Tobacco              3685      STARLING          1.2     D1/D3     FS      07/20/20   gate              driven around. Needs rock next to gate no           no                     gate                                                               out of time                    no                    contract
                    CD2460              SUMMERVILLE RIDGE
         Tobacco              15409A    A                 0.1     D1/D3     P       10/08/20   none              Berm is needed at each end of road.         yes     yes        10/13/20                barrier   earthen berm earth berm installed            NA                             no
                    CD2463
         Tobacco              36866     WESTFRANKG         0.5    D1/D3     FS      07/21/20   none                                                          yes     yes        10/13/20                barrier   earthen berm earth berm installed            NA                             no
                    CD2478
         Tobacco              7912E     VIRGINIA SLOPE E   0.4    D1/D3     FS      07/29/20   none              No berm,people are driving the road         yes     yes        09/28/20                barrier   earthen berm earth berm installed            NA                             no
                    CD2481                                                                                       Need to decommission road. Berm at
         Tobacco              688A      FRANK LAKEA        0.1    D1/D3     FS      10/08/20   none              junction                                    yes     yes        10/13/20                barrier   earthen berm earth berm installed            NA                             no




                                                           Kootenai National Forest Documented Unauthorized Motorized Use on Existing Routes during Bear Year 2020 within Bears Outside Recovery Zones (BORZ)                                                                                                                 KNF Appendix C pg 2
                                                                                                                                                                                                                                                                                                                                   FWS001060
                                                                                                                                                                   3-ER-394
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                                                                                                                                                                    Unit:                      Closure   Unsure                                                                                   L.1ulM1~nli:d
                              um:                                                 Juris   Suruq'                                                                    Fund    Bylbb   l¢air      Devil:    Deiiu                                                       leosan fur nM repair it BE mulndz:-d us¢T Ilea,
         prinz               .nsuun 'Rennin    Blum:
                                              'I
                                                                   11HLE *Justus ,didinn 'rung         ,rnsaqnum irmnmm                                             inn!! 'unfair *lEE         .or       HF        inunigrrwg icnrruxinn Minn                       \E                          , n m BTrqwnn        | 2821 Stntiu u 01WNB!ZD21
                             CD2483
                                                                                                                                                                                                                                                                                                                     District to consider inclusion in GNA
                                                                                                                                                                                                                                                                                                                     contract. Although AGOL shows a
                                                                                                                                                                                                                                                                                                                     repair date, pictures and comments
                                                                                                                                                                                                                                                                                                                     say decommissioning was very light
                                                                                                                        road needs berm. Road is very drivable                                                                                                                                                       and that route needs a berm
         Tobacco                      15145   FRANK LAKE KNOB      0.3     D1/D3        FS   08/20/20 ?                for being decommissioned                     yes     yes     10/13/20             barrier other          Berm installed                       NA                               no             installed.

                                                                                                                       has carsonite sign that blocks larger                                                                                                         Covid-19 work limitations. ran                  District to consider inclusion in GNA
         Tobacco             CD2514   3683    ROCKLAKE             0.5     D1/D3        FS   07/16/20 none             vehicles. but not atvs. Needs a berm         no      no                           barrier earthen berm                                        out of time                      no             contract
                             CD2532
         Tobacco                      3664    RANSOME RIDGE        0.1     D1/D3        FS   07/29/20 none             Not impassible, you can drive the road       yes     yes     09/28/20             barrier earthen berm Berm installed                         NA                               no
                             CD2574                                                                                    Clear evidence of people driving around
         Tobacco                      3630    LOWER GUT CREEK      1.3     D1/D3        FS   08/17/20 gate             gate, on left side.                          yes     yes     09/30/20 gate                               Added berm next to gate              NA                               no
                             CD2598
         Tobacco                      7182C   RONDO C              0.4     D1/D3        FS   07/20/20 earthberm        Can drive over                               yes     yes     07/30/20             barrier earthen berm Berm added                             NA                               no


                                              THIRSTY LAKE CAMP                                                                                                                                                                                                      Covid-19 work limitations. ran                  repaired by district 06/22/21, double
         Tobacco             CD2606   3701A   A                    0]      D1/D3        FS   07/16/20 ?                Bypassed decor. Road, needs berm             no      no                           barrier earthen berm                                        out of time.                     no             tanked trap on route,
                             CD2627
                                                                                                                                                                                                                                                                     Covid-19 work limitations. ran                  repaired by district 06/22/21, double
         Tobacco                      15103   EAST THIRSTY LAKE    0.6     D1/D3        FS   07/16/20 ?                signs of breach, needs berm                  no      no                           barrier earthen berm                                        out of time                      no             tanked trap on route,
                             CD2629                                                                                                                                                                                           Need to confirm type of
                                                                                                                       Can drive around. No device present,                                                                   corrective action taken - no
         Tobacco                      7299A   ROCK LAKE A          0.1     D1/D3        FS   07/20/20 none              needs berm.                                 yes     yes     08/10/20             barrier earthen berm picture                                                                 no
                             CD2642                                                                                                                                                                                           Need to confirm type of
                                              BLACK BUTI'E SOUTH                                                                                                                                                              corrective action taken - no
         Tobacco                      7178    RIDGE                1.2     D1/D3        FS   04/30/20 gate             User created path around gate post.          yes     yes     06/16/20 gate                               picture                                                               no
                             CD2648

                                                                                                                                                                                                                                                                     Covid-19 work limitations. ran
                                                                                                                                                                                                                                                                     out of time, No repair                          District to consider inclusion in GNA
         Tobacco                      15102   POTHOLE FOR DUCKS 0.2        D1/D3        FS   07/16/20 none              no berm. needs a berm                       no      no                           barrier earthen berm                                        completed. Needs a berm          no             contract
                             CD2666           NORTH THIRSTY LAKE
         Tobacco                      3706D   D                    Q1      D1/D3        FS   07/29/20 none             No barrier                                   yes     yes     10/21/20             barrier earthen berm Berm added                             NA                               no
                             CD2670           NORTH THIRSTY LAKE
         Tobacco                      3706A   A                    03      D1/D3        FS   07/29/20 none             No barrier on lake side                      yes     yes     10/21/20             barrier vegetation     Berm added                           NA                               no
                             CD2696
         Tobacco                      15106   HILLTOP MEADOW       0.4     D1/D3        FS   07/29/20 earth berm       People are driving around berm               yes     yes     10/21/20             barrier earthen berm Berm added                             NA                               no
         West Kootena    -            _                _               _                -          -               -                -               -                   _            -               -                 _            -                 -                   -                   _            _          _                  _
                                                                                                                                                                                                                                                                                                                      Past reports say route was to be
                                                                                                                                                                                                                                                                                                                     bermed after Bristow TS (berm
                                                                                                                                                                                                                                                                                                                     removed in BY11, and supposedly
                                                                                                                                                                                                                                                                                                                     rebermed in BY12, but then reports
                                                                                                                                                                                                                                                                                                                     for the next few years say wasn't
                                                                                                                                                                                                                                                                                                                     done.. D1/D3 & D5 to verify status in
         West Kootenai       CD1663   4814    LOSTSOUL             6.7     D1/D3        FS   08/05/20 gate             Lock missing, gate found open.               yes     yes     09/02/20 gate                               new lock installed                                                                   BY2021

         West Kootenai       CD2158   4880    NORTH STEEP TIE      6.2     D1/D3        FS   08/13/20 gate              no lock on gate, no sign of recent use      yes     yes     08/13/20 gate                               Replaced lock                        NA                               no

                                                                                                                        no lock on main route, SO assumed opened,                                                               replaced lock on 4880, effectively
         west Kootenai       CD2158   4880A   BIG OVERLOOK         0.5     D1/D3        FS   08/13/20 gate              was not field checked.                      yes     yes     08/13/20 gate                               restricteing4880A                  NA                                 no
                                                                                                                        no lock on main route, so assumed opened,                                                               replaced lock on 4880 effectively
         west Kootenai       CD2158   4880B   MIDDLENORTH          0.2     D1/D3        FS   08/13/20 gate             1was not field checked.                      yes     yes     08/13/20 gate        I         I            restricting 4880B                    NA                               no
                                                                                                                        no lock on main route, so assumed opened,                                                               replaced lock on 4880 effectively
         west Kootenai       CD2158   4880C   ROCK BENCH VIEW      1       l01/D3       FS   08/13/20 gate              was not field checked.                      yes     yes     08/13/20 gate        I                      restricting 4880C                    NA                               no


                                                                                                                       No barrier present. Requires tractor to      I                                    I
         West Kootenai       CD2580   337D    BOULDER CREEK D      1.0     D1/D3        FS   08/21/20 none             create an earthen berm.                 yes          yes     10/07/20             barrier                Berm placed                          NA                               no


         West Kootenai       CD2736   922     SULLIVAN CREEK Z     0.8     D1/D3        FS   08/24/20 gate             Missing lock. Replaced on 8/24/2020          yes     yes     08/24/20 gate                               Replaced lock.                       NA                               no

                                                                                                                       Post with bell needs to be replaced or
                                                                                                                       reset. Bent. Rigged it to close and lock.
                                                                                                                       Also needs a T for lock. Part of gate that
                                                                                                                       goes over bell has been bent, lock may                                                                   Replaced post with bell, T-for
         West Kootenai       CD2766   8000H   BURRO CREEK H        2.7     D1/D3        FS   08/24/20 gate             be able to slip thru.                        yes     yes     10/06/20 gate                               lock, and bent gate            NA                                     no




                                                                   Kootenai National Forest Documented Unauthorized Motorized Use on Existing Routes during Bear Year 2020 within Bears Outside Recovery Zones (BORZ)                                                                                                             KNF Apluenaibet pg 3
                                                                                                                                    3- ER - 395
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                                                                                                                                                                                     Device                      Closure   Unsure                                                                                 mmnu1-netul
                           llTll:l                                                               Juris   5l.lr\1q'                                                                   fund:    LVM    Le,..,       Deriiz    Device                                                  leosacn furnu-t rqaniriqin as muenrizeu use? II"fe.,
         waz                   Asuun   nuauln
                                                l
                                                    Marne
                                                                       I
                                                                           mus DISTIICI' digtign Dale
                                                                                 I           I           I
                                                                                                                        E'd:iirlq De1i4z Fruhlesn                                    .land? lhepul* .Dal:        'gut      .Type 1bBrI'iEr T'l]lc Icane-nine Action                 14                            nnelavrep-nn             24:1 smuuulmn9zn:1
                                                                                                                        I               Rocks have been moved. Need tractor
         West Kootenai     CD2790      14921        MULEY BENCH            0.3       D1/D3       FS          09/17/20       rocks       to reclose.                                  yes      yes    09/28/20               barrier rocks            replaced rocks                 NA                            no
                                                                                                                                        Road is labeled as decommissioned but
                                                    HUNTER POINT                                                                        drivable. Pt isjunction of 7233 and                                                                         Bermed 7233, effectively
         West Kootenai     CD2814      7233A        AHUNTER POINT A        0.5       D1/D3       FS          09/17/20   none            7233A.                                       yes      yes    09/28/20               barrier   earthen berm closing this road.               NA                            no
                                                                                                                                        Berm not present. Need tractor to                                                                          Berm placed and 7233 and
         West Kootenai     CD2815      7233         HUNTER POINT           0.7       D1/D3       FS          09/17/20   none            replace berm.                                yes      yes    09/28/20               barrier   earthen berm 7233A effectively closed         NA                            no

                                                                                                                                                                                                                                                                                                                                           repair completed 07 07 2021 , ditch
                                                                                                                                         Berm filled in. able to drive over. Needs                                                                                                  Covid-19 work limitations. ran                         and earth berm and rocks. Flat area.
         West Kootenai     CD2838      474F     IWE5T KOOTENAI F       103           D1/D3       FS          09/29/20   earth berm      la berm                                       no      no                            barrier   earthen berm                                  out of time                    no                      difficult to restrict

                                                                                                                                        Berm needed at both ends.Barrier in
                                       I                                                                                                different location than shown on map.                                                                                                       Covid-19 work limitations. ran                         District to consider inclusion in GNA
         West Kootenai     CD2945      7972D        SPRING D               0.3       D1/D3       FS          09/25/20   none            Mid point closure on 7292D spur.              no      no                            barrier   earthen berm                                  out of time                    no                      contract

                                                                                                                                                                                                                                                                                                                                           I
                                                                                                                                                                                                                                                                                    Covid-19 work limitations. ran
                                                                                                                                                                                                                                                                                    out of time, no repair                                 l District to consider inclusion in GNA
         West Kootenai     CD2957      7212C        FERRYC                 0.3       D1/D3       FS          09/25/20       none        No berm present. Needs berm                   no      no                            barrier   earthen berm                                  completed. Needs a berm.       no                       contract



         West Kootenai     CD2959      7212B        FERRY B                0.3       D1/D3       FS          09/25/20   none
                                                                                                                                        No berm present. Driveable. Needs
                                                                                                                                        berm
                                                                                                                                        Tracks around gate. Needs rocksor berm
                                                                                                                                                                                  no          no                            barrier   earthen berm
                                                                                                                                                                                                                                                                                    Covid-19 work limitations. ran
                                                                                                                                                                                                                                                                                    out of time                    no                      contract
                                                                                                                                                                                                                                                                                                                                                                              J
                                                                                                                                                                                                                                                                                                                                           District to consider inclusion in GNA



         West Kootenai     CD2971      _303         YOUNG CREEK        V"            D1/D3       FS          08/06/20   gate            on right side of gate                     yes         yes    08/31/20     gate     I                                                                                      no

                                       I            yoUnG CREEK
                                                                                                                                        Rocks or berm needed. No tracks or
                                                                                                                                        recent traffic. Trees across 100 yds down
                                                                                                                                                                                                                           I
         West Kootenai     CD2971      303A         AYOUNGCREEK A          1.3       D1/D3       FS          08/06/20       veget3H0n   the road                                  yes         yes    08/31/20               barrier   vegetation     Berm created                   NA                            no                       I
                                                                                                                                                                                                                                                                                    Covid-19 work limitations. ran
                                                                                                                                                                                                                                                                                    out of time, no repair
                                                                                                                                        No device present. Within fire area. No                                                                                                     completed. Needs a berm.
                                                    LOWER YOUNG                                                                         good way to close. No recent use, but        I                                                                                              W ill review w engineer/wl in                          repaired by district 07/07/21, one
         West Kootenai     CD3021      7222J        CREEK J                0.4       D1/D3       FS          08/06/20   none            likely being accessed from private.           no      no                            barrier   other                                         2021                           no                      dirt berm installed.
         West Kootenai     CD1244      4753N        SHELDON MTN N          0.9       D5      IFS             06/17/20   gate            coded igbc 2 Lock is missing                  no      No     '10/28/20    gate                                                                                            no
                                                                                                                                                                                                                                                     Replace lock post and 1 new
         West Kootenai     CD1256      4753C        SHELDON MTN C          1.0       D5          FS          11/05/20   gate            igbc 2 on - 0.7 mi                           yes      Yes    11/05/20     gate                               lock                           NA                            no
                                                    PIPE BULL
         West Kootenai     CD1308      4696A        CONNECTION A           1.0       D5          FS          10/27/20   gate            igbc 4, lock missing                         yes      Yes    10/27/20     gate                               Installed lock                 NA                             BY2018 (USDA 2019)
                                                    DOAKCR BLUE MTN
                                                    LDOAK CR BLUE MTN            I                                                                                                                                                                   Installed new inner pipe and
         West Kootenai     CD1365      755L         L                 L7             D5       FS      10/28/20          gate            igbc 4, Bent inner pipe. Bent swing post     yes      Yes    10/28/20     gate                               tang. Straighten swing post    NA                            no
         West Kootenai     CD1387      4614         UPPER TERGE CR    2.8            D5       FS      10/27/20          gate            igbc 4, lock missing                         yes      Yes    10/27/20     gate                               Installed lock                 NA                            no
                                                                                              Stimson
         West Kootenai      CD1387     4614A        UPPER TERGE CR A    2.1       D5          FS      10/27/20          gate             igbc 4, lock missing                        yes       Yes   10/27/20     gate                               Installed lock                  NA                           no
         West Kootenai     ,cD1387     4614B        UPPER TERGE CR B   ,0.8      ,D5         lFS      10/27/20          gate            ,igbc 4, lock missing                        Ives     ,Yes   10/27/20     gate                               Installed lock                 ,NA                           no
                                                    BRISTOW ZIEGLER                                                                                                                                                                                  New 2035 lock installed on
         West Kootenai     CD1588      863-2        MTN                14.2
                                                                                 ID5             FS          06/30/20   gate            igbc 2, lock missing
                                                                                                                                                                                     n
                                                                                                                                                                                     yes      Yes    09/02/20     gate                               gate
                                                                                                                                                                                                                                                                                    n
                                                                                                                                                                                                                                                                                    NA                            BY2019. USDA2020

         West Kootenai     CD1608      4742      NOISY CR W BRANCH 1.5               D5          FS          10/28/20   gate            igbc 2 and 4, Cut inner pipe                 yes      Yes    10/28/20     gate                               Installed new lock tang        NA                            no
                                                 NOISY CR W BRANCH
         West Kootenai     CD1608      4742N     N                  09               D5          FS          10/28/20   gate            igbc 2, Cut inner pipe                       yes      Yes    10/28/20     gate                               Installed new lock tang        NA                            no
                                                 CAMP CREEKCAMP                                                                                                                                                                                      New 2035 lock installed on
         West Kootenai     ,cD1642     6236     ,CREEK             ,4.6          ,D5         ,is             06/30/20   gate            ligbc 2, missing lock                        yes      Yes    09/02/20     gate                               gate                           ,NA                           no
                                                                                                                                                                                                                                                     New 2035 lock installed on
                           n                    n                      n                                                                                                                                                                                                            n
         'W est Kootenai   CD1642      62366        CAMPCRG                0.9   105             FS          06/30/20   gate            igbc 2, missing lock                         yes      Yes    09/02/20     gate                               gate                           NA                            no
                                                                                             I                                                                                                                                                       New 2035 lock installed on
         West Kootenai     CD1642      6300         CAMP HICKEY            0.5       D5          FS          06/30/20   gate            igbc 2, missing lock                         yes      Yes    09/02/20     gate                               gate                           NA                            no




                                                                       Kootenai National Forest Documented Unauthorized Motorized Use on Existing Routes during Bear Year 2020 within Bears Outside Recovery Zones (BORZ)
                                                                                                                                                                                                                                                                                                                                               KNF Appendix C pg 4




                                                                                                                                                                                                                                                                                                                                                                FVVS001062
                                                                                                                                                                                             3-ER-396
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                                                  BY20      Other                                                                                                        Device                              Closure
                                                  AGOL      District                     Survey           Existing                                                       funct            2020    Repair     Device
         BORZ            User created ID          identifier Name       Miles District   Date           Device           Problem                                             tonal?       Repair? Date       Type      Barrier Type   BY 20 Corrective Action         Reasoning not repaired in BY20                2021 status as of 07/09/2021
         Cabinet Face


         'Cabaret Face   I 1_7 mile on 4791 rd.   _cD1000   lTrack 6   _0.1    D5        9/15/2020                       user created motorized route.                   ing          _Yes       ,09/15/20 ,barrier ,earthed berm ,II earthed berms installed         NA


         Cabinet Face    1.6 mile on 4791 rd.     CD1002
                                                            I
                                                            Track 8
                                                                       I0.3    D5        9/15/2020                       user created motorized route.                   no               Yes     09/15/20   barrier   earthed berm installed earthed berm            NA


         Cabinet Face    5287                     CD1005    Track 6a   0.0     D5        9/16/2020                       user created motorized route.                   no               Yes     09/16/20   barrier   earthed berm installed earthed berm            NA
                         Snowshoe 1405 and
         Cabinet Face    4791                     CD1006                unk    D5        i9/15/2020 l                    user created motorized route.                   ,no          ,Yes        09/15/20   barrier   earthed berm installed earthed berm            NA


         Cabinet Face    O.1 snowshoe rd.         CD1009
                                                            iTrack 4    0.7    D5        9/16/2020
                                                                                                      I
                                                                                                                         user created motorized route.                   no               Yes     09/16/20   barrier   earthed berm installed earthed berm            NA


         Cabinet Face    0.1 snowshoe rd. 1405 CD1011       Track 5     0.2    D5        9/16/2020                       user created motorized route.                   no               Yes     09/16/20   barrier   earthed berm installed earthed berm            NA
                                                                                                                                                                                                                                      installed earthed berm on 4
         Cabinet Face    1.3 mile on 4791 rd.     CD1017               unk     D5        9/15/2020 I                     user created motorized route.                   no               Yes     09/15/20   barrier   earthed berm wheeler trail                     NA
                                                                                                      I                                                                                                                              access for buried cable line, no
         Cabinet Face    Snowshoe road            CD1020    na          unk    D5        9/17/2020                       user created motorized route.                   no               Yes     09/17/20   barrier   earthed berm berms installed                   NA
                         0. 2 snow shoe rd.                                                                          I                                                                I

         Cabinet Face    1405                     CD1021    Track 7     0.1    D5        9/16/2020                       user created motorized route.                   no               Yes     09/16/20   barrier   earthed berm installed earthed berm            NA

                         0.6 mile on snowshoe                                                                                                                                                                                       I Re-lnforced existing earth berm
         Cabinet Face    road 1405                CD1023               unk     D5        .9/16/2020                      user created motorized route.                   no           .Yes       .09/16/20   barrier   earthed berm .that was being breached          NA
                         2.7 mile on granite
          abinet Face    creek road 618           CD1028               'Unk    Ds        19/17/2020                      user created motorized route.                   no               Yes      09/17/20 barrier    earthern berm |installed earthed berm          NA

                                                                                                                                                                                                                                      Reinforced 1 existing earthed
                         1.9 mile on granite
                                                                                                                                                                         I                                                            berm and installed 4 earthed
         Cabinet Face    creek road 618           CD1041                unk    D5        9/18/2020                       user created motorized route.                    no              Yes     09/18/20   barrier   earthed berm berms. Total 5 installed          NA
                                                                                                                         user created motorized route. The point is tied
                         1.5 mile on granite                Untitled                                                     to Untitled Path 3 user created route layer for                                                           installed earthed berm on
         Cabinet Face    creek road 618           CD1042    Path 3   ,0.3     ,D5        9/17/2020                       2020                                            ing          ,Yes        09/17/20 ,barrier ,earthed berm ,route                              NA


         Cabinet Face
                         1.5 mile on granite
                         creek road 618           CD1044
                                                            Untitled
                                                            Path 2   10 2
                                                                              ID5        9/17/2020                       user created motorized route.                   no               Yes     09/17/20   barrier   earthed berm installed earthed berm            NA

                                                            Untitled                                                  user created motorized route. Point is tied to
                                                            path 1 &                                                  Untitled Path 1 and Track 2 identified in User
         Cabinet Face    ,Snowshoe rd.            CD1063    Track 2    unk     D5        19/16/2020 I                ,Created route layer for 2020                       ,no              Yes     09/16/20   barrier   earthed berm installed earthed berm            NA
                                                                                                                     I                                                   I
                                                                                                                         user created motorized route. Also identified
                         1.0 mile on granite                                                                             with Track 2, one entry point of track 2 is
         Cabinet Face    creek road 618           CD1067    Track 2    0.6     D5        9/18/2020                       barbered by CD1067, and the other by CD1063 no                   Yes     09/18/20   barrier   earthed berm installed northern berm           NA
                         0.7 mile on granite                                                                                                                                                                                          Reinforced existing earthed
         Cabinet Face    creek road 618           CD1072    Track 1     0.2    D5        19/18/2020 I                    user created motorized route.                   no           lYes        09/18/20   barrier   earthern berm berm                             NA
                         0.6 mile on granite
         Cabinet Face    creek road 618           CD1077               unk     D5        9/18/2020                       user created motorized route.                   no               Yes     09/18/20   barrier   earthed berm installed northern berm on route NA
                                                                                                                                                                                      9
                                                                                                                                                                                                                                      Reinforced existing earthed
         Cabinet Face    0.7 mile on 4791 rd.     CD972     Track 9    0.0     D5        _9/14/2020                      user created motorized route                    no               Yes     09/14/20   barrier   earthed berm berm                              NA
                         0.2 mile on 4791 dirt                                                                                                                                                                                        Redid and Reinforced existing
         Cabinet Face    road                     CD992
                                                                       Iunk ID5          19/14/2020                      user created motorized route                    no               Yes     09/14/20   barrier   earthed berm earthed berms                     NA


                                                                                                                         user created motorized route. one entry point
                                                                                                                         remains unbarriered (point added on 07092021
                                                            Untitled                                                     in AGOL 2020 for the unbarriered) off of road                                                                                                Covid-19 limitations, ran out of
         Cabinet Face                             CD3037    Path 1      0.4    D5                                        #1405, The other entry is barbered by CD1063.                                                                                                time                               District to consider inclusion in GNA contract
                                                                                                                         user created motorized route, one entry point
                                                                                                                         remains unbarriered off of route #1405. Added
                                                                                                                         point on 07092021 in AGOL 2020 for the                                                                                                       Covid-19 limitations, ran out of
         Cabinet Face                             CD3036    Track 12    0.1    D5                                        unbarriered entry point                                                                                                                      time                               District to consider inclusion in GNA contract



                                                          Kootenai National Forest Documented Unauthorized Motorized Use on user Created Routes during Bear Year 2020 within Bears Outside Recovery Zone Areas (BORZ)                                                                                                  KNF App@Ell3B88316185

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         BCIRZ             Us-:rotted ID          iduiiifiu Home           hill: Dhhict   Diiti:      Deiioe   Pruhlem                                              iunul?       R epir?   Dat:    Type       Earlier Type    m m urmuu nmnn    Red:-nnilg nut nnpuirud it B'l'2JD               2021 sultus as of rm'nr9.»'2u~21


                                                                                                                                                                                                                                               More discussions need to occur to
                                                                                                                                                                                                                                               determine future of existing route.
                                                                6199E                                                                                                                                                                          Currently used for access to
         Cabinet Face                             no CD#        NEroute    1.1   D5                                user created motorized route                                                                                                suction dredge mining claims        District having discussions

                                                                                                                                                                                                                                               More discussions need to occur to
                                                                                                                                                                                                                                               determine future of existing route.
                                                                6199E                                                                                                                                                                          Currently used for access to
         Cabinet Face                             no CD#        Swroute 10.5     ID5      n                        user created motorized route                                                                                                suction dredge mining claims        District having discussions

                                                                                                                   user created motorized route. Point added
                                                                                                                   on07092021 in AGOL for the unbarriered entry                                                                                Covid-19 limitations, ran out of
         Cabinet Face                             CD3038        Track 10   0.1   D5                                point off of road 4792                                                                                                      time                                  District to consider inclusion in GNA contract
         Clark Fork
                                                                                                               'Vegetation not preventing ATV use up
                                                                                                                                                                             I             I       I          I
                                                                                                                unmarked trail/route for over 200 yard, a well                                                                                 Limited funding, contract
         Clark Fork        Unk                    CD140                    unk   D7       08/11/20              travelled recently used trail                       no           No                barrier    vegetation                       limitations, repair needed 2021       District to consider inclusion in GNA contract

                                                                                                                   Road drivable uphill for 100+ yards , some veg
                                                                                                                   and downed logs. Evidence of recent motorized                                                                               Limited funding, contract
         Clark Fork        Unk                    CD149                    0.1   D7       08/20/20                 use. User created switchback cut-off          no              No                [barrier   vegetation                       limitations, repair needed 2021       District to consider inclusion in GNA contract
                                                                                                      I        I                                                                                   I
                                                                                                                   No barrier, Any vehicle can pass. Connects to                                                                               Limited funding, contract
         Clark Fork        Unk                    CD177                    unk   D7       108/20/20                other point taken                                no           No                barrier    other                            limitations, repair needed 2021       District to consider inclusion in GNA contract

                                                                                                                   No barrier, very obvious and open road,
                                                                                                                   passable by any motorized vehicle. Native road
                                                                                                                                                                   I                                                                           Limited funding, contract
         Clark Fork        Unk                    CD191                    0.5   D7       08/20/20                 bed. Parallels existing road. No camp sites seen no           No                lbarrier ,other                             limitations, repair needed 2021       District to consider inclusion in GNA contract


                                                                                                                   No vegetation or berm, open and drivable,                                                                                   Limited funding, contract
         Clark Fork        ,Unk                   CD258                    unk   'D7      108/13/20                barrier needed                                   no           No                barrier    earthern berm                    limitations, repair needed 2021       ,District to consider inclusion in GNA contract

                                                                                                                   Atvs were going up to ridge road 332a in the
                                                                           I                                       past very little use due to brush growing up but                                                                            Limited funding, contract
         Clark Fork        User created           CD288                    unk   D7       08/06/20                 could easily be used again. Barrier needed       no           No                barrier    vegetation                       limitations, repair needed 2021       District to consider inclusion in GNA contract
                                                                                                                   User created route, might connect with other
                                                                                                      I            unk. Appears to be ATV/bike road. Barrier                 I                                                                 Limited funding, contract
         Clark Fork        Unk                    CD71                     unk   D7       08/13/20                 needed                                           no           No                barrier    other                            limitations, repair needed 2021       District to consider inclusion in GNA contract


                                                                                                                                                                                                                                               Limited funding, contract
                                                                                                                                                                    I
         Clark Fork        Unk                    CD75                     unk   D7       08/04/20                 user created motorized route                     no           No                barrier    other                            limitations, repair needed 2021       District to consider inclusion in GNA contract

                                                                                                                Heavily used user created motorized route,          I
                                                                                                                accessible by any motorized vehicle. Entrance                                                                                  Limited funding, contract
         Clark Fork        Unk                    CD83                     0.1   D7       08/13/20             .obvious. Barrier needed                             no           No                barrier    other                            limitations, repair needed 2021       District to consider inclusion in GNA contract
         Tobacco                                                                                                                                                                           I       I          I
                                                                                                                                                                                                                                               Covid-19 limitations, ran out of      repaired by district 06/22/21, two sets of
         Tobacco           15105                  CD2658                   unk   D1/D3    11/12/20                 Unauthorized road                                no           No                barrier    earthed berm                     time                                  earth berms and ditchs installed
         West Kootenai                                                                                                                                                                     I       I          I
                                                                                                                   Berm is not deep enough and atv's are going                                                                                 Covid-19 limitations, ran out of
         W est Kootenai    350b                   CD1168        Sheldon    0.1   D5       6/17/2020                through it.                                      no           No                barrier    earthed berm                     time                                  District to consider inclusion in GNA contract

                                                                                                                                                                                                                                               Stimson land access route. ROW?
                                                                                                                                                                                                                                               Need to review NEPA to identify
                           Digitized Spur off NFSR                                                                                                                                                                                             decision to create route through FS
         *W est Kootenai   14413                   no CD#                  0.1   D5                                Undetermined route                                                                                                          lands.

                                                                                                                user created motorized route that ties into                                                                                     District will analyze these user
                            DigitizUserCre1 off                                                                 upmapped portion of the 7714 on Stimson                                                                                         created and open motorized
         _West Kootenai    ,PipeCr                _no CD#   l              0.2   D5                            ,lands                                                                                                                          ,routes in future nepa



                                                                    Kootenai National Forest Documented Unauthorized Motorized Use on user Created Routes during Bear Year 2020 within Bears Outside Recovery Zone Areas (BORZ) KNF Appenwwfiiqas 6
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                                                 BED      Other      I
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                                                 Arson    District                Survey                                                           funct   :Nan    Repai'   Device I                  I
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                                                                                                     user created motorized route that ties into                                                                                   District will analyze these user
                         DlgltlzUserCre2 off                                                         upmapped portion of the 7714 on Stimson                                                                                       created and open motorized
         West Kootenai   PipeCr                  no CD#              0.4     D5                      lands                                                                                                                         routes in future nepa

                         DigitizUserCreated                                                                                                                                                                                        District will analyze these user
                         between 4756 and                                                                                                                                                                                          created and open motorized
         West Kootenai   4756F                   no CD#              0.2     D5                      user created motorized route                                                                                                  routes in future nepa

                                                                                                                                                                                                                                   District will analyze these user
                         DigitizUserCreSpur                                                                                                                                                                                        created and open motorized
         West Kootenai   accessto567D            no CD#              0.8     D5                      user created motorized route                                                                                                  routes in future nepa

                                                                                                     user created motorized route that ties into                                                                                   District will analyze these user
                         DigitzUserCreSpur off                                                       upmapped portion of the 7714 on Stimson                                                                                       created and open motorized
         West Kootenai   8624                    no CD#              0.2     D5                      lands                                                                                                                         routes in future nepa

                                                                                                                                                                                                                                   per BY19 report (USDS FS 2020),
                                                                                                                                                                                                                                   district will analyze these user
                                                                                                     open flat area with numerous user created                                                                                     created and open motorized
         West Kootenai   Sheldon UserCreated     no CD#              8.8     D5                      motorized routes                                                                                                              routes in future nepa



                                                                                                                                                                                                                                                                            KNF Appendix C pg 7
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                      Species Status Assessment for the Grizzly Bear
                                (Ursula arctos horribilis)
                                     in the Lower-48 States:
                                       A Biological Report




                                                                         Photo Credit: Frank van Maren / USGS




                         Prepared by the U.S. Fish and Wildlife Service
                        Grizzly Bear Recovery Office, Missoula, Montana

                                               January 2021

                                    Version 1.1 - January 25, 2021



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             Acknowledgements

             Writers and Contributors:

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            Wyoming Game and Fish Department, Bureau of Land Management, Grand Teton National
            Park, U.S. Forest Service, and U.S. Geological Survey.




             Suggested Citation:
             U.S. Fish and Wildlife Service. 2021. Biological report fer the grizzly bear (Ursula arctos
             ho rribilis) in the Lower-48 States. Version 1.1, January 31, 2021. Missoula, Montana. 370 pp.




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              SSA for Grizzly Bear in the Lower-48 States                                           January 2021


             Executive Summa ry

             This species status assessment (SSA) documents the results of our comprehensive review of the
             life history, ecology, threats, and viability fer the grizzly bear (Ursula arctos ho rribilis) in the
             conterminous (lower-48) United States (hereafter, grizzly bear). The grizzly bear is listed as
             threatened under the Endangered Species Act (Act) in the lower-48 States (40 FR 31734, July
             28, 1975), and this listed entity is the subject of this SSA report. As such, unless specified
             otherwise, we use the term "species" to refer to the listed entity and the term "ecosystem" to
             refer to the populations of this listed entity. This SSA report is intended to provide the best
             available biological information to inform the U.S. Fish and Wildlife Service's (Service's)
             decisions for the grizzly bear under the Act, including a 5-year status review and any additional
             actions, as needed.

             We used the three part SSA framework (Service 2016, entire, Smith et al. 2018, entire) to guide
             our biological risk assessment for the grizzly bear in the lower-48 States. An SSA begins with a
             compilation of the best available biological information on the species, including its taxonomy,
             life history, and habitat, and its ecological needs at the individual, population, and species levels,
             based on how environmental factors are understood to act on the species and its habitat (Service
             2016, p. 6). Next, an SSA describes the current condition of the species' habitat and
             demographics, and the probable explanations for past and ongoing changes in abundance and
             distribution within the species' ecological settings, such as areas representative of the
             geographic, genetic, or life history variation across the species' range (Service 2016, p. 6).
             Lastly, an SSA forecasts the species' response to probable future scenarios of environmental
             conditions and conservation efforts (Service 2016, p. 6). As a result, the SSA characterizes the
             species' viability, or its ability to sustain populations in the wild over time based on the best
             scientific understanding of current and future abundance and distribution within the species'
             ecological settings.

             Throughout the assessment, the SSA uses the conservation biology principles of resiliency,
             redundancy, and representation, collectively known as the "3Rs," as a lens to evaluate the current
             and future condition of the species (Service 2016, p. 6). Resiliency is the ability for populations
             to sustain in the face of environmental and demographic stochastic events, or for populations to
             recover from years with low reproduction or reduced survival, and is associated with population
             size, growth rate, connectivity, and the quality and quantity of habitats. Redundancy is the
             ability for a species to withstand catastrophic events, for which adaptation is unlikely, and is
             associated with the number and distribution of populations. Representation is the ability of a
             species to adapt to changes in the environment and is associated with its diversity, whether
             ecological, genetic, behavioral, or morphological.

             In the first phase of our SSA analysis, we identified what the grizzly bear in the lower-48 States
             needs, first in terms of the habitat factors needed by individuals to breed (including all stages of
             reproduction), feed, shelter, and disperse, then in terms of the demographic factors that
             populations need to be resilient, and finally, what the grizzly bear in the lower-48 States needs
             for redundancy and representation (Chapter 4). In the second phase of our analysis, we
             evaluated the stressors and conservation efforts that influence the needs (Chapter 5), and then we
             evaluated the current condition of those needs in terms of the 3Rs (Chapter 6). In the third and


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              SSA for Grizzly Bear in the Lower-48 States                                        January 2021


             final phase of our analysis, we projected the future condition of the needs, again in terms of the
             3Rs, using future scenarios to capture uncertainty associated with the future to year 2050 to 2065
             (Chapter 7). For the purpose of this assessment, we define viability as the ability of the grizzly
             bear to sustain populations in natural ecosystems over a biologically meaningful timeframe, in
             this case, by approximately the middle of the 21st century (2050 to 2065). The 2050 to 2065
             timeframe for this assessment is a period that allows us to reasonably project the duration of
             conservation efforts due to the typical duration of forest plans, potential effects of various
             stressors, and accounts for approximately two to three generation intervals of grizzly bear. This
             timeframe is consistent with the time scale for which we have data available for the grizzly bear
             and for which we can project conservation actions.

             Summary of LIfe H/3t0/14 Taxonomy, Ecology, and D/Str/but/bn

             The grizzly bear is a large, long-lived mammal that occurs in a variety of habitat types in
             portions of Idaho, Montana, Washington, and Wyoming in the lower-48 States. Grizzly bears
             hibernate in the winter, typically in dens, feed on a wide variety of foods, weigh up to 363
             kilograms (800 pounds), and live more than 25 years in the wild. Grizzly bears are light brown
             to nearly black and are so named for their "grizzled" coats with silver or golden tips. Grizzly
             bears (Ursula arctos ho rribilis) are a member of the brown bear species (U. arctos) that occurs in
             North America, Europe, and Asia. The subspecies U. a. ho rribilis is limited to North America
             (Rausch 1963, p. 43, Servheen 1999, pp. 50-53). Grizzly bears have three life stages:
             dependent young, subadults, and adults.

             Historically, the grizzly bear occurred throughout much of the western half of the contiguous
             United States, central Mexico, western Canada, and most of Alaska. An estimated 50,000
             grizzly bears were distributed in one large contiguous area throughout all or portions of 18
             western States (i.e., Washington, Oregon, California, Idaho, Montana, Wyoming, Nevada,
             Colorado, Utah, New Mexico, Arizona, North Dakota, South Dakota, Minnesota, Nebraska,
             Kansas, Oklahoma, and Texas). Populations declined in the late 1800s with the arrival of
             European settlers, government-funded bounty programs, and the conversion of habitats to
             agricultural uses. Grizzly bears were reduced to less than 2 percent of their former range in the
             lower-48 States by the time grizzly bear was listed as threatened under the Act in 1975, and the
             estimated population in the lower-48 States was 700 to 800 individuals. Only five areas in
             mountainous regions, national parks, and wilderness areas contained populations, including the
             Northern Continental Divide in northwest Montana, the Greater Yellowstone area in northwest
             Wyoming, eastern Idaho, and southwest Montana, the Cabinet-Yaak Mountains in northeast
             Idaho and northwest Montana, the Selkirk Mountains in northwest Idaho and northeast
             Washington, and the North Cascades range in northcentral Washington. Current populations in
             the Northern Continental Divide, Selkirk, and Cabinet-Yaak extend into Canada to varying
             degrees. Although there is currently no known population in the North Cascades, it constitutes a
             large block of contiguous habitat that spans the international border. Grizzly bears were also
             known to have existed in the recent past in two additional areas, the Bitterroot Mountains in
             central Idaho and western Montana, and the San Juan Mountains in Colorado. The Grizzly Bear
             Recovery Plan refers to these areas as grizzly bear ecosystems (Service 1993, p. 10). In 1993,
             the Service designated six of these areas as recovery areas, and recommended further evaluation
             of the seventh, the San Juan Mountains, to determine recovery potential (Service 1993, p. 121).


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             Grizzly bear populations in the lower-48 States have significantly expanded since the time of
             listing in 1975 and new occupy approximately 6 percent of their historical range in the lower-48
             States (Haroldson et al. 2020a, in press). Currently, grizzly bears primarily exist in four
             ecosystems: the Northern Continental Divide (NCDE), Greater Yellowstone (GYE), Cabinet-
             Yaak (CYE), and Selkirk (SE) ecosystems (Figure l). There are no known populations in the
             North Cascades and Bitterroot (BE) ecosystems and no known populations outside these defined
             ecosystems, although we have documented bears, primarily solitary, outside these ecosystems.
             Outside the lower-48 States, approximately 55,000 grizzly bears exist in the largely unsettled
             areas of Alaska and western Canada (Alaska Department of Fish and Game 2020, entire,
             COSEWIC 2012, p. vi). In North America, grizzly bears occupy approximately 60 percent of
             their historical range (Haroldson et al. 2020a, in press) .




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                 SSA for Grizzly Bear in the Lower-48 States                                                                 January 2021



                                                                                                                     ...........




                                                                       Canada




                                                                         Mexico



             I        Recovery Zones
                                                                                                                                    I Kilometers
                      Resident grizzly bear range                                                  0 237.5475
                       .    .    .4-4                                                                                                    IMiles
                                   'I _bax -44?
                      Hlstoncal g.t4.4_eaxralse L                                                      170 340 I I   680
             Figure 1. Map of    torical and CLH"}"€l'lt grizzly bear range in North America and the six recoverly zones for grizzly bear in the
             lower-48 States. Currently, grizzly bears primarily exist in four ecosystems: the Northern Continental Divide (NCDE), Greater
             Yellowstone (GYE), Cabinet-Yaak (CYE), and Selkirk (SE) ecosystems. There are currently no known populations in the North
             Cascades and Bitterroot (BE) ecosystems and no known populations outside these defined ecosystems, although we have
             documented bears, primarily solitary, outside these ecosystems. Ecosystems are generally considered to be the larger area
             surrounding the recovery zones in which grizzly bears may be anticipated to occur as part of the same population.




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              SSA for Grizzly Bear in the Lower-48 States                                                                   January 2021


             Summary of Needs

             In general, a grizzly bear's individual habitat needs and daily movements are driven by the
             search for food, water, mates, cover, security, or den sites. All life stages need large intact
             blocks of land to breed, feed, shelter and disperse, cover to shelter, high-caloric feeds to feed and
             breed, and dens as winter shelter. For the purposes of this model, breeding includes all stages of
             reproduction. In order to be resilient, grizzly bear populations need sufficient abundance for
             genetic and demographic health, high adult female survival, adequate survival of all other life
             stages, fecundity and recruitment that translate into stable to increasing population trends, and
             genetic diversity. Grizzly bears in the lower-48 States need multiple, resilient ecosystems
             distributed across a broad geographic range in order to be redundant and withstand catastrophic
             events. Additionally, grizzly bears in the lower-48 States need genetic and ecological diversity
             in order to preserve variation and the ability to adapt to changing conditions (Figure 2).




                 H   ABITAT FACTORS      I               )
                                                                                                    -i-s..»..a(
                                                                                                               L OVERALL
                                                                                                                 COSYSTEM
                                                                                                                             I
                                                                                                                                   REDUNDANCY OF
                                                                                                                                    THE LOWER-48
                                                                                                                                       STATES

                                                                                                                                   REPRESENTATION
                                                                                                                                 r OF THE LOWER-48
                                                                                                                                       STATES



                      LARGE, INTACT




                                                     /
                     BLOCKS OF LAND          E
                        (F, B, s, D) l                       CONN      TY
                                                             CONNECTIVITY               GENETIC
                                                                                       DIVERSITY             4
                                                                                           I                     ~   \


              - .I
                           l(S)l             l<
                                                                                       ABUNDANCE             ECOSYSTEM
                                                                                                             RESILIENCY


                      HIGH CALORIC
              -vI        FOODS               L-¢ .
                          (B, F)                                                       POPULATION

                                                                iRViVAil


                           DENS
                           (s, B)
                                         -/_L    /
            Figure 2. Conceptual model of needs for grizzly bear ecosystem resiliency, in terms of habitat factors (green boxes) needed by individuals
            to breed (B,' includes all stages of reproduction), feed (F), shelter (S), and disperse (D), and demographic factors (red boxes) that
            ecosystems need to be resilient. Green arrows represent positive relationships between nodes. The core conceptual model for resiliency is
            provided at the top of thejigurefor reference.


             The primary factors affecting grizzly bears at both the individual and ecosystem levels are
             excessive human-caused mortality and human activity that reduces the quality and quantity of
             habitats, which increases the potential for human-caused mortality, both directly and indirectly.
             Human activities are the primary factor impacting habitat security and the ability of bears to find
             and access foods, mates, cover, and den sites. Regulating human-caused mortality through
             habitat management and conflict prevention are effective approaches, as evidenced by increasing
             grizzly bear populations in the lower-48 States, specifically the GYE and NCDE, where conflict
             prevention measures and motorized access standards exist and have been met.


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              SSA for Grizzly Bear in the Lower-48 States                                         January 2021



             Summary of Ca use-a no-Effects

             We evaluated sources, stressors, and other activities that can positively (conservation actions) or
             negatively (stressors) affect grizzly bears at the individual, ecosystem, or lower-48 States levels,
             either currently or into the future (Chapter 5). We also evaluated the potential cumulative effects
             of stressors that may act together in concert to influence ecosystem resiliency. A stressor is
             defined as the potential change in demographics, such as an increase in human-caused mortality,
             or the habitat resources needed by the species, such as a decrease in high-caloric foods that
             causes a demographic response such as a decrease in abundance. We evaluated the potential
             effects of three categories of stressors on the grizzly bear: those with habitat-related effects,
             sources of human-caused mortality, and other stressors. These stressors are interrelated to
             varying degrees (e.g., habitat stressors around motorized access are related to both habitat and
             human-caused mortality). Stressors with potential habitat-related effects include: motorized
             access and its management, developed sites, livestock allotments, mineral and energy
             development, recreation, vegetation management, habitat fragmentation, development on private
             lands, and activities that may disturb dens. Sources of human-caused mortality that we evaluated
             include: management removals, accidental killings (e.g., train and vehicular strikes), mistaken
             identity kills, illegal killings, and defense of life kills. We also evaluated other stressors
             including: natural mortality, connectivity and genetic health, changes in food resources, effects
             of climate change, and catastrophic events, such as earthquakes and volcanic eruptions. There
             are a variety of conservation efforts and mechanisms across the six ecosystems that either reduce
             or ameliorate stressors, or improve the condition of habitats or demographics. These
             conservation efforts or mechanisms include: Federal land protections, such as the Wilderness
             Act and Inventoried Roadless Areas (IRAS), State and private forestlands with motorized
             restrictions, habitat improvements/vegetation management, attractant removal and community
             sanitation measures, such as food storage orders, conservation easements, information and
             education (I&E) programs, effective law enforcement, and augmentation or translocation
             programs.

             We developed a conceptual model to illustrate the relationships between the stressors,
             conservation effects, and their potential influence on ecosystem resiliency (Figure 3). Then, we
             evaluated the potential effects of the stressors on ecosystem resiliency, considering current and
             future conservation efforts .




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               PARK                                                                                                             Accidental Kills                                                                                       w :sUI<vlvAl                                                                     l
            REGULATIONS I                                                                                                       (Poisoning,                                             )         DIE                                   /other life stages and
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      Figure 3. A conceptual model for the primary causes-and-eftects (stressors and conservation ej?Jr1s) that may influence the resiliency of grizzly bear ecosystems in the lower-48 States. The core conceptual model for resiliency at the top ofthefigure has been expanded to include activity and exposure pathways
      and is included for reference. We also evaluatedpotential effects of natural mortality, connectivity and genetic health, catastrophic events such as earthquakes and volcanic eruptions, potential future effects associated with legal hunting, which are not displayed in this conceptual model. Green arrows
      represent positive relationships between nodes and red arrows represent negative relationships between nodes. B = breeding /includes all .stages of reproduction); F = feeding; S = sheltering; D = dispersal.




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             Summary of Current Condit/bn

             To evaluate resiliency for each ecosystem, we developed a categorical model, called a condition
             category table, to calibrate resiliency based on a range of conditions for two habitat factors
             (natural, high-caloric foods and large intact blocks of land) and six demographic factors (adult
             female survival, abundance as measured by population targets and number of bears, population
             trend, fecundity, inter-ecosystem connectivity, and genetic diversity). We selected these habitat
             and demographic factors based on their importance to resiliency and because we had information
             to evaluate them relatively consistently across all six ecosystems. We then used the condition
             category table like a key to evaluate resiliency for each ecosystem by systematically evaluating
             the condition for each habitat and demographic factor. To calculate an overall score for
             resiliency, we assigned weighted values to the resiliency categories and then calculated a
             weighted average of the habitat and demographic factor ranking. We weighted the demographic
             factor for abundance as measured by the estimated number of bears, three times, due to its
             relative importance to the resiliency of each ecosystem and to balance its weight proportionally
             to four other demographic factors (Figure 4).


                                                                                        Calculation of Thresholds for
               Overall Resiliency                                                       Overall Resiliency Condition
                            = (High Caloric Foods                                       hoax Score            4
                            + Large Intact Blocks of Land                               Intervals           0.8
                            + Adult Female Survival                                                        Min Max
                            + Population Target + 3                                                         3.2       4
                            * (Number of Bears)
                                                                                                            2.4     3.2
                            + Popufation Trend
                                                                                                            1.6     2.4
                            + Fecundity
                                                                                                            0.8     1.6
                            + InterEcosystem Connectivity
                            + Genetic Diversity)/11                                                               0.0      0.8

             Figure 4. Formula and thresholds used zo calculate an overall score for resilieneyfor each ecosystem based on our
             evaluation of eonditionfor the two habitat faetors and six demographic factors.




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       SSA for Grizzly Bear in the Lower-48 States                                                                   January 2021

      Table 1. Condition category table (categorical model) used to evaluate resiliency for the six ecosystems of grizzly bear in the lower-48 States, based on the condition of two habitat factors and six demographic factors.




       Resiliency                                                                                                                                Abundance
                         Natural, High-Caloric             Large, intact blocks of              Adult Female                                                                                                                                                    Inter-Ecosystem                  Genetic
       Categories                                                                                                                                             Number of Bears                  Population Trend                         Fecundity
                                Foods                               land                           Survival                 P0 ulation Tar et                                                                                                                     Connectivity                   Diversity
                                                                                                                                                                   3x)


                                                                                                                             Recovery criteria                                                                                                             Monitor natural immigration
                                                                                                                           and/or Conservation                                                                                                             into ecosystems during the
                                                              Status of meeting                                                                                                              The method we use to
                            Body fat data, stable                                             Estimate survival             Strategies indicate            The methods we use to                                               A BMU is occupied by                    most                 Effective population
                                                               various habitat                                                                                                                estimate population
       Evaluation         isotope analysis, and/or                                             rates using peer            population target, the          estimate the number of                                              a reproductive female at    recent generational interval     size, heterozygosity,
                                                           standards, existence of                                                                                                               trend varies by
        Metrics             direct monitoring of                                                   reviewed                 methods we use to                  bears varies by                                                   least once in a 6-year      (10 to 15 years) (through          allelic richness,
                                                            other protections that                                                                                                           ecosystem and resects                      window
                                food sources                                                    methodology l             estimate the number of                 ecosystem                                                                                  radio-collared bears, DNA          inbreeding rates
                                                           ensure habitat security                                                                                                              long-term trend.
                                                                                                                           bears depends on the                                                                                                                 sampling, marked
                                                                                                                                ecosystem                                                                                                                           individuals)



                           Diverse, high-caloric,           Availability of secure                                                                                                                                              All BMUs within the        Females have immigrated
           High                                                                            Survival rate is above                                                                                                                                                                         Sufficient for long-term
                           natural foods are not            habitat is sufficient to                                         At or above target              More than 800 bears             Lambda greater than 1               recovery zone are          and bred (demonstrating
            (4)                                                                                    0.93                                                                                                                                                                                            fitness
                                 limiting                   meet individual needs                                                                                                                                                    occupied              demographic connectivity)



                                                            Availability of secure
                           Diverse, high-caloric,                                                                                                                                              Lambda is stable or             70-99% of the BMUs          Males have immigrated and
        Moderate
                             natural foods are                 habitat to meet                 Survival rate is
                                                                                                                                                                                                slightly declining            within the recovery zone                                    Sufficient for short-term
                                                                                                                          80-99 percent of target               400-799 bears                                                                              bred (demonstrating genetic
          (3)               somewhat limiting                individual needs is             between 0.90-0.93                                                                                                                                                                                     fitness
                                                             somewhat limiting                                                                                                                (between 0.98 and 1)                  are occupied                  connectivity)



                                                                                                                                                                                                                                                            Evidence of an immigrant
           Low
                                                                                                                                                                                                                               50-69% of the BMUs                                         Sufficient for short-term
                                                                                                                                                                                                                                                           that has established a home
                                                                                                                          50-79 percent of target                91-399 bears                                                 within the recovery zone                                     fitness, but with high
            (2)                                                                                                                                                                                                                                            range within the ecosystem
                                                                                                                                                                                                                                    are occupied                                            levels of inbreeding
                                                                                                                                                                                                                                                           but no documented breeding
                                                            Availability of secure
                           Diverse, high-caloric,
                                                               habitat to meet             Survival rate is below
                             natural foods are                                                                                                                                               Lambda is below 0.98
                                                             individual needs is                   0.90
                                 limiting
                                                                  limiting
                                                                                                                          Less than 50 percent of                                                                                                           Immigrant is documented
         levy Low                                                                                                             the target and has            Fewer than 90 bears                                                     Less than 50% of the   within the ecosystem but no      Insufficient for short-
            (1)                                                                                                                  evidence of              and a known population                                                    BMUs are occupied        evidence of home range       term or long-term fitness
                                                                                                                                reproduction.                                                                                                               establishment or breeding



        Ixtirpated        Diverse, high-caloric,              There is no secure
                                                                                            No known population            No known population              No known population              No known population                    No BMUs occupied            No connectivity            No known population
            (0)          natural foods are absent                  habitat


      1 Data from radio-collared individuals is currently used to estimate survival rates.
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             Table 2 summarizes our evaluation of current resiliency for each ecosystem. Currently, the GYE
             and NCDE have high resiliency due to the generally high and moderate conditions for habitat
             and demographic factors. The SE has moderate resiliency and the CYE has low resiliency
             primarily due to very low numbers of bears, although this factor could improve as bears
             reproduce and expand in the future (Table 2). Despite the moderate condition of habitats,
             without known populations, the BE and North Cascades are currently functionally extirpated,
             and therefore have no resiliency (Table 2). As a result, these two ecosystems also do not
             currently contribute to redundancy and representation.




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              SSA for Grizzly Bear in the Lower-48 States                                                                     January 2021

             Table 2. Current condition for six ecosystems for grizzly bear in the lower-48 States, evaluated used the condition category table
            for resiliency. We calculated an overall score for resiliency as the weighted average of allfactors, with "number of bears"
            weighted three times due to its importance to resiliency. High=4, Moderate = 3, Low=2, Very Low=I, and Functionally
            Extirpated (X) = 0, with score thresholds as Moderate: 2.4-3.19, Low= 1.6-2.39, Very Low=0.8-I.59= Very Low Condition;
             and less than 0. 79 = Functionally Extirpated (X) Condition. An X in number of bears results in an overall condition off
             regardless of the other factors. In general, ecosystems with higher resiliency have a greater probability of persistence over the
             next 30 to 45 years, based on their ability to withstand stochastic events, than ecosystems with lower resiliency.




                                                                                                                                                  6
                                                                                                                                                  Z
                                                                   Abundance


                                                                           Number
                                                              Population
                                                                Target     of Bears




           GYE          High         High          High         High       Moderate   I   High         High                     Moderate




           NCDE         High         High          High         High         High         High   I   Moderate        High I       High




           CYE        Moderate I Moderate          High                                   High                    Moderate




                      Moderate I Moderate I Moderate I Moderate                           High   I   Moderate   I Moderate I Moderate I Moderate


                      Moderate I Moderate



           North
           Casca-     Moderate I Moderate




             Redundancy describes the number and distribution of ecosystems, such that the greater the
             number and the wider the distribution of the ecosystems, the better grizzly bears in the lower-48
             States can withstand catastrophic events. Grizzly bears in the lower-48 States currently occupy
             four ecosystems, two with high resiliency, one ecosystem with moderate resiliency, and one


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              SSA for Grizzly Bear in the Lower-48 States                                     January 2021


             ecosystem with low resiliency. Two ecosystems are currently functionally extirpated, with no
             resiliency, so do not contribute to redundancy. The four ecosystems are currently distributed
             from north to south and east to west as illustrated in Figure 5. Representation is currently
             captured by ecological diversity inherent within the four resilient ecosystems (Figure 5). For
             example, the GYE, contained in the Middle Rockies ecoregion, is dominated by forested,
             mountainous habitat, and dry sagebrush to the east and south, and includes hydrothermal features
             and other unique geologic features. The NCDE includes parts of the Great Plains, Middle
             Rockies, and Northern Rockies ecoregions, and habitat varies from wet forested lands west of
             Glacier Park to much drier habitat to the east, including prairie grasslands. The CYE and SE are
             both contained within the Rocky Mountains, and are characterized by wet, forested mountains.
             The BE is primarily contained in the Idaho Batholith ecoregion, and contains mountainous
             regions, canyons, dry, partly wooded mountains, grasslands, high glacial valleys, and hot dry
             canyons. The North Cascades is composed of high, rugged mountains, and has a high
             concentration of active glaciers.




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              SSA for Grizzly Bear in the Lower-48 States                                                                  January 2021




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               Current Condition                                              ID A HO

              -     High
                    Moderate
              _     Low                                                                                                WYO)1lNG
              _     Very l.nw
                                                                                   I kilometers I
                    Fxtirpated                                   140              280

             Figure 5. Map of the uvcluii Lu/ lent conaaiwijOr [lie six 3IL44i_y bear ecosystems in the lower-48 States, in terms of resiliency,
             redundancy, and representation. Colors represent the current resilieneyfor each ecosystem, based on the current condition of two
             habitat factors and six demographic factors for each ecosystem. Ecosystems with higher levels of resiliency are at less risk from
             environmental and demographic stochasticity. Currently, the Greater Yellowstone (GYE) and Northern Continental Divide
             (NCDE) ecosystems have high resiliency, the Selkirk ecosystem (SE) has moderate resiliency, and the Cabinet-Yaak ecosystem
             (CYE) has low resiliency. The North Cascades and Bitterroot (BE) ecosystems are in an extirpated condition currently, so have
             no resiliency. Four ecosystems (GYE, NCDE SE and CYE) distributed as illustrated on the map contribute to redundancy and
             these eeosystemsfeature a diversity of ecological types used by the grizzly bear for representation.



             Summary of Future Condit/bns

             We projected a range of plausible future conditions fer the grizzly bear in the lower-48 States, 30
             to 45 years into the future, a biologically meaningful timeframe that captures approximately two
             to three generation intervals for grizzly bear. A generation interval is defined for grizzly bears as
             the approximate time that it takes a female to replace herself in the population. For female
             grizzly bears, average generation intervals range from 10 to 15 years. Given the longevity of
             grizzly bears, up to 30 years in the wild, 2 to 3 generation intervals represent a time period
             during which a complete turnover of the population would have occurred and any positive or
             adverse changes in the demographics of the population would be detectable. This timeframe also
             considers the possibility that conservation measures that reduce and regulate potential stressors,



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             such as land management plans, could be revised by applicable land management agencies at
             least once.

             We used future scenario planning to describe plausible futures fer the grizzly bear and to capture
             uncertainty associated with the future. We developed two pessimistic future scenarios, two
             optimistic future scenarios, and one continuation future scenario. These future scenarios that we
             used to project the condition for the grizzly bear in the lower-48 States are:

                    Future Scenario 1 - Significantly Decreased Conservation: Under this scenario,
                    conservation actions decrease significantly, largely through the termination or non-
                    renewal of plans or regulations, and rate of private land development increases
                    dramatically ,
                    Future Scenario 2 - Decreased Conservation: Under this scenario, conservation
                    actions decrease, but not as significantly as Scenario 1, due to decreased effectiveness
                    and implementation of conservation actions and mechanisms, and rate of private land
                    development increases,
                    Future Scenario 3 - Continuation of Conservation: Under this scenario, conservation
                    actions continue at their same rate, magnitude, and effectiveness as current condition, and
                    rate of private land development remains the same,
                    Future Scenario 4 - Increased Conservation: Under this scenario, conservation
                    actions increase or improve, and rate of private land development decreases, and rate of
                    private land development decreases,
                    Future Scenario 5 - Significantly Increased Conservation: Under this scenario,
                    conservation actions increase significantly, and rate of private land development
                    decreases dramatically.

             Although there may be different probabilities associated with our future scenarios, all five of our
             scenarios are equally plausible for the purposes of our SSA analysis. Table 19 summarizes each
             of the future scenarios in more detail. We then used the same methodology that we used to
             evaluate current condition to project the resiliency for the six ecosystems 30 to 45 years into the
             future. We projected the future condition for the two habitat factors and six demographic factors
             for each of the five future scenarios and then calculated an overall resiliency score for each
             ecosystem under each scenario using the same weighted average. After evaluating resiliency, we
             then evaluated redundancy and representation for each future scenario.

             With a significant decrease in conservation under Scenario 1, there are subsequent decreases in
             resiliency across the habitat and demographic factors over the next 30 to 45 years (Table 3).
             Both the GYE and NCDE decrease in overall resiliency from high to moderate, the SE declines
             from moderate to very low, and the CYE declines from low to very low. While the four
             ecosystems are still distributed similarly to current condition within their respective ecological
             types, the resiliency of each ecosystem has decreased under this Scenario, given this decrease in
             resiliency, grizzly bears in the lower-48 States are also less able to withstand catastrophic risk
             and environmental change (Figure 6). In other words, as resiliency declines with decreased
             conservation under Scenario l, redundancy and representation decrease correspondingly.




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             With a decrease in conservation efforts under Scenario 2, potential decreases in overall resiliency
             are less severe than under Scenario l. Under Scenario 2, both the GYE and NCDE remain in
             high overall resiliency, the CYE remains in low resiliency, but the SE drops from moderate to
             low overall resiliency (Table 3). While the four ecosystems are still distributed similarly to
             current condition within their respective ecological types, the resiliency of one
             ecosystem decreases under this Scenario, given this decrease in resiliency, grizzly bears in the
             lower-48 States are also slightly less able to withstand catastrophic risk and environmental
             change (Figure 6). In other words, as resiliency declines with decreased conservation under
             Scenario 2, redundancy and representation decrease correspondingly.

             Under Scenario 3, the continuation scenario, all stressors and conservation efforts continue at
             their same rate and magnitude 30 to 45 years into the future. The current levels of funding and
             effectiveness and implementation of conservation actions and mechanisms stay the same under
             this scenario. As a result, the GYE and NCDE remain in high resiliency, the SE stays moderate
             resiliency, but the CYE improves in overall resiliency from low to moderate (Table 3). The BE
             and North Cascades ecosystems remain in a functionally extirpated condition, with no resiliency
             under the continuation scenario (Table 3). Redundancy and representation stay the same as
             current conditions under this scenario (Figure 6) .

             With an increase in conservation under Scenario 4, redundancy and representation improve, as
             both the BE and North Cascades shift from functionally extirpated condition with no resiliency
             to low resiliency. The GYE and NCDE remain in high resiliency, the SE remains moderate, and
             the CYE improves from low to moderate resiliency (Table 3). Risk from potential catastrophic
             events is now spread across six instead of four ecosystems (redundancy) with additional
             ecological diversity gained at the northwestern and central extents of the overall range
             (representation) (Figure 6).

             Future Scenario 5 is an optimistic scenario under which conservation increases significantly. As
             a result, resiliency, redundancy, and representation for the grizzly bear improve. Under this
             scenario, the GYE and NCDE stay in high resiliency, but the CYE and SE improve to high
             resiliency. The BE and North Cascades shift from functionally extirpated condition with no
             resiliency to low resiliency under this scenario (Table 3). Four ecosystems have high resiliency
             under this scenario, and catastrophic risk is spread across six ecosystems (redundancy) with
             additional ecological diversity gained at the northwestern and central extents of the overall range
             (representation) (Figure 6).




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             Table 3. Current and future conditions in terms of overall resiliency for six ecosystems for the grizzly bear in the lower-48
             States. NCDE= Northern Continental Divide Ecosystem, GYE= Greater Yellowstone Ecosystem, CYE= Cabinet-Yaak
             Ecosystem, SE: Selkirk Ecosystem, BE=Bitterroot Ecosystem. Future projections are 30 to 45 years into tnefuture under five
             plausible future scenarios: Scenario I= conservation decreases significantly, Scenario 2=conservation decreases, Scenario 3 =
             conservation stays the same, Scenario 4 = conservation increases, and Scenario 5 =conservation increases significantly.




                                        Current
                                       Condition
                                                      I    Future
                                                          Scenario 1
                                                                           Future
                                                                          Scenario 2
                                                                                              Future
                                                                                            Scenario 3
                                                                                            Continuation
                                                                                                               Future
                                                                                                              Scenario 4
                                                                                                                                Future
                                                                                                                               Scenario 5
                                                                                                                                     TT
                                                                          Conservation      Conservation      Conservation     Conservation
              GYE                                         Moderate             High            High              High              High
              NCDE                         High           Moderate             High      |I i i - ! i h - |                        High
              CYE                                                              Low           Moderate          Moderate            High
                                        Moderate                       I t Low               Moderate          Moderate            High
                                                                                                                                   Low
                                             X                X                 X                 X                OW

              North Cascades                 X                X                 X                 X

             Currently, redundancy for the grizzly bear is described as four ecosystems, the NCDE, GYE,
             CYE, and SE, as they are distributed from north to south and east to west across the lower-48
             States. Catastrophic risk is spread across these four ecosystems and their ecological diversity
             contributes to representation. Two ecosystems, the BE and North Cascades have no populations,
             are not resilient, so do not currently contribute to redundancy or representation. In 30 to 45
             years, redundancy is maintained across the future scenarios and never falls below the four,
             currently resilient ecosystems as they are distributed. Although redundancy stays the same from
             now to the future, if conservation efforts decrease, as under Scenarios l and 2, resiliency
             decreases and the four ecosystems are at greater risk to stochastic events. But if conservation
             efforts increase, as under Scenarios 4 and 5, resiliency in the BE and North Cascades improves,
             as does redundancy, as the number and distribution of ecosystems increases from four to six
             ecosystems. This improvement in redundancy reduces risk to the grizzly bear from catastrophic
             events (Table 4). To summarize redundancy across the future scenarios, catastrophic risk to the
             grizzly bear stays the same if conservation efforts continue at their current rate and effectiveness,
             catastrophic risk decreases with increased conservation as the BE and North Cascades improves
             from functionally extirpated to low resiliency, and catastrophic risk increases if conservation
             efforts are reduced. Representation declines with decreases as resiliency of the ecosystems
             decreased with decreased conservation efforts, stays the same with a continuation of
             conservation efforts, but ecological diversity increases if conservation efforts increase primarily
             through improving resiliency of the BE and North Cascades ecosystems .

             Our SSA characterizes the viability for the grizzly bear in the lower-48 States, or its ability to
             sustain populations in the wild over time, based on expert judgment and the best scientific
             understanding of its current and future abundance, distribution, and diversity. Based on our
             assessment of the 3Rs, currently and 30 to 45 years into the future, viability for the grizzly bear
             in the lower-48 States improves slightly if conservation efforts continue at their current rate and
             levels of effectiveness. If conservation efforts declines, viability also decreases. If conservation
             efforts increase, viability improves.


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             Table 4. Summary of eurrent and fUture (30 to 45 years) viability, in terms of resiliency, redundancy, and representation, for the
             grizzly bear in the lower-48 States.




                                                     Future                 Future           Future            Future            Future
                                         Current I Scenario 1              Scenario 2       Scenario 3        Scenario 4        Scenario 5
                                        Condition                                           Continuation
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             Figure 6. Current andfuture (30 to 45 years) conditions jbr resiliency, redundancy, and representation for grizzly bear in the lower-
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             List of Acronyms

             ARM            Administrative Rule of Montana
             B .C.          British Columbia
             BE             Bitterroot Ecosystem
             BIR            Blackfeet Indian Reservation
             BLM            Bureau of Land Management
             BMU            Bear Management Unit
             BORZ           Bears Outside Recovery Zone
             CS&KT          Confederated Salish and Kootenai Tribes
             CYE            Cabinet-Yaak Ecosystem
             DCA            Demographic Connectivity Area
             DMA            Demographic Monitoring Area
             DNRC           Montana Division of Natural Resources Conservation
             DPS            Distinct Population Segment
             EIS            Environmental Impact Statement
             FIR            Flathead Indian Reservation
             GNP            Glacier National Park
             GTNP           Grand Teton National Park
             GYE            Greater Yellowstone Ecosystem
             HCP            Habitat Conservation Plan
             I&E            Information and Education
             IDFG           Idaho Department of Fish and Game
             IGBC           Interagency Grizzly Bear Committee
             IGBST          Interagency Grizzly Bear Study Team
             IPCC           Intergovernmental Panel on Climate Change
             IRA            Inventoried Roadless Area
             JDR            John D. Rockefeller Memorial Parkway
             MFWP           Montana Fish, Wildlife, and Parks
             NCDE           Northern Continental Divide Ecosystem
             NF             National Forest
             NGO            Nongovernmental organizations
             NPS            National Park Service
             NRA            National Recreation Area
             OMRD           Open Motorized Route Density
             ROD            Record of Decision
             SE             Selkirk Ecosystem
             Service        U.S. Fish and Wildlife Service
             SSA            Species Status Assessment
             TMRD           Total Motorized Route Density
             TRU            Total reported and unreported
             USDA FS        U.S. Department of Agriculture Forest Service
             USDOI          U.S. Department of the Interior
             USFS           U.S. Forest Service
             USGS           U.S. Geological Survey
             WDFW           Washington Department of Fish & Wildlife


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             WGFD           Wyoming Game and Fish Department
             WRR            Wind River Reservation
             WSA            Wilderness Study Area
             YES            Yellowstone Ecosystem Subcommittee
             YNP            Yellowstone National Park




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             Chapter 1: Introduction and Analytical Framework
             This species status assessment (SSA) report summarizes the
             biology, life history, ecology, and stressors (threats) for the grizzly
             bear (Ursula arctos ho rribilis) in the conterminous (lower-48)
             United States (hereafter, grizzly bear). This report also summarizes                SPECIES' NEEDS
                                                                                                                      m
             the results of a biological risk assessment for the grizzly bear, using
                                                                                                   Current Availability
             the SSA framework (Service 2016, entire, Smith el al. 2018,
             entire). The SSA framework is an analytical approach to deliver                           those Needs
             foundational science to help inform the Service's decisions under
             the Act (Service 2016, p. 4). This SSA report is intended to
             provide a clear, in-depth characterization of the species' biology
             and ecology, the influence of environmental stressors and                         * Future    Aviilabiity
                                                                                                     or Condition d
             conservation management actions on the species' viability, its
             current biological status, also called its "current condition," and its
             projected, plausible future biological status, also called its "future             FUTURE spd

             condition," under a range of future scenarios. Viability describes
             the ability of a species to sustain populations in the wild over time     Figure 7. The SSA framework's three
             (Service 2016, p. 9). This SSA report for the grizzly bear is not         basic stages (Service 2016, p. 6).

             meant to accumulate all information regarding grizzly bears in North
             America, but provides foundational scientific information to help inform recovery planning and
             the U.S. Fish and Wildlife Service's (Service's) responsibilities under the Act, including a 5-year
             status review and other actions, as needed. This SSA report is a living document and can be
             easily updated as new scientific information becomes available in order to best support all
             functions of our Endangered Species program.

             Importantly, this SSA report does not make any decisions by the Service, such as whether a
             species' status under the Act should be changed. It is net a decision document constituting a
             final agency action. Instead, this SSA report provides a review of the best available scientific
             and commercial information regarding the biological status, or condition, of the grizzly bear.
             Thus, this SSA report is a stand-alone, science-based document produced independently from the
             Service's application of policy or regulation, and it provides a review of the available
             information strictly related to the life-history, ecology, stressors, and current and future viability
             of the grizzly bear. Any decisions under the Act, such as a 5-year status review
             recommendation, will be made by the Service after reviewing this document and all relevant
             laws, regulations, and policies, and the results of any decisions to change status will be
             announced in the Federal Register, with opportunities for public input, if appropriate.

             The SSA framework has three, iterative assessment phases, as summarized below and illustrated
             above in Figure 7.

                     Phase I: Species' Needs - An SSA begins by describing the ecological needs of the
                     species at the individual, population, and species levels based on how environmental
                     factors act on the species and its habitat.
                     Phase II: Current Species' Condition - Next, an SSA describes the current condition of
                     the species' habitat and demographic needs, and the probable explanations for past and


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                    ongoing changes in the abundance of populations the distribution and diversity of the
                    species.
                    Phase III: Future Species' Condition - Lastly, as SSA projects the species' response to
                    probable future scenarios of environmental conditions and conservation efforts.

             As a result, the SSA characterizes the species' viability, or its ability to sustain populations in the
             wild ever time, based on the best scientific understanding of its current and future abundance,
             distribution, and diversity (Service 2016, p. 6).

             Throughout this report, we describe the needs and viability of the grizzly bear in terms of the
             conservation biology principles of resiliency, redundancy, and representation, collectively known
             as the 3Rs (Shaffer and Stein 2000, pp. 307-310, Wolf et al. 2015, entire, Service 2016, pp. 12-
             13, 21, Smith et al. 2018, entire). The 3Rs are defined as follows:

                    Resiliency is the ability for populations to persist in the face of stochastic events, or for
                    populations to recover from years with low reproduction or reduced survival, and is
                    associated with population size, growth rate, and the quality and quantity of habitats.
                    Resiliency is positively related to abundance (population size) and growth rate, and may
                    be influenced by connectivity between populations. Populations need an abundance of
                    individuals within habitat patches of adequate quantity and quality to survive and
                    reproduce in spite of disturbance (Service 2016, p. 12).
                    Redundancy is the ability for the species to withstand catastrophic events, such as a rare
                    destructive natural event or episode involving many populations for which adaptation is
                    unlikely, and is associated with the number and distribution of populations. Redundancy
                    is about spreading risk among multiple populations to minimize potential loss of the
                    species from catastrophic events and is characterized by having multiple, resilient
                    populations distributed within the species' ecological settings and across the species'
                    range. Redundancy can be measured by the number of populations, their spatial extent,
                    and degree of connectivity.
                    Representation is the ability of a species to adapt to changes in the environment over
                    time and is associated with its diversity, whether ecological, genetic, behavioral, or
                    morphological. It is characterized by the breadth of genetic and environmental diversity
                    within and among populations and measures of representation may include the number of
                    varied occupied niches, genetic diversity, heterozygosity, alleles per locus, or other
                    geographic, genetic, or life history variation of the species.

             In general, species risk will decrease, or at least does not increase, with increases in
             representation, resiliency, and redundancy. In other words, the more redundant and
             representative the species is, and the more resilient its populations, the more likely the species is
             to sustain populations over time, even under changing environmental conditions. We use the
             3Rs together to characterize the current and projected future viability for the grizzly bear. For
             the purpose of this assessment, we define viability as the ability of the grizzly bear to sustain
             populations in natural ecosystems over a biologically meaningful timeframe, in this case, by
             approximately the middle of the 21st century (2050 to 2065). Viability is not a specific state, but
             rather a continuous measure of the likelihood that the species will sustain populations over time
             (Service 2016, p. 9). Therefore, exploring and describing the relationships of what influences the


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             3Rs given the species' unique life history does not result in a conclusion on whether the species
             is viable, but instead sets out foundational relationships used to explore potential changes from
             the species' current condition to its projected future conditions (Service 2016, p. 13). In
             addition, the term viability denotes a trajectory opposite to extinction and a focus on species
             conservation (Service 2016, p. 9). The 2050 to 2065 timeframe for this assessment is a period
             that allows us to reasonably project the duration of conservation efforts due to the typical
             duration of forest plans, potential effects of various stressors, and accounts for approximately
             two to three generation intervals of grizzly bear. This timeframe is consistent with the time scale
             for which we have data available for the grizzly bear and for which we can project conservation
             actions.

             In this SSA report, we:

                    First summarize grizzly bear biology, including its taxonomy, historical and current
                    distribution, its habitat, life history, and life cycle (Chapter 2) ,
                    Then summarize our regulatory history with grizzly bears and ongoing recovery efforts
                    and conservation partnerships (Chapter 3),
                    Then describe the ecological needs at the individual, population, and species (lower-48
                    States) levels in terms of resiliency, redundancy, and representation (Chapter 4) ,
                    Identify known stressors (threats) that negatively influence viability and the conservation
                    actions that positively influence viability (Chapter 5),
                    Then describe the current condition, also in terms of the resiliency of ecosystems, and the
                    redundancy and representation for the grizzly bear (Chapter 6), and
                    Finally, we project the response of the grizzly bear to probable future scenarios of
                    environmental conditions and conservation efforts (Chapter 7) and summarize a
                    comparison of projected future conditions with current condition (Chapter 8).

             The Service's decisions under the Act are based on an assessment of a species' risk of extinction.
             This SSA report is intended to inform an assessment of extinction risk by describing the grizzly
             bear's current biological status (Chapter 6) and assessing how this status may change in the
             future under a range of plausible future scenarios (Chapter 7). We evaluate the current biological
             status of the grizzly bear by assessing the factors that positively and negatively affect the grizzly
             bear (Chapter 5) and describe the current condition of the species in terms of the 3Rs (Chapter
             6). We then evaluate the future biological status by describing a range of plausible future
             scenarios representing a range of conditions for the primary factors affecting the species and
             forecasting the future condition for each scenario in terms of the 3Rs (Chapter 7).

             Core Conceptual Mode/ for Wab/7ity used for the SSA

             For our assessment of viability, we relied on the SSA framework's core conceptual model for
             resiliency to describe the current and future viability of grizzly bears in the lower-48 States, in
             terms of the 3Rs (Service 2016, p. 10, Smith et al. 2018, entire) (Figure 8). This conceptual
             model illustrates the relationship between habitat factors that are important to individuals,
             demographic factors that are important to populations, the resiliency of these populations, and
             the redundancy and representation at the species-level. As described in more detail below, for
             this SSA, we refer to populations of grizzly bear in the lower-48 States as ecosystems. Habitat


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             factors are those resources needed by individual grizzly bears to breed (including all stages of
             reproduction), feed, shelter, and survive from one stage in its life cycle to the next and allow
             successful dispersal of some individuals. Demographic factors include abundance and trends
             that ecosystems need to be resilient to stochastic events. In general, a species needs a certain
             number and distribution of resilient populations in order to withstand catastrophes (redundancy)
             and diversity to adapt to novel, environmental change (representation) .
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             Figure 8. Simple core conceptual model used for our analysis of viabilityfor grizzly bear in the lower-48 States, in terms of the oRs of
             conservation biology: resiliency, redundancy, and representation. Throughout this report, habitat factors are illustrated in green and
             demographic factors in red. Model based on the core conceptual model for the species status assessment (SSA)framework (Service
             2016, p. 10). Throughout our assessment, ecosystems are synonymous with populations and are the scale at winch we evaluated the oRs.



             Ecosystems to Eva/uate the 3Rs

             According to the SSA framework, at the population level we describe the resources,
             circumstances, and demographics that most influence the resiliency of a population. These may
             vary if populations are distributed across different ecological settings. Species viability
             corresponds to the resiliency of its populations, and therefore, it is necessary to understand and
             determine for the analysis how populations should be defined for the subject entity of the SSA
             analysis. For some species, identifying population structures or other delineations, may be
             helpful and necessary in order to evaluate resiliency (Service 2016, p. 12) .

             As described below in Chapter 3 under Geographic Boundaries for Recovery Planning, Federal,
             State, and Tribal partners have delineated a variety of geographic boundaries on maps, such as
             recovery zones, to illustrate areas important to grizzly bear recovery planning, and where grizzly
             bear populations occur. For the purposes of our SSA, we refer to populations of the grizzly bear
             in the lower-48 States as ecosystems. Therefore, we evaluated resiliency, redundancy, and
             representation at the scale of these ecosystems. As described in our recovery planning
             documents, ecosystems are areas that have the potential to provide adequate space and habitat to
             maintain the grizzly bear as a viable and self-sustaining species (Service 1993, p. 33). The plan
             acknowledged that linkage would be necessary for isolated populations to increase and sustain
             themselves at recovery levels (Service 1993, pp. 23, 24). Ecosystems are generally considered to
             be the larger area surrounding the recovery zones in which grizzly bears may be anticipated to
             occur as part of the same population. For this assessment, we evaluated the 3Rs at the scale of


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             the six ecosystems identified in the 1993 Recovery Plan (Service 1993), as described below
             (Figure 9) :

                    The Greater Yellowstone Ecosystem (GYE) is located in northwest Wyoming, eastern
                    Idaho, and southwestern Montana and refers to the larger ecological system containing
                    and surrounding Yellowstone National Park (YNP). The GYE includes portions of five
                    National Forests (NFs), YNP, Grand Teton National Park (GTNP), and the John D.
                    Rockefeller Memorial Parkway (JDR, administered by GTNP), and State, Tribal, and
                    private lands. The GYE is generally defined as those lands surrounding YNP with
                    elevations greater than 1,500 meters (m) (4,900 feet (ft)) (see U.S. Department of
                    Agriculture Forest Service (USDA FS) 2004, p. 46, Schwartz et al. 2006b, p. 9). While
                    we consider the terms "Greater Yellowstone Area" and "Greater Yellowstone
                    Ecosystem" to be interchangeable, we use GYE. In the GYE, plant communities vary
                    from grasslands at lower elevations (less than 1,900 m (6,230 ft)) to conifer forests at
                    mid-elevations and subalpine and alpine meadows at higher elevations (greater than
                    2,400 m (7,870 ft));
                    The Northern Continental Divide Ecosystem (NCDE) is located in northwest Montana
                    and refers to the larger ecological system containing and surrounding Glacier National
                    Park (GNP), and is the southern portion of a larger Rocky Mountain divide population
                    that spans the U.S.-Canada border. The NCDE also includes portions of four NFs (the
                    Flathead, Helena-Lewis and Clark, Kootenai, and Lolo), State, Bureau of Land
                    Management (BLM), Tribal, and private lands. The NCDE is part of the Canadian
                    Rockies, Middle Rockies, Northern Rockies, Northwestern Glaciated Plains, and
                    Northwestern Great Plains ecoregions (Woods et al. 1999, entire). Plant communities
                    vary from short grass prairie and wheat fields at lower elevations (less than 1,900 m
                    (6,230 ft)) on the eastern foothills to extensive conifer forests at mid-elevation and
                    subalpine and alpine meadows at higher elevations (greater than 2,400 m (7,870 ft)) in
                    the mountainous core,
                    The North Cascades Ecosystem (North Cascades) constitutes a large block of
                    contiguous habitat that spans the international border but is isolated from grizzly bear
                    populations in other parts of the U.S. and Canada. The U.S. portion of the ecosystem is
                    bounded roughly by the Okanogan Highlands and Columbia Plateau on the east,
                    Snoqualmie Pass to the south, the Puget lowlands to the west, and the Canadian border to
                    the north. The recovery zone encompasses all of North Cascades National Park Complex
                    (North Cascades National Park, Ross Lake National Recreation Area (NRA), and Lake
                    Chelan NRA), portions of two NFs (the Mount Baker-Snoqualmie, and Okanogan-
                    Wenatchee), State, Tribal, and private lands. The ecosystem spans the crest of the
                    Cascade Range from the temperate rainforests of the west side to the dry ponderosa pine
                    forests and sage-steppe on the east side, and comprises one of the most intact wildlands in
                    the contiguous United States,
                    The Selkirk Ecosystem (SE) refers to the larger ecological system surrounding the
                    recovery zone in northwest Idaho, northeast Washington, and southeast British Columbia
                    (B.C.). The SE includes portions of two NFs (the Idaho Panhandle and Colville), State,
                    Tribal, and private lands. The SE recovery zone includes part of Canada because the
                    habitat in the U.S. portion was thought to not be of sufficient size to support a minimum
                    population (Service 1993, p. 12) and the biological population (comprised of contiguous


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                    occupied habitat) extends into Canada up to B.C. Highways (Hwys.) 3 and 3A (Proctor et
                    al. 2005, p. 2410, Proctor et al. 2012, p. 14). However, because the grizzly bear in the
                    lower-48 States is the listed entity and the subject of this biological report, we did not
                    consider grizzly bears in Canada as part of our analysis except when the best available
                    data for the relevant demographic factors, such as population trend and abundance,
                    include the Canadian portion of this ecosystem in their estimation. We acknowledge this
                    assumption in our evaluation of current and future condition. The SE ranges in elevation
                    from 540 m (1,772 ft) to 2,375 m (7,792 ft), and includes vegetation dominated by
                    various forested types,
                    The Cabinet-Yaak Ecosystem (CYE) refers to the larger ecosystem surrounding the
                    recovery zone in northwest Montana and northeast Idaho. It includes portions of three
                    NFs (the Kootenai, Idaho Panhandle, and Lolo), State, and private lands. The Kootenai
                    River bisects the CYE, with grizzly bear habitat within the Cabinet Mountains to the
                    south and the Yaak River drainage to the north, which has partially isolated the Cabinet
                    portion of this ecosystem from a bear movement and breeding perspective (Proctor et al.
                    2012, p. 14, Kasworm et al. 2020, p. 32). The Yaak portion of this ecosystem extends
                    into Canada to B.C. Hwy. 3 in what is contiguous occupied habitat (Proctor et al. 2005, p.
                    2410, Proctor et al. 2012, p. 14, Kasworm et al. 2020a, p. 32). Elevations range from
                    610 m (2,001) to 2,664 m (8740 ft), and vegetation is diverse with climax forest species,
                    open huckleberry shrub fields, and lush riparian meadows throughout the area,
                    The Bitterroot Ecosystem (BE) refers to the larger ecological system surrounding the
                    recovery zone in central Idaho and western Montana, and includes portions of four NFs
                    (the Nez Perce-Clearwater, Bitterroot, Lolo, and Salmon-Challis), State, and private lands
                    (Service 1996, p. 1, 65 FR 69624, November 17, 2000, Service 2000, pp. 1-3). The
                    recovery zone encompasses two large wilderness areas, and is one of the largest
                    contiguous blocks of public land remaining in the lower-48 States. Elevations range from
                    457 m (1,500 ft) along the Clearwater River to 3,859 m (12,662 ft) on Borah Peak.
                    Vegetation communities range from dry pine forests in the south to wetter cedar-hemlock
                    forests primarily in the north.

             Because the currently listed entity fer grizzly bear is the entire lower-48 United States (40 FR
             31734, July 28, 1975, 50 CFR 17.11), we discuss historical range in the lower-48 States in
             addition to these six ecosystems in Historical Range and Distribution, below (Figure 14).
             Records show that grizzly bears historically existed throughout all or portions of only 18 western
             States (i.e., Washington, Oregon, California, Idaho, Montana, Wyoming, Nevada, Colorado,
             Utah, New Mexico, Arizona, North Dakota, South Dakota, Minnesota, Nebraska, Kansas,
             Oklahoma, and Texas) (Servheen 1989, pp. 1-2, Service 1993, p. 9, Servheen 1999, pp. 50-51).
             The original 1975 listing erroneously includes areas outside this historical range, therefore, we
             exclude these erroneously included areas from our analysis.




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             Figure 9. Recovery zones (RZ) and demographic monitoring w. eas \-.,..,), where applicable, for the six ecosystems identified in the
             Recovery Plan, the Northern Continental Divide (NCDE), Greater Yellowstone (GYE), Cabinet-Yaak (CYE), Selkirk (SE), Bitterroot
             (BE) and North Cascades ecosystems. DMAs surround and include the recovery zones in the GYE and NCDE. The Service has not
             defined ecosystem boundaries for any of the ecosystems across the lower-48 States, but for the purposes of our analysis, ecosystems
             are generally the larger area surrounding the recovery zone. For our SSA, we evaluated resiliency at the scale of these ecosystems,
             which are synonymous with populations for our assessment.



             Analytka/ Framework used for the Species Sta tus Assessment

             We followed the three-phase SSA framework for our biological risk assessment of the grizzly
             bear in the lower-48 States. The three phases of the analysis are identifying the needs at the
             individual, population, and species levels, then evaluating the current condition and future
             condition of those needs (Service 2016, p. 6, Smith et al. 2018, entire). Specifically, the SSA-
             framework begins with an assessment of the species needs, followed by an assessment of the
             current condition of those needs, considering positive and negative factors that influence
             resiliency, and ending with an evaluation of the projected future condition of those same needs
             (Service 2016, p. 6). Throughout our analysis for this SSA, ecosystems are synonymous with
             populations.

             Figure 10 is a conceptual model for our SSA for grizzly bear in the lower-48 States, based on the
             SSA's three-phase framework and the core conceptual model for viability in terms of the 3Rs.


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             As summarized in this report, we first reviewed the life history, ecology, historical and current
             range and distribution, life stages, and life cycle for the grizzly bear (Chapter 2). We also
             reviewed recovery planning and other conservation efforts (Chapter 3). Next, based on our
             review of the life history and ecology, we identified the habitat factors needed by individuals, the
             demographic factors needed in the grizzly bear ecosystems, and the redundancy and
             representation needed by grizzly bears within the lower-48 States (Chapter 4). Then we
             evaluated stressors and conservation actions that affect resiliency, either positively or negatively,
             by directly influencing demographic factors and indirectly by influencing habitat factors
             (Chapter 5). We then evaluated the current condition for each of these habitat and demographic
             needs for each of the six ecosystems, and then summarized current condition for grizzly bear in
             terms of the 3Rs (Chapter 6). Finally, we developed future scenarios to capture that range of
             uncertainty regarding future conservation actions and repeated the evaluation of condition for all
             six ecosystems, under each future scenario, using the same methodology that we used to evaluate
             current condition (Chapter 7). We then summarized the change in conditions from current to
             future to summarize risk to the grizzly bear in the lower-48 States in terms of the 3Rs (Chapter
             8).




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              I PHASE II:         I E Identify and evaluate sources, stressors, and                       rI        Evaluate the current condition of the habitat and demographic factors, and                                                                                                                            Describe current                     I
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              I CURRENT           I : conservation efforts. which currently may affect the                l
                                                                                                           »->      evaluate             the      current            overall          resiliency             for     each         ecosystem                  using          a    calibrated,                   9
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              I CONDITION         I I resiliency of ecosystems.                                            4       categorical                 scale         for     resiliency.                                                                                                                                I       E   representation   for the             \   PHASE Iv. STEP 1:
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              I     v             I PHASE III. STEP 1:                                                     4
                                                                                                           |       pHASE III, STEP 4                                                                                                                                                                                                                                 to future condition.
              I                   I Identify and evaluate sources, stressors, and                          4
                                                                                                                    Evaluate future conditions for each of the habitat and demographic factors,
              I PHASE III:        I conservation efforts, which may affect the resiliency of 5 - L and evaluate the future resiliency for each ecosystem, under each plausible                                                                                                                                                                                     ....................................
              I  FUTURE           I ecosystems, into the future. Develop future scenarios                           future scenario, using the same evaluation methodology used to evaluate
              I                   I that capture the breadth of uncertainty associated with ll                II current condition.
              I CONDITION    I    I the future.                                                           r|   II
               \                    .....................................................................I      II                                                                                                                                                                                                       ................................
             Figure 10. A conceptual model of our analyticalframeworkfor the SSA that we used zo evaluate current and fUture condition for the grizzly bear in the lower-48 States. The three-phase
             SSA framework (species needs, current condition, and future condition) and the core conceptual model for viability guided our analysis (Service 2016, p. 6; Smith et al. 2018, entire).
             Green arrows represent positive relationships between nodes and red arrows represent negative relationships between nodes. Dashed boxes and arrows represent the steps of our analysis.
             Throughout our SSA, ecosystems are synonymous with populations.




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             Chapter 2: Description, Distribution, and Ecology of the Lower-48
             In this chapter, we describe the grizzly bear in the lower-48 States, as well as its taxonomy,
             historical and current distribution, and life history. This review provides scientific background
             on grizzly bear life history and ecology in advance of our identification of ecological needs at the
             individual, ecosystem, and lower-48 States levels in Chapter 4.

             Species Descr/pt/bn

             Grizzly bears are generally larger and heavier than other bears. Adult males average 200 to 300
             kilograms (kg) (400 to 600 pounds (lb)) and adult females 110 to 160 kg (250 to 350 lb) in the
             lower-48 States (Craighead and Mitchell 1982, pp. 517-520, Schwartz et al. 2003a, p. 558).
             Although their coloration can vary widely from light brown to nearly black (LeFranc et al. 1987,
             pp. 17-18), they can be distinguished from black bears by longer less curved front claws,
             humped shoulders, and a facial profile that appears to be concave (Craighead and Mitchell 1982,
             p. 517). The coat features longer guard hairs over a dense underfur with tips that are usually
             silver or golden in color - hence the name "grizzly" (Figure 11). Grizzly bears are long-lived
             mammals, generally living to be around 25 years old (LeFranc et al. 1987, pp. 47, 51), although
             some wild bears have lived for over 35 years.




             Figure I I. Grizzly bears in the lower-48 States are larger and heavier than other bears, with coloration that can vary widely from light
             brown to nearly black and long guard hairs that give a "grizzled" appearance (Photos by U.S. Fish and Wildlife Service).



             Taxonomy

             Grizzly bears (Ursula arctos ho rribilis) are a member of the brown bear species (U. arctos) that
             occurs in North America, Europe, and Asia. The subspecies U. a. ho rribilis is limited to North
             America (Rausch 1963, p. 43, Servheen 1999, pp. 50-53) and is a widely recognized subspecies
             of brown bear that historically existed throughout much of continental North America, including
             most of western North America from the Arctic Ocean to central Mexico (Hall 1984, pp. 4-9,
             Trevino and Jonkel 1986, p. 12). Grizzly bears in the conterminous (lower-48) United States are




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             listed as threatened under the Act, and are the subject of this SSA report. Throughout this report
             we use "grizzly bear" to refer to this listed entity in the lower-48 States.

             LIfe Stages and LIfe Cycle

             Grizzly bears have three life stages: dependent young, subadults, and adults (Figure 12).
             Dependent young are usually less than two years old and depend on and are associated with their
             mother, relying on her for food, protection, and survival. There are two primary sub-categories
             of dependent young: (1) cubs-of-the-year or cubs, defined as cubs born during the most recent
             denning season and less than one year old, and (2) yearlings. Cubs nurse after birth in the den
             and after den emergence, but also increasingly eat foods with their mother once outside the den.
             Yearlings den with their mother but do not nurse in the den. Outside of the den, yearlings eat the
             same foods as their mother, but also occasionally nurse.

             Shortly after den emergence, two-year-old offspring generally leave their mother to become
             subadults. Subadults are typically not sexually mature enough to breed, however, a small
             percentage of 3-year-old females do breed and produce cubs as 4-year-olds. Some subadults,
             generally males, may disperse away from their mother and establish their own home range (see
             Behavior and Lzfe History below for further details) .

             Adult bears are more than four years old and have reached sexual maturity. Some bears may not
             breed until they are older than five years old, but they have the ability to reproduce once they
             reach the adult stage. Adults generally live into their mid- to late-20s (LeFranc et al. 1987, pp.
             47, 5 l, van Manen et al. 2014, p. 326), although some wild bears have lived for over 35 years.
             Female reproductive senescence starts around age 25 for those long-lived individuals (Schwartz
             et al. 2003b, p. ll4).

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                                       SUB-ADUL7S
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                                                                                                  DEPENDENT YOUNG
                                      2 to 4 years old                                       0-2 years old spent with mother
                                   Do not breed.                                             1. Cubs (0-1 year old)
                                   May disperse and establish                                2. Yearlings (1-2 years old)
                                   new home ranges.
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             Figure 12. Life cycle diagram for the grizzly bear, with three je stages: dependent young, subadults, and adults. There are two
             sub-stages of dependent young: cubs and yearlings.




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             Ha bits t

             Grizzly bears use a variety of habitats (LeFranc et al. 1987, p. 120). In general, a grizzly bear's
             individual habitat needs and daily movements are largely driven by the search for feed, water,
             mates, cover, security, or den sites. The available habitat for bears is also influenced by people
             and their activities. Human activities are the primary factor impacting habitat security and the
             ability of bears to find and access foods, mates, cover, and den sites. Other factors influencing
             habitat use and function for grizzly bears include overall habitat productivity (e.g., food
             distribution, quality, and abundance), the availability of habitat components (e.g., denning areas,
             cover types), grizzly bear social dynamics, learned behavior and preferences of individual grizzly
             bears, grizzly bear population density, and random variation. Water is an important habitat
             requirement, however, we have no information to suggest that water is limiting in the habitat that
             bears currently occupy, but may have limited distribution in portions of historical range.

             The six ecosystems occur in mountainous ecoregions and each provide the habitat heterogeneity
             necessary for adequate food, denning, and cover resources. Because there are limited
             opportunities to increase or control these habitat components, the objective for grizzly bear
             habitat management has been and continues to be to reduce or mitigate the risk of human-caused
             mortality and displacement. An effective habitat management tool for reducing grizzly bear
             mortality risk on public lands is managing motorized access to ensure bears have secure areas
             away from humans (Nielsen et al. 2006, p. 225, Schwartz et al. 20lOa, p. 661). Unmanaged
             motorized access: (l) increases human interaction and potential grizzly bear mortality risk, (2)
             increases displacement from important habitat, (3) increases habituation to humans, and (4)
             decreases habitat where energetic (i.e., food) requirements can be met (Mattson et al. 1987, pp.
             269-271, McLellan and Shackleton 1988, pp. 458-459, McLellan 1989, pp. 1862-1864, Mace
             et al. 1996, pp. 1402-1403, Schwartz et al. 2010a, p. 661). Managing motorized access on
             public lands helps ameliorate these impacts. Other habitat management tools that minimize
             displacement and reduce grizzly bear mortality risk include regulating livestock allotments and
             developed sites on public lands. Implementing food storage orders on public lands also reduces
             mortality risk for both humans and grizzly bears. Requiring users and recreationists in grizzly
             bear habitat to store their food, garbage, and other bear attractants so that they are inaccessible to
             bears reduces encounters and human-grizzly bear conflicts. In addition, encouraging users and
             recreationists to carry bear spray and know how to use it helps reduce the potential for injury to
             people and bears.

             The primary factors affecting grizzly bears at both the individual and ecosystem levels are
             excessive human-caused mortality and human activity that reduces the quality and quantity of
             habitats, which increases the potential for human-caused mortality, both directly and indirectly.
             Regulating human-caused mortality through habitat management is an effective approach, as
             evidenced by increasing grizzly bear populations in the lower-48 States where motorized access
             standards exist and have been met (e.g., GYE and NCDE). This requires ongoing monitoring of
             the grizzly bear population to understand if it is sufficiently resilient to allow for a conservative
             level of human-caused mortality without causing population decline. Although motorized access
             standards exist in the CYE and SE that have contributed to a positive population trend, these
             standards have not yet been fully implemented. The BE recovery zone is 98 percent wilderness,
             however, motorized access standards have not been developed for adjacent areas to the north and


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             east, where female occupancy is necessary for natural recolonization of the BE. The North
             Cascades has a "no net loss" policy (USDA FS 1997, entire), however, we have not evaluated
             whether this 1997 "no net loss" approach provides an adequate amount of secure habitat for a
             healthy grizzly bear population.

             Beha war and LIfe I-//Sto/y

             Home Range

             Adult grizzly bears are normally solitary except when breeding or when females have dependent
             young (Nowak and Paradiso 1983, p. 971), but they are not territorial and home ranges of adult
             bears frequently overlap (Schwartz et al. 2003a, pp. 565-566). Home range size is affected by
             resource availability, sex, age, and reproductive status (LeFranc et al. 1987, p. 31, Blanchard and
             Knight 1991, pp. 48-51, Mace and Waller 1997b, p. 48). Generally, females with cubs-of-the-
             year or yearlings have the smallest home range sizes (Aune and Kasworm 1989, p. 53, Blanchard
             and Knight 1991, pp. 48-49, Mace and Roberts 2011, pp. 26-28). Table 5 shows the average
             annual home range sizes observed in each ecosystem for adult males and females. The large
             home ranges of grizzly bears, particularly males, enhance maintenance of genetic diversity in the
             population by enabling males to mate with numerous females (Blanchard and Knight 1991, pp.
             46-51, Craighead et al. 1998, p. 326).

             Young, female grizzly bears usually establish home ranges within or overlapping their mother's
             (Waser and Jones 1983, p. 361, McLellan and Hovey 2001, pp. 841, 843, Schwartz et al. 2003a,
             p. 566). This pattern of home range establishment can make dispersal of females across
             landscapes a slow process. Radio-telemetry and genetic data suggest females typically establish
             home ranges an average of 9.8 to 14.3 km (6.1 to 8.9 mi) away from the center of their mother' s
             home range, whereas males generally disperse farther, averaging 29.9 to 42.0 km (18.6 to 26.0
             mi) away from the center of their mother's home range (McLellan and Hovey 2001, p. 842,
             Proctor et al. 2004, p. 1108). Maximum male dispersal distances of 67-176 km (42-109 mi)
             have been documented in the GYE and NCDE (Blanchard and Knight 1991, pp. 50, 55,
             McLellan and Hovey 2001, p. 841, Peck et al. 2017, p. 2). Studies also indicate that females can
             and do disperse long distances up to 80-90 km (50-56 mi), typically on the periphery of
             expanding populations. Although the frequency of long-distance dispersal by females is much
             lower than males, it can contribute to range expansion and demographic connectivity between
             populations (Swenson et al. 1998, pp. 822-824, Jerina and Adamic 2008, pp. 1495-1497).
             Table 5 shows the average annual home range sizes observed in each ecosystem for adult males
             and females, home range sizes vary among the ecosystems because of population densities and
             habitat productivity (Mace and Roberts 2011, p. 28, Bjornlie et al. 2014b, p. 5) as well as
             methodology .




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             Table 5. Average annual home range sizes for adult male and female grizzly bear in the six ecosystems (NCDE = Northern
             Continental Divide Ecosystem; GYE = Greater Yellowstone Ecosystem; CYE = Cabinet-Yaak Ecosystem; SE = Selkirk
             Ecosystem; and BE = Bitterroot Ecosystem).




                     NCDE                358 km (138 mi)           1,364 km (527 mf)                MFWP, unpublished data*


                      GYE                 130 km (50 mi)            475 km (183 min)          Bjornlie et al. 2014b, supplement 3**


                      CYE                329 km (127 m12)          2,162 km (835 mf)                  Kasworm 2020, in lift.*


                        SE               297 km (115 m12)           624 km (241 m12)                  Kasworm 2020, in lift.*


                       BE                        NA                         NA                                  NA


                 North Cascades                  NA                         NA                                  NA

             * Using 100% minimum convex polygons
             ** Using 95% minimum convex polygons

             Breen?/7g


             Grizzly bears have a promiscuous mating system (Hornocker 1962, p. 70, Craighead and
             Mitchell 1982, p. 522, Schwartz et al. 2003a, p. 563). Mating occurs from May through July
             with a peak in mid-June (Craighead and Mitchell 1982, p. 522, Nowak and Paradiso 1983, p.
             971). Although females mate in spring and early summer, their fertilized embryos do not
             implant into the uterus for further development until late fall. Fat stores obtained by female
             grizzly bears at the end of fall are positively correlated with earlier birth dates and faster growth
             rates of their cubs (Robbins et al. 2012, p. 543). Additionally, a body fat threshold may exist
             below which females may not produce cubs, even when bred (Robbins et al. 2012, p. 543). Cubs
             are born in the den in late January or early February and nurse for 3 to 4 months inside the den.
             Offspring typically remain with the female for about 2.5 years. Age of first reproduction, litter
             size, and inter-birth interval (the average number of years between litters) may be related to
             nutritional state and/or density dependent effects (Stringham 1990, p. 433, McLellan 1994, p. 20,
             Hilderbrand et al. 1999, pp. 135-136, Schwartz et al. 2006b, p. 21, van Manen et al. 2016, pp.
             307-308, Hilderbrand et al. 2019, pp. 115-116).

             Table 6 lists the average age of first reproduction, litter size, and inter-birth interval for each
             ecosystem.




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             Table 6. Average age of first reproduction, litter size, and inter-birth interval for the six ecosystems (NCDE = Northern
             Continental Divide Ecosystem; GYE = Greater Yellowstone Ecosystem; CYE = Cabinet Yaak Ecosystem; SE = Selkirk
             Ecosystem; and BE = Bitterroot Ecosystem).




                                                                                                         Mace and Waller 1997a, p. 108, Costello
                      NCDE                      5.8                   2.1                   3
                                                                                                                et al. 2016b, pp. 56-57
                                                                                                            Schwartz et al. 2006b, pp. 19-20,
                       GYE                      5.8                  2.12                 2.78
                                                                                                                  IGBST 2012, p. 34
                       CYE                      6.3                  2.19                  3.0                Kasworm et al. 2020a, pp 37-38

                        SE                      6.3                  2.18                  3.4               Kasworm et al. 2020b, pp. 25-26.

                        BE                     NA                    NA                    NA                                 NA

                North Cascades                 NA                    NA                    NA                                 NA


             Grizzly bears have one of the slowest reproductive rates among terrestrial mammals, resulting
             primarily from the reproductive factors described above: late age of first reproduction, small
             average litter size, and the long inter-birth interval (Nowak and Paradiso 1983, p. 971, Schwartz
             et al. 2003a, p. 564). Given the above factors, it may take a female grizzly bear 10 or more years
             to replace herself in a population (Service 1993, p. 4). The slow reproductive rate should also be
             understood in the context of having one of the longer life spans of terrestrial mammals (Ursula
             arctos in 90th percentile for longevity) (Healy et al. 2014, entire). A population is made up of
             numerous overlapping generations. It is possible for mothers, daughters, and granddaughters to
             be reproductively active at the same time. Grizzly bear females typically cease reproducing
             some time in their mid-to-late 20s (Schwartz et al. 2003b, pp. 109-110).

             Hibernia son and Denning

             Grizzly bears hibernate in winter, hibernation is a life history strategy bears use to cope with
             seasons of low food abundance. In preparation for hibernation, bears increase their food intake
             dramatically during a process called hyperphagia (Craighead and Mitchell 1982, p. 544) .
             Hyperphagia occurs throughout the 2 to 4 months prior to den entry (i.e., August through
             November). During hyperphagia, excess food is converted into fat, and grizzly bears may gain
             as much as 1.65 kg/day (3.64 lb/day) (Craighead and Mitchell 1982, p. 544). Grizzly bears must
             consume foods rich in protein and carbohydrates in order to build up fat reserves to survive
             denning and post-denning periods (Rode and Robbins 2000, pp. 1643-1644, McLellan 2011, p.
             554, McLellan 2015, p. 760). Fat stores are crucial to the hibernating bear as they provide a
             source of energy and insulate the bear from cold temperatures, and are equally important in
             providing energy to the bear upon emergence from the den when food is still sparse relative to
             metabolic requirements (Craighead and Mitchell 1982, p. 544). However, we are unaware of a
             minimum body fat threshold for survival during the denning period and documentation of natural
             mortality in independent-age bears is low for non-collared individuals (see Natural Mortality for
             further discussion) .




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             Grizzly bears in the lower-48 States hibernate in dens for four to six months each year, typically
             entering dens between October and December, with males entering their dens later than females
             (Mace and Waller l997a, p. 39, Linnell et al. 2000, p. 401, Haroldson et al. 2002, p. 29,
             Kasworm et al. 2020a, pp. 49-52, Kasworm et al. 2020b, pp 32-35). Females give birth to cubs
             in the den in late January to early February. On average, males exit dens from early March to
             late April (Haroldson et al. 2002, p. 29, Kasworm et al. 2020a, pp. 49-52, Kasworm et al.
             2020b, pp 32-35, Interagency Grizzly Bear Study Team (IGBST), unpublished data, Montana
             Fish, Wildlife and Parks (MFWP), unpublished data). Females typically emerge from their dens
             from mid-March to mid-May, with females with cubs emerging later from mid-April to late-May
             (Mace and Waller l997a, p. 37, Haroldson et al. 2002, p. 29, Kasworm et al. 2020a, pp. 49-52,
             Kasworm et al. 2020b, pp 32-35, IGBST, unpublished data, MFWP, unpublished data).

             Grizzly bears typically hibernate alone in dens, except for females with young and subadult
             siblings who occasionally hibernate together. Grizzly bears usually dig dens on steep slopes
             where wind and topography cause an accumulation of deep snow and where the snow is unlikely
             to melt during warm periods. Most dens are located at higher elevations, above 2,500 m (>8,000
             ft) in the GYE and 1,942 m (6,400 ft) in the NCDE (Mace and Waller 1997a, p. 39, Haroldson et
             al. 2002, p. 33) and on slopes ranging from 30 to 60 degrees (Judd et al. 1986, p. 115, Mace and
             Waller 1997a, pp. 39-40). Approximately 66 percent (6,815 km2 (2,631 mi2)) of the GYE is
             potential denning habitat, and it is well distributed, so its availability is not considered a limiting
             factor for grizzly bears in the GYE (Podruzny et al. 2002, p. 22). In the NCDE, approximately
             29 percent (6,815 km; (2,631 mi2)) of the recovery zone is potential denning habitat, its
             availability is not considered a limiting factor for grizzly bears in the NCDE (Costello 2018, in
             list.). In the CYE, the majority of den sites occurred above 1,600 m (5,248 ft), often on northerly
             and easterly aspects, though all aspects were used (Kasworm et al. 2020a, p. 53). In the SE, the
             majority of dens were located above 1,600 m (5,248 ft), often on easterly aspects, but all aspects
             were used (Kasworm et al. 2020b, p. 36). Given the variety of den site use, den availability does
             not appear to be a limiting factor for populations at this time in the CYE or SE. The North
             Cascades contains large areas at high elevations with isolated, steep, snow-packed slopes and
             many natural caves to serve as potential den sites. Additional areas associated with ridge
             systems stemming from major volcanic peaks may provide den sites at lower elevations within
             the North Cascades (Almach et al. 1993, p. 23). Davis and Butterfield (1991, p. 26) assessed the
             northern part of the BE recovery zone and areas to the immediate north and concluded that deep
             snow and mountainous terrain provides adequate denning habitat.

             Denning increases survival during periods of food scarcity and inclimate weather (Craighead and
             Craighead 1972, pp. 33-34). During this period, bears do not eat, drink, urinate, or defecate
             (Folk et al. 1974, pp. 376-377, Nelson 1980, p. 2955). Hibernating grizzly bears exhibit a
             marked decline in heart and respiration rate, but only a slight drop in body temperature (Nowak
             and Paradiso 1983, p. 971). Due to their relatively constant body temperature in the den,
             hibernating grizzly bears may be aroused and have been known to exit or relocate dens when
             disturbed by seismic or mining activity (Harding and Nagy 1980, p. 278, Reynolds et al. 1986, p.
             174) or other human activities (Swenson et al. 1997, p. 37). Dens are rarely used twice by an
             individual, although individuals usually use the same general area from year-to-year (Servheen
             and Klaver 1983, p. 205, Schoen et al. 1987, p. 300, Miller 1990, p. 285, Linnell et al. 2000, p.
             403). Females display stronger area fidelity than males and generally stay in their dens longer,



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             depending on reproductive status (Judd et al. 1986, pp. 113-114, Schoen et al. 1987, p. 300,
             Miller 1990, p. 283, Linnell et al. 2000, p. 403). Females with cubs usually spend a few weeks
             close to their den upon emergence, unlike solitary bears.

             Cover

             Grizzly bears use a variety of cover types to rest and shelter. Grizzly bears often select bed sites
             with horizontal and vertical cover, especially at day bed sites (Ordiz et al. 201 l, p. 63)
             suggesting that bed site selection is important for concealment from humans. Blanchard (1978,
             pp. 27-29) documented the relative importance of cover to grizzly bears in a 4-year study in the
             GYE. Ninety percent of 2,261 aerial radio locations of 46 instrumented grizzly bears were in
             forest cover too dense to observe the bear. Sahlen et al. (2011, p. 156) also found that brown
             bears in Sweden denned in denser cover when closer to villages. Blanchard (1978, p. 45)
             recorded the importance of an interspersion of open areas as feeding sites associated with cover:
             "Only 1 percent of the relocations were in dense forest more than a kilometer from an opening."
             This is likely because diverse habitat complexes, such as forest interspersed with moist grass-
             forb meadows, provide both abundant food and cover. Generally, areas with vegetative cover
             are important to grizzly bears for use as bedding sites (Servheen and Lee 1979, pp. 57, 60,
             Munro et al. 2006, p. 1119). Schallenberger and Jonkel (1980, p. 54) found that grizzly bears
             preferred forest in over 80 percent of their radio relocations. Beds underneath any type of
             vegetative cover (not necessarily always forest cover) provide bears shade during the hottest
             parts of the day and a place to sleep at night.

             Nutrinbna/ Ecology (Feed/bg)

             The lower-48 States provides highly diverse landscapes containing a wide array of habitat types
             and bear foods across and within the ecosystems. Plant communities vary from grasslands at
             lower elevations (less than 1,900 m (6,230 ft)) to shrub fields created by fires, avalanches, or
             timber harvest, to conifer forests at mid-elevations and subalpine and alpine meadows at higher
             elevations (greater than 2,400 m (7,870 ft)). Grizzly bears are opportunistic omnivores and
             display great diet plasticity-even within a population (Edwards et al. 201 l, pp. 883-886),
             shifting their diet according to foods that are most nutritious (i.e., high in fat, protein, and/or
             carbohydrates) and available (Mealey 1980, pp. 284-291, Servheen 1981, pp. 99-102, Kendall
             1986, pp. 12-18, Mace and Jonkel 1986, p. 108, Martinka and Kendall 1986, pp. 21-22, LeFranc
             et al. 1987, pp. 111-114, Aune and Kasworm 1989, pp. 63-71, Kasworm and Thier 1993, pp.
             38-41, McLellan and Hovey 1995, pp. 706-709, Schwartz et al. 2003a, pp. 568-569, Van Daele
             et al. 2012, pp. 25-27, Gunther et al. 2014, p. 65). Gunther et al. (2014, p. 65) conducted an
             extensive literature review and documented over 260 species of foods consumed by grizzly bears
             in the GYE, representing 4 of the 5 kingdoms of life. The ability to use whatever food resources
             are available is likely one reason brown bears are the most widely distributed bear species in the
             world, occupying habitats from deserts to alpine mountains and everything in between. This
             ability to live in a variety of habitats and eat a wide array of foods makes grizzly bears a
             generalist species. In contrast, specialist species (e.g., mountain lions) eat only a few specific
             foods or live in only one or two specific habitat types (Krebs 2009, p. 100). Morphological
             adaptations that support a diverse diet include crushing molars and the greatest intestinal length
             relative to body length of any carnivore (Mealey 1975, pp. 109-110, 113-114) .


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             Grizzly bear diets are highly variable among individuals, seasons, and years, and between
             ecosystems (Servheen 1983, pp. 1029-1030, Mattson et al. 1991a, pp. 1625-1626, LeFranc et
             al. 1987, pp. 113-114, Felicetti et al. 2003, p. 767, Schwartz et al. 2003a, pp. 568-569, Felicetti
             et al. 2004, p. 499, Fortin et al. 2013, p. 278, Costello et al. 2014, p. 2013, Gunther et al. 2014,
             p. 65). They opportunistically seek and consume whatever plant and animal foods are available
             to them. Grizzly bears will consume almost any food available including living or dead
             mammals or fish, insects, worms, plants, human-related foods, and garbage (Knight et al. 1988,
             pp. 123-124, Mattson et al. 1991a, p. 1620, Mattson et al. 1991b, p. 2433, Schwartz et al. 2003a,
             pp. 568-569, Gunther et al. 2014, entire). In areas where animal matter is less available, berries,
             grasses, roots, bulbs, tubers, seeds, and fungi are important in meeting protein and caloric
             requirements (LeFranc et al. 1987, pp. 111-114, Schwartz et al. 2003a, pp. 568-569). Grizzly
             bears often sample new foods so that they have alternative options in years when preferred foods
             are scarce (Mattson et al. 1991a, p. 1625). In the GYE, Blanchard and Knight (1991, p. 61)
             noted that, "After 10 years of food habits data collection, new feeding strategies continued to
             appear annually in this population."

             Grizzly bears opportunistically prey on livestock, agricultural crops, and other human foods.
             Cattle and sheep depredation rates are generally higher where bear densities are higher and in
             later summer months (Wells et al. 2018, pp. 5-6). In the GYE and NCDE, depredation is
             generally higher where livestock is more abundant, such as areas with livestock allotments and
             privately owned ranchland. Grazing is less common in the CYE and SE, and depredation rates
             are correspondingly lower. Grizzly bears also opportunistically prey on small livestock, such as
             chickens, llamas, and goats, which primarily occur on private land.

             Food resources are especially important during the period leading up to hibernation when grizzly
             bears must consume energetically rich foods to build up fat reserves to survive denning and post-
             denning periods (Rode and Robbins 2000, pp. 1643-1644, McLellan 2011, p. 554, McLellan
             2015, p. 760). As discussed in Hibernation and Denning above, fat stores provide a source of
             energy and insulate the bear from cold temperatures during hibernation (Craighead and Mitchell
             1982, p. 544). Also, fat stores obtained by female grizzly bears at the end of fall are positively
             correlated with earlier birth dates and quicker growth rates of their cubs (Robbins et al. 2012, p.
             543). Additionally, a body fat threshold may exist below which females may not produce cubs,
             even when bred, studies have shown that females with less than 20 percent body fat are unlikely
             to produce cubs (Robbins et al. 2012, p. 543). However, we are unaware of a minimum body fat
             threshold for survival during the denning period.

             Hktonta/ Range and D/Str/but/bn

             For this biological report, we considered the historical range of grizzly bears circa 1850. We
             determined that this timeframe is appropriate for measuring the historical grizzly bear range
             because it is a period for which published faunal (animals characteristic of a region) records
             document grizzly bear range, bear occurrence, and local extirpation events (Mattson and Merrill
             2002, p. ll25). Additionally, it precedes the major distribution changes in response to excessive
             human-caused mortality and habitat loss (Servheen 1999, p. 5 l).




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             Historical range of the grizzly bear began receding with the arrival of Europeans to North
             America, with rapid extinction of populations from most of Mexico and from the central and
             southwestern United States and California (Craighead and Mitchell 1982, p. 516). Prior to the
             arrival of Europeans, grizzly bears occurred throughout much of the western half of the
             contiguous United States, central Mexico, western Canada, and most of Alaska (Figure 13)
             (Roosevelt 1907, pp. 27-28, Wright 1909, pp. vii, 3, 185-186, Merriam 1922, p. 1, Storer and
             Tevis 1955, p. 18, Rausch 1963, p. 35, Herrero 1972, pp. 224-227, Schwartz et al. 2003a, pp.
             557-558, Hall 1984, pp. 4-9, Trevino and Jonkel 1986, p. 12). Historically, an estimated 50,000
             grizzly bears were distributed in one large contiguous area throughout all or portions of 18
             western States (i.e., Washington, Oregon, California, Idaho, Montana, Wyoming, Nevada,
             Colorado, Utah, New Mexico, Arizona, North Dakota, South Dakota, Minnesota, Nebraska,
             Kansas, Oklahoma, and Texas) (Figure 14) (Servheen 1990, pp. 1-2, Servheen 1999, pp. 50- 51,
             Service 1993, p. 9). Grizzly bears were probably most common in the Rocky Mountains, along
             the Upper Missouri River, and in California (Storer and Tevis 1955, pp. 15-21, Schneider 1977,
             pp. 15, 17, 25-36, Mattson and Merrill 2002, pp. 1125, 1127-1128, Haroldson et al. 2020a, in
             press.) Historically, grizzly bears were less common or did not occur in large expanses of the
             North American deserts and Great Plains ecoregions (Rollins 1935, p. 191, Wade 1947, p. 444,
             Mattson and Merrill 2002, p. 1128, Haroldson et al. 2020a, in press.)




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                    Recovery Zones
              _     Resident grizzly bear range                                              0 237.5475    950      1,425
                                                                                                                               Kilometers
                                                                                                                            1,900
                                                                                                                                    Miles
                  . Historical grizzly bear range I                                          0   170 340      680      1,020     1,360

             Figure 13. Historical and current grizzly bear dislribiilion in Nor lf America circa 1850 (Haroldson el al. 2020a, in press) and
             recovery zones for the six ecosystems identified in the Recovery Plan, Northern Continental Divide (NCDE), Greater
             Yellowstone (GYE), Cabinet-Yaak (CYE), Selkirk (SE), Bitterroot (BE), and North Cascades.

             With the arrival of Europeans to North America, grizzly bears were seen as a threat to livestock
             and human safety and, therefore, an impediment to westward expansion and settlement. In the
             1800s, in concert with European settlement of the American West and government-funded
             bounty programs aimed at eradication, grizzly bears were shot, poisoned, and trapped wherever
             they were found (Roosevelt 1907, pp. 27-28, Wright 1909, p. vii, Storer and Tevis 1955, pp. 26-
             27, Leopold 1967, p. 30, Koford 1969, p. 95, Craighead and Mitchell 1982, p. 516, Servheen
             1999, pp. 50-51). The resulting declines in range and population were dramatic. Grizzly bears
             were reduced to close to 2 percent of their former range in the lower-48 States by the 1930s, with


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             a corresponding decrease in population, approximately 125 years after first contact with
             European settlers (Figure 14, above) (Service 1993, p. 9, Servheen 1999, p. 51). Of 37 grizzly
             bear populations thought to be present in 1922 within the lower-48 States, 31 were extirpated by
             the time of listing in 1975, and the estimated population in the lower-48 States was 700-800
             animals (Figure 14) (Mattson and Merrill 2002, p. 1125).


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             - Historic range circa 1850
              _ Historic range circa 1920
              Figure 14. Historical grizzly bear distribution in the lower-48 States circa 1850 (Haroldson et al. 20L_,.., press) and 1920
              (Mattson and Merrill 2002, p. I 125), and recovery zones for the six ecosystems identified in the Recovery Plan, Northern
              Continental Divide (NCDE), Greater Yellowstone (GYE), Cabinet-Yaak (CYE), Selkirk (SE), Eitterroot (EE), and North
              Cascades.



             Most of the shortgrass prairie on the east side of the Rocky Mountains and other areas within
             historical range has been converted into agricultural land (Woods et al. 1999, entire), and high
             densities of traditional food sources are no longer available due to land conversion and human
             occupancy of urban and rural lands. Traditional food sources such as bison and elk have been
             reduced and replaced with domestic livestock such as cattle, sheep, chickens, goats, pigs, bee
             hives, and agricultural crops, which can become food sources for grizzly bears, leading to
             conflicts with humans. While food sources such as grasses and berries are abundant in some
             years in the riparian zones within which the bears travel, these are not reliable every year and can
             only support a small number of bears. These nutritional constraints of natural foods and the


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             potential for associated human-bear conflicts limit the potential for a self-sustaining population
             of grizzly bears to develop in the prairies, although we expect some grizzly bears to live in these
             areas.

             In the early 20th century, regulations recognizing bears (black and grizzly) as game animals,
             protecting females and their offspring, and setting harvest limits (either season or bag limit) were
             designed to stop future extirpations. In some areas, the protections came too late. By 1975,
             grizzly bear populations in the lower-48 States had been reduced in number and restricted largely
             to the confines of National Parks and Wilderness areas in Washington, Idaho, Montana, and
             Wyoming (40 FR 31734, July 28, 1975, Service 1982, p. 10, Dood et al. 1986, p. 166, Craighead
             et al. 1995, pp. 41-42, Schwartz et al. 2003a, pp. 575-579), although significant numbers
             remained in Alaska and northern Canada. Grizzly bears were relegated to these areas in the
             lower-48 States primarily because of limited human influences. High grizzly bear mortality in
             1970 and 1971, following closure of the open-pit garbage dumps in YNP (Gunther 1994, p. 550,
             Craighead et al. 1995, pp. 34-36), and concern about grizzly bear population status throughout
             its remaining range, primarily due to habitat destruction and excessive human-caused mortality,
             prompted the 1975 listing of the grizzly bear as a threatened species in the lower-48 States under
             the Act (40 FR 31734, July 28, 1975). When the grizzly bear was listed in 1975, the population
             estimate in the GYE ranged from 136 to 312 individuals (Cowan et al. 1974, pp. 32, 36,
             Craighead et al. 1974, p. 16, McCullough 1981, p. 175). Around the time of listing it was
             estimated that the entire NCDE population had been reduced to as few as 300 bears (Dood et al.
             1986, p. 166, Service 1993, p. 12), primarily within GNP and surrounding Wilderness areas.
             Little was known about populations in the CYE, SE, North Cascades, and BE at the time of
             listing (Service 1982, pp. 12-13).

             In 1993, the Service's Recovery Plan designated six recovery areas (GYE, NCDE, CYE, SE, BE,
             North Cascades), and recommended further evaluation of other potential areas to determine
             recovery potential (Service 1993, pp. II, 15-16, 121). The San Juan Mountains was specifically
             identified for further evaluation but no confirmed sightings of grizzly bears have occurred there
             since a grizzly bear mortality in 1979 (Service 1993, p. 11). It recommended conducting an
             evaluation of these areas to focus on habitat values, size of area, human use and activities in
             general, relation to other areas where grizzly bears exist, and historical information (Service
             1993, p. 121). The Service conducted this analysis, focusing on secure core habitat in historical
             range outside of the six ecosystems in 2019-2020 (see Appendix A for further discussion) .

             The most crucial element in grizzly bear recovery is habitat. Areas of suitable habitat must be of
             adequate size to support a population, diverse such that it provides a wide range of foods, and
             isolated from development and human activities, where human-bear interactions, which often
             result in higher bear mortalities, are minimal (Service 1993, p. 21, Craighead and Mitchell 1982,
             p. 530). In general, road access probably poses the most imminent threat to grizzly bear habitat,
             and therefore the Recovery Plan recommended that road management be given the highest
             priority for grizzly bear recovery (Service 1993, pp. 21-22). For this reason, both the GYE and
             NCDE incorporate threshold levels for motorized access and secure habitat (areas with no
             motorized access) into habitat-based recovery criteria (Service 2007, 2018, entire). Although we
             have not yet developed habitat-based recovery criteria for the remaining ecosystems, the CYE
             and SE have implemented motorized access standards, the BE recovery zone is 98 percent



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             wilderness, and the North Cascades has a "no net loss" policy (USDA FS 1997, entire, USDA FS
             201 la, entire). The Recovery Plan also specified that areas to be considered for grizzly bear
             recovery must have the potential to sustain themselves as viable grizzly bear populations, either
             as large populations or through linkage to other populations (Service 1982, p. 1, Service 1993,
             pp. 13, 15, 24, 121). Therefore, our evaluation of potentially suitable habitats considered habitat
             security (roads) and size, human presence (Federal, State, and Tribal land ownership), historical
             range, and the potential to maintain a self-sustaining population.

             We analyzed habitat security (secure core and secure habitat) for Federal, State, and Tribal lands
             within mapped historical grizzly bear range circa 1850 (Mattson and Merrill 2002, p. 1125). We
             report secure core as: the percentage of Federal, State, and Tribal lands within the analysis area
             with no motorized routes that are more than 500 m (1,650 ft) from an open or gated motorized
             route and at least 2,500 acres (l0.l km2 (3.9 mi2)) in size. We report secure habitat as: the
             percentage of Federal, State, and Tribal lands within the analysis area with no motorized routes
             that are more than 500 m (1,650 ft) from an open or gated motorized route and at least 10 acres
             (0.31 km; (0.016 mi2)) in size. The largest area of secure core habitat within grizzly bear
             historical range outside of the six ecosystems (NCDE, GYE, North Cascades, BE, SE, and CYE)
             is the Sierra Nevada Mountain Range in California (see Figure 1 in Appendix A for further
             details). We further analyzed the Sierra Nevada Range to determine if the area contains enough
             secure core/habitat to support an isolated grizzly bear population. We also analyzed secure
             core/habitat in the San Juan Mountains because of the Recovery Plan recommendation to do so
             (Service 1993, pp. 16, 121). Finally, we considered the potential of these areas to maintain a
             self-sustaining population by examining potential population size and the future ability of
             individuals to move between ecosystems (e.g., potential for linkage), including distance from
             existing grizzly bear populations and potential barriers to dispersal (Service 1993, pp. 13, 24,
             121). Details of this analysis can be found in Juliusson and Fortin-Noreus (2020, entire),
             Appendix A in this biological report.

             Our goal was to compare the amount of secure core/habitat in the Sierra Nevada and San Juan
             mountains with secure core/habitat in recovery zones, therefore we calculated secure core using
             the definition used in the NCDE and secure habitat using the definition used in the GYE (see
             Appendix B for secure core/habitat definitions). We could not calculate core areas consistent
             with methodology used in the CYE, SE, and North Cascades because data for high-use trails was
             unavailable. The analysis area for the Sierra Nevada Mountains is 52,531 km; (20,282 m?) in
             size, of which 76 percent (39,872 km; (15,395 mi2)) is Federal, State, and Tribal lands. Forty-
             three percent of Federal, State, and Tribal lands is secure core and 47 percent is secure habitat.
             The San Juan Mountains analysis area is 26,512 km2 (10,236 Ni?) in size, of which 82 percent
             (21,636 km; (8,354 mi2)) is Federal, State and Tribal lands. Fifty-two percent of Federal, State,
             and Tribal lands is secure core and 56 percent is secure habitat. It is important to keep in mind
             that the specific boundary and size of analysis areas influence the percent core and secure
             habitat. Our selection of these boundaries was based largely on big areas of Federal lands and
             political boundaries, however, analysis areas also include some chunks that are primarily private
             land or checkerboards of private and public land. The process we used is likely somewhat
             different from that used to designate the original recovery zones, and comparisons between these
             2 analysis areas and recovery zones should be made with caution.




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             These percentages of secure core and secure habitat in the Sierra Nevada (43 and 47 percent,
             respectively) and San Juan Mountains (52 and 56 percent, respectively) are significantly lower
             than that in the GYE and NCDE recovery zones (NCDE Subcommittee 2020, Appendix 4, YES
             2016b, Appendix E). Secure habitat averages 85.6 percent of the recovery zone in the GYE
             (YES 2016, Appendix E) and secure core averages 76.4 percent of the recovery zone in the
             NCDE (NCDE Subcommittee 2020, Appendix 4). In addition, research in the NCDE indicated
             that 68 percent secure core is the minimum threshold necessary for successfully reproducing
             adult female grizzly bears (Manley 1993, in lire., Service 1995, p. 6). Our analysis did not
             calculate route density and secure core/habitat by bear management subunit as in the GYE and
             NCDE. Doing so would likely highlight smaller areas within the Sierra Nevada and San Juan
             Mountains that have higher levels of secure core and are more suitable for grizzly bears.
             However, the total amount of public access to Federal, State, and Tribal lands in the Sierra
             Nevada and San Juan Mountains is high, and we would expect resultant high human-caused
             mortality levels and habitat displacement (McLellan and Shackleton 1988, pp. 458-459,
             McLellan 1989, pp. 1862-1864, Mace et al. 1996, pp. 1402-1403, Schwartz et al. 2010a, p.
             661 ) .

             At 52,531 km; and 26,512 km2 (20,282 mi2 and 10,236 mi2>, the Sierra Nevada and San Juan
             Mountains, respectively, are larger in area than either the CYE or SE recovery zones, and could
             be large enough to support a population of grizzly bears (we define a population as two or more
             reproductive females or one female reproducing during two separate years (Service 2000, pp. 3-
             14-3-15)). However, natural recolonization of these areas is unlikely because of the distance
             from existing grizzly bear populations. The Sierra Nevada and San Juan mountain ranges are
             very far (greater than 880 km (550 mi) and 480 km (300 mi), respectively) from current grizzly
             bear populations. Maximum dispersal distances of 67-176 km (42-109 mi) for males have been
             documented in the GYE and NCDE (Blanchard and Knight 1991, pp. 50, 55, McLellan and
             Hovey 2001, p. 841, Peck et al. 2017, p. 2), while female grizzly bears rarely disperse long
             distances (Swenson et al. 1998, pp. 822-824, Jerina and Adamic 2008, pp. 1495-1497).
             Recolonization and recovery of a new area would require continuous occupation by females, and
             for areas at great distance from existing populations, this is not likely to occur.
             Additionally, the areas between the Sierra Nevada and San Juan mountain ranges and current
             populations include large blocks of rangeland with open canopy coverage, agriculture and
             private lands, and are bisected by several major highways and interstates. Increasing human
             development will increase these barriers in the future. Thus, the likelihood of even one male
             bear successfully immigrating from existing populations to these areas is minimal, and it is even
             more unlikely that a population would naturally recolonize and achieve recovery .

             A population could be established through reintroduction. However, neither of these areas are
             large enough to contain sufficient numbers of bears to maintain long-term fitness, and ongoing
             translocations would likely be needed to ensure long-term genetic health. A total population size
             of approximately 400 animals is needed for short-term fitness (Miller and Waits 2003, p. 4338)
             and the population would require one to two effective immigrants from one of the other
             established grizzly bear populations approximately every 10 years (e.g., a generation interval) to
             ensure genetic health over the long term (Mills and Allendorf 1996, pp. 1510, 1516, Newman
             and Tall non 2001, pp. 1059-1061, Miller and Waits 2003, p. 4338). Given these factors, at this
             time we believe the possibility of populations naturally recolonizing these areas is almost



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             impossible, even if a population were reintroduced, there is a very low likelihood of natural
             linkage to existing populations needed to maintain long-term fitness and become self-sustaining
             (Service 1982, p. l, Service 1993, p. 13, 24).

             Although other grizzly bear populations and unoccupied recovery zones included in the lower-48
             States, such as the GYE, North Cascades, and BE, are currently isolated, they are within male
             dispersal distance of existing populations, and connectivity is possible. In addition, with the
             expanding NCDE population, the BE is expected to be within female dispersal distance in the
             future. For example, The GYE grizzly bear population remains isolated today, with no evidence
             of genetic exchange with any other population, however, the distance between current
             distributions of grizzly bears in the GYE and NCDE has decreased recently and distributions are
             now are close (75 km (47 mi)) (Bjornlie 2019, in jin.) with multiple verified sightings in
             between, and it is likely that natural connectivity will occur in the near future.

             The North Cascades does not currently contain a grizzly bear population and the area remains
             isolated from ether existing populations. Natural recolonization by females is unlikely in the
             near future due to the low numbers of bears in nearby populations and the highly fragmented
             landscape in between (NPS and Service 2017, p. 5). However, if a population is established in
             the North Cascades, there are other populations close enough that could provide occasional male
             immigrants, thereby ensuring long-term genetic fitness. There are at least three populations
             within long-distance male dispersal range (67-176 km (42-109 mi)) (Blanchard and Knight
             1991, pp. 50, 55, McLellan and Hovey 2001, p. 841, Peck et al. 2017, p. 2), from the North
             Cascades, including the Stein-Nahatlatch, Squamish-Lillooet, Garibaldi-Pitt Grizzly Bear
             Population Units in Canada. If restoration in the North Cascades occurs in the future, the North
             Cascades has the potential to become a self-sustaining population that is connected with other
             existing populations.

             The BE is also isolated and does not currently contain a population. However, multiple grizzly
             bears have been confirmed in areas immediately surrounding the recovery zone over the last 15
             years, including a collared bear dispersed from the CYE into the BE recovery zone in 2019.
             These examples indicate that connectivity is possible.

             The SE and CYE are small recovery zones and do not have the potential to contain 400 bears .
             However, both recovery zones are contiguous with grizzly bear habitat northward into Canada,
             and a recovered population would be a subset of a much larger population. Bears can and do
             move between recovery zones and contiguous habitat to the north, thereby enabling demographic
             connectivity and long-term genetic fitness.

             Our initial analysis indicated other areas within grizzly bear historical range that currently
             contain substantial secure habitat, such as the Uinta and Mogollon Mountains in the
             southwestern U.S. (Juliusson 2019, in liar.). All of these areas are smaller than the Sierra Nevada
             and San Juan Mountains and have the same limiting factors that more than likely prevent them
             from supporting a self-sustaining population, including: low amounts of secure core, extremely
             low potential of linkage to existing grizzly bear populations due to high human densities,
             transecting highways and interstates, agriculture, lack of cover, and high densities of motorized
             routes. Therefore, we did not conduct subsequent analyses on these other areas.



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             Geograp/wt Boundaries

             We refer to several geographic boundaries relevant to the grizzly bear in this biological report:
             ecosystems, recovery zones, demographic monitoring areas (DMAs), demographic connectivity
             areas (DCAs), management zones, bear management units (BMUs), and bears outside recovery
             zones (BORZ). Figure 9, above, illustrates how recovery zones and DMAs relate to each other.
             Individual ecosystem maps are below (Figures 14-18). Various boundaries were created for
             management and monitoring purposes. We briefly discuss here for context, but see below for
             full discussion of management and monitoring.

             Ecosystems

             The Service has not explicitly defined ecosystem boundaries on the landscape fer any of the
             ecosystems across the lower-48 States. However, ecosystems are generally considered to be the
             larger area surrounding the recovery zones in which grizzly bears may be anticipated to occur as
             part of the same population. Throughout our assessment, ecosystems are synonymous with
             populations, and are the extent at which we evaluated the 3Rs.

             Recovery Zones

             The 1993 Recovery Plan, and subsequent supplements, identified recovery zones at the core of
             each of the six ecosystems to further recovery efforts (in their entirety: Service 1993, 1996,
             1997, 2000) (Figure 9, above). Each recovery zone represents an area large enough and of
             sufficient habitat quality to support a recovered grizzly bear population (Service 1993, p. 17).
             The Recovery Plan recognized that grizzly bears will move and reside permanently in areas
             outside the recovery zones, however, only the area within the recovery zone is managed
             primarily for grizzly bear habitat (Service 1993, p. 18). The plan acknowledged that linkage
             would be necessary for isolated populations to increase and sustain themselves at recovery levels
             (Service 1993, pp. 23, 24). The recovery zones identified are: (1) the GYE in northwestern
             Wyoming, eastern Idaho, and southwestern Montana at 23,853 km; (9,210 mi2), (2) the NCDE
             of north-central Montana at 23,135 km2 (8,932 mi2), (3) the North Cascades area of north-central
             Washington at 25,305 km; (9,770 mi2), (4) the SE area of northern Idaho, northeast Washington,
             and southeast B.C. at 6,575 km; (2,539 m2), (5) the CYE area of northwestern Montana and
             northern Idaho at 6,705 km; (2,589 mi2), and (6) the BE in the Bitterroot Mountains of central
             Idaho and western Montana at 15,100 km; (5,830 mi2).

             Demographic Monitoring Areas IoA4As/

             The recovery plan describes a 10-mile buffer around each recovery zone within which
             demographic recovery criteria are monitored. The GYE and NCDE demographic monitoring
             areas (DMAs) serve a similar concept, including and surrounding the recovery zone (Figure 9,
             above). The DMA is the area in which the population is annually surveyed for and estimated for
             the GYE and within which the mortality limits apply for the GYE and NCDE. For both areas,
             boundaries took into consideration physical and recognizable features, however several
             differences exist. For the GYE, the IGBST developed the DMA using suitable habitat (see


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             Appendix C) as the basis and added areas that are possible mortality sinks (areas where death
             rates exceed birth rates). These generally represented long and narrow areas where human
             influence could have disproportionate effects (i.e., "edge effect") on the population generally
             contained within the suitable habitat zone (IGBST 2012, p. 42, Woodroffe and Ginsberg 1998, p.
             2126). By including these areas, any extra mortality due to edge effects would be included in the
             count against the mortality threshold. The GYE DMA includes suitable habitat plus the potential
             sink areas for a total area of approximately 49,931 km; (19,278 Ni?) (Figure 9, above). The
             GYE DMA contains 100 percent of the recovery zone and 100 percent of suitable habitat, as
             shown in Appendix C. For the NCDE, the recovery zone and Zone 1 (see description below)
             comprise the DMA, which is 42,549 km2 (16,440 mi2). The following were considered in
             development of the NCDE DMA boundary: avoiding inclusion of adjacent areas that are in a
             different conservation status, preserving linkage opportunities to other grizzly bear populations,
             inclusion of contiguous or semi-contiguous large blocks of public land where population
             expansion and linkage habitat exists, exclusion of areas that are primarily private lands to the
             east, and recognizing that there is a reasonable limit to the mortality monitoring area and the
             dispersal capability of grizzly bears. For the other ecosystems, the mortality limits in the
             Recovery Plan apply within a 10-mile buffer around the recovery zone. DMAs have not been
             identified for other ecosystems.

             Demographic Con/7ectivityArea$ {DCAs) andZo/ves 1, Z and3 for the NCDE

             Zone 1 (the portion of the DMA outside the recovery zone) provides a 19,444 km; (7,507 Ni?)
             buffer around the NCDE recovery zone, where the population objective is continuous occupancy
             by grizzly bears and habitat protections that are compatible with a stable to increasing grizzly
             bear population (see Figure 18 for zone boundaries). Zone 1 contains two demographic
             connectivity areas (DCAs), the Ninemile DCA (2,094 km; (808 mi2)) and the Salish DCA (1,902
             km2 (734 mi2)). Within the DCAs, specific protections were identified to support female
             occupancy and eventual demographic connectivity (e.g., female dispersal) to the CYE and to
             serve as a source population for the BE. The objective of Zone 2, at 18,854 km; (7,280 mi2) is to
             provide the opportunity for grizzly bears to move between the NCDE and adjacent ecosystems
             (e.g., the GYE). Other areas within the NCDE (eastern Montana) are referred to as Zone 3 (the
             extent of Zone 3 will be determined in future Service decisions). In contrast to Zones 1 and 2,
             Zone 3 does not provide habitat linkage to other grizzly bear ecosystems. The focus of
             management in Zone 3 is conflict prevention and a quick response to human-grizzly bear
             conflicts .

             Bear Management Units /BAV/Us)

             Bear management units (BMUs) and subunits are analysis areas used to track habitat security and
             distribution criteria for females within recovery zones (Christensen and Made] 1982, p. 6, USDA
             FS 1997, entire, Service 2007c, pp. 20, 41, 44-46, USDA FS 2011a, pp. 4-5, 66, NCDE
             Subcommittee 2020, pp. 16, 145-146, Service 2018, p. 9). BMUs approximate the lifetime size
             of a female's home range, and were delineated using topographic and hydrologic features. In
             some cases, BMUs may not reflect current lifetime female home range estimates within each
             ecosystem because home range sizes change with population densities and in some cases, more
             ecosystem specific data is available now than at the time they were established. They vary in


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             size from approximately 250 km; (96 mi2> to 1,380 km; (532 Mio. Subunits are analysis areas
             that approximate the annual home range size of adult females. Where identified, subunits
             provide the optimal scale for evaluation of seasonal feeding opportunities and landscape patterns
             of food availability for grizzly bears (Weaver et al. 1986, p. 236). In the GYE, 18 different
             BMUs were designated within the recovery zone and each BMU was further subdivided into
             subunits, resulting in a total of 40 subunits contained within the 18 BMUs (Figure 22, below). In
             the NCDE, 23 different BMUs were designated within the recovery zone and each BMU was
             further subdivided into subunits, resulting in a total of 126 subunits contained within the 23
             BMUs (Figure 23, below). In the CYE, 22 BMUs were designated within the recovery zone
             (Figure 24, below), in the SE, 10 BMUs were designated within the U.S. portion of the recovery
             zone (Figure 24, below), and lastly in the North Cascades, 42 BMUs were designated in the
             recovery zone (Figure 25, below). Subunits have not been designated in these 3 ecosystems.
             BMUs have also been identified for two population units in B.C., with six in the South Selkirk
             population unit (the Canadian portion of the SE recovery zone) and six in the Yahk population
             unit adjacent to the CYE (MacHutchon and Proctor 2016, p. 61). In the BE, neither BMUs nor
             subunits have been designated yet.

             Bears Outside Recovery Zones /BORZ)

             The 1993 Recovery Plan recognized that grizzly bears could occur outside the recovery zone
             lines and that the mere presence of bears outside of the boundary was not sufficient reason to
             change the recovery zones (Service 1993, p. 18). While observation data are limited and these
             habitats have not been evaluated to determine if they are of significant biological value, on-going
             and future land management activities in these areas could result in adverse effects (e.g.,
             incidental take) on grizzly bears (USDA FS 201 la, entire). These areas were called Bears
             Outside Recovery Zones (BORZ) for the CYE and SE. The biologists involved in the 2002-
             2003 BORZ analysis recognized that the mapping may need to be revisited and updated
             periodically. Consequently, in 2011, an interagency team of biologists revisited the BORZ for
             the CYE and SE to refine maps of occupied grizzly bear habitat and developed a process to
             consistently identify these areas based on the number and type of observations and the use of an
             objective mapping unit boundary to help define these areas (Allen 2011, entire). Delineation was
             based on three or more credible sightings within the last 16 years in individual 6th order
             watershed Hydrologic Unit Codes (HUCs). Sixth order HUCs were selected because of their
             size (typically 40-162 km; (15-63 mi2)) and their common use as cumulative effects boundaries
             for watershed, fisheries, and wildlife analyses in environmental documents by the USFS.
             Adj scent HUCs with enough grizzly bear use to be considered recurring were combined to create
             contiguous areas of recurring use. The methodology allowed for future expansion in the overall
             size of the BORZ if adjacent 6th order HUCs experienced repeated visitation by bears. The size
             and juxtaposition of individual BORZ were not developed to imitate BMUs in the recovery zone.
             Tolerance of grizzly bear presence in areas of human occupation is an important consideration
             that may limit population expansion in the future (see Preventative Measures to Address Public
             Attitudes towards Grizzly Bears and Reduce Mortality) .




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             Summary ofA4ethods used to Measure Popu/a t/bn Trends andAnnua/ Est/Ma tes

             Wildlife managers and population ecologists monitor a number of factors to gauge the status of a
             population and make scientifically informed decisions. These measures include estimates of
             population size, population trend, density, and current range extent. While population size is a
             well-known and easily understood metric, it only provides information about a population at a
             single point in time. Wildlife managers often want to know how a population is changing over
             time and why. For grizzly bears in the lower-48 States, the methods used to estimate population
             trends and numbers vary by ecosystem due to differing level of available resources, the history of
             monitoring efforts and types of data collected, and the size of each ecosystem (see Appendix D
             for further details). As managers and technical experts review new techniques or approaches for
             potential adoption, they should consider the technique's cost, field sampling logistics, utility to
             managers, and the ability to investigate trends over time.

             In the GYE, the IGBST uses four independent methods to estimate population trend: (1) the
             model-averaged Chao2 counts of females with cubs, which is also used to estimate population
             size (see explanation of model-averaged Chao2 in Appendix D), (2) a mark-resight estimator for
             numbers of females with cubs (i.e., capture-recapture data (IGBST annual reports2)), (3)
             deterministic and stochastic population projections based on deterministic life table analysis of
             vital rates of radio-monitored bears (in their entirety: Schwartz et al. 2006b, IGBST 2012), and
             (4) population reconstruction (minimum number of known live bears) based on capture and
             mortality records (IGBST, unpublished data) .

             In the NCDE, the population trend is estimated using two methods: (1) a deterministic
             projections from vital rates, and (2) individual-based, stochastic population modeling (Costello et
             al. 2016b, p. 69). The population estimate is based on a genetic capture/recapture study
             conducted in 2004 (Kendall et al. 2009, entire) and subsequent estimates of population trend
             (Costello et al. 2016b, p. 16).

             In the CYE and SE, population growth rates are estimated using population projection of
             bootstrapped vital rates using program Booter 1.0 (Hovey and McLellan 1996, pp. 1411-1412,
             Kasworm et al. 2020a, pp. 10-11, Kasworm et al. 2020b, pp. 8-9). Minimum population sizes
             are estimated using two methods: (1) DNA analysis of hair from captured bears, hair corrals,
             and rub sites, and opportunistic efforts, and (2) calculations based on observed females with cubs
             as set forth in the 1993 Recovery Plan (UFWS 1993, pp. 83-84, 101-102, Kasworm et al. 2020a,
             p. 13, Kasworm et al. 2020b, p. 10).

             There are currently no known populations within the North Cascades or BE, so population
             monitoring is not being conducted at this time. We define a population as two or more
             reproductive females or one female reproducing during two separate years (Service 2000, pp. 3-
             14-3-15). However, we document all verified sightings within or near these ecosystems.




             2 IGBST Annual Reports are available at: https://www.usgs.gov/science/intemgencv-grizzly-bear-study-team 9qt-
             science_center_objects=4#qt-science_center_objects


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             Current Range, D/Str/but/br; and Trends

             Outside the lower-48 States, approximately 55,000 grizzly bears currently exist in the largely
             unsettled areas of Alaska and western Canada (Figure 13) (Alaska Department of Fish and Game
             2020, entire, COSEWIC 2012, p. vi), however, populations within the lower-48 States are much
             more fragmented (McLellan et al. 2016, pp. 2-5). While the range of bears in some ecosystems
             has significantly expanded since 1975, the overall range and distribution of bears in the lower-48
             States remain below historical levels at approximately 6 percent of historical range (Haroldson et
             al. 2020a, in press).

             Within the lower-48 States, grizzly bear populations currently exist primarily within and around
             four ecosystems (CYE, GYE, NCDE, and SE) that include portions of four States (Idaho,
             Montana, Washington, and Wyoming). Grizzly bear range has been expanding in these areas,
             and multiple grizzly bear sightings have been confirmed in potential linkage areas between the
             existing ecosystems and also within the BE, however, there is no known population in the BE or
             between ecosystems. There is also no known population in the North Cascades.

             Though this SSA deals mainly with the listed entity in the lower-48 states, Canadian grizzly bear
             populations and habitat are contiguous with the four ecosystems along the international border
             (NCDE, CYE, SE, and North Cascades, Figure 15). Radio-collared individuals have
             demonstrated the permeability of the international border in three (NCDE, CYE, and SE) of the
             four ecosystems (Mace and Roberts 2011 p. 31, Kasworm et al. 2020a, p. 72-99, Kasworm et al.
             2020b, p. 47-61). Although there is currently no known population in the North Cascades, it
             constitutes a large block of contiguous habitat that spans the international border. Canadian bear
             populations are critical to future management of these transboundary populations and can
             provide genetic and demographic connectivity (Proctor et al. 2012, pp. 31-34). Canadian
             population and management information is provided in Appendix E.




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                 I / I I...,.......,
                         Bitterroot RZ
                 r;l     Cabinet~Yaak RZ
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                   3 Nor there Continental Divide RZ
                        | Nor th Cascades RZ
             K   l=l      Selkirk RZ                                                      120                100
                                                                                                                   I 150 1 200 FI

             Figure 15. Map of estimated distributions in trans-boundary populations and,,.,.entialj. ,.,.v...3 zones in Canada....,;tor et al.
             2012, p. 14; Proctor et al. 2015, p. 2).


             It is estimated that there are at least 1,913 individuals in the lower-48 States (737 in the GYE
             DMA, 1,068 in the NCDE, 55-60 in the CYE, and a minimum of 53 in the U.S. portion of the
             SE, although some bears have home ranges that crossed the international border) (Figure 16,
             Table 7) (Costello 2020, in lift., Haroldson et al. 2020b, p. 13, Kasworm et al. 2020a, p. 40,
             Kasworm et al. 2020b, p. 19). In the GYE, this estimate does not capture the entire distribution
             of grizzly bears. As mentioned above, grizzly bears have been verified in linkage areas between
             ecosystems, however, there are likely few resident grizzly bears in the lower-48 States outside of
             these areas.




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                            North                  Selkirk
                          Cascades

                                                             Qlbinerf

                                                                                                                    MONTANA
                                    WASHINGTON




                                                                Bitterroot/




              144 Estimated distribution
              I   ' Not fern Continental Divide DMA I
                                                                         IDAHO
               F
                    Greater Yellowstone DMA
              E Bitterroot RZ
              LI Cabinet-Yaak RZ
              III Greater Yellowstone RZ
                                                                                           I Miles I
                   l Northern Continental Divide RZ             50                        200
                   North Cascades RZ
             : I Selkirk RZ                                                           I Kilometers I                       WYOMING

            Figure 16. Recovery nes \\ 7), dem.,g. ,.,,.zic monitoring are, (DMA), Www ., applicable, and current distributions for the six
            ecosystems identQ'ied in the Recovery Plan, in Northern Continental Divide (NCDE), Greater Yellowstone (GYE), Cabinet-Yaak
            (CYE), Selkirk (SE), Bitterroot (BE) and North Cascades ecosystems. DMAs surround and include the recovery zones in the GYE
            and NCDE. Current distributions represent "occupied range, " which do not include low-density peripheral locations and
            represent a minimum known area of occupancy, not an extent of occurrence.




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            Table 7. Current population estimates of grizzly bears in the six ecosystems in the lower-48 States (NCDE = Northern
            Continental Divide Ecosystem; GYE = Greater Yellowstone Ecosystem; CYE = Cabinet-Yaak Ecosystem; SE = Selkirk
            Ecosystem; and BE = Bitterroot Ecosystem).




                              GYE
                (as measured in the Demographic                             737                        Haroldson et al. 2020b, p. 13
                       Monitoring Area)

                              NCDE                                         1,068                            Costello 2020, in liar.


                               CYE                                         55-60                        Kasworm et al. 2020a, p.40


                                                             Minimum of 53 in U.S. portion,
                                SE                                                                      Kasworm et al. 2020b, p. 19
                                                               B.C. estimate in progress

                                BE                                No known population


                         North Cascades                           No known population




            Below, we summarize the current distribution and trends for each ecosystem. In Chapter 3, we
            summarize recovery planning efforts and progress toward recovery goals for each ecosystem. In
            addition to the to the six ecosystems identified in the Recovery Plan, linkage zones "between
            currently separated populations that provide adequate habitat for low densities of individuals to
            exist and move between two or more larger areas of suitable habitat" were identified as desirable
            (Service 1993, pp. 24-25).

             The Greater Yellowstone Ecosystem (G)mE)

            The Greater Yellowstone Ecosystem (GYE) is located in northwest Wyoming, eastern Idaho, and
            southwestern Montana and refers to the larger ecological system containing and surrounding
            YNP (Figure 17). As of 2019, the GYE grizzly bear population was estimated to be 737
            individuals inside the DMA (Haroldson et al. 2020b, p. 12), more than double the estimated
            population size of 136 to 300 at the time of listing in 1975 (Cowan et al. 1974, pp. 32, 36,
            Craighead et al. 1974, p. 16, McCullough 1981, p. 175). This estimate does not capture the
            entire distribution of bears in the GYE. As predicted by Pyare et al. (2004, pp. 5-6), grizzly
            bears have naturally recolonized many areas and currently occupy about 98 percent of suitable
            habitat (45,822 km2 (17,692 mi2)) and 98 percent of the DMA (48,695 km; (18,801 mi2)), and
            are expanding beyond the DMA. Twenty-nine percent of the current estimated distribution
            occurs beyond the DMA (20,041 km2 ((7,738 mi2)) (Bjornlie and Haroldson 2019, p. 26, Fortin-
            Noreus 2019, in lift). We do not have an estimate for the number of grizzly bears ecosystem-
            wide, however it is important to recognize that bears are permanently occupying areas beyond
            the DMA. Grizzly bears have nearly tripled the extent of their occupied range in the GYE since
            the early 1980s (Service 1982, p. 11, Bjornlie and Haroldson 2019, p. 26).


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            Together, the four methods the IGBST uses to collectively calculate population trends support
            the interpretation that the GYE grizzly bear population experienced robust population growth
            from the mid to late 1980s through the late 1990s, followed by a slowing of population growth
            since the early 2000s. From 1983 to 2002, the GYE experienced a 4.2 to 7.6 percent per year
            population growth rate (Harris et al. 2006, p. 48). The population trajectory that includes the
            most recent data is based on Chao2 estimates for females with cubs for the period 2002 to 2019,
            which indicates a relatively constant population size for this reproductive segment of the
            population within the DMA, but with some evidence in recent years of an increasing trend
            (Haroldson et al. 2020b, p. 13). As the grizzly bear population in the GYE has increased in
            numbers they have also expanded their range beyond the recovery zone, into other suitable
            habitat in the DMA and also outside the DMA.

            No population can grow forever because required resources are finite. Carrying capacity is the
            maximum number of individuals a particular environment can support over the long term
            without resulting in population declines caused by resource depletion (Vandermeer and Goldberg
            2003, p. 261, Krebs 2009, p. 148). Grizzly bear populations naturally maintain themselves
            around carrying capacity (Miller et al. 2003, p. 148). Many factors affect carrying capacity of
            animal populations in the wild, and carrying capacity itself typically varies over time.
            Populations usually fluctuate above and below carrying capacity, resulting in relative population
            stability over time (i.e., lambda value of approximately 1.0 over the long term) (Colinvaux 1986,
            pp. 138-139, 142, Krebs 2009, p. 148). For populations at or near carrying capacity, population
            size may fluctuate just above and below carrying capacity around a long-term mean, sometimes
            resulting in annual estimates of growth rate (lambda) showing a declining population. However,
            to obtain a biologically meaningful estimate of average annual population growth rate for a long-
            lived species like the grizzly bear that reproduces only once every 3 years and typically does not
            start reproducing until at least 4 years old, we must examine lambda over a longer period of time
            to see what the average trend is over that specified time. This is not an easy task. For grizzly
            bears, it takes at least 6 years of monitoring of at least 30 females with radio collars to accurately
            estimate average annual population growth (Harris et al. 2011, p. 29).

            Mechanisms that regulate or control population size fall into two broad categories: density-
            dependent effects and density-independent effects. Generally, factors that limit population
            growth more strongly as population size increases are density-dependent effects, or intrinsic
            factors, usually expressed through individual behaviors, physiology, or genetic potential
            (McLellan 1994, p. 15). Extrinsic factors, such as drought or fire that kill individuals regardless
            of how many individuals are in a population, are considered density-independent effects
            (Colinvaux 1986, p. 172). These extrinsic factors may include changes in resources, predators,
            or human impacts and may cause carrying capacity to vary over time. Population stability (i.e.,
            fluctuation around carrying capacity or a long-term equilibrium) is often influenced by a
            combination of density-dependent and density-independent effects. Among grizzly bears,
            manifestations of density-dependent population regulation can include: (1) decreased yearling
            and cub survival due to increases in intraspecific killing (i.e., bears killing other bears), (2)
            decreases in home range size, (3) increases in generation time, (4) increases in age of first
            reproduction, and (5) decreased reproduction (McLellan 1994, entire, Eberhardt 2002, pp. 2851-
            2852, Kamath et al. 2015, p. 5516, McLellan 2015, pp. 13-14, van Manen et al. 2016, pp. 307-



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            308). Indicators that density-independent effects are influencing population growth can include:
            (1) larger home range sizes (because bears are roaming more widely in search of foods)
            (McLoughlin et al. 2000, pp. 49-5 l), (2) decreased cub and yearling survival due to starvation,
            (3) increases in age of first reproduction due to limited food resources, and (4) decreased
            reproduction due to limited food resources.

            Despite the challenges involved in determining whether a population is affected more strongly
            by density-dependent or density-independent effects, the IGBST provided evidence based on
            several decades of data that supports density-dependent effects were likely a factor in the recent
            slowing in population growth in the GYE, these findings are consistent with other research
            suggesting that the GYE grizzly bear population in the core area of its range is at or near carrying
            capacity (van Manen et al. 2016, entire). Schwartz et al. (2006b, entire) estimated survivorship
            of cubs-of-the-year, yearlings, and independent (2 years old or older) bears as well as
            reproductive performance to estimate population growth. They examined geographic patterns of
            population growth based on whether bears lived inside YNP, outside the Park but inside the
            recovery zone, or outside the recovery zone entirely. Based on decreased cub and yearling
            survival inside YNP compared to outside YNP, Schwartz et al. (2006b, p. 29) concluded that
            grizzly bears were approaching carrying capacity inside YNP. Consistent with findings by
            Schwartz et al. (2006b, p. 29), the IGBST (2012, p. 33) documented lower cub and yearling
            survival than in the previous time period. The slowing of population growth since the early
            2000s was primarily a function of this lower survival of dependent young (i.e., cubs and
            yearlings) and moderate reproductive suppression (IGBST 2012, p. 8). Additionally, survival of
            cubs-of-the-year and reproduction were lower in areas with higher grizzly bear densities but
            showed no association with estimates of decline in whitebark pine tree cover, suggesting that
            density-dependent factors contributed to the change in population growth (van Manen et al.
            2016, entire). Importantly, annual survival of independent females (the most influential age-sex
            cohort on population trend) remained the same while independent male survival increased
            (IGBST 2012, p. 33). In addition, female home range sizes have decreased in areas of greater
            bear densities, as would be expected if density-dependent regulation is occurring (Bjornlie et al.
            2014b, p. 4) (see Food Resources in the GYE, below, for more detailed information).
            Collectively, these studies indicate that the growth rate of the GYE grizzly bear DMA population
            has slowed as bear densities have approached carrying capacity, particularly in the core area of
            their current range.




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            Figure I7. Map of the Greater Yel,.,,,,..,ne Ecosystem (GYE). Land ow...'ship are, Joundaries are show».J.,. u 18 recovery one
            and the Demographic Monitoring Area (DMA). The DMA surrounds and includse the recovery zone.


             Northern Continental Divide Ecosystem (naot)

            The Northern Continental Divide Ecosystem (NCDE) is located in northwest Montana and refers
            to the large ecological system containing and surrounding GNP (Figure 18). Grizzly bears
            historically occurred throughout the area of the NCDE (Stebler 1972, pp. 297-298), but they
            were less common in prairie habitats (Rollins 1935, p. 191, Wade 1947, p. 444). Historical
            grizzly bear presence in these drier, grassland habitats was associated with rivers and streams
            where grizzly bears used bison carcasses as a major food source (Burroughs 1961, pp. 57-60,
            Herrero 1972, pp. 224-227, Stebler 1972, pp. 297-298, Mattson and Merrill 2002, pp. 1128-
            1129).

            Since the 1975 listing of grizzly bears as threatened under the Act, the NCDE grizzly bear
            population has more than doubled in size and range (from 24,800 km2 (9,600 Ni?) to 63,924 km2
            (24,681 mi2)) (Dood et al. 1986, p. 166, Service 1993, pp. 11-12, Kendall et al. 2009, p. 3, Mace
            et al. 2012, p. 124, Costello et al. 2016b, p. 2, Costello 2019, in list., MFWP, unpublished data).
            The NCDE population has increased from as few as 300 bears in 1986 to an estimated 765 bears
            in 2004, based on a genetic capture/recapture population estimate (Dood 1986, p. 166, Kendall et


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            al. 2009, p. 9). The population is contiguous with grizzly bears in Canada (Figure 15). Applying
            a calculated population growth of 2.3 percent annually since 2004, the 2019 population estimate
            was estimated at 1,068 individuals throughout the NCDE (Costello et al. 2016b, p. 2, Costello
            2020, in lift). We do not know the carrying capacity of this ecosystem.




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            Figure 18. Map of the Northern Continental Divide Ecosystem (NCDE). Land ownership and boundaries are shown for the
            NCDE grizzly bear recovery zone, management Zones I, 2, and 3, and demographic connectivity areas (DCAs). The
            demographic monitoring area (DMA) is comprised of the recovery zone and Zone I. The eastern and southern extent of Zone 3
            will be determined in future Service decisions.


             Cabinet- Yaak Ecosystem (CVE)

            The Cabinet-Yaak Ecosystem (CYE) refers to the larger ecosystem surrounding the recovery
            zone in northwest Montana and northeast Idaho (Figure 19). Based on known fates of radio-
            collared individuals and reproductive outputs, it is estimated that the population of grizzly bears
            in the CYE is currently increasing, with an annual growth rate of 0.9 percent between 1983 and
            2019 (Kasworm et al. 2020a, p. 39). This is a significant improvement from earlier trend
            calculations that indicated the population was declining, and now represents 12 years of an
            improving trend since 2006 (Kasworm et al. 2020a, p. 40). The trend calculation utilizes all
            native (non-augmentation) collared bears from the U.S. and the Yahk population unit in B.C.
            (Kasworm et al. 2020a, pp. 11-12). Additional information on populations and management in


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            B.C. is provided in Appendix E. A population estimate derived from mark and recapture efforts
            estimated the U.S. population in 2012 at 48-50 individuals (Kendall et al. 2016, p. 80). Using
            DNA analysis of hair from captured bears, hair corrals, and rub sites, and opportunistic efforts,
            Kasworm et al. (2020a, p. 29) identified a minimum of 54 individuals in 2018. Some of these
            individuals likely have home ranges that overlap with Canada. The Kootenai River bisects the
            CYE approximately in half, with the Cabinet Mountains to the south and the Yaak River
            drainage to the north, and may have limited movement between the two (Kasworm et al. 2020a,
            p. 7). While no movement was detected prior to 2010, three males have been detected on both
            sides of the Kootenai River in the last decade (Kasworm et al. 2020a, p. 32). No gene flow
            associated with reproduction by these males has yet to be detected in the Cabinet Mountains.
            Due to the short distance between these two populations, full connectivity remains a
            management goal and evidence to date suggests progress towards that goal.




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            Figure 19. Map of the Cabinet-Yaak ( L1/E) and Selkirk (SE) Ecosystems. Land ownership and recovery zone boundaries are
            shown for the CYE and SE. Based on the 1993 Recovery Plan, the SE recovery zone extends into Canada, therefore, some oft re
            demographic information (i.e., female survival and population trend) we have is based on the entire recovery zone (so includes
            bears in Canada).




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            Selkirk Ecosystem (SE)

            The Selkirk Ecosystem (SE) refers to the larger ecological system surrounding the recovery zone
            in northwest Idaho, northeast Washington, and southeast B.C. (Figure 19, above). DNA analysis
            of hair from captured bears, corrals, rub sites, opportunistic collection efforts, and collared bears
            identified a minimum of 53 grizzly bears (23 male, 24 female, 6 unknown) within the U.S.
            portion of the SE in 2018 (Kasworm et al. 2020b, p. 19). Some of these individuals likely have
            home ranges that overlap with Canada, for which there is not an updated estimate. There were
            an estimated 58 bears in the Canadian portion of the population as of 2005 (Proctor et al. 2007,
            p. 19). Based on known fates of radio-collared individuals and reproductive outputs, it is
            estimated that the population of grizzly bears in the SE, including Canada, is currently
            increasing, with an annual growth rate of 2.5 percent between 1983 and 2019 (Kasworm et al.
            2020b, pp. 26-27). The trend calculation utilizes all collared bears in the U.S. and B.C. The
            U.S. and B.C. population estimates for the SE are not completely exclusive because numerous
            bears overlap in their home ranges, therefore adding estimates together would cause some double
            counting. An estimate of 83 bears for the international population was made in 2010 (Proctor et
            al. 2012, p. 31). A new effort to estimate the population is ongoing on the B.C. side of the SE
            and should be integrated with U.S. data and complete in 2022. Additional information on
            populations and management in B.C. is provided in Appendix E.

             Bitterroot Ecosystem (BE)

            The Bitterroot Ecosystem (BE) refers to the larger ecological system surrounding the recovery
            zone in central Idaho and western Montana (Figure 20). At the time of listing, there were no
            known grizzly bears in the BE. It was believed that no grizzly bears occurred in the BE until a
            young male grizzly bear was killed just to the north of the BE recovery zone in 2007. To assess
            the presence of grizzly bears in the northern Bitterroot Mountains portion of the BE in the area in
            which the grizzly bear was killed in 2007, a systematic survey for grizzly bears was conducted
            during 2008 and 2009 using DNA hair corrals and cameras (Servheen and Shoemaker 2010,
            entire). No photos of or hair samples from grizzly bears were obtained during this study. While
            we did not document any grizzly bears in the study area, because the survey covered a limited
            area, we could not conclude they were absent from the area at that time. There have been
            multiple confirmed individuals in the area immediately surrounding the BE recovery zone since
            2007, including a collared male grizzly bear that dispersed from the CYE in 2019 and
            subsequently returned to the CYE to den, a male grizzly bear that dispersed from the SE
            documented in 2019, a male grizzly bear that dispersed from the NCDE documented in 2018 that
            was subsequently trapped and returned to the NCDE, and multiple verified sightings of unknown
            sex from 2017 to 2019. However, because we have not documented a population or any female
            bears in the BE, we view the BE as currently unoccupied as per the definition of a population
            (two or more reproductive females or one female reproducing during two separate years) of
            grizzly bears in the Bitterroot Environmental Impact Statement (EIS) (Service 2000, pp. 3-14-3-
            15).

            Both male and female immigration into the BE is needed to establish a population. In grizzly
            bears, dispersal is characterized as male-biased, males most often disperse longer distances to
            avoid inbreeding, while females typically remain close to their maternal home range (McLellan


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            and Hovey 2001, pp. 839, 843). Female dispersal distances averages 9.8 to 14.3 km (6.1 to 8.9
            mi) away from the center of their mother's home range (McLellan and Hovey 2001, p. 842,
            Procter et al. 2004, p. 1108), and there is approximately 60 km (37.5 mi) between the current
            distribution of females in the NCDE and the BE recovery zone. While females occasionally
            disperse long distances (up to 80-90 km (50-56 mi)), female dispersal is typically a slow,
            gradual process and colonization of new areas can take quite some time (Swenson et al. 1998,
            pp. 822-824, Jerina and Adamic 2008, pp. 1495-1497, Proctor et al. 2012, p. 35). This slow
            process can also result in prolonged exposure to fragmentation and human-caused mortality
            (Proctor et al. 2015, p. 2).




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             Figure 20. Map of the Bitterroot Ecosystem (BE   Land ownership and the recovery zone boundary is shown ]%r the 8E.


             North Cascades Ecosystem

            The North Cascades Ecosystem (North Cascades) is the larger ecological system surrounding the
            recovery zone in Washington, which contains the North Cascades National Park Complex (North
            Cascades National Park, Ross Lake National Recreation Area (NRA), and Lake Chelan NRA
            (Figure 21). There have been four confirmed grizzly bear sightings of two individuals within the
            B.C. portion of the North Cascades during the past decade (NPS and Service 2017, p. 42). In the
            B.C. portion of the North Cascades the population was estimated to be about 6 grizzly bears in


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            2012 (MFLNRO 2012, p. 3). While the listed entity includes only the U.S. portion of this
            contiguous grizzly bear habitat, information from B.C. grizzly bears detected immediately north
            of the border are included as they may occasionally move into the U.S. The most recent
            confirmed observation within the U.S. portion of the North Cascades was in 1996, south of
            Glacier Peak (North Cascades Subcommittee 2016, in lift., as cited in NPS and Service 2017, p.
            42). The most recent direct evidence of reproduction was a confirmed observation of a female
            and cub on upper Lake Chelan in 1991 (Almach et al. 1993, p. 34). The lack of recent evidence
            of reproduction indicates that a grizzly bear population, as defined in the Bitterroot EIS (Service
            2000, pp. 3-14-3-15), no longer exists within the North Cascades (NPS and Service 2017, p. 42) .
            Lyons et al. (2018, p. 29) estimated the carrying capacity of the North Cascades at approximately
             278 bears.


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            Figure 21. Map of the North Cascades Eeosyslem. Land ownership and the recovery zone boundary is shown for the North
            Cascades.


            Summary of Current Range, Distribution, and Trends

            Estimated population size and distribution in both the GYE and NCDE have more than doubled
            since listing (Cowan et al. 1974, pp. 32, 36, Craighead et al. 1974, p. 16, McCullough 1981, p.
            175, Deed et al. 1986, p. 166, Service 1993, pp. 11-12, Costello et al. 2016b, p. 2, Bjornlie and



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            Haroldson 2019, p. 26, Costello 2019, in lift., Haroldson et al. 2020b, p. 13). The SE and CYE
            have also experienced positive population growth rates and increases in population sizes
            (Kasworm et al. 2020a, p. 39, Kasworm et al. 2020b, pp 26-27). Although there is still no
            known population within the BE, there are multiple verified sightings that have occurred in
            linkage zones close to the BE and the current estimated distribution for the NCDE grizzly bear
            population is only 7 km (4.3 mi) to the northeast of the BE recovery zone boundary. The North
            Cascades is currently unoccupied by a grizzly bear population.




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             Chapter 3: Regulatory History and Recovery Planning

            In this chapter, we summarize our regulatory history for the grizzly bear. We also summarize
            recovery planning efforts for grizzly bears in the lower-48 States, and provide summaries of
            recovery progress for each ecosystem. We have a 45-year history of working with a number of
            dedicated partners towards the recovery of grizzly bears in the lower-48 States. These efforts
            have led to increases in the number of and distribution of bears across Idaho, Montana,
            Washington, and Wyoming, and unprecedented collaboration in grizzly bear management and
            conservation.

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            On July 28, 1975, we published a rule to designate the grizzly bear as threatened in the
            conterminous (lower-48) United States (40 FR 31734). When we listed the grizzly bear, we
            identified the dramatic decreases in historical range and land management practices (e.g., timber
            harvest and livestock grazing) in formerly secure grizzly bear habitat and excessive human-
            caused mortalities as the primary stressors (40 FR 31734, July 28, 1975). In the 1990s, the
            Service received a number of petitions to change the status of grizzly bear populations in the
            North Cascades, SE, and CYE. We determined that reclassifying grizzly bears in those
            ecosystems to endangered was warranted but precluded by higher priorities beginning in 1991
            for the North Cascades (56 FR 33892, July 24, 1991), 1993 for the CYE (58 FR 8250, February
            12, 1993), and 1999 for the SE (64 FR 26725, May 17, 1999). In 2014, the Service determined
            that the CYE and SE populations had recovered to the point that they were no longer warranted
            but precluded from listing as endangered (79 FR 72487, December 5, 2014). In 2017, in
            Alliance for the Wild Rockies v. Zinke et al., the District Court of Montana remanded the
            determination that the CYE grizzly bear was not warranted but precluded for endangered status
            back to the Service for further consideration. Therefore, the legal status of the CYE and North
            Cascades populations remains warranted but precluded from uplisting to endangered. In
            accordance with the Act, we developed a Grizzly Bear Recovery Plan (Service 1982, entire) and
            have revised that plan as necessary (in their entirety: Service 1993, 1996, 1997, 2007a, 2007b,
            2017, 2018).

            In 2000, the Service designated the BE as a nonessential experimental population with special
            status under section l0(j) of the Act and published a final EIS and Record of Decision (ROD) to
            release an experimental population of grizzly bears in that ecosystem (65 FR 69624, November
            17, 2000). In 2001, the Service published a proposed rule to remove the l0(j) regulations, but
            the rule was never finalized. The ROD remains in effect, but it has never been funded for
            implementation. The current section l0(j) rule for grizzly bears in the Bitterroot Grizzly Bear
            Experimental Population Area (50 CFR § l7.84(l)) does not apply to grizzly bears that have
            dispersed into the area on their own. The Service has not released or reintroduced any grizzly
            bears into the area, therefore, grizzly bears that have dispersed into the area on their own,
            including all recent verified sightings, are not covered by the l0(j) rule and are protected as
            threatened under the Act.

            On November 17, 2005, we proposed to designate the GYE population of grizzly bears as a
            Distinct Population Segment (DPS) and to remove (delist) this DPS from the Federal List of


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            Endangered and Threatened Wildlife (70 FR 69854). On March 29, 2007, we finalized this
            proposed action, designating the GYE population as a DPS and removing (delisting) grizzly
            bears in the GYE from the Federal List of Endangered and Threatened Wildlife (72 FR 14866).
            This final determination was vacated and remanded by the U.S. District Court for the District of
            Montana on September 21, 2009, in Greater Yellowstone Coalition v. Servheen, et al., 672
            F.Supp.2d 1105 (D. Mont. 2009). The District Court ruled against the Service on two of the four
            points brought against it: that the Service was arbitrary and capricious in its evaluation of
            whitebark pine and that the identified regulatory mechanisms were inadequate because they were
            not legally enforceable. In compliance with this order, the GYE grizzly bear population was
            once again made a threatened population under the Act (16 U.S.C. 1531 et seq.) (see 75 FR
            14496, March 26, 2010).

            The Service appealed the District Court decision and, on November 15, 2011, the Ninth Circuit
            Court of Appeals issued an opinion affirming in part and reversing in part the district court's
            decision vacating and remanding the final rule delisting grizzly bears in the GYE (Greater
            Yellowstone Coalition v. Servheen, et al., 665 F.3d 1015 lath Cir. 2011)). The Ninth Circuit held
            that the Service's consideration of regulatory mechanisms was permissible because the elements
            of the 2007 GYE Conservation Strategy were incorporated into binding regulatory documents,
            specifically NF Plans and National Park Service (NPS) Superintendent's Compendia. However,
            the Ninth Circuit found that the Service inadequately explained why the loss of whitebark pine
            was not a threat to the GYE grizzly bear population. In compliance with this order, the GYE
            population of grizzly bears remained federally listed as "threatened" under the Act, and the
            IGBST initiated more thorough research into the potential impact of whitebark pine decline on
            GYE grizzly bears.

            On March 11, 2016, we proposed to designate the GYE population of grizzly bears as a DPS and
            to remove (delist) this DPS from the Federal List of Endangered and Threatened Wildlife (81 FR
            13174). On June 30, 2017, we finalized this proposed action, designating the GYE population as
            a DPS and removing (delisting) grizzly bears in the GYE from the Federal List of Endangered
            and Threatened Wildlife (82 FR 30502). In this final rule, among the other findings, we
            responded to the District Court' s remand and the Ninth Circuit' s determination that the Service
            failed to support its conclusion that whitebark pine declines did not threaten GYE grizzly bears.
            This final determination was vacated and remanded by the U.S. District Court for the District of
            Montana on September 24, 2018, in Crow Indian Tribe, et al. v. United States, et al., 343 F.
            Supp. 3d 999 (D. Mont. 2018). The Montana District Court cited three main issues in vacating
            the rule: (1) the Service did not sufficiently assess the effect of delisting the GYE population on
            the recovery of grizzly bears in the rest of the lower-48 States, (2) the Service and its partners did
            not commit to recalibration of potential new population estimators in the future to ensure the
            ongoing applicability of the 2016 GYE Conservation Strategy's mortality limits, and (3) the
            Service inadequately analyzed the genetic health of the GYE grizzly bear population. In
            compliance with this order, the GYE grizzly bear population was once again made a threatened
            population under the Act (16 U.S.C. 1531 et seq.) (see 84 FR 37144, July 31, 2019). The
            Service appealed the District Court decision and, on July 8, 2020, the Ninth Circuit Court of
            Appeals issued an opinion affirming the Montana District Court's decision vacating and
            remanding the final rule delisting grizzly bears in the GYE (Crow Indian Tribe v. United States,
            965 F.3d 662 (9th Cir. 2020).



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             Partners M Gr/22/y Bear Recovery

            Grizzly bear recovery has required, and will continue to require, cooperation among numerous
            state and federal government agencies, Tribes, nongovernmental organizations (NGOs), and the
            public for a unified management approach. These agencies have been funding and performing
            actions to increase grizzly bear recovery, management, monitoring, and enforcement efforts
            within their jurisdictions for decades.

            The interagency group guiding grizzly bear conservation efforts throughout the six ecosystems
            identified in the recovery plans is the IGBC. The IGBC was created in 1983 to coordinate
            federal and state management efforts and research actions to recover grizzly bears in the lower-
            48 States. One of the objectives of the IGBC is to change land management practices to more
            effectively provide security and maintain or improve habitat conditions for the grizzly bear
            (USDA and US Department of Interior (USDOI) 1983, entire). The updated mission statement
            of the IGBC is to "to achieve recovery and delisting, and to support ongoing conservation of
            grizzly bear populations and their habitats after delisting in areas of the western United States
            through interagency coordination of policy, planning, management, research and
            communication."

            IGBC members include upper level managers from the Service, USFS, U.S. Geological Survey
            (USGS), BLM, and the States of Idaho, Montana, Washington, and Wyoming (USDA and
            USDOI 1983, entire). The IGBST Team Leader, the USFS National Carnivore Program Leader,
            the Information, Education & Outreach Subcommittee Chair, and the Service Grizzly Bear
            Recovery Coordinator are advisors to the IGBC providing scientific information on grizzly bear
            populations and their habitat as well as information, education, and outreach. The IGBC consists
            of an Executive Committee and Subcommittees for each of the ecosystems, including the
            Yellowstone Ecosystem Subcommittee (YES)3, NCDE Subcommittee4, SE and CYE
            Subcommittee5, North Cascades Subcommittee6, and BE Subcommittee7. Members are

            3 Subcommittee members include mid-level managers and representatives from the Service, the five GYE NFs (the
            Shoshone, Beaverhead Deerlodge, Bridger Teton, Custer Gallatin, and Caribou-Targhee), Yellowstone National
            Park (YNP), Grand Teton National Park (GTNP), the Wyoming Game and Fish Department (WGFD), Montana
            Fish, Wildlife, and Parks (MFWP), the Idaho Department of Fish and Game (IDFG), the Bureau of Land
            Management (BLM), county representatives from each affected State, and the Shoshone Bannock, Northern
            Arapahoe, and Eastern Shoshone Tribes (USDA and USDOI 1983).
            4 Subcommittee members include mid-level managers and representatives from the Service, the four NCDE NFs
            (the Flathead, Helena-Lewis and Clark, Kootenai, and Lolo), GNP, MFWP, BLM, a county representative from the
            State of Montana, the Blackfeet Tribe, and the Confederated Salish and Kootenai Tribes (CS&KT) (USDA and
            USDOI 1983).
            5 Subcommittee members include mid-level managers and representatives from the Service, the four SE/CYE NFs
            (the Colville, Idaho Panhandle, Lolo, and Kootenai), MFWP, IDFG, Washington Department of Fish & Wildlife
            (WDFW), a county representative from each affected state, the Kootenai Tribe of Idaho, the Kalispel Tribe of
            Indians, and the British Columbia Ministry of Forests.
            6 Subcommittee members include mid-level managers and representatives from the Service, the two North Cascades
            NFs (the Okanogan-Wenatchee and Mt. Baker-Snoqualmie), North Cascades National Park, WDFW, and British
            Columbia Ministry of Environment.
            7 Subcommittee members include mid-level managers and representatives from the Service, the seven BE NFs
            (Salmon-Challis, Bitterroot, Idaho Panhandle, Lolo, Nez Perce-Clearwater, Payette, and Sawtooth), MFWP, IDFG,
            and a county representative from each affected State.


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            representatives from each State, Federal, and Tribal agency with management jurisdiction for
            grizzly bear populations or habitat, as well as representatives from county governments. Each
            subcommittee has: (l) a Science/Technical Team to provide relevant information on the grizzly
            bear population(s) and their habitat, and (2) an Information, Education & Outreach working
            group. The leaders or chairs of these teams/groups advises the subcommittee on these matters.

            The IGBST in the GYE is unique from other subcommittee science teams in that it was created
            by a formal MOU in 1973, with the USGS serving as its coordinating agency. The IGBST
            collects, manages, analyses, and distributes the scientific-based information regarding habitat
            and demographic parameters necessary to make informed management decisions about grizzly
            bear habitat and conservation in the GYE. Since its formation in 1973, the published work of the
            IGBST has made the GYE grizzly bear population one of the most studied in the world. The
            wealth of biological information produced by the IGBST over the years includes 30 annual
            reports, hundreds of articles in peer-reviewed journals, dozens of theses, and other technical
            reports (see: https://www.usgs.gov/science/interagency-grizzly-bear-study-team ?qt-
            science_center_objects=40#qt-science_center_objects). Members of the IGBST include
            scientists and wildlife managers from the Service, USGS, NPS, USFS, academia, and each State
            wildlife agency involved in GYE grizzly bear recovery. The Science/Technical teams from the
            BE, NCE, SE and CYE, and NCDE also include representatives from state and federal agencies
            and tribes. These teams determine research needs for the respective populations, coordinate
            monitoring efforts, and advise the subcommittee on biological questions.

            Many NGOs support grizzly bear recovery in significant ways. Defenders of Wildlife and
            People and Carnivores fund and implement preventative equipment, such as electric fences.
            Yellowstone to Yukon (YZY), Vital Ground, and the Nature Conservancy purchase or arrange
            easements on important grizzly bear habitat and fund needed research. Blackfoot Challenge and
            Heart of the Rockies are local partnerships that coordinate efforts to conserve natural resources
            while also preserving working landscapes, and implement several non-lethal techniques to
            prevent grizzly bear livestock depredations. Groups, such as Swan Valley Connections, Be Bear
            Aware, and many others, promote bear education.

             Overview of Reco very P/ann/hg

            In accordance with section 4(f)(1) of the Act, the Service completed a Grizzly Bear Recovery
            Plan (Recovery Plan) in 1982 (Service 1982, p. ii). Recovery plans serve as road maps for
            species recovery-they lay out where we need to go and how to get there through specific
            actions. Recovery plans are not regulatory documents and are instead intended to provide
            guidance to the Service, States, and other partners on methods of minimizing threats to listed
            species and on criteria that may be used to determine when recovery is achieved. The Recovery
            Plan, and subsequent supplements, identified six recovery ecosystems, each containing a
            recovery zone at its core, within the conterminous United States thought to support grizzly bears
            (see Geographic Boundaries for Recovery Planning for further details) (Service 1993, pp. 10-13,
            17-18). Today, current grizzly bear distribution is primarily within and around these areas
            identified as recovery zones.




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            In 1993, the Service completed a revision to the Recovery Plan to include additional tasks and
            new information that increased the focus and effectiveness of recovery efforts (Service 1993, pp.
            41-58). In 1996 and 1997, we released supplemental chapters to the Recovery Plan to guide
            recovery in the Bitterroot and North Cascades ecosystems, respectively (in their entirety:
            Service 1996, 1997). For the GYE, we updated the demographic recovery criteria and
            supplemented the Recovery Plan chapter for the GYE with habitat-based recovery criteria in
            2007 (72 FR 11376, March 13, 2007, Service 2007a, 2007b). We proposed revisions to the
            demographic recovery criteria for the GYE in 2013, but never finalized them (78 FR 17708,
            March 22, 2013, Service 2013). We again proposed revisions to recovery criteria for the GYE
            concurrent with the proposed delisting rule in 2016 (81 FR 13174, March 11, 2016) to reflect the
            best available science and the final revised demographic recovery criteria were appended to the
            Recovery Plan in 2017 (Service 2017, entire). Although it is not necessary to update recovery
            plans prior to delisting, the Recovery Plan Supplement: Revised Demographic Recovery Criteria
            was updated to reflect the best available science because the 2016 GYE Conservation Strategy
            directly incorporates the Recovery Plan for post-delisting monitoring. In 2018, we supplemented
            the Recovery Plan chapter for the NCDE with habitat-based recovery criteria (Service 2018,
            entire). Below, we report the status of recovery criteria for all ecosystems.

             Recovery Criteria

            The 1993 Recovery Plan, and subsequent supplements, outlined three demographic recovery
            criteria for each ecosystem. For all ecosystems, the first criterion establishes a minimum
            population size through the monitoring of unduplicated females with cubs. The second criterion
            ensures reproductive females (i.e., females with young) are well distributed across the recovery
            zone and are not concentrated in one portion of the ecosystem. The third criterion outlines
            annual human-caused mortality limits that would allow the population to achieve and sustain
            recovery. We updated the GYE demographic recovery criteria in 2007 and again in 2017 to
            reflect the best available science, including expansion of mortality limits in the third criterion to
            include total mortality (in their entirety: Service 2007a, 2017). For more information on the
            methods we used to determine these criteria, refer to the 1993 Recovery Plan and subsequent
            supplements (in their entirety: Service 1993, 1996, 1997, 2007a, 2017).

            Due to a settlement agreement in FundforAnimals V. Babbitt, 967 F.Supp. 6 (D.D.C. 1997)
            regarding the 1993 Recovery Plan, the Service agreed to establish habitat-based recovery criteria
            for each ecosystem prior to publishing any proposed rule to delist that grizzly bear population.
            In addition, the Service agreed to convene a workshop during the public comment period on the
            draft habitat-based recovery criteria. Habitat-based recovery criteria were published as
            supplemental chapters to the 1993 Recovery Plan for the GYE and the NCDE in 2007 and 2018,
            respectively (in their entirety: Service 2007b, 2018). The Service has not yet developed habitat-
            based recovery criteria for the remaining ecosystems .

            There is no published method to deductively calculate minimum habitat values (i.e.,
            quantitatively measure minimum habitat characteristics) required for a healthy and recovered
            population. Grizzly bears are long-lived, opportunistic omnivores whose food and space
            requirements vary depending on a multitude of environmental and behavioral conditions and on
            variation in the experience and knowledge of each individual bear. Grizzly bear home ranges


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            overlap and change seasonally, annually, and with reproductive status. While these
            considerations make the development of habitat criteria difficult, we established criteria by
            assessing the habitat features that were compatible with a stable to increasing grizzly bear
            population in the past, and then used these habitat conditions as threshold values that must be
            maintained to ensure a healthy population (i.e., a "no net loss" or baseline approach), as
            suggested by Nielsen et al. (2006, p. 227). The most crucial element in grizzly bear recovery is
            an adequate amount of habitat that is diverse, provides a wide range of foods, and is isolated
            from development and human activities, where human-bear interactions, which often result in
            higher bear mortalities, are minimal (Service 1993, p. 21, Craighead and Mitchell 1982, p. 530).
            The Service found in the 1993 Recovery Plan that motorized access posed the most imminent
            stressor to grizzly bear habitat, and recommended that road management be given the highest
            priority for grizzly bear recovery (Service 1993, pp. 21-22). Motorized access management is
            focused on both habitat security and mortality reduction and is therefore an important
            management tool for grizzly bear populations. By reducing motorized route densities and thus
            mortality rates in grizzly bear habitat, it provides habitat security, especially for females, by
            allowing them to utilize their habitat for reproduction while optimizing survival by minimizing
            human-caused mortality. For this reason, both the GYE and NCDE habitat-based recovery
            criteria define threshold levels for secure core/habitat (areas with no motorized access), livestock
            allotments, and developed sites as their habitat-based recovery criteria (Service 2007b, pp. 2-6,
            Service 2018, pp. 5-8).

             Recovery Progress

             Below, we summarize recovery planning efforts and progress toward meeting recovery goals for
            each ecosystem.

             Recovery P/anning and Progress in the G)m5

             Habitat-based Recovery Criteria for the GYE

            On June 17, 1997, we held a public workshop in Bozeman, Montana, to develop and refine
            habitat-based recovery criteria for the grizzly bear, with an emphasis on the GYE. This
            workshop was held as part of the settlement agreement in FundforAnimals V. Babbitt, 967
            F.Supp. 6 (D.D.C. 1997). A Federal Register notice notified the public of this workshop and
            provided interested parties an opportunity to participate and submit comments (62 FR 19777,
            April 23, 1997). After considering 1,167 written comments, we developed biologically based
            habitat recovery criteria, which were appended to the 1993 Recovery Plan in 2007 (Service
            2007b, entire), with the overall goal of maintaining or improving habitat conditions at levels that
            existed in 1998.

            As discussed above in Recovery Criteria, because of the inability to calculate minimum habitat
            values for a recovered population, we use a "no net loss" approach by assessing what habitat
            factors are compatible with a stable to increasing grizzly bear population. The 1998 baseline for
            habitat standards was chosen because the levels of secure habitat and developed sites on public
            lands remained relatively constant in the 10 years preceding 1998 (USDA FS 2004, pp. 140-
            141), and the selection of 1998 ensured that habitat conditions existing at a time when the


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            population was increasing at a rate of 4 to 7 percent per year (Schwartz et al. 2006b, p. 48)
            would be maintained. In addition, levels of motorized routes were decreasing during the years
            preceding the 1998 baseline as exhibited by an average reduction (elimination) of 59.9 km (37.2
            mi) of road per year from 1986 to 2002 on NF lands within the recovery zone (USDA FS 2006a,
            p. 200). The 1998 baseline was determined through a GIS analysis of the amount of secure
            habitat, open and total motorized route densities, the number and capacity of livestock
            allotments, and the number and capacity of developed sites on public lands for each of the
            40 bear management subunits located in the recovery zone.

            For the GYE, secure habitat refers to those areas with ne motorized access that are at least
            10 acres (0.31 km2 (0.016 mi2)) in size and more than 500 m (1,650 ft) from a motorized access
            route (open or gated) or recurring helicopter flight line (USDA FS 2004, p. 18). Our definition
            of secure habitat includes areas as small as 10 acres (0.31 km2 (0.016 mi2)) in size because both
            the IGBST and YES concluded that all secure habitats are important for grizzly bears in the
            GYE, regardless of size, particularly in peripheral areas. Research by Schwartz et al. (2010, p.
            661) supported this conclusion and demonstrated a direct link between this definition and grizzly
            bear survival in the GYE. Non-motorized trails were not excluded from secure habitat because
            research indicates that non-motorized trails do not significantly affect grizzly bear survival, and
            that survival is better explained by the absence of motorized routes (Schwartz et al. 2010a, p.
             659).

            Habitat-based recovery criteria-The habitat-based recovery criteria established objective,
            measurable values for levels of motorized access, secure habitat, developed sites, and livestock
            allotments (i.e., "the 1998 baseline") for the GYE (see the 2016 GYE Conservation Strategy for
            1998 baseline values) (YES 2016b, Appendix E). The 1998 baseline values will not change
            through time, unless the changes will benefit bears (e.g., expansion of existing administrative
            sites to enhance public land management if other viable alternatives are not available,
            modifications to dispersed or developed sites to reduce grizzly bear conflicts, such as installing
            bear-resistant storage structures). As each of these criteria are central to potential present or
            threatened destruction, modification, or curtailment of habitat or range, they are discussed in
            detail under Chapter 5. The Grizzly Bear Annual Habitat Monitoring Report includes changes
            and corrections to the 1998 baseline and is included in the IGBST Annual Reports.

            Status: These habitat-based recovery criteria have been met or improved upon since their
            incorporation into the Recovery Plan (Service 2007b, entire) .

            Additionally, we developed several monitoring items that may help inform management
            decisions OI' explain population trends: (1) trends in the location and availability of food sources
            such as whitebark pine (Pin's albicaulis), cutthroat trout (Oncorhynchus clarkii), army cutworm
            moths (Euxoa auxiliaris), and ungulates (bison (Bison bison) and elk (Cervus canadensis)), and
            (2) grizzly bear mortality numbers, locations, and causes, human-grizzly bear conflicts, conflict
            bear management actions, bear-hunter conflicts, and livestock-bear conflicts (YES 2016a, pp.
            33-91). Federal and State agencies monitor these items, and the IGBST produces an annual
            report of the results. This information is used to examine relationships between food availability,
            human activity, and demographic parameters of the population such as survival, population
            growth, or reproduction.



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             Demographic Recovery Criteria for the GYE

            Since the 1993 Recovery Plan was released, we have evaluated and updated how we assess those
            recovery criteria in the GYE as newer, better science became available. These revisions include
            implementing new scientific methods to determine the status of the GYE grizzly bear population
            in the DMA, estimate population size, and determine what levels of mortality the population
            could withstand to maintain recovery goals (i.e., the sustainable mortality rate). The Wildlife
            Monograph: "Temporal, Spatial, and Environmental Influences on The Demographics of
            Grizzly Bears in The Greater Yellowstone Ecosystem" (Schwartz et al. 2006b, entire), the
            report: "Reassessing Methods to Estimate Population Size and Sustainable Mortality Limits for
            the Yellowstone Grizzly Bear" (IGBST 2005, entire), and the report: "Reassessing Methods to
            Estimate Population Size and Sustainable Mortality Limits for the Yellowstone Grizzly Bear
            Workshop Document Supplement 19-21 June, 2006" (IGBST 2006, entire) provided the
            scientific basis for revising the demographic recovery criteria in the GYE in 2007 (72 FR 11376,
            March 13, 2007, Service 2007a, entire). Similarly, we once again revised the demographic
            recovery criteria in the GYE in 2017 (81 FR 13174, March 11, 2016, Service 2017, entire) based
            on updated demographic analyses that used the same methods as previous assessments (Schwartz
            et al. 2006b, pp. 9-16) and were reported in the IGBST's 2012 report: "Updating and
            Evaluating Approaches to Estimate Population Size and Sustainable Mortality Limits for Grizzly
            Bears in the Greater Yellowstone Ecosystem" (hereafter referred to as the 2012 IGBST Report) .
            Based on recommendations in the 2012 IGBST report, the Service modified the area where
            mortality limits apply to match the area that is monitored for unique adult female grizzly bears
            with cubs-of-the-year and in which the population size is estimated (i.e. the DMA) .

             Below, we detail each of the most current demographic criteria that were appended to the 1993
             Recovery Plan in 2017 (Service 2017, entire).

            Demographic Recovery Criterion I for the GYE-Maintain a minimum population size of 500
            grizzly bears and at least 48 females with cubs-of-the-year in the DMA (Figure 17, above) as
            indicated by methods established in published, peer-reviewed scientific literature and calculated
            by the IGBST using the most updated Application Protocol as posted on their website. If the
            estimate of total population size drops below 500 in any year or below 48 females with cubs-of-
            the-year in 3 consecutive years, this criterion would not be met. The 48 females with cubs-of-
            the-year metric is a model-averaged number of documented unique females with cubs-of-the-
            year.

            A minimum population size of at least 500 animals within the DMA will ensure short-term
            genetic health (Miller and Waits 2003, p. 4338) and is not a population goal. Five hundred is a
            minimum population threshold and that will ensure the short-term fitness of the population is not
            threatened by losses in genetic diversity in such an isolated population. The goal is to maintain
            the population well above this threshold to ensure that genetic issues are not a detriment to the
            short-term genetic fitness of the GYE grizzly bear population.

             Status: In 2019, based on the model-averaged Chao2 method there were 58 females with cubs
             within the DMA. Applying the updated vital rates, 58 females with cubs is equates to an



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            estimated population of 737 individuals (Haroldson et al. 2020b, p. 13). This recovery criterion
            has been met since 2003 .

            Demographic Recovery Criterion 2 for the GYE-Sixteen of 18 BMUs within the recovery zone
            (Figure 22) must be occupied by females with young, with no two adjacent BMUs unoccupied,
            during a 6-year sum of observations. This criterion is important as it ensures that reproductive
            females occupy the majority of the recovery zone and are not concentrated in one portion of the
            ecosystem. If less than 16 of 18 BMUs are occupied by females with young for 3 successive 6-
            year sums of observations this criterion would not be met. See Table 8 below for most current 3
            consecutive 6-year sums of observations data.

             Status: This recovery criterion has been met since at least 2001.

            Table 8. Demographic recovery criterion 2 is measured by the number of occupied bear management units (BonUs)for each 6-
            year sum of observations.




                6-year
                               2012     2013 2014          2015 n 2016 2017 n 2018 4 2019
                period
              2012-2017          15       18       18        17       18                                           Yes
              2013-2018                                      17       18       17        18                        Yes
              2014-2019                                                                             18             Yes




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                                                                                                  Boulder-
                                                                                                   Slough
                                                                           _ Hellroaring-Bear S
                                              Hillg;
                                                                Gallatin




                                                                               Washburn           Lamar l)CrandaII-Sunlight
                                                             Madison


                                                                                              .   \
                                                                                           Pelican-.
                                              $enrysr,Lake
                                                                                            Clear
                                                                       Firehole-Hayden

                                                                                                           lShoshoneF'

                                                          Plateau

                                                                                   Two Océ§n


                                                                                                       *T h o rofare


                                                             Bech Ie r-Teton
                                                                                                                       South Absaroka}
                                                                                      Buffalo-Spread Creek




                      Greater Yellowstone Recovery Zone


             r
                      Bear Management Units
                    i .Bear Managcment_Subu.nits1 '|                                                                           I Kilometers


            Fig.,.,. u Lg. Be... u..,J1d8€l1'l€lZl Um., .,,.'Us) and subunits Jo." the Greater Yellowstone reco,,. y zone.


            Demographic Recovery Criterion 3 for the GYE-Maintain the population within the DMA
            around the 2002-2014 model-averaged Chao2 population estimate average size (average = 674,
            95% CI = 600-747, 90% CI = 612-735) by maintaining annual mortality limits for independent
            females (2 years old or older), independent males (2 years old or older), and dependent young as
            shown in Table 9. These adjustable mortality rates were calculated as those necessary to manage
            the population to the modeled-averaged Chao2 population estimate of 674 bears, which occurred
            during the time period that this population had a relatively flat population trajectory (2002-
            2014). If mortality limits are exceeded for any sex/age class for 3 consecutive years and any
            annual population estimate falls below 612 (the lower bound of the 90 percent confidence
            interval), the IGBST will produce a Biology and Monitoring Review to inform the appropriate
            management response. If any annual population estimate falls below 600 (the lower bound of
            the 95 percent confidence interval), this criterion would not be met and there would be no
            discretionary mortality (mortalities that are the result of hunting or management removals)
            except as necessary for human safety.

            Criterion 3 counts known and probably mortalities from all causes of independent (at least 2
            years old) male and female grizzly bears from all sources against annual mortality limits while
            counting only known and probable human-caused mortalities against annual mortality limits for


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            dependent young (less than 2 years Qld). For independent females and males, counted mortalities
            include: (l) known and probable human-caused mortalities, (2) reported deaths due to natural
            and undetermined causes, and (3) a statistical estimate for unknown/unreported human-caused
            mortalities. The IGBST will continue to use the methods of Cherry et al. (2002, entire) to
            estimate unknown/unreported mortalities each year based on the number of known, reported
            human-caused deaths (Cherry et al. 2002, p. 179, IGBST 2005, pp. 39-41) until and unless new
            and improved scientifically methodology becomes available.

            The population estimates derived from the model-averaged Chao2 estimates of females with
            cubs had stabilized during the period of 2002-2014, and the mean population estimate over that
            time period was 674 (95% CI = 600-747), which is not statistically different from the population
            size of 683 when the GYE population was considered recovered and delisted in 2007 (72 FR
            14866, March 29, 2007). This recovery criterion was selected because it represents: a
            population level that is sufficiently robust to provide for the viability of the species, a period
            where the ecosystem was likely at or near long-term carrying capacity, and the conservative
            nature of a population estimate derived from counts of females with cubs (Schwartz et al. 2008,
            entire). The population naturally stabilized primarily because of reduced survival of dependent
            young and lower reproduction in areas with higher grizzly bear densities, suggesting density-
            dependent effects associated with the population approaching carrying capacity (van Manen et
            al. 2016, entire).

            Status: In 2019 there were 26 known and probable grizzly bear mortalities within the DMA: 3
            independent females, 17 independent males, 2 independent-age bears of unknown sex, and 5
            dependent young of unknown sex (Haroldson and Frey 2020, pp. 28-29). Using randomly
            assigned sex for the 2 independent-age bears for which sex was unknown, the estimated total
            mortality was 3.5 percent of the estimated population of independent females and 11.7 percent of
            the estimated population of independent males. There were no documented human-caused
            mortalities for dependent young within the DMA in 2019. Documented known and probable
            mortality rates for all age and sex classes were below the total mortality limits in 2019. This
            criterion has been met for all age and sex classes since 2012. While mortality rates within the
            DMA have been above morality thresholds in several years, the average has remained under the
            threshold over the recent period of 2010 to 2019 with 7.0 percent for independent females and
            12.0 percent for independent males.




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            Table 9. Total mortality rate used to establish annual total mortality limits for independent females and independent males, and
            human-caused mortality limits for dependent young inside the Demographic Management Area (DMA). These mortality limits
            are on a sliding scale to achieve the population goal inside the DMA of the model-averaged Chao2 population size of674
            between 2002-2014 (95% CI = 600-747). For populations less than 600, there will be no discretionary mortality unless
            necessary for human safety.




                                                                                   5674        675-747            >747


                  Total mortality rate for independent FEMALES                    <7.6%           9%              10%


                    Total mortality rate for independent MALES                     15%           20%              22%


                 Human-caused mortality rate for dependent young                  <7.6%           9%              10%

              Total mortality: Documented known and probable grizzly bear mortalities from all causes including
              but not limited to: management removals, illegal lulls, mistaken identity kills, self-defense kills,
              vehicle lulls, natural mortalities, undetermined-cause mortalities, grizzly bear hunting, and a
              statistical estimate of the number of unknown/unreported mortalities.
             * using the model-averaged Chao2 estimate

             Recovery P/anning and Progress in the NCDE

             Habitat-based Recovery Criteria for the NCDE

            On July 7, 2016, and January 3, 2018, we held public workshops in Missoula, Montana, to
            develop and refine habitat-based recovery criteria for the grizzly bear, with an emphasis on the
            NCDE. Federal Register notices and notices in local newspapers notified the public of these
            workshops and provided interested parties an opportunity to participate and submit comments
            (81 FR 29295, May II, 2016, 82 FR 58444, December 12, 2017). After considering 282 written
            and oral comments, we developed biologically-based habitat-based recovery criteria with the
            overall goal of maintaining or improving habitat conditions at levels that existed in 2011.
            Habitat-based recovery criteria for the NCDE were proposed in 2017, and then finalized as a
            supplement to the 1993 Recovery Plan in 2018 (Service 2018, entire).

            The habitat-based recovery criteria established objective, measurable values for levels of
            motorized access, secure core habitat, developed sites, and livestock allotments for the NCDE
            (see the NCDE Conservation Strategy for 2011 baseline values) (NCDE Subcommittee 2018,
            Appendices 4 and 5). As discussed above in Recovery Criteria, because of the inability to
            calculate minimum habitat values for a recovered population, we use a "no net loss" approach by
            assessing what habitat factors are compatible with a stable to increasing grizzly bear population.
            We selected 2011 levels (i.e., the "baseline") as our baseline year because secure core habitat
            was increasing and motorized route density was decreasing between 2004 and 2011 (NCDE
            Subcommittee 2020, Chapter 1, Service 2018, pp. 24-25), and the NCDE grizzly bear population
            was increasing at a rate of 2 to 3 percent annually during this time (Mace et al. 2012, p. 124,


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            Mace 2012, in jin., Costello et al. 2016b, p. 2, Service 2018, p. 3). For example, in the Flathead
            NF, the amount of core habitat (IGBC 1998, p. 4) increased by approximately 400 km2 (155 m12)
            from 1995 to 2004, and by another 170 km2 (65 m12) from 2004 to 2011 (Ake 2018a, in list.).
            Habitat conditions in 2011 are believed to be representative of conditions that supported and
            contributed to the population growth observed from 2004 to 2011. For each of the 126 BMUs
            located in the recovery zone, the baseline was determined through a GIS analysis of the amount
            of secure core habitat, open and closed road densities, the number and capacity of livestock
            allotments, and the number and capacity of developed sites on public lands (NCDE
            Subcommittee 2020, Chapter 3, Appendices 4 and 5).

            For the NCDE, we define secure core habitat as those areas on Federal lands within the analysis
            area more than 500 m (1,650 ft) from a motorized access route and at least 2,500 acres (10.1 km2
            (3.9 mi2)) in size, and in place for 10 years (Service 2018, pp. 5, 12). Non-motorized trails were
            not excluded from secure core because research indicates that non-motorized trails do not
            significantly affect grizzly bear survival, and that survival was better explained by the absence of
            motorized routes (Schwartz et al. 2010a, p. 659).

            The habitat-based recovery criteria ensure that the baseline values will not change through time,
            except as allowed under the application rules, unless the changes benefit bears. As the
            management objectives in the habitat-based recovery criteria are central to potential present or
            threatened destruction, modification, or curtailment of habitat or range, each of these criteria are
            discussed in detail under Chapter 5. The habitat-based recovery criteria were appended to the
            Recovery Plan in 2018.

            Status: These habitat-based recovery criteria have been met or improved upon since their
            incorporation in the draft NCDE Conservation Strategy in 2013 (NCDE Subcommittee 2020,
            Chapter 3, Appendices 4 and 5, Service 2018, entire) .

             Demographic Recovery Criteria for the NCDE

            Demographic Recovery Criterion I for NCDE-Maintain ten females with cubs inside GNP and
            12 females with cubs outside GNP over a running 6-year average both inside the recovery zone
            and within a 10-mile area immediately surrounding the recovery zone, excluding Canada. The
            Recovery Plan identified this criterion as a method to estimate the minimum population size for
            the NCDE, which equates to a minimum population size of 391 grizzly bears (Service 1993, pp.
            61-62). This estimate is thought to be an underestimate of the actual number due to "the
            forested nature of much of the NCDE" (Service 1993, p. 62).

            Status: We attempted to reconstruct the original criterion using radio-telemetry data and public
            sightings. High grizzly bear densities have been documented within GNP (Kendall et al. 2009,
            pp. 11-12, Costello et al. 2016b, pp. 22-23). Since 2010, GNP has recorded yearly sightings of
            females with young, averaging 44 females with young annually after removing duplicates based
            on date, time, and descriptions. These family group sightings include females with cubs and
            yearlings, and so estimates are higher than for females with cubs alone, however, family group
            observations within GNP are 4 times higher than the original recovery criterion for observations
            of females with cubs. With a 3-year reproductive cycle approximately a third of the family


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            groups would be females with cubs. Combined with the conservative nature of observation-
            based estimates within the NCDE, the Service believes the target of 10 females with cubs inside
            GNP has been met and exceeded. In addition, radio-telemetry data indicate that the target of 12
            females with cubs outside GNP has been met since 2012 (Costello 2017, pp. 1-3).

            In addition, Kendall et al. (2009, p. 9) genetically sampled the entire recovery zone and the
            surrounding areas thought to be occupied by bears to produce a scientifically-reliable population
            estimate of 765 bears (95% CI = 715-831). A similar survey has not been conducted since 2004
            due to cost limitations, however, radio-telemetry (location), DNA, and mortality data are
            collected annually to calculate population distributions and annual growth rates for the
            population. Together, these data are combined in stochastic demographic models to project total
            population size for the NCDE, with a 2019 estimate of 1,068 bears (95% CI = 890-1,283)
            (Costello et al. 2016b, pp. 69-70, Costello 2020, in lift). Given that the 2019 lower 95 percent
            confidence interval of 890 bears is more than double the minimum population size target of the
            Recovery Plan (391 bears), the Service concludes that the NCDE grizzly bear population has
            well exceeded this demographic criterion.

            Demographic Recovery Criterion 2 for the NCDE-Twenty-one of 23 BMUs within the
            recovery zone (Figure 23) must be occupied by females with young, with no two adjacent BMUs
            unoccupied, during a 6-year sum of observations. The Recovery Plan (Service 1993, p. 61)
            established this criterion to ensure that reproductive females occupy the majority of the recovery
            zone and are not concentrated in one portion of the ecosystem.

            Status: This criterion has been met since 2009, with females with young occupying 22 of 23
            BMUs within the NCDE during the 6-year sum of observations since from 2014-2019 (NCDE
            Subcommittee 2020, table 2, Costello and Roberts 2020, p. 8).




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                                                             Upper North ,
                                                                                Northeast Gl3ci8T
                                                             Fork Flathead



                                                    s8llwl8er\
                                                     River                                   Southeast
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                 |    Northern Continental Divide Recovery Zone



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                      Bear Management Units
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            Demographic Recovery Criterion 3 for the NCDE-The 6-year average of known and probable
            human-caused mortality cannot exceed 4 percent of the minimum population estimate based on
            the most recent 3-year sum of unduplicated females with cubs, no more than 30 percent of this 4
            percent mortality limit shall be females, and these human-caused mortality limits cannot be
            exceeded during any 2 consecutive years for recovery to be achieved. In other words, human-
            caused female mortality cannot exceed 1.2 percent of the minimum population estimate. The
            Recovery Plan identified this criterion as a method to limit known human-caused mortality to a
            level that is sustainable for a recovered NCDE grizzly bear population (Service 1993, p. 61,
            Servheen 2001, entire). The known and probable, human-caused mortality threshold was set at 4
            percent because unknown and/or unreported human-caused mortality was known to occur but
            current methods to estimate these unknown/unreported mortalities were not available when the
            Recovery Plan was written (Service 1993, p. 62).

            Status: We assessed this criterion using the same index of minimum population size described in
            Demographic Recovery Criterion I , the lower 95th percentile of the estimated population size,
            for human-caused mortalities inside the DMA. Since 2009, the 6-year average for human-caused
            total mortality has been less than 4 percent of the minimum population size and the 6-year
            average for human-caused female mortality has been less than 1.2 percent of the minimum


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            population size (Table 10) (Costello et al. 2016b, p. 69, Costello 2017, pp. 2, 6, Costello and
            Roberts 2018, pp. 7-8, Costello 2020, in liar. , MFWP unpublished data). For the most recent 6-
            year average (2014-2019) of known and probable, human-caused mortality, the mortality limit
            was 35.7 bears/year for total mortality and 10.7 bears/year for female mortality. The documented
            6-year average for this time period was 25.3 bears/year for total mortality and 10.2 bears/year for
            female mortality. This criterion has been met since 2009 (Costello 2017, pp. 2, 6, Costello and
            Roberts 2018, pp. 7-8, Costello 2020, in lift., MFWP, unpublished data).

             Table 10. Assessment of human-caused mortalities inside the NCDE Demographic Monitoring Area (DMA)from 2004 zo 2019
            for demographic recovery criterion 3. This table includes all known and probable human-caused mortalities for independent
            females, independent males, and dependent young.




                                               Female          Total          Female          Total         Female          Total
              2004             694               14
              2005             703
              2006             717
              2007             732
              2008             747
              2009             765
              2010             780
                               795
              2012             810
              2013             823
              2014             835
              2015
              2016             864
              2017             876
              2018             892                                                                                           35.7
              2019             890



            At the time that these recovery criteria were developed, there was no way to estimate
            unknown/unreported mortalities. We can new estimate these types of mortality to more
            accurately ensure sustainable levels of mortality. As discussed in the NCDE Conservation
            Strategy (NCDE Subcommittee 2020, Chapter 2, Appendix 2) and in the Human-Caused
            Mortality section of this SSA, mortality is currently, and will continue to be, calculated for total
            reported and unreported mortality (TRU mortality). TRU mortality includes known and
            probable reported mortality from all causes (e.g., human-caused, natural, and undetermined) as
            well as an estimate of unknown/unreported mortality (using the methods of Cherry et al. 2002,
            entire) .

             Recovery P/anning and Progress in the CVE

            The 1993 Recovery Plan outlines three demographic recovery criteria for the CYE recovery
            zone:




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            Demographic Recovery Criterion I for the CYE-Maintain six females with cubs over a running
            6-year average both inside the recovery zone and within a 10 mile area immediately surrounding
            the recovery zone, excluding Canada.

            Status: Unduplicated females with cubs (excluding Canada) varied from two to five per year and
            averaged 3.0 per year from 2014-2019 (Kaswerm et al. 2020a, p. 16). This recovery criterion
             has not been met.

            Demographic Recovery Criterion 2 for the CYE-Maintain eighteen of 22 BMU's (Figure 24)
            occupied by females with young from a running 6-year sum of verified evidence.

             Status: Twelve of 22 BMUs had sightings of females with young during 2014-2019 (Kaswerm
             et al. 2020a, p. 16). Therefore, this recovery criterion has not been met.

            Demographic Recovery Criterion 3 for the CYE-Known, human-caused mortality cannot
            exceed 4 percent of the population estimate based on the most recent 3-year sum of females with
            cubs. No more than 30 percent shall be females. These mortality limits cannot be exceeded
            during any 2 consecutive years for recovery to be achieved.

            Status: The target for the minimum number of unduplicated females with cubs in the first
            recovery criterion equates to the recovery goal of approximately 100 grizzly bears in the CYE
            recovery zone (Service 1993, p. 83). The 2017-2019 sum of unduplicated females with cubs (8)
            equates to a minimum estimated population size of 47 individuals (Service 1993, p. 102,
            Kasworm et al. 2020a, p. 16). Utilizing the minimum estimated population size, the total
            mortality limit is 1.9 bears per year and the female mortality limit is 0.6 bears per year. Ten
            known or probable human-caused mortalities of grizzly bears have occurred in or within 10
            miles of the CYE recovery zone in the U.S. during 2014-2019, including 3 females and 7 males
            (Kasworm et al. 2020a, p. 16). This means that average annual human-caused mortality for
            2014-2019 was 1.5 bears per year and 0.5 females per year, which is less than the calculated
            mortality limits. The recovery plan established a goal of zero human-caused mortality for this
            recovery zone until the minimum population reached approximately 100 bears. However, it also
            stated "In reality, this goal may not be realized because human bear conflicts are likely to occur
            at some level within the ecosystem." Therefore, even if the goal of zero mortality is not met, it is
            important to evaluate the recovery criterion to determine if we are making progress towards
            recovery. During the 2014-2019 reporting period we were meeting all mortality limits and were
            moving closer to recovery for this criterion. Recovery targets for 2009-2019 are shown in Table
            11.




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            Table II. Annual CYE recovery zone grizzly bear unduplicated counts of females wiln cubs, known and probable human-caused
            mortality, and recovery plan targets, 2010-2019.




           2010         4               0             0                 1                   1.9                 0.6                 1.3           0.7
           2011         1               0             0                 4                   1.4                 0.4                 1.3           0.3
           2012         3               1              1                2                   1.6                 0.5                 1.7           0.5
           2013         2               0             0                 0                   1.2                 0.4                 1.5           0.3
           2014         3               0             0                 1                   1.6                 0.5                 1.5           0.3
           2015         2               0             0                 3                   1.6                 0.5                 1.8           0.2
           2016         3               0             0                 0                   1.9                 0.6                 1.7           0.2
           2017         3               0             0                 0                   1.9                 0.6                 1.0           0.2
           2018         5               1             2                 4                   2.3                 0.7                 1.3           0.3
           2019         2               1              1                2                   1.9                 0.6                 1.7           0.5




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                    Cabinet-Yaak Recovery Zone
                    Selkirk Recovery Zone


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                    Bear Management Units
             r | - Bear Management Subunits  '|                                     20        30                ii    20   30
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             Figure 24. Bear Management Units (BMU9) for the Cabinet- Yaak and Selkirk Ecosystems.




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             Recovery P/anning and Progress in the SE

            The Selkirk area in the U.S. is the southern tip of the Selkirk Mountain Range that extends
            northward into B.C. The area of the U.S. portion is limited by the fact that the Selkirk range
            ends approximately 60 km (23 mi) south of the border. Because there is not sufficient area for a
            viable grizzly bear population on the U.S. side, and because the bears in the area regularly move
            across the border, a portion of the Selkirk Range on the B.C. side was included in the designated
            SE recovery zone (Service 1993, p. lol). The inclusion of this area brought the size of the SE to
            approximately 5,180 km2 (2,000 mi2), the size thought to be necessary to support a minimum
            population of 90 bears. It is recognized that the SE is contiguous with grizzly bear habitat
            northward into B.C., and that the 90 bears projected as the goal in this recovery zone are a subset
            of a much larger population. The population goal for the recovery zone is set to ensure sufficient
            bears exist throughout the area to ensure a continued population in the U.S. portion of this
            recovery zone.

            The 1993 Recovery Plan outlines three demographic recovery criteria for the SE recovery zone:

            Demographic Recovery Criterion I for the SE-Maintain six females with cubs over a running
            6-year average both inside the recovery zone and within a 10 mile area immediately surrounding
            the recovery zone, including Canada.

            Status: Unduplicated sightings of females with cubs (including Canada) varied from 2 to 6 per
            year and averaged 3.67 per year from 2014-2019 (Kaswerm et al. 2020b, p. 12). This recovery
            criterion has not been met.

            Demographic Recovery Criterion 2 for the SE-Maintain seven of 10 BMU's (Figure 24)
            occupied by females with young from a running 6-year sum of verified evidence.

             Status: Eight of the 10 BMUs were occupied by females with young during 2014-2019 in the
             U.S. portion of the recovery zone (Kasworm et al. 2020b, p. 12). Therefore, this recovery
            criterion has been met.

             Demographic Recovery Criterion 3 for the SE-Known, human-caused mortality cannot exceed
             4 percent of the population estimate based on the most recent 3-year sum of females with cubs.
             No more than 30 percent shall be females. These mortality limits cannot be exceeded during any
             2 consecutive years for recovery to be achieved.

            Status: The target for the minimum number of unduplicated females with cubs in the first
            recovery criterion equates to the recovery goal of approximately 90 grizzly bears in the SE
            recovery zone (Service 1993, p. lol). The 2017-19 sum of unduplicated females with cubs (9)
            equates to a minimum estimated population size of 45 individuals (Service 1993, p. 102,
            Kasworm et al. 2020b, p. 12-16), the total mortality limit is 1.8 bears per year and the female
            mortality limit is 0.5 bears per year. Thirteen known or probable human-caused mortalities of
            grizzly bears occurred in or within 10 miles of the SE recovery zone in the U.S. or in the B.C.
            portion of the SE during 2014-2019, including 6 females (1 in the U.S. and 5 in B.C.) and 7
            males (2 in the U.S. and 5 in B.C.) (Kasworm et al. 2020b, p. 12-13). This means that average



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            annual human-caused mortality for 2014-2019 was 2.2 bears per year and 1.0 females per year.
            The mortality level for total human-caused mortality and the level of female human-caused
            mortality exceeded the calculated limit during 2014-2019. The Recovery Plan established a goal
            of zero human-caused mortality for this recovery zone until the minimum population reached
            approximately 90 bears. However, it also stated "In reality, this goal may not be realized
            because human bear conflicts are likely to occur at some level within the ecosystem."
            Therefore, even if the goal of zero mortality is not met, it is important to evaluate the recovery
            criterion to determine if we are making progress towards recovery. Thus, during the 2014-2019
            reporting period we did not meet the mortality limits. Recovery targets for 2009-2019 are
            shown in Table 12.

            Table 12. Annual SE recovery zone grizzly bear unduplicated eounls of females wiln cubs, known and probable human-caused
            mortality, and recovery plan targets, 2010-2019.




             Recovery P/anning and Progress in the BE

            The 1996 Recovery Plan Supplement outlines three demographic recovery criteria fer the BE
            recovery zone: (l) 14 females with cubs over a running 6-year average, subject to revision as
            more information becomes available, (2) delineation and occupancy of BMUs will be determined
            at a future date, (3) the goal for known, annual human-caused mortality remains zero until at
            least 90 grizzly bears are established. At that time, known, human-caused mortality is not to
            exceed 4 percent of the minimum estimate, with no more than 30 percent of this mortality limit
            shall be females (Service 1996, p. 4). The target for the minimum number of unduplicated
            females with cubs in the first recovery criterion equates to the recovery goal of approximately
            280 grizzly bears.

            Status: In the BE there is no known population and none of these demographic criteria have
            been met.

             Recovery Planning and Progress in the North Cascades

            The Recovery Plan Supplement for the North Cascades did net establish specific demographic
            criteria for numbers of females with young, BMUs occupied (Figure 25), or sustainable levels of


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            human-caused mortality due to a lack of information for the ecosystem (Service 1997, p. 3).
            However, the Recovery Plan sets a recovery goal in the North Cascades of 200-400 grizzly bears
            in the U.S. portion of the ecosystem (Service 1997, p. 3). The first action set forth in the
            supplement is to "establish the population objective for recovery and identify the limiting
            factors" (Service 1997, p. 5). The supplement established a goal of zero known, human-caused
            mortalities (Service 1997, p. 4). There have been zero human-caused grizzly bear mortalities in
            the North Cascades. However, we are not meeting recovery goals in the North Cascades and we
            do not have a verified grizzly bear population on the U.S. side at this time. The supplement
            describes a recovered population as "one that: (a) has the capability to offset human-caused
            mortality, (b) is large enough to survive the effects of demographic and environmental
            stochasticity, and (c) is well distributed throughout the ecosystem (based on BMU occupancy by
            females with young)."

            In 2017, the Service and North Cascades National Park released a range of alternatives to recover
            the grizzly bear population in the North Cascades. The draft EIS addressed several proposed
            action alternatives, all of which proposed to achieve a restoration goal of 200 grizzly bears in the
            North Cascades. The action alternatives differed in the rate and total number of grizzly bears
            released, and the timeframe for achieving the restoration goal of 200 grizzly bears. The
            proposed restoration proved controversial, and in response to a congressional request included in
            an appropriations bill, a second comment period on the draft EIS was opened in July 2019. On
            July 7, 2020, the Service and NPS announced their decision to discontinue the proposal to
            develop and implement a Grizzly Bear Restoration Plan for the North Cascades Ecosystem.




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                     North Cascades Recovery Zone


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             Conserver t/bn Strategies

            A conservation strategy is one of two separate delisting requirements outlined in the Recovery
            Plan. The plan sets forth two criteria for delisting: that recovery criteria are met, and the
            development and completion of an interagency conservation strategy that will ensure that
            adequate regulatory mechanisms will continue to be present after delisting (Service 1993, p. 16).
            The strategy should list legal authorities, policy, management programs, and the continued
            commitment of management agencies to maintain a high standard of management after delisting
            of the grizzly bear population. Interagency groups have completed conservation strategies for
            the GYE and NCDE.




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             Chapter 4: Needs of the Grizzly Bear in the Lower-48 States

            The needs of a species can be evaluated hierarchically, starting at the lowest level with an
            individual's basic resource needs for breeding (including all stages of reproduction), feeding,
            sheltering, and dispersal. Then, needs can be described at the population and species levels by
            describing resiliency needed for populations to withstand stochastic events, redundancy to withstand
            catastrophic events, and representation to adapt to environmental change. In this chapter, we
            summarize these needs for grizzly bear individuals, ecosystems, and the lower-48 States. Our
            understanding of individual, ecosystem, and lower-48 States needs presented were derived from our
            discussion of life history and ecology in Chapter 2. For the grizzly bear in the lower-48 States,
            habitat factors that individuals need are large intact blocks of land, cover, high-caloric foods, and
            dens (Figure 26). Demographic factors that ecosystems need include, fecundity, survival, genetic
            diversity, population trend, abundance, and connectivity, depending on the population size (Figure
            26). Together, the habitat and demographic factors influence the resiliency of ecosystems. In
            general, the lower-48 States needs a sufficient number and distribution of ecosystems with ecological
            and genetic diversity across the range to withstand catastrophic events and adapt to environmental
            change. We discuss these needs below.
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                                                                                                                                     THE LOWER-48
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            Figure 26. Conceptual model for grizzly bear ecosystem resiliency, in terms of habitat factors (green boxes) needed by individuals to breed
            (B,' includes all stages of reproduction), feed (F), shelter (S), and disperse (D), and demographic factors (red boxes) that ecosystems need
            to be resilient. Green arrows represent positive relationships between nodes. The core conceptual model is provided at the top of the
            figure for reference.




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             Indiwt7'ua/ Needs

            In general, a grizzly bear's individual habitat needs, and the daily movements needed to find
            these resources, are largely driven by the search for food, water, mates, cover, security, or den
            sites. We identified the following four habitat factors needed by individual grizzly bears to
            successfully move from one life stage to the next:

                    Large, intact (i.e., relatively undisturbed by motorized access or other human
                    development) blocks of land, needed by all life stages to breed, feed, shelter, and
                    disperse,
                    Cover, needed by all life stages to shelter,
                    High-caloric foods, needed by all life stages to feed and breed, and
                    Dens as shelter for all life stages, and specifically for females that are pregnant or with
                    offspring.

            Large intact blocks of land directly influence the quality and quantity of the ether three resource
            needs, which highlights the importance of this habitat factor to all life stages. The larger, more-
            intact, and diverse the block of land, it follows that high-caloric foods, dens, and cover would be
            more readily available to individuals. We describe each of these habitat needs in more detail
            below .

             Large, Intact 8/ocks 0l'Land

            Grizzly bears need intact blocks of land of sufficient size to accommodate their large annual
            home range sizes (Table 5) and provide breeding range, high-caloric foods, cover for shelter,
            dens for hibernation, and areas for dispersal (Mace et al. 1996, pp. 1402-1403, Schwartz et al.
            2010a, p. 661). Grizzly bears also need large, intact blocks of land with limited human influence
            and thus low potential for displacement and human-bear interactions that could result in human-
            caused mortality or other conflicts, such as development or livestock grazing (Service 1993, p.
            21, Craighead and Mitchell 1982, p. 530, Schwartz et al. 2010a, p. 661-662). Secure large
            blocks of land generally have protections with limited motorized access and developed sites, and
            low risk of habitat loss and fragmentation.

             H/gh-Ca/oric Foods

            As described in Chapter 2, grizzly bears need high-caloric foods throughout the non-denning
            period to satisfy nutritional requirements for feeding and breeding. Before winter, high-caloric
            foods are particularly important as bears prepare to hibernate in dens, where they will rely on fat
            stores to overwinter. In general, grizzly bears need a sufficient quantity and diversity of natural,
            high-caloric foods.

             Dens IBreen?/7g and Sheltering)

            As described in Chapter 2, hibernation is a central aspect of grizzly bear life history. Hibernation
            is a life history strategy bears use to cope with seasons of low food abundance. All life-stages of
            bears use this strategy when and where foot shortages exist. In order to successfully hibernate,


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            grizzly bears need dens that provide sufficient protection from environmental conditions and
            from human disturbance.

             Co ver /She/tering)

            As described in more detail in Chapter 2, grizzly bears need sufficient cover to shelter from
            environmental or human-caused factors. Grizzly bears need cover to avoid humans and rest
            safely. Cover may include forests, riparian areas, or other vegetative or structural sources.

             Ecosystem-Leve/ Needs

            We evaluated the ecosystem-level needs of grizzly bears in terms of the demographic factors
            each ecosystem needs to be resilient. We identified six primary demographic factors that are
            important to resiliency of an ecosystem (Figure 26, above):

                •   Abundance,
                •   Population trends ,
                .   Adult female survival,
                .   Survival of all other life stages,
                •   Fecundity,
                •   Connectivity, and
                •   Genetic diversity.

            In general, an ecosystem needs sufficient levels of each of these demographic factors in order to
            be resilient. The greater each demographic factor, the greater the resilience of the ecosystem.
            Adult female survival influences abundance and population trends more than survival rates of
            males or dependent young (Eberhardt 1977, p. 210, Knight and Eberhardt 1985, p. 331, Schwartz
            et al. 2006b, p. 48). For example, low adult female survival contributed to the decline in the
            GYE prior to the mid-1980s (Knight and Eberhardt 1985, p. 331). Female movement within and
            between ecosystems influences population trend (Proctor et al. 2012, pp. 5, 26-28) and
            abundance (Service 1993, pp. 27, 83, 101, Service 1997, p. 29). Connectivity also influences the
            genetic diversity of the ecosystem. Male and female movements within and between ecosystems
            can enhance genetic diversity and reduce genetic fragmentation (Miller and Waits 2003, pp.
            4337-4338, Proctor et al. 2005, pp. 27-28, Proctor et al. 2018, p. 361).

             Lower-48-States-Leve/ Needs

            We evaluate needs at the lewer-48 States level in terms of the circumstances that support the
            redundancy and representation of grizzly bears in the lower-48 States.

             Redundancy

            Redundancy describes the ability of a species to withstand catastrophic events. Redundancy
            gauges the likelihood that grizzly bears in the lower-48 States can withstand or "bounce back"
            from catastrophic events such as rare destructive natural events or episodes involving multiple or
            large portions of ecosystems. In general, well-distributed species are considered more redundant


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            than species confined to a more narrow geographic distribution (Carroll et al. 2010, pp. 5-6,
            Redford et al. 2011, Smith et al. 2018, pp. 306-307). Grizzly bears in the lower-48 States need
            multiple resilient ecosystems distributed across a geographical area to reduce the risk of
            catastrophic events. A sufficiently wide distribution of multiple ecosystems ensures that all
            ecosystems are not exposed to the same catastrophic event at the same time, thereby reducing
            risk to the species.

             Representa son

            Representation describes the ability of a species to adapt to changing environmental conditions.
            The breadth of genetic, ecological, behavioral, morphological, and physiological diversity within
            and among populations can be a measure of representation (Smith et al. 2018, pp. 306-307).
            Ultimately genetic diversity provides for morphological and behavioral plasticity that allows a
            species to respond to various environments (i.e., inhabit and thrive in various habitat types).
            Representation gauges the probability that the grizzly bear is capable of using different habitats
            in response to a change in its environment. The more representation or diversity a species has
            (genetic, morphological, and/or behavioral), the more capable it is of adapting to changes
            (natural or human caused) in its environment. For grizzly bears in the lower-48 States, we
            considered genetic and ecological diversity for representation across the six ecosystems. Grizzly
            bears need sufficient genetic and ecological diversity across their range in the lower-48 States to
            adapt to changing environmental conditions. Grizzly bears also display dietary adjustability
            across ecosystems and exploit a broad diversity of habitat types.

            Summary of Gr/kz/y Bear Needs 17/ the Lower-48 Sta tes

            Grizzly bears in the lower-48 States need access to large, intact blocks of land that provide cover,
            high-caloric foods, dens, and areas for dispersal. The specific quality and quantity of these
            resources influence the ability of individual grizzly bears to reproduce, grow, and survive at
            different life stages. These resources support resilient ecosystems, which may be characterized
            generally by abundance, trends, survival rates, and connectivity levels that are sufficient to
            withstand environmental stochasticity and support fecundity. Specific quantities or qualities
            needed for each of these factors may vary by ecosystem. In general, grizzly bears in the lower-
            48 States need multiple, resilient ecosystems distributed across a broad range in order to be
            redundant and withstand catastrophic events. Additionally, grizzly bears in the lower-48 States
            in general need genetic and ecological diversity to preserve variation and adapt to changing
            conditions.




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             Chapter 5: Cause-and-Effects - Stressors and Conservation Efforts

            Before we evaluate current and future conditions, we explore the environmental changes,
            whether natural or anthropogenic, that may have occurred to result in the species' current
            condition and that may influence condition into the future (Service 2016, p. 14). In this chapter,
            we discuss the causes-and-effects that may influence the viability of the grizzly bear in the
            lower-48 States, by either directly or indirectly affecting the habitat or demographic resources
            that we identified as needs in Chapter 4. In order to inform our evaluations of current and future
            condition, we evaluated the sources, stressors, and activities that can positively (conservation
            actions) or negatively (stressors) affect grizzly bears at the individual, ecosystem, or lower-48
            States level, either currently or into the future. By identifying the anthropogenic and natural
            factors that influence the habitat and demographics of the grizzly bear, we can evaluate the
            current and future resiliency of each ecosystem, and the cumulative effects on those ecosystems
            determine conditions related to redundancy and representation.

            A stressor is a change in a habitat or demographic resource, such as a decrease in high-caloric
            foods or decrease in abundance. Some stressors may directly influence the demographics of an
            ecosystem through mortality of individuals resulting from actions or activities, such as vehicular
            strikes, while others, such as development on private lands, may affect habitat factors that may
            indirectly affect individuals by influencing demographic factors. Some stressors may directly affect
            individuals and habitat factors at the same time. The stressors that we evaluated for grizzly bear
            include:

                 .   Motorized access and its management,
                 .   Developed recreation sites,
                 .   Livestock allotments ,
                 •   Mineral and energy development,
                 •   Recreation,
                 •   Vegetation management, such as prescribed burns and riparian area protections,
                 .   Habitat fragmentation,
                 .   Development on private lands,
                 .   Activities that may disturb dens,
                 .   Sources of human-caused mortality, including,
                         o Management removals,
                         o Accidental killings (automobile and train collisions, drowning, poisoning,
                             capture-related) ,
                         o Mistaken identity kills,
                         O Illegal killings,
                         O Defense of life lulls, and
                         o Undetermined human-caused,
                 .   Natural mortality ,
                 .   Connectivity and genetic health,
                 .   Changes in food resources,
                 .   Effects of climate change, and
                 .   Catastrophic events, such as earthquakes and volcanic eruptions.


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            Conservation efforts that either reduce a stressor or improve the condition of habitat or
            demographics include:

                   Federal land protections, such as motorized restrictions, the Wilderness Act, and
                   Inventoried Roadless Areas (IRAS),
                   Attractant removal or storage, such as food storage orders and community sanitation
                   measures,
                   Conservation easements and other private land trust acquisitions,
                   Information and education (I&E) programs ,
                   Augmentation or translocation programs ,
                   State and private forestlands with motorized restrictions, and
                   Effective law enforcement.


            Figure 27 provides a conceptual model for how stressors and conservation efforts may influence
            individuals and the resiliency of grizzly bear ecosystems.




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             Figure 27. A conceptual model for the primary causes-and-e]7ects (conservation efforts and stressors) that may ajtect individuals and cumulatively influence the resiliency of grizzly bear ecosystems in the lower-48 States. The core conceptual model for resiliency at the top of the figure has been expanded to
             include activity and exposure pathways and is ineludedfor reference. We also evaluated potential ejects of natural mortality, connectivity and genetic health, catastrophic events such as earthquakes and volcanic eruptions, potential future effects associated with legal hunting, which are not displayed in this
             conceptual model. B = breed (includes all stages of reproduction), F = feed, S = shelter and D = dispersal. Green arrows represent positive relationships between nodes and red arrows represent negative relationshups between nodes.




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             Regu/a Urns That Inl7ue/Ice Stressors

             ProtectedA reas

            Wilderness Areas, Proposed Wilderness, Recommended Wilderness, Wilderness Study Areas
            (WSAs), and IRAS can enhance the security of habitat fer grizzly bears since these designations
            protect grizzly bear habitat from new road construction, new oil and gas development, new
            livestock allotments, and timber harvest (Figure 28).

            The Wilderness Act of 1964 (16 U.S.C. 1131 et seq.) does not allow for timber harvest, new road
            construction, new livestock allotments, new developed sites, and new mining claims in
            designated Wilderness areas, with the exception of valid existing rights. If pre-existing valid
            mining claims are pursued, the plans of operation are subject to reasonable regulation to protect
            wilderness values with mitigation to offset potential impacts from development.

            Recommended wilderness is managed as wilderness until Congress either formally designates
            the lands as wilderness or releases them to non-wilderness multiple use management (NPS 2006,
            pp. 79-80). These areas were recommended by the land management agency, based on a
            wilderness study, for consideration for designation as Wilderness. WSAs (Wilderness Study Act
            of 1977) have been designated by Congress as areas having wilderness characteristics and
            warranting further study by Federal land management agencies (e.g., USFS or BLM) and
            consideration by Congress as formally designated Wilderness. Individual NFs manage WSAs to
            maintain their wilderness characteristics, generally until Congress acts to either designate them
            as permanent Wilderness or releases them to multiple use management. This generally means
            that individual WSAs are protected from timber harvest, new road construction, new livestock
            allotments, and new developed sites, subject to valid existing rights. If mining claims are
            pursued, the plans of operation are subject to reasonable regulations to protect wilderness values
            with mitigation to offset potential impacts from development. Existing uses at the time of
            creation of the WSAs are generally allowed to continue so long as the wilderness characteristics
            of the area are maintained.

            The 2001 Roadless Areas Conservation Rule (66 FR 3244, January 12, 2001, hereafter referred
            to as the "Roadless Rule") prohibits new road construction, road re-construction, and commercial
            timber harvest in IRAS on Federal lands. If mining claims are pursued, the plans of operation are
            subject to reasonable regulations to protect roadless characteristics with mitigation to offset
            potential impacts from development. Motorized roads and trails may exist within IRAS subject
            to forest travel management plans. Potential changes in the management of these areas are not
            anticipated because the Roadless Rule was upheld by the Tenth Circuit Court of Appeals in
            2011. (See Wyoming v. USDA, 661 F.3d 1209 l10th Cir. 2011)).

            These lasting land designations ensure that large proportions of recovery zones and additional
            areas outside the recovery zones remain secure for grizzly bears into the future without the
            development of new roads, extractive industries, or other human structures.




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                                       WASHINGTON




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                    Forest Service
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             Figure 28. Federal lands, Wilderness Areas, and Inventoried Roadless Areas within and between the six grizzly bear
             recovery zones. Wilderness areas include congressionally designated Wilderness Areas, Wilderness Study Areas, and
             recommended Wilderness Areas within Glacier, Yellowstone, and Grand Teton National Parks


             Protected Areas inside the GYE

            The GYE recovery zone is 23,853 km; (9,210 m?) in size. Ninety-eight percent of the Recovery
            Zone is federally-managed land, including all of YNP, as well as portions of GTNP, the
            Shoshone, Beaverhead-Deerlodge, Bridger-Teton, Caribou-Targhee, and Custer Gallatin NFs.
            Approximately 82 percent (19,642 km; of 23,853 km; (7,583 M2 of 9,210 mi2)) of lands inside
            of the GYE recovery zone are considered "protected lands." These protected lands include
            Congressionally-designated Wilderness Areas (36 percent: Absaroka-Beartooth, Jedediah Smith,
            Lee Metcalf, North Absaroka, Teton, Washakie, and Winegar Hole Wilderness Areas), other
            Wilderness (35 percent, e.g., Recommended, Potential, and Eligible Wilderness in YNP, GTNP,
            and the John D. Rockefeller, Jr. Memorial Parkway), and IRAS (11 percent of the recovery
             zone).

            Specifically, 16,950 km; (6,544 mi2> of the recovery zone is Wilderness (8,610 km; (3,324 mi2)),
            recommended wilderness (8,253 km2 (3,187 mi2)), or eligible wilderness (87 km2 (33 mi2)). This
            secure suitable habitat is biologically significant to the GYE grizzly bear population because it
            allows for protections against human activities inside the recovery zone, in addition to the 1998

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            baseline (for further details on the protections provided by the 1998 baseline, see Motorized
            Access in the GYE, Developed Sites in the GYE, and Livestock Allotments in the GYE, below).
            Recommended wilderness in YNP and GTNP will be managed as wilderness until Congress has
            either formally designated the lands as wilderness or releases them to non-wilderness multiple
            use management (NPS 2006, pp. 79-80).

            IRAS currently provide 2,239 km; (864 m?) of secure habitat for grizzly bears inside the
            recovery zone. This amount of secure habitat is less than the total area contained within IRAS
            (2,692 km; (1,039 mi2)) because some motorized use occurs due to roads that existed before the
            area was designated as roadless.

            In addition, a large proportion of suitable habitat outside the recovery zone remains secure for
            grizzly bears into the future without the development of new roads, extractive industries, or other
            human structures because of lasting designation as Wilderness, WSAs, and IRAS. Of the 23,131
            km2 (8,931 Ni?) of suitable habitat outside of the recovery zone in the GYE, 59 percent (13,685
            km2 (5,284 mi2)) is managed and protected by the USFS as Congressionally-designated
            Wilderness (6,799 km2 (2,625 mi2)), WSAs (708 km2 (273 mi2)), or IRAS (6,179 km;
            (2,386 mi2)). This area of secure habitat is less than the total area contained within IRAS (8,871
            km2 (3,425 mi2)) because some motorized use occurs due to roads that existed before the area
            was designated as roadless.

             Protected Areas inside the NCDE

            The NCDE recovery zone is 23,135 km; (8,932 mi2> in size. Seventy-eight percent of the
            recovery zone is federally-managed land, including all of GNP, as well as portions of the
            Flathead, Helena-Lewis and Clark, Kootenai, and Lolo NFs, and the Flathead (FIR) and
            Blackfeet Indian Reservations (BIR). Nearly 67 percent (15,653 km2 of 23,119 km; (6,044 mi;
            of 8,926 mi2)) of lands inside the recovery zone are considered "protected lands." These
            protected lands include Congressionally-designated Wilderness Areas (30 percent: Bob Marshall,
            Great Bear, Mission Mountains, Rattlesnake, and Scapegoat Wilderness Areas), other
            Wilderness (18 percent, e.g., WSAs, Recommended Wilderness, and Confederated Salish &
            Kootenai Tribes (CS&KT) Wilderness), and restricted motorized-use areas (19 percent, IRAS,
            Tribal roadless areas, Tribal Primitive Areas, and NRAs). This secure core habitat is
            biologically significant to the NCDE grizzly bear population because it allows for protections
            against human activities inside the recovery zone, in addition to the 2011 baseline (for further
            details on the protections provided by the 2011 baseline, see Motorized Access in the NCDE,
            Developed Sites in the NCDE, and Livestock Allotments in the NCDE, below).

            As discussed above, the Wilderness Act of 1964 does not allow for new road construction, new
            developed sites, and mining claims in designated Wilderness, with the exception of valid existing
            rights. There are approximately 50 pre-existing mining claims located in 4 of the 23 BMUs
            inside the recovery zone (Ake 2018c, in lift). If pre-existing valid mining claims are pursued,
            the plans of operation are subject to reasonable regulation to protect wilderness values with
            mitigation to offset potential impacts from development.




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            There are two Tribal wilderness areas within the recovery zone, the Mission Mountains and the
            Sleeping Woman (Ninemile Divide) that are designated through Tribal Ordinances (Ordinance
            79A, Resolution 82-173) which prohibits the building of roads or the use of motorized
            equipment "except as necessary to meet the minimum requirements for administration of the
            Area." In addition, Resolution 86-47 provides for a Buffer Zone around the Mission Mountain
            wilderness area to reduce the impacts of activities that may occur in non-wilderness areas on
            Tribal Wilderness. Additional protections occur on the FIR in Tribal primitive areas and Tribal
            roadless areas. There is one Tribal primitive area on the FIR within the recovery zone, the South
            Fork Jocko Primitive Area that is 181 km2 (70 m?) (Tribal Resolutions 4575), on which there
            will be no commercial forest activities and no net increase in open roads (CS&KT 2000, p. 91).
            Tribal primitive areas are only open to Tribal members and their immediate non-member family
            members to provide for "solitude and an unconfined type of recreation." In addition, there are
            several roadless areas, the Ravalli/Valley (Hewolf) Complex (32 km2 (12 mi2)) and Burgess (7
            km2 (3 mi2)), that are unavailable to motorized use and logging or only allow helicopter logging
            (CS&KT 2000, pp. 91, 141).

            Proposed and recommended wilderness on the Flathead NF, Lolo NF, and GNP will be managed
            as wilderness until Congress has either formally designated the lands as wilderness or releases
            them to non-wilderness multiple use management (USDA FS l986a, p. 111-37, GNP 1999, p. 8,
            NPS 2006, pp. 79-80, USDA FS 2018b, p. 318, USDA FS 2018e, pp. 89-90). Portions of the
            Rattlesnake NRA on the Lolo NF are recommended wilderness. The non-wilderness portion of
            the Rattlesnake NRA is designed to balance the needs of dispersed, non-motorized recreation and
            restoration (USDA FS l986a, pp. 111-144-149).

            In addition, five percent (748 km2, 289 mi2> of Zone 1 is protected as Wilderness, WSAs, or
            IRAS. At 105 km2 (40 mi2>, the Rattlesnake NRA overlaps the recovery zone but primarily
            occurs within Zone l. Within the Ninemile DCA, 22 percent of the lands are managed by the
            Lolo NF as IRAS and 18 percent are managed by the CS&KT as wilderness and roadless areas.
            In Zone 2, 10 percent (1,944 km; (751 mi2)) is protected as Wilderness, WSAs, or IRAS.

             Protected Areas inside the CYE

            The Cabinet-Yaak recovery zone is 6,705 km; (2,589 m?) in size. Nearly 98 percent of the
            recovery zone is federally-managed land, including portions of the Kootenai, Idaho Panhandle,
            and Lolo NFs. Blocks of contiguous habitat extend into B.C., making this an international
            population. Within the CYE recovery zone, 44 percent of lands are protected as designated
            Wilderness (Cabinet Mountain Wilderness: 379 km; (146 mi2)) or IRAS (2,568 km; (992 mi2)).

            Protected Areas inside the SE

            The Selkirk Mountains recovery zone is 6,575 km2 (2,539 m?) in size and is unique in that the
            recovery zone extends north into Canada, with approximately half of the recovery zone (3,020
            km; (l,l16 Ni?) occurring in the U.S. Nearly 79 percent of the recovery zone in the U.S. is
            federally-managed land, including portions of the Idaho Panhandle and Colville NFs. Three
            percent (167 km; (65 mi2)) is designated Wilderness (Salmo-Priest Wilderness). The Colville
            National Forest Plan also includes 60 km; (23 m?) of recommended wilderness within the SE

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            recovery zone (USDA FS 2019, p. 149). In B.C., 82 percent of the recovery zone is managed by
            the province.

             Protected Areas inside the BE

            The BE recovery zone includes about 14,984 km; (5,785 mi2> of contiguous national forest lands
            in central Idaho and western Montana. The recovery zone focuses on wilderness, with 98
            percent (14,840 km2 (5,730 mi2)) of the recovery zone designated Wilderness, including the
            Selway-Bitterroot Wilderness and the Frank Church-River of No Return Wilderness. Additional
            protected areas surround the recovery zone, including the Gospel Hump Wilderness Area (810
            km2 (313 mi2)) to the west of the recovery zone and large areas to the north of the recovery zone
            that are protected as IRAS (18,325 1<m2 (7,075 Mio).

             Protected Areas inside the North Cascades

            The North Cascades recovery zone is 24,773 km; (9,565 mi2> in size, including 90 percent public
            lands and 10 percent private lands. The recovery zone includes all of the North Cascades
            National Park Complex and most of the Mount Baker-Snoqualmie, Wenatchee and Okanogan
            National Forests. Eleven percent (2,725 km; (1,052 mi2)) of the recovery zone is protected by
            the National Park Service (North Cascades National Park Complex). Sixty-three percent of
            lands are protected as designated Wilderness (10,842 km2 (4,186 mi2)) or as IRAS (5,187 km;
            <2,118 Mio).

             Motor/ked A ccess

            When we listed the grizzly bear in 1975, we acknowledged that human access to formerly secure
            grizzly bear habitat made bears more susceptible to human-caused conflicts and increased
            human-caused mortality (40 FR 31734, July 28, 1975). We recognized that managing human
            access to grizzly bear habitat would be the key to effective habitat management by reducing
            human-caused mortality and increasing habitat effectiveness. An extensive body of literature
            supports this approach (Mattson et al. 1987, pp. 269-271, McLellan and Shackleton 1988, pp.
            458-459, McLellan 1989, pp. 1862-1864, Mace et al. 1996, pp. 1402-1403, Schwartz et al.
            2010a, p. 661, Boulanger et al. 2013, p. 283, McLellan 2015, p. 12, Proctor et al. 2019, entire).
            Unmanaged motorized access impacts grizzly bears by:

                       Increasing human interaction and potential grizzly bear mortality risk,
                       Increasing displacement from important habitat,
                       Increasing habituation to humans, and
                       Decreasing available habitat where energetic requirements can be met.

            The Interagency Grizzly Bear Committee Taskforce Report recognized that these impacts could
            be minimized through motorized access management (IGBC 1998, p. 1). The Taskforce Report
            recommended three parameters for a consistent approach to motorized access management
            between and within the grizzly bear ecosystems: (1) open motorized route density, (2) total
            motorized route density, and (3) core areas (IGBC 1998, p. 1). Although the Taskforce Report
            defined each of these parameters, it recognized that each ecosystem subcommittee would apply

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            the recommendations based en ecosystem- specific information and recommend ecosystem
            specific habitat conditions that should be maintained to provide habitat security. See Appendix
            B for further details on the differences in secure core/core area/secure habitat definitions between
            ecosystems.

            In general, motorized access brings humans into grizzly bear habitats, and increased human
            presence may disturb, displace, or kill grizzly bears if human-interactions trigger activities that
            are associated with human-caused mortality, such as defense of life lulls or management
            removals (Figure 27, above). Motorized access includes the operation of vehicles and other
            equipment along roads, highways, trails, and tracks, and it facilitates motorized and non-
            motorized forms of recreation into grizzly bear habitats. In addition to facilitating access to
            recreation, energy and mineral development, vegetation management, developed sites, and
            livestock operations may also necessitate motorized routes and thus provide additional sources of
            this stressor (Figure 27, above). Motorized access may indirectly influence the resiliency of
            ecosystems by reducing the quality and quantity of large-intact blocks of land (Figure 27, above).
            It may also directly influence the resiliency of ecosystems by reducing demographic factors, such
            as abundance or survival, if individuals are startled, dispersed, or killed (Figure 27, above).
            Direct mortality from motorized access may occur following strikes or from activities associated
            with human-caused mortality (Figure 27, above). An effective habitat management tool for
            reducing grizzly bear mortality risk is managing motorized access to ensure bears have secure
            areas away from humans (Nielsen et al. 2006, p. 225, Schwartz et al. 20lOa, p. 661, Proctor et
            al. 2019, pp. 19-20). Well-managed motorized access provides large proportions of secure core
            habitat on federal lands that helps ameliorate the impacts of displacement and increased human-
            caused mortality risk in grizzly bear habitat. Motorized access that is well-managed on state,
            local, or private lands may also provide conservation benefit to bears .

             Motor/2edAcces$ in the G)m5

            The 1998 baseline and associated management policies help ensure adequate secure habitat and
            amelioration of impacts from motorized access inside the recovery zone (USDA FS 2006b,
            entire). In the GYE, secure habitat is defined as areas more than 500 m (1,650 ft) from a
            motorized access route or reoccurring helicopter flight line and greater than or equal to 10 acres
            (0.31 km; (0.016 mi2)) in size (Service 2007b, p. 4). In the 1998 baseline, secure habitat
            comprised 45.4 to 100 percent of the total area within a given bear management subunit with an
            average of 85.6 percent throughout the entire recovery zone (YES 2016b, Appendix E). The
            draft habitat-based recovery criteria determined that 37 of the 40 subunits have sufficient levels
            of secure habitat (Service 2007b, pp. 34-35). These levels of secure habitat have been
            successfully maintained and we expect they will be maintained or improved upon in the future
            by keeping levels of open and total motorized route densities at or below baseline levels, with
            allowances for authorized federal projects according to the application rules (see the 2016 GYE
            Conservation Strategy for a detailed description of the application rules, USDA FS 2006b, entire,
            YES 2016a, pp. 62-64), as directed by the 2016 GYE Conservation Strategy and the MOU
            signed by all State and Federal partner agencies (YES 2016a, pp. 13-14). Three subunits were
            identified as "in need of improvement" from 1998 levels (Service 2007b, p. 4). These three
            subunits have shown on average a 7.5 percent increase in secure habitat and these improved
            levels serve as the new baseline for these three subunits with the implementation of the 2006

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            Gallatin National Forest Travel Management Plan (USDA FS 2006c, pp. 30, 83-84). Although
            there are no standards for motorized route density, monitoring protocols requires that open
            motorized route density (OMRD) and total motorized route density (TMRD) inside the recovery
            zone be annually monitored and reported against 1998 levels (YES 2016b, Appendix E) .

            The 2016 GYE Conservation Strategy indicates that temporary changes in secure habitat may not
            exceed 3 years, can affect no more than 1 percent of the largest subunit size within that BMU,
            may occur in only one subunit at a time, and that project roads will not be open to public use
            (YES 2016a, pp. 63-64). It is reasonable and biologically sound to provide management
            flexibility and discretion to land management agencies so they can fulfill their mandates of
            balancing and accommodating multiple uses (USFS) and providing for public recreation while
            conserving resources (NPS). These allowances for temporary changes to secure habitat were
            based on known levels of project activities occurring during the 1990s, a time during which the
            GYE grizzly bear population was known to be increasing (Harris et al. 2006, p. 48). There are
            no biological data to demonstrate that the temporary l percent level of secure habitat disturbance
            in any subunit has had any detrimental effect on the grizzly bear population. These temporal and
            spatial restrictions, as well as the requirement that all secure habitat be restored upon completion
            of a temporary project, mean there will be no permanent loss of secure habitat in any subunit.
            For permanent changes, replacement habitat must be in place for at least 10 years before it can be
            used for mitigation for future projects, including logging.

            Of the 23,131 km; (8,931 m?) of suitable habitat outside of the GYE recovery zone, all of which
            occurs within the DMA boundary, the USFS manages 17,581 km; (6,788 mi2), or 76 percent. In
            the Idaho portion, the 1997 Targhee Forest Plan includes motorized access standards and
            management prescriptions outside the recovery zone that provide for long-term security in 59
            percent of existing secure habitat in Idaho outside of the recovery zone (USDA FS 2006a, pp. 78,
            109). Outside of the recovery zone in Montana and Wyoming, 61 percent of all suitable habitat
            and 81 percent of suitable habitat on USFS lands are protected as wilderness, WSAs and IRAS
            (see Protected Areas Inside the GYE above for further details). The Eastern Shoshone and
            Northern Arapaho Tribes manage the 1,373 km; (530 mi2) of suitable habitat within the
            boundaries of the Wind River Reservation (WRR), all of which is outside the recovery zone.
            The WRR Forest Management Plan calls for no net increase in roads in the Wind River Roadless
            Area and the Monument Peak area of the Owl Creek Mountains. In the remaining lands
            occupied by grizzly bears, open road densities of 0.6 km/km2 (1 mi/ m?) or less will be
            maintained (Eastern Shoshone and Northern Arapaho Tribes 2009, p. 11). GTNP manages 829
            km2 (320 mi2), or 3.5 percent, of suitable habitat outside of the recovery zone. Protections for
            grizzly bears throughout NPS lands include, but are not limited to, seasonal area closures and
            food storage orders, provided through the GTNP Superintendent's Compendium (GTNP and
            JDR 2019, pp. 7, 15-16, 24).

            State grizzly bear management plans add another layer of habitat protection outside the recovery
            zone. Habitat management on Federal public lands is largely directed by Federal land
            management plans, not State management plans. However, the three State grizzly bear
            management plans recognize the importance of areas that provide security for grizzly bears in
            suitable habitat outside of the recovery zone on public lands. Idaho Department of Lands (IDL)
            manages approximately 53 km; (202 mi2) within the recovery zone and an additional 132 km;

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            (51 m?) outside of the recovery zone but inside the DMA. IDFG personnel review IDL
            management plans to ensure planned activities are compatible with the needs of the grizzly bear.
            For example, the Montana and Wyoming plans recommend limiting average road densities to
            0.6 km/km2 (l mi/mi2) or less in these areas and will consider wildlife in any road construction
            or reconstruction proposals (MFWP 2013, pp. 37-39, WGFD 2016, pp. 18-20). Both States
            have similar standards for elk habitat on State lands and note that these levels of motorized
            access benefit a variety of wildlife species while maintaining reasonable public access.
            Similarly, the Idaho plan recognizes that management of motorized access outside the recovery
            zone should focus on areas that have road densities of 0.6 km/1<m2 (1 mi/mi2) or less (Idaho's
            Yellowstone Grizzly Bear Delisting Advisory Team 2002, p. 10).

            Because of the positive effect that secure habitat has on grizzly bear survival and reproduction,
            one of the objectives of the habitat-based recovery criteria and the 2016 GYE Conservation
            Strategy is no net decrease in the 1998 baseline levels of secure habitat inside the recovery zone
            so that the recovery zone can continue to function as a source area for grizzly bears in the GYE.
            Meeting these objectives limit negative impacts of motorized access in the GYE.

             Motor/2edA ccess in the NCDE

            The 2011 baseline and associated management policies help ensure adequate secure habitat and
            amelioration of impacts from motorized access inside the recovery zone. In the NCDE, secure
            core habitat is defined as those areas on Federal lands more than 500 m (1,650 ft) from a
            motorized access route and at least 2,500 (10.1 km2 (3.9 mi2)) in size and in place for 10 years
            (Service 2018, pp. 5, 12). In the baseline, secure core habitat comprised 45.4 to 100 percent of
            the total area within a given BMU subunit with an average of 76.4 percent throughout the entire
            recovery zone (NCDE Subcommittee 2020, Appendix 4). These levels of secure core habitat
            have been successfully maintained and will continue to be maintained or improved on Federal
            lands within the recovery zone by maintaining levels of open and total motorized route densities
            at or below baseline levels (NCDE Subcommittee 2020, Chapter 3 and Appendix 4, USDA FS
            2018c, p. 31, USDA FS 2018d, pp. 10-11). Moreover, projects on Federal lands that
            temporarily change the amount of secure core habitat will be subject to the motorized access
            objectives in the NCDE Conservation Strategy as codified in land management plans. These
            objectives limit temporary increases to OMRD to 5 percent, temporary increases to TMRD to 3
            percent, and temporary decreases to secure core to two percent per bear management subunit as
            running averages per decade (NCDE Subcommittee 2020, Chapter 3, USDA FS 2018d, pp. 1-7,
            1-19, 1-31, 1-42, USDA FS 2018e, pp. 65-66). The rationale for allowing temporary changes is
            that similar levels of temporary changes were evaluated and allowed on Federal lands through
            the Endangered Species Act section 7 consultation while the grizzly bear was listed as threatened
            and were associated with an increasing grizzly bear population in the NCDE (NCDE
            Subcommittee 2020, Chapter 3).

            State and Tribal land management entities in the recovery zone have also agreed to manage
            motorized access on non-federal lands in accordance with their existing plans (in their entirety:
            CS&KT 2000, Blackfeet Nation 2008, DNRC 201 l). Lands managed under the Montana
            Department of Natural Resources and Conservation (DNRC) Habitat Conservation Plan (HCP)
            will minimize construction of new open roads with caps on the total miles of open and restricted

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            roads during the life of the HCP (DNRC 2011, pp. 13, 18). On other State lands, there will be no
            permanent net increase of open road density (Administrative Rule of Montana (ARM)
            36. 11.433). The Blackfeet Nation Forest Management Plan will net allow increases in open
            motorized route densities in any of the BMU subunits (Blackfeet Nation 2008, p. 11). Total road
            densities will be improved by closing non-essential roads to reduce the high road densities where
            they occur (Blackfeet Nation 2008, p. 32). On the FIR, in accordance with the CS&KT Forest
            Management Plan, no permanent increases in open or total motorized road densities and no
            permanent decreases in secure core habitat will be allowed in the Mission Mountain Tribal
            Wilderness Area and there will be no net increase in open roads in the South Fork Jocko
            Primitive Area (CS&KT 2000, p. 141). The remaining FIR lands will be managed such that
            open road densities will not exceed 2.4 km/km2 (4 mi/mi2) and total roads will remain at or
            below levels that existed in 1999 (CS&KT 2000, pp. 294-295). Total road densities will be
            improved by removing 15 percent of road spurs in currently readed areas over the life of the
            Plan, by 2030 (CS&KT 2000, p. 295).

            Additional limitations on motorized routes occur on USFS, BLM, and DNRC lands outside of
            the recovery zone but inside Zone 1. Outside the recovery zone, the USFS manages 4,241 km;
            (1,637 mi2), or 22 percent, of lands in Zone 1, on which there will be no net increase in the linear
            miles or density of roads that are open for public motorized use during the non-denning season
            (USDA FS 2018d, pp. 10-11, 1-14-1-15, 1-27, 1-50, USDA FS 2018e, pp. 132-133). The BLM
            has 374 km; (144 mi2) in Zone 1 in which there will be no net increase in the linear miles or road
            densities of open roads (BLM 2019a, p. 39, BLM 2019b, p. 2-20). The DNRC HCP regulates
            motorized access management on 586 km2 (226 m12) of State land in Zone 1 to minimize
            construction of new open roads and prohibit commercial forest activities during the spring period
            in identified spring habitat (DNRC 2011, p. 11).

            The two DCAs in Zone 1, the Salish and Ninemile, are intended to provide opportunities for
            female grizzly bears to establish home ranges and exist at low densities in areas between the
            NCDE and CYE and the NCDE and BE, as is consistent with female dispersal and connectivity
            requirements (McLellan and Hovey 2001, p. 842, Proctor et al. 2005, pp. 2413-2415, Proctor et
            al. 2012, p. 35, Proctor et al. 2015, pp. 8-12, Proctor et al. 2018, pp. 356-361). The USFS
            manages 79 percent of lands within the Salish DCA (1,505 of 1,901 km; (581 of 734 mi2)). On
            the Kootenai NF, the Salish DCA overlaps almost entirely with the Tobacco BORZ, increases in
            permanent linear miles of open or total roads or motorized trails are not allowed within the
            Tobacco BORZ (USDA FS 2018b, p. 73, USDA FS 2018d, p. 10). On the Flathead NF portion
            of the Salish DCA, there will be no net increase above the baseline in linear miles of open
            motorized routes (USDA FS 1986b, pp. 11-62-63, USDA FS 2018a, pp. 179-180). Seventy
            percent of lands within the Ninemile DCA are managed by the USFS and the CS&KT. On the
            Lolo NF, 22 percent of USFS lands are IRAS. The remainder of USFS lands in the Ninemile
            DCA will be managed for no net increase above the baseline density of motorized access routes
            during the non-denning season (USDA FS 2018d, pp. 10-11). See the NCDE Conservation
            Strategy for linear route densities in the DCAs (NCDE Subcommittee 2020, Appendix 6).
            Eighteen percent of the lands managed by the CS&KT in the Ninemile DCA are wilderness and
            roadless areas. Open road densities are managed remain at or below 2.4 km/km2 (4 mum?) and
            total road miles are managed to remain at or below what existed in 1999 on the remaining lands
            managed by the CS&KT in the Ninemile DCA (CS&KT 2000, pp. 294-295).

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            In Zone 2, regulatory mechanisms are in place to ensure habitat management direction is
            compatible with providing genetic connectivity to other populations on land managed by BLM,
            USFS, and DNRC. BLM, USFS, and DNRC lands constitute 35 percent of Zone 2. The
            remainder is privately owned (62 percent) or local government, water, or other state and federal
            lands (3 percent). As of 2018, 23 percent of Zone 2 was occupied, however there have been
            multiple verified sightings in Zone 2 between the NCDE and GYE occupied areas. Other areas
            within the NCDE are referred to as Zone 3. In contrast to Zones l and 2, Zone 3 does not
            provide habitat linkage to other grizzly bear ecosystems. As mentioned above, Zone 3 is largely
            private land with agricultural land uses, making it less suitable for continual occupancy by
            grizzly bears. Therefore, there is no need for habitat protections specifically developed for
            grizzly bears on Federal, State, or Tribal lands in Zone 3 in order to support the NCDE grizzly
            bear population.

            Because of the positive effect that secure core habitat has on grizzly bear survival and
            reproduction, one of the habitat-based recovery criteria objectives and NCDE Conservation
            Strategy is no net decrease in levels of secure core habitat inside the recovery zone so that the
            recovery zone can continue to function as a source area for grizzly bears in the NCDE. Meeting
            these objectives will limit negative impacts of motorized access in the NCDE. We will continue
            to monitor the effectiveness of these objectives and can modify motorized access management as
            new information becomes available.

             MotorIZed access in the CVE and SE

            The majority of lands within the CYE and SE recovery zones are managed by the USFS, which
            has incorporated motorized route density standards into its management plans to effectively
            provide secure habitat (core) for grizzly bears. In the CYE recovery zone, 97 percent of land
            (6,530 km; (2,589 m?) of 6,705 km; (2,589 mi2)) is managed by the Kootenai, Idaho Panhandle,
            and Lolo NFs. Forty-six percent (3,020 km; (l,l66 mi2) of 6,575 km2 (2,539 mi2)) of the SE
            recovery zone is in the U.S., with the remainder in B.C., Canada. In the U.S. portion of the SE
            recovery zone, 79 percent of land (2,376 km; (917 mi2) of 3,020 km; (2,609 mi2)) is managed by
            the Idaho Panhandle and Colville NFs. Standards for motorized access management in the CYE
            and SE grizzly bear recovery zones were first incorporated into forest plans for the Kootenai,
            Lolo, and Idaho Panhandle NFs through the "Forest Plan Amendments for Motorized Access
            Management within the Selkirk and Cabinet-Yaak Grizzly Bear Recovery Zones" (201 l
            Amendment) (USDA FS 201 la, entire). The 2011 Amendment established BMU-specific levels
            for motorized route densities and core areas based on the recommendations of Wakkinen and
            Kasworm (1997, entire), who summarized data from female grizzly bears that survived to
            successfully reproduce to provide recommendations for levels of motorized route densities and
            core areas. (USDA FS 201 la, p. 36, USDA FS 201 lb, pp. 23-27). In the CYE and SE, core
            areas are defined as those areas greater than 500 m (1,650 ft) from any open motorized route or
            high-use non-motorized route. These motorized access management standards have
            subsequently been incorporated into the Kootenai, Idaho Panhandle, and Colville NFs Land
            Management Plan (USDA FS 2015a, 2015b, USDA FS 2019, pp. 60, 63-64).




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            The motorized access standards established in the 2011 Amendment affect 22 BMUs in the CYE
            recovery area (USDA FS 201 la, p. 31, USDA FS 2020a, p. 17). As of 2019, 8 BMUs within the
            CYE recovery zone meet the management standards under the new access management plans
            and 14 do not (USDA FS 2011a, p. 31, USDA FS 2020a, pp. 1-2). Of the 14 that do not yet
            meet standards, 5 BMUs are within 1 percent of meeting the standard for all of the criteria. The
            USFS is currently worldng on an implementation schedule for the remaining BMUs to achieve
             all standards.

            The motorized access standards established in the 2011 Amendment affect 8 of the 10 BMUs in
            the U.S. portion of the Selkirk Recovery area (USDA FS 201 la, p. 31, USDA FS 2020a, p. 17).
            As of 2019, 2 of the 8 BMUs within the U.S. portion of the SE recovery zone did not meet its
            proposed access management standards under the new Access Management plans (USDA FS
            2020a, p. 2). One of the BMUs that does not meet the standards is within 1 percent of meeting
            the standard for all criteria. The USFS is currently working on an implementation schedule for
            the remaining BMUs to achieve all standards.

            The two BMUs unaffected by the 2011 Amendment motorized access standards are either
            administered by the IDL (State BMU) or have a high proportion of non-federal lands (LeClerc
            BMU), thereby limiting the ability to implement motorized access standards. There are no road
            or habitat security data available for the State BMU and the above-mentioned standards do not
             apply to this BMU.

            The checkerboard land ownership patterns in the LeClerc BMU limits any single landowner
            from implementing BMU-wide motorized access management, however the Colville NF
            manages NF lands in this BMU for no net increases in motorized access (USDA FS 2018f, pp.
            63-64). Additionally, Stimson Lumber Company, the primary private land-owner in the LeClerc
            BMU, voluntarily manages its timber harvest activities through a Conservation Agreement with
            the FWS and the Colville NF (Service 2001, Appendix A). This Conservation Agreement and
            the FWS Biological Opinion (Service 2001, entire) commit Stimson and the Colville NF to leave
            hiding cover within created openings, along open roads, and within riparian habitats. Stimson
            also committed to log during the winter in some areas to reduce disturbance, and report logging
            activities and road use annually. The Conservation Agreement was upheld in a challenge
            brought by the Selkirk Alliance before the 9th Circuit Court of Appeals in a July 17, 2003 ruling
            (No. 02-35635), and has now been implemented for 14 years.

            Overall, motorized route densities have been reduced and core areas have increased in the CYE
            and SE since the grizzly was listed (Summerfield et al. 2004, entire, USDA FS 2020a). For the
            CYE, between 2002 and 2019 there was a 33 percent reduction in total motorized routes and a 27
            percent increase in core areas across the 22 BMUs (USDA FS 201 la, pp. 70-72, USDA FS
            2020a, pp. 1-2). During this same time period, there was a 10 percent increase in open
            motorized routes (USDA FS 201 la, pp. 70-72, USDA FS 2020a, pp. 1-2). For the SE, between
            2002 and 2019 there was a 10 percent reduction in total motorized routes and a 10 percent
            increase in core areas across the 22 BMUs (USDA FS 201 la, p. 73, USDA FS 2020a, p. 2).
            During this same time period, there was a 4 percent increase in open motorized routes (USDA
            FS 201 la, p. 73, USDA FS 2020a, p. 2). Some increases in OMRD and TMRD in individual
            BMUs in the CYE and SE from 2002 to 2019 were a result of corrections to the road layer,

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            which does not reflect a change in conditions on the ground but a more accurate reflection of
            reads »

            The portion of the SE in B.C. outside of protected areas has varying levels of open roads,
            however a large portion (700 km; (270 mi2)) of that area lies within ownership of the Nature
            Conservancy of Canada that limits access to their lands (Proctor et al. 2018, p. 358). The B.C.
            South Selkirk had an average open road density of 1.2 kmA<m2 and 50 percent secure habitat, as
            defined in MacHutchon and Proctor (2016, p. vi) as further than 500 m (1,650) from an open road
            and greater than 10 km2 (3.86 mi2) in size. The B.C Yahk area north of the CYE is heavily readed
            (average 1.6 km/km2 and 24 percent secure habitat) with little access control (MacHutchon and
            Proctor 2016, p. 84, see Appendix E for more information on Canadian management) .

            In addition to the standards inside the recovery zone, BORZ were incorporated into NF Plans for
            the Kootenai, Idaho Panhandle, and Lolo NFs in 2004 (USDA FS 2004). The motorized access
            standards established in the 2011 Amendment affect 3,869 km2 (1,494 mi2) outside the recovery
            zone known to be occupied by grizzly bears (BORZ) in the CYE and 506 km; (195 mi2) outside
            the recovery zone known to be occupied by grizzly bears (BORZ) in the SE (USDA FS 201 la, p.
            31, USDA FS 2020a, p. 17). USFS plan direction does not allow increases in open or total linear
            miles of road above the baseline values in the 2011 Amendment in BORZ (USDA FS 201 la, p.
            22, USDA FS 2015a, pp. 150-151, USDA FS 2015b, pp. 154-155). This approach is based on
            the premise that because the area has been determined to be occupied by bears, then management
            should at least maintain status quo. Also, timber harvest activities in these areas are coordinated
            across multiple watersheds to minimize disturbance from road use to grizzly bears (USDA FS
            2011a, p. 23, USDA FS 2015a, p. 150, USDA FS 2015b, p. 155).

            The USFS submits annual reports to the Service summarizing compliance with the 2011 Forest
            Plan Amendment that detail annual changes by BMU. The 2019 monitoring report confirmed
            compliance with the ROD (USDA FS 2020a, pp. 16-23). Full implementation of the motorized
            access standards in the Amendment, road densities, and core areas will be managed in a way that
            minimizes negative impacts of motorized access. Further monitoring of the populations and
            cause-specific mortality would help determine the success of this management strategy.

            IDL manages approximately 395 km; (153 m?) within the SE recovery zone and 62 km2 (24
            mi2) within the CYE recovery zone. IDFG personnel review IDL management plans to ensure
            planned activities are compatible with the needs of the grizzly bear. Additionally, a MOA
            between IDL and IDFG for cooperative road closures in the SE and CYE to reduce human-
            caused grizzly bear mortality between outlines closure standards, Signage, reporting standards
            and funding (IDL and IDFG 2012, entire). Additional measures include shorter timber sale
            seasons and required bear behavior training for field staff.

             Motor/2edA ccess in the BE

            Nearly 100 percent of land (15,086 km; (5,825 mi2> of 15,100 km2 (5,830 mi2)) within the BE
            recovery zone is managed by the USFS, including the Salmon-Challis, Bitterroot, Lola, and Nez
            Perce-Clearwater NFs. Although BMU boundaries and motorized access standards have net yet
            been determined fer the BE recovery zone, the BE recovery zone is more than 98 percent

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            Wilderness (see Protected Areas) and therefore, any impact of motorized access on grizzly bears
            in the BE recovery zone is likely very minimal. However, consideration should be given to
            motorized access in potential connectivity areas between other ecosystems and the BE to
            facilitate natural recolonization.

             Motor/2edAcces$ in the North Cascades

            In the North Cascades recovery zone, 86 percent of land (21,770 km; (8,405 mi2> of 25,305 km;
            (9,770 mi2)) is managed by North Cascades National Park and by the Mount Baker-Snoqualmie
            and Wenatchee-Okanogan NFs. Core areas for the North Cascades are defined as those areas
            greater than 500 m (1,650 ft) from any open motorized route or high-use non-motorized route.
            Federal land management agencies identified an approach to protect secure habitat (core) for 42
            BMUs in the recovery zone in 1997 (USDA FS 1997, entire). Motorized access standards were
            not set but the Federal land management agencies manage for "no net loss" of secure habitat
            from the 1997 baseline. The interim direction allows for one change to be made in secure habitat
            in each BMU without review by the North Cascades IGBC Subcommittee. The amount of
            secure habitat varies by BMU, ranging from 21 to 92 percent with an average of 59 percent
            secure habitat. This criterion for "no net loss" has been met for all BMUs with the following
            changes in secure habitat made since 1997: two situations in which a small reduction in secure
            habitat was approved in BMUs that contained more than 90 percent secure habitat, and minor
            reductions in secure habitat proposed due to high-use trail construction in some BMUs currently
            exceeding 80 percent secure habitat.

            Access management direction for North Cascades National Park was published in the Ross Lake
            NRA General Management Plan (NPS 2012, entire). It stipulated that: (l) BMUs within the
            park complex would be managed for greater than 70 percent core (IGBC 1998, p. 4), (2) that
            NPS would consult with USFS on any proposal for a high-use trail in the park that would tip a
            shared BMU below 70 percent, or if the shared BMU was already below the 70 percent target,
            and (3) North Cascades NP would "strive to minimize, avoid or mitigate impacts on high quality
            spring and fall grizzly bear habitat" (NPS 2012, p. 82). One mile of road is scheduled to be
            removed (awaiting funding) and the new proposed trails would remove less than 1 percent core
            from each of the 4 BMUs in which they occur, none of which is high quality grizzly bear habitat
            (NPS 2012, p. 82).

            The Okanogan-Wenatchee NF published a Notice of Intent in the Federal Register 0l'1 June 30,
            2011 to begin the process of revising their forest plan, but that action is currently on hold. In the
            interim, the Okanogan-Wenatchee NF continues to implement the "no net loss" policy. A Travel
            Analysis Report was completed in 2015 and recommended decommissioning or closing
            approximately 3,172 km (1,970 mi) of the 127,800 km (7,950 mi) of roads to OHV use on the
            Okanogan-Wenatchee NF (USDA FS 2015c). A final decision on the travel management plan
            for the Okanogan-Wenatchee NF has not yet been made. Any action taken in this regard will
            require a NEPA process. The Mount Baker Snoqualmie NF has not started a plan revision as of
            2017 and continues to use the "no net loss" policy (USDA FS 1997, entire).

            Current OMRD and TMRD levels are unknown on the USFS lands, though core area levels are
            managed under the "no net loss" policy. Partly because of the lack of data regarding OMRD or

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            TMRD levels on USFS lands, the influence of motorized access on the resiliency of the North
            Cascades is unknown. Further monitoring of any potential future population and cause-specific
            mortality will determine the success of the current "no net loss" policy.

            Summary ofA4otor/2edA ccess

            Motorized access, which brings humans and their vehicles into grizzly bear habitats, may
            indirectly influence grizzly bears by reducing the availability of large, intact blocks of land or
            directly by disturbing, displacing, or killing individual bears through increased noise, activity,
            presence, vehicle strikes, or other activities associated with human-caused mortality (Figure 27,
            above). A variety of conservation efforts or mechanisms, such as the Wilderness Act, IRAS, and
            federal land management plans help reduce the potential effects of motorized access on the
            resiliency of ecosystems. Currently, conservation mechanisms have reduced the negative effects
            of motorized access in the GYE and NCDE, and these conservation mechanisms are expected to
            continue into the future. Although conservation mechanisms are expected to reduce potential
            effects of motorized access in the BE recovery zone, additional data are needed to inform
            potential effects of motorized access in potential connectivity areas to facilitate natural
            recolonization of the BE. Motorized access remains an issue for the CYE, SE, and North
            Cascades, where conservation mechanisms to address motorized access are not yet finalized or
            standards have not been met. Although progress has been made towards meeting the standards
            in the CYE and SE, additional improvements are needed. One challenge in the CYE and SE is
            that they have a much lower proportion of protected areas (i.e., federal lands that have wilderness
            protections) than the other ecosystems (see Protected Areas above for further discussion).
            Additional data are needed to inform the potential effect of motorized access in the North
            Cascades. We will continue to monitor the effectiveness of these objectives and can modify
            motorized access management as new information becomes available.

             De we/oped Sites

            The primary concern related to developed sites is direct mortality from human-bear conflicts,
            such as unsecured attractants (e.g., garbage), and resulting management removals (Harding and
            Nagy 1980, p. 277, McLellan and Shackleton 1988, p. 451, Mattson and Knight 1991, p. 3,
            Mattson et al. 1992, p. 432, Mace et al. 1996, p. 1403, McLellan et al. 1999, p. 918, Woodroffe
            2000, entire, Johnson et al. 2004, pp. 974-975) (Figure 27, above). While human-grizzly bear
            conflicts at developed sites on public lands continue to occur, agencies have successfully worked
            to reduce conflicts and resulting mortalities. However, human-bear conflicts on private land
            have been increasing due to expanding grizzly bear distributions, and are now more common
            than those on public lands (Cooley et al. 2018, entire). Secondary concerns include temporary or
            permanent habitat loss and displacement due to increased length of time of human use and
            increased human disturbance to surrounding areas (Harding and Nagy 1980, p. 277, McLellan
            and Shackleton 1988, p. 451, Mattson 1990, entire, White et al. 1999, pp. 3-5, Fortin et al. 2016,
            pp. 9-19).

            "Developed sites" refer to those sites or facilities en public land with features intended to
            accommodate public use or recreation, such as toilets, picnic tables, and garbage containers.
            "Administrative sites" are those sites or facilities constructed for use primarily by government

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            employees to facilitate the administration and management of public lands. In contrast to
            developed or administrative sites, "dispersed sites" are those not associated with a developed
            site, such as camping outside of designated campgrounds where no services are provided. These
            sites typically have minimal to no site modifications, have informal spacing, and possibly
            include primitive road access. Dispersed sites are not counted as developed sites.

             De we/oped Sites in the G)m5

            Examples of developed sites in the GYE include, but are not limited to, campgrounds, picnic
            areas, trailheads, boat launches, rental cabins, summer homes, lodges, service stations,
            restaurants, visitor centers, and permitted resource exploration or extraction sites such as oil and
            gas exploratory wells, production wells, plans of operations for mining activities, and work
            camps. Administrative sites are tracked as developed sites, and examples include headquarters,
            ranger stations, patrol cabins, park entrances, Federal employee housing, and other facilities
            supporting government operations.

            In the GYE, the 1998 baseline and management policies limit the impact of developed sites on
            grizzly bears. Developed sites on public lands are currently inventoried and tracked in GIS
            databases. As of 1998, there were 593 developed sites on public land within the recovery zone
            (YES 2016b, Appendix E). As of 2017, the number of developed sites on public lands had
            decreased to 575 (GYAGBHMT 2018, p. 117). Regulatory mechanisms in place ensure that the
            NPs and NFs within the GYE recovery zone will continue to manage developed sites at or below
            1998 levels within each bear management subunit, with some exceptions for administrative and
            maintenance needs (USDA FS 2006b, entire, YES 2016a, pp. 54-73). Exceptions to the 1998
            baseline for administrative and maintenance needs are narrow in scope and require mitigation
            (i.e., food storage structures) to reduce potential detrimental impacts to grizzly bears (see the
            2016 GYE Conservation Strategy for a detailed description of the exception guidance, which are
            referred to as application rules, YES 2016a, pp. 64-66). In areas of suitable habitat inside the
            recovery zone, the NPS and the USFS enforce food storage rules aimed at decreasing grizzly
            bear access to human foods (YES 2016a, pp. 30-31, 84-85). These regulations will continue to
            be enforced and are in effect for nearly all currently occupied grizzly bear habitat within the
            GYE (YES 2016a, pp. 30-31, 84-85).

            Management strategies and regulations also address developed sites outside the recovery zone in
            the GYE. There are over 500 developed sites on the five NFs in the areas identified as suitable
            habitat outside of the recovery zone and within the DMA (USDA FS 2004, p. 138). Existing
            USFS food storage regulations and outreach and education in these areas will continue to reduce
            the potential for human-grizzly bear conflicts. The number and capacity of developed sites are
            subject to management direction established in Forest Plans. If data indicate that management
            removals at developed sites on public lands are related to increased mortality above the
            sustainable limits discussed above, managers may choose to close specific developed sites or
            otherwise alter management in the area in order to maintain resiliency and maintain a population
            that continues to meet recovery criteria.




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             Deve/oped.Slites in the NCDE

            In the NCDE, examples of developed recreation sites include, but are not limited to,
            campgrounds, picnic areas, trailheads, boat launches, rental cabins, summer homes, lodges,
            restaurants, and visitor centers. Examples of administrative sites in the NCDE include
            headquarters, ranger stations, patrol cabins, park entrances, federal employee housing, and other
            facilities supporting government operations. Administrative sites will be reported but are not
            counted as developed recreation sites.

            As of 2011, there were 1,074 developed recreation sites on public land within the recovery zone
            (NCDE Subcommittee 2020, Appendix 5, USDA FS 2018a, p. 155, USDA FS 2018b, p. 226).
            Plans in place direct GNP and the NFs within the recovery zone to manage overnight developed
            recreation sites at 2011 levels within each bear management subunit with limited increases
            (NCDE Subcommittee 2020, Chapter 3, USDA FS 2018d, pp. 1-7, 1-19, 1-31, 1-42, USDA FS
            2018e, p. 60, GNP 2019, p. 11). The number of or capacity of developed recreation sites
            managed for overnight use can increase no more than once (e.g., a net of one campground may
            be added or expanded) in each BMU every 10 years (NCDE Subcommittee 2020, Chapter 3,
            USDA FS 2018d, pp. 1-7, 1-19, 1-31, 1-42, USDA FS 2018e, p. 60). This was chosen as a
            threshold because similar levels of increases occurred in the period prior to 2011 during the time
            when the population of grizzly bears in the NCDE continued to increase (Ake 2017, entire). All
            increases were reviewed and approved via section 7 consultation. Such increases allowed
            managers to actively respond to resource damage, safety, and attractant concerns, and to respond
            to increasing public demand for recreation facilities. Developed recreation sites on public lands
            are currently inventoried and tracked in GIS databases.

            The NCDE Conservation Strategy contains exceptions for administrative and maintenance needs
            (NCDE Subcommittee 2020, Chapter 3). These exceptions to the baseline for administrative and
            maintenance needs are narrow in scope and require mitigation (i.e., food storage structures) to
            reduce potential detrimental impacts to grizzly bears (see the NCDE Conservation Strategy for a
            detailed description of the exception guidance, which are referred to as application rules, NCDE
            Subcommittee 2020, Chapter 3, USDA FS 2018d, pp. l-l1-1-13, 1-23-1-26, 1-35-1-38, 1-46-1-
            49, USDA FS 2018e, pp. 77-78).

            In conclusion, the NPS and USFS within the NCDE recovery zone will continue to manage
            overnight developed recreation sites, with regulated increases, to 2011 levels within each bear
            management subunit, with some exceptions as per the application rules (NCDE Subcommittee
            2020, Chapter 3, USDA FS 2018d, pp. 1-7, 1-19, 1-31, 1-42, USDA FS 2018e, p. 60). In
            addition, food storage regulations are in place on these public lands (see Preventative Measures:
            Food Storage Orders for further details, NPS 2010, p. 4, GNP 2019, pp. 12-18, NCDE
            Subcommittee 2020, Chapter 4, USDA FS 2018a, p. 182, USDA FS 2018d, pp. 9, 1-5, 1-17, 1-
            29, 1-40). These commitments are in place and will help to maintain resiliency of the NCDE.

            Outside the recovery zone in the NCDE, there are ever 150 overnight developed recreation sites
            on the four NFs in Zone 1 (Ake 2018b, in lift). The number and capacity of overnight
            developed recreation sites are subject to management direction established in Forest Plans.
            Additionally, existing USFS food storage regulations will continue to minimize the potential for

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            human-grizzly bear conflicts through food storage requirements, outreach, and education.
            Should the Monitoring Team determine developed sites on public lands in Zone l are related to
            increases in mortality beyond the sustainable limits discussed above, managers may choose to
            close specific developed sites or otherwise alter management in the area in order to maintain a
            population that continues to meet recovery criteria and population objectives in the NDCE
            Conservation Strategy. Commitments by the USFS and BLM to manage lands to maintain a
            population that continues to meet recovery criteria (NCDE Subcommittee 2020, Chapter 3,
            USDA FS 2018c, 2018d, and 2018e, BLM 2019a, p. 39, BLM 2019b, p. 2-20) will help to
            maintain resiliency of the NCDE.

             Developed$ites in the $5 CVE BE and North Cascades

            There are currently no standards or tracking for developed sites inside the CYE, SE, BE or North
            Cascades. However, the BE, CYE, and North Cascades recovery zones, are characterized by
            large acreage of Wilderness Areas and IRAS. These designations increase the security of habitat
            for grizzly bears. Within the CYE recovery zone, 44 percent of lands are protected as designated
            Wilderness (379 km; (146 mi2)) or IRAS (2,568 km2 (992 mi2)). The BE recovery zone is 98
            percent designated Wilderness (14,840 km; (5,730 mi2)). In the North Cascades, 63 percent of
            lands are protected as designated Wilderness (10,842 km2 (4,186 mi2)) or as IRAS (5,187 km2
            (2,118 mi2)). In the U.S. portion of the SE recovery zone, some protection is provided by the 3
            percent (227 km; (88 mi2)) that is designated or recommended Wilderness. These designations
            are supported by regulatory mechanisms, as discussed above in Protected Areas, independent of
            the Act that protect grizzly bear habitat from new road construction, new oil and gas
            development, new livestock allotments, and timber harvest. While developed sites are not
            prohibited in IRAS, the lack of road construction limits development.

            Summary 0l'De we/oped Sites

            Increasing populations in the GYE and NCDE indicate that developed sites and any associated
            habitat loss or displacement are not limiting grizzly bear populations. Operation and
            maintenance of developed sites may result in mortality of grizzly bears if interactions result in
            activities associated with human-caused mortality, however, conservation strategies have
            reduced negative effects in the GYE and NCDE, and the Wilderness Act and other regulations
            reduce this stressor in the North Cascades, CYE, SE, and BE. Additional data would help inform
            the potential effects of developed sites on grizzly bear populations in the CYE, SE, BE, and
            North Cascades.

             Livestock A//otments on Federal Lands

            When grizzly bears were listed in 1975, the Service identified "livestock use of surrounding
            national forests" as detrimental to grizzly bears "unless management measures favoring the
            species are enacted" (40 FR 31734, July 28, 1975). Impacts to grizzly bears from livestock
            operations potentially include:

                (1) Direct mortality from control actions resulting from livestock depredation,


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                (2) Direct mortality due to control actions resulting from grizzly bear habituation and/or
                    learned use of bear attractants, such as livestock carcasses and feed,
                (3) Increased chances of a grizzly bear livestock conflict,
                (4) Displacement due to livestock or related management activity, and
                (5) Direct competition for preferred forage species.

            Human-caused mortality resulting from management removals is the main impact to grizzly
            bears associated with livestock (for further discussion, see Human-caused Mortality, below).
            The effects of displacement and direct competition with livestock for forage are considered
            negligible to grizzly bear population dynamics because, even with direct grizzly bear mortality,
            current levels of livestock allotments have not precluded grizzly bear population growth and
            expansion.

             Livestock A//otments in the G)m5

            In the GYE, the 1998 baseline and management policies limit the impact of livestock allotments
            on grizzly bears in the recovery zone. The Recovery Plan Supplement: Habitat-based Recovery
            Criteria for the Yellowstone Ecosystem (Service 2007b, entire) and the USFS ROD
            implementing their forest plan amendments (USDA FS 2006b, entire) established habitat
            standards regarding livestock allotments. The number of active livestock allotments, total acres
            affected, and permitted sheep animal months within the recovery zone will not increase above
            1998 levels (USDA FS 2006b, p. 5, YES 2016a, pp. 56, 67-68). Due to the higher prevalence of
            grizzly bear conflicts associated with sheep grazing, existing sheep allotments will be phased out
            as the opportunity arises with willing permittees (USDA FS 2006b, p. 6, YES 2016a, pp. 67-68).

            A total of 106 livestock allotments existed inside the recovery zone in 1998: 72 active and
            13 vacant cattle allotments and 11 active and 10 vacant sheep allotments, with a total of 23,090
            sheep animal months (GYAGBHMT 2018, p. 112). Sheep animal months are calculated by
            multiplying the permitted number of animals by the permitted number of months. Any use of
            vacant allotments will be permitted only if the number and net acreage of allotments inside the
            recovery zone does not increase above the 1998 baseline (YES 2016a, p. 68). Since 1998, the
            Caribou-Targhee NF has closed ten sheep allotments (6 active and 4 vacant) within the recovery
            zone, while the Shoshone NF has closed four sheep allotments (2 active and 2 vacant) and the
            Gallatin NF has closed six sheep allotments (2 active and 4 vacant) (GYAGBHMT 2018, p.
            112). This has resulted in a reduction of 21,120 sheep animal months, a 91 percent reduction,
            from the total calculated for 1998 within the recovery zone, and is a testament to the
            commitment that land management agencies have to the ongoing success of the grizzly bear
            population in the GYE. As of 2018, there is only one active sheep allotment within the recovery
            zone on the Caribou-Targhee NF as part of the USDA Sheep Experiment Station, but this
            allotment has not been issued a grazing permit since 2008. In addition, the NFs have closed 15
            active and 5 vacant cattle allotments within the recovery zone since 1998 (GYAGBHMT 2018,
            p. 112). GTNP currently allows cattle to graze in the park at the East Elk Ranch
            Pastures/Allotment, longhorns to graze in the park under a Life Lease Agreement, horses to
            graze, and cattle to graze in inholdings. Grizzly bear conflicts related to livestock have also been
            reduced in the recovery zone through requirements to securely store and/or promptly remove
            attractants associated with livestock operations (e.g., livestock carcasses, livestock feed, etc.).

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            Phasing out livestock allotments would not have been possible without partnerships with
            multiple NGOs who negotiated and funded the buyouts from leaseholders. This effort was led
            by the National Wildlife Federation and included the Rocky Mountain Elk Foundation, Wild
            Sheep Foundation, Vital Ground Foundation, Greater Yellowstone Coalition, Sierra Club, and
            Western Watersheds Project.

            The mandatory restriction on creating new livestock allotments and the voluntary phasing out of
            livestock allotments (cattle and sheep) with recurring conflicts further ensure that the recovery
            zone will continue to function as source habitat (USDA FS 2006b, p. 6). Although it is possible
            to reopen closed allotments, such an action would be subject to NEPA review and the majority of
            allotments would have a low probability of reopening because the rationale behind closing them
            is still applicable (e.g., limited forage).

            In 2004, there were roughly 150 active cattle allotments and 12 active sheep allotments in
            suitable habitat outside the recovery zone (USDA FS 2004, p. 129). The Targhee NF closed two
            of these sheep allotments in 2004, the Shoshone NF closed one of these sheep allotments in
            2005, and there have not been any new allotments created since then (USDA FS 2006a, p. 168,
            Landenburger 2014, in lire., Rice 2019, in lift). In areas with chronically-high levels of livestock
            depredations, grizzly bear management removals are often higher. However, mortality limits in
            the revised demographic recovery criteria and 2016 GYE Conservation Strategy minimize the
            risk of population-level impacts. In addition, the IGBST regularly monitors and spatially maps
            all grizzly bear mortalities (both inside and outside the recovery zone), causes of death, and the
            source of the problem, and will conduct a Biology and Monitoring review if these objectives
            have not been achieved. These commitments and controls currently in place limit negative
            impacts of livestock grazing on the GYE grizzly bear population.

             Livestock A//otments in the NCDE

            In the NCDE, the 2011 baseline and management policies limit the impact of livestock
            allotments on grizzly bears in the NCDE recovery zone. The Recovery Plan Supplement:
            Habitat-based Recovery Criteria for the NCDE (Service 2018, entire), the Revised Forest Plan
            for the Flathead NF (USDA FS 2018e, p. 80), and the USFS ROD implementing their forest plan
            amendments for the Helena-Lewis and Clark, Kootenai, and Lolo NFs (USDA FS 2018d, p. 20)
            established habitat standards regarding livestock allotments. A total of 60 active livestock (59
            cattle, 1 sheep) allotments existed on Federal lands inside the recovery zone in the 2011 baseline,
            with a total of 133 sheep animal unit months (NCDE Subcommittee 2020, Chapter 3, USDA FS
            2018a, p. 468-469, USDA FS 2018b, p. 256).

            Land managers within the recovery zone have also agreed to manage livestock allotments into
            the future to maintain grizzly bear recovery in the NCDE. Specifically, within the recovery
            zone, management direction limits the number of cattle allotments on Federal or FIR lands to at
            or below the baseline (CS&KT 1997, p. 6, 19-20, NCDE Subcommittee 2020, Chapter 3, USDA
            FS 2018a, p. 183, USDA FS 2018b, p. 15). In addition, the number of sheep allotments and
            permitted sheep animal months within the recovery zone will not increase above the baseline on
            Federal, State, and FIR lands (CS&KT 1997, p. 6, 19-20, DNRC 2010b, p. 2-18, NCDE
            Subcommittee 2020, Chapter 3, Appendix 10, USDA FS 2018a, p. 156, USDA FS 2018b, p. 15).

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            A total of 128 active allotments, mainly cattle, exist on State lands inside the recovery zone in
            the 2011 with 974 sheep animal unit months (NCDE Subcommittee 2020, Chapter 3, Baty 2020,
            in list). All BIR lands within the recovery zone are currently allotted for livestock grazing. Due
            to the higher prevalence of grizzly bear conflicts associated with sheep grazing, existing sheep
            allotments will be phased out as the opportunity arises with willing permittees (NCDE
            Subcommittee 2020, Chapter 3, USDA FS 2018d, pp. 1-11, 1-23, 1-35, 1-46). Currently there
            are only two sheep allotments on USFS land within the recovery zone, both on the Helena-Lewis
            and Clark NF (USDA FS 2018b, p. 138). All other sheep allotments have been phased out or
            relocated outside of the recovery zone (USDA FS 2018b, p. 138). Any use of vacant allotments
            will only be permitted if the number of allotments inside the recovery zone does not increase
            above the baseline (NCDE Subcommittee 2020, Chapter 3, USDA FS 2018d, pp. 1-10-1-11, 1-
            22-1-23, 1-34-1-35, 1-45-1-46, USDA FS 2018e, pp. 80-81).

            The restriction on creating new livestock allotments and the voluntary phasing out of livestock
            allotments with recurring conflicts further ensure that the recovery zone will continue to function
            as source habitat. Although it is possible to reopen closed allotments, such an action would be
            subject to NEPA. Moreover, the majority of allotments would have a low probability of
            reopening because the rationale behind closing them would still be applicable (i.e. the allotments
            were no longer viable grazing areas). In the future, because there will continue to be no net
            increase above baseline levels in cattle or sheep allotments allowed on public lands inside the
            recovery zone.

            Outside the recovery zone, there were 31 active cattle allotments and 2 active sheep allotments in
            Zone 1 in 2015 (USDA FS 2018b, p. 256). On the Flathead NF alone, the number of livestock
            allotments in the DMA has decreased by more than 50 percent since 1986 (USDA FS 2018a, p.
            468). The BLM will allow no new sheep allotments and no new livestock allotments of any kind
            in Zone 1 (BLM 2019a, p. 39, BLM 2019b, p. 2-20). On USFS lands, there will be no increase
            in the number of active sheep allotments or in the permitted animal months above the baseline.
            The USFS is committed to worldng with willing permittees to retire allotments with recurring
            conflicts that cannot be resolved by modifying grazing practices (NCDE Subcommittee 2020,
            Chapter 3, USDA FS 2018d, p. 1-11, 1-23, 1-35, 1-46). Under the DNRC HCP, small livestock
            allotments will be discouraged and mitigation measures will be taken to minimize the risk of
            grizzly bear conflicts (DNRC 2010a, p. 4-347). These controls and commitments currently in
            place limit negative impacts of public land livestock allotments on the NCDE grizzly bear
            population.

             Livestock A//otments in the CVE $5 85 and North Cascades

            There are currently no standards for livestock allotments inside the CYE, SE, BE, and North
            Cascades. However, the BE, CYE, and North Cascades, recovery zones, are characterized by
            large acreage of Wilderness Areas and IRAS, where the lack of road construction limits access.
            These designations also are supported by regulatory mechanisms that protect grizzly bear habitat
            from new livestock allotments, among other things. There are four active cattle allotments on
            the Kootenai NF within the CYE recovery zone (USDA FS 2020c, entire). There are two active
            cattle allotments on the Idaho Panhandle NF and one active cattle allotment on the Colville NF
            within the SE recovery zone (USDA FS 2020c, entire). The BE recovery zone has two active

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            cattle allotments and two active horse allotments on the Salmon-Challis NF. The area between
            the BE, CYE, and NCDE contains six active cattle allotments on the Lolo NF (USDA FS 2020c,
            entire). There are 24 cattle and 9 sheep allotments on the Okanogan-Wenatchee NF in the North
            Cascades recovery zone (USDA FS 2020d, entire).

            Summary of livestock Allotments

            The expanding populations in the GYE and NCDE indicate that livestock allotments and
            associated habitat loss are not limiting grizzly bear populations. Operation and maintenance of
            livestock operations often results in mortality of grizzly bears through management removals of
            grizzly bears that repeatedly prey on livestock, however, conservation strategies have reduced
            negative effects of livestock allotments in the GYE and NCDE, and the Wilderness Act and the
            low number of allotments reduces this stressor in the CYE, SE, and BE. The potential effects of
            livestock allotments on grizzly bear in the North Cascades is unknown because there is currently
            no known population.

             Energy and AWh6ra/Development

            The primary concerns related to mineral and energy development are human-caused mortalities
            and displacement due to habitat loss. Oil and gas development is associated with higher road
            densities, increased human access, and resultant human-bear encounters and human-caused
            grizzly bear mortalities (McLellan and Shackleton 1988, pp. 458-459, McLellan and Shackleton
            l989b, pp. 377-379, Mace et al. 1996, pp. 1402-1403). Mineral and energy development could
            also cause displacement and habitat loss.

            Disturbance in the den could result in increased energetic costs and possibly den abandonment,
            which, in theory, could ultimately lead to a decline in physical condition of the individual or
            even cub mortality (Swenson et al. 1997, p. 37, Graves and Reams 2001, p. 41). However, den
            disturbance or abandonment is rarely observed, and there have been no documented cases of
            such abandonment as the result of energy and mineral development by grizzly bears in the lower-
            48 States. Harding and Nagy (1980, p. 278) documented two instances of den abandonment
            during fossil fuel extraction operations in northern Canada. One bear abandoned its den when a
            seismic vehicle drove directly over the den (Harding and Nagy 1980, p. 278). The other bear
            abandoned its den when a gravel mining operation destroyed the den (Harding and Nagy 1980, p.
            278). Reynolds et al. (1986, entire) also examined the effects of tracked vehicles and tractors
            pulling sledges. In 1978, there was a route for tractors and tracked vehicles within 100 m
            (328 ft) of a den inhabited by a female with three yearlings. This family group did not abandon
            their den at any point (Reynolds et al. 1986, p. 174). They describe one instance of possible den
            abandonment within 200 m (656 ft) of a seismic line, however they also describe other cases
            where a supply train came within 100 m (328 ft) of a den with no abandonment (Reynolds et al.
            1986, p. 174). Information on whether and how seismic exploration associated with oil and gas
            development or mining disturbs denning grizzly bears is lacking, bear responses are mixed, and
            existing information is from northern areas.




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             Energy and Mineral Development in the G)m5

            Inside the GYE recovery zone, management of oil, gas, and mining are tracked as part of the
            developed site standard (YES 2016a, pp. 64-67). There were no active oil and gas leases inside
            the recovery zone as of 1998 (USDA FS 2006a, p. 209), however, in 2019 there were two active
            phosphate leases partially in the recovery zone and six suspended oil and gas leases in or
            partially in the recovery zone (Vaculik 2019, in lift). Based on Forest Plan direction, there are
            approximately 243 km; (94 mi2) of secure habitat that could allow surface occupancy for oil and
            gas projects within the recovery zone (USDA FS 2006a, figures 48 and 96). This comprises less
            than 4 percent of all suitable habitat within the recovery zone. Additionally, 1,354 pre-existing
            mining claims were located in 10 of the subunits inside the recovery zone (YES 2016b,
            Appendix E), but only 28 of these mining claims had operating plans. These operating plans are
            included in the 1998 developed site baseline. While claimants under the 1872 General Mining
            Law have a right to explore for and develop valuable mineral deposits on their claims, the USFS
            develops appropriate mitigations for these claims through analysis and the NEPA process (42
            U.S.C. 4321-4347.1970, as amended).

            Under the conditions of the 2016 GYE Conservation Strategy regulatory mechanisms ensure that
            any new oil, gas, or mineral project will be approved only if it conforms to secure habitat and
            developed site standards (Service 2007b, pp. 5-6, YES 2016a, pp. 61-67). For instance, any oil,
            gas, or mineral project that permanently reduces the amount of secure habitat will have to
            provide replacement secure habitat of similar habitat quality (based on our scientific
            understanding of grizzly bear habitat), any change in developed sites will require mitigation
            equivalent to the type and extent of the impact, and such mitigation must be in place before
            project initiation or be provided concurrently with project development as an integral part of the
            project plan (YES 2016a, p. 62). Only one project that temporarily changes the amount of secure
            habitat is allowed in any subunit at any time (YES 2016a, p. 63). Mitigation of any project will
            occur within the same subunit and will be proportional to the type and extent of the project (YES
            2016a,p.62)

            In suitable habitat outside the GYE recovery zone, oil and gas development presents another
            potential influence on the grizzly bears. According to current Forest Plan direction, less than 19
            percent (3,213 km; (1,240 mi2)) of suitable habitat outside the recovery zone on USFS land
            allows surface occupancy for oil and gas development. As of 2019, there were no active oil and
            gas wells in suitable habitat but there were 54 active and suspended leases in, or partially in,
            suitable habitat (2 are phosphate leases on the Caribou-Targhee that overlap with the recovery
            zone and the remaining ones are oil and gas leases) (Vaculik 2019, in list). Any proposed
            mineral development on Federal land would be subject to environmental review under the NEPA
            process, which requires Federal agencies to consider environmental effects that include, among
            others, impacts to wildlife, including possible mitigation measures. Additionally, only a small
            portion of this total land area will contain active projects at any given time, if at all. For
            example, as of 2019 there are approximately 5 km; (2 Ni?) of active oil and gas leases in suitable
            habitat where surface occupancy for oil and gas development may be allowed per the terms of
            the lease (Vaculik 2019, in lift). At this time there are no leasing decisions authorizing new
            leases in suitable habitat in the GYE.



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            Because any new mineral OI' energy development is approved, and will continue to be approved,
            only if it conforms to the secure habitat, developed site, and motorized access standards set forth
            in the habitat-based recovery criteria and the GYE Conservation Strategy, negative impacts of
            such development on grizzly bear populations in the GYE will be limited.

             Energy and Mineral Development in the NCDE

            Management of oil, gas, and mining are tracked as part of the habitat standards (NCDE
            Subcommittee 2020, Chapter 3). Forty-seven percent of lands within the recovery zone are
            unavailable to oil and gas leasing and new mining claims due to their status as congressionally
            designated Wilderness Areas, National Park, or other special designations (NCDE Subcommittee
            2020, Chapter 3). Public Law 109-432 made additional lands outside of designated Wilderness
            Areas on the Rocky Mountain Ranger District of the Helena-Lewis and Clark NF, some areas of
            the Flathead NF, and BLM lands along the Rocky Mountain Front unavailable to future leasing,
            location, and entry.

            As of 2012, there were 247 oil and gas leases inside the recovery zone, 94 percent of which
            occurred on USFS lands (NCDE Subcommittee 2020, Chapter 3). No surface occupancy8 will
            be allowed for new oil and gas leases on Federal lands within the recovery zone and Zone l
            (USDA FS 2018d, pp. 1-13, 1-25, 1-37, 1-48, USDA FS 2018e, p. 78). Based on Forest Plan
            direction, there are approximately 8,500 km; (3,250 mi2) within the recovery zone that could
            allow surface occupancy for oil and gas projects (Ake 2018c, in lift), which comprises
            approximately 37 percent of the recovery zone, however, currently all oil and gas leases are
            suspended within the recovery zone. Additionally, there are approximately 50 pre-existing
            mining claims located in 4 of the 23 BMUs inside the recovery zone (Ake 2018c, in list.). One
            mine, the Cotter Mine, is expected to be developed in the Helena NF (USDA FS 2018b, p. 50).
            Otherwise, there are no Plans of Operations or Notices of Intent to explore or operate any
            commercial mines inside the recovery zone on USFS or BLM lands (NCDE Subcommittee 2020,
            Chapter 3, USDA FS 2018b, p. 50). There is some copper and silver exploration occurring at
            this time, but all new Plans of Operation and permits for mineral activities will include measures
            to reasonably mitigate potential impacts to grizzly bears or their habitat (NCDE Subcommittee
            2020, Chapter 3, USDA FS 2018d, pp. l-l1-1-14, USDA FS 2018e, pp. 77-79). Appropriate
            mitigation measures, including food/attractant storage requirements, will be included in any
            future Plans of Operation inside the recovery zone and Zone l (i.e., the DMA).

            Moreover, any new projects not subject to the Mining Law of 1872 or the Federal Onshore and
            Gas Leasing Reform Act of 1987, including oil, gas, or mineral projects, will be approved by
            land management agencies only if they conform to secure core habitat and developed site
            standards (NCDE Subcommittee 2020, Chapter 3, USDA FS 2018d, Appendix l, USDA FS
            2018e, pp. 65-67). For instance, an oil, gas, or mineral project that reduces the amount of secure
            core habitat permanently will have to provide replacement secure core habitat of similar habitat
            quality (based on our scientific understanding of grizzly bear habitat) (NCDE Subcommittee
            2020, Chapter 3, USDA FS 2018d, pp. 1-11-1-14, 1-23-1-26, 1-35-1-38, 1-46-1-49, USDA FS

            8 No surface occupancy: a fluid mineral leasing stipulation that prohibits use or occupancy of the land surface in
            order to protect identified resource values. Lessees may develop the oil and gas or geothermal resources under the
            area restricted by this stipulation through use of directional drilling from sites outside the no surface occupancy area.

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            2018e, pp. 78-79). Any such mitigation must be in place before project initiation or be provided
            concurrently with project development as an integral part of the project plan (NCDE
            Subcommittee 2020, Chapter 3, USDA FS 2018d, pp. 1-9, 1-21, 1-33, 1-44, USDA FS 2018e,
            pp. 50, 61).

            Outside the recovery zone, on lands managed by the USFS, BLM, and DNRC in Zone 1, habitat
            protections fer mineral projects and mitigations fer measures fer oil and gas will be identical to
            those described for the recovery zone (see above). According to current Forest Plan and BLM
            direction, no surface occupancy is allowed for oil and gas development in Zone l. Currently
            there are 140 oil and gas leases in Zone l, 87 percent of which are on USFS lands (NCDE
            Subcommittee 2020, Chapter 3). Any proposed mineral development on Federal land would be
            subject to environmental review under the NEPA process, which requires Federal agencies to
            consider environmental effects that include, among others, impacts to wildlife, including possible
            mitigation measures.

            Because any new mineral or energy development are approved, and will continue to be
            approved, only if it conforms to the motorized access standards and food/attractant storage
            requirements set forth in the USFS plans and the NCDE Conservation Strategy, negative impacts
            of such development on grizzly bear populations in the NCDE will be limited.

             Energy and Mineral Development in the CVE $5 85 and North Cascades

            There are currently no standards or tracking for energy and mineral development inside the CYE,
            SE, BE or North Cascades. However, motorized access standards in the CYE and SE, the "no
            net loss" policy in the North Cascades, and the large wilderness areas and IRAS in the BE, CYE,
            and North Cascades may help address or avoid energy and mineral development effects by
            increasing habitat security for grizzly bears. In 2019, reauthorization of the Land and Water
            Conservation Fund permanently withdrew 1,376 km2 (531 m?) in the Methow Headwaters in the
            North Cascades from new mineral exploration and mine development.

            Two major mining proposals are currently in various stages of permitting in the Cabinet
            Mountains portion of the CYE. The proposals involve mining silver and copper deposits
            underground below the Cabinet Mountains Wilderness (USDA FS 2016b, entire, USDA FS
            2018f, entire). Each project would employ 200-300 people and have a life expectancy of
            approximately 20-30 years. Mine construction and operation effects analysis included mortality
            and displacement and recommended several mitigation strategies including habitat replacement
            through acquisition and easement, motorized access restrictions, two bear conflict management
            specialists, and an additional warden enforcement position (USDA FS 2016b, pp. Attach 4: 1-25,
            USDA FS 2018f, pp. Attach 5:1-14).

            Summary 0l'Energy and Mineral Development

            Habitat loss or destruction caused by energy and mineral development are not limiting
            populations in the GYE and NCDE. Operation and maintenance of energy and mineral
            development may result in mortality of grizzly bears if interactions result in activities associated
            with human-caused mortality, however, conservation plans have reduced negative effects in the

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            GYE and NCDE, and the Wilderness Act and other regulations reduces this stressor in the North
            Cascades, CYE, SE, and BE. Additional data would help inform the potential effect of energy
            and mineral development in the CYE, SE, BE, and North Cascades.

             Recrea t/bn

            Recreation can be divided into six basic categories based on season of use (winter or all other
            seasons), mode of access (motorized or non-motorized), and level of development (developed or
            dispersed) (USDA FS 2006a, p. 187, USDA FS 2018a, pp. 316-2018). There is a national trend
            of increased outdoor recreation (White et al. 2016, pp. 3-4, 7). The primary concern related to
            increased recreation is that it may increase the probability of human-grizzly bear encounters,
            with subsequent increases in human-caused mortality (Mattson et al. 1996, p. 1014). See I&E
            Programs, below, for discussion on ways to reduce human-grizzly bear conflicts related to
            recreation. Developed sites associated with recreation can also directly limit secure grizzly bear
            habitat. Finally, individuals recreating in bear country could disrupt access to food resources
            (like army cutworm moth aggregation sites and huckleberry fields). We do not have information
            suggesting that current and projected levels of non-motorized recreation, including mountain
            biking, require limitations. Although non-motorized trails may cause displacement of grizzly
            bears to varying degrees, grizzly bear mortality related to non-motorized recreation is rare and
            population-level impacts have not been documented (Jope 1985, pp. 34-36, McLellan and
            Shackleton 1989a, pp. 270-274, Kasworm and Manley 1990, p. 81, 84, Mace and Waller 1996,
            pp. 463-465, White et al. 1999, p. 149).

            Hunting of game (e.g., elk, black bears, upland birds) within grizzly bear habitat can also
            increase the chances of grizzly bear mortalities due to defense-of-life and mistaken identification
            killings (see Human-caused Mortality for further details). Hunting of grizzly bears is net
            currently allowed in the lower-48 States. Mistaken identification ldllings of grizzly bears by
            black bear hunters are both accidental and illegal. Mistaken identification is prosecuted as illegal
            take, and all such grizzly bear mortality is fully investigated to determine cause. Black bear
            hunting over bait is allowed in portions of Idaho and Wyoming. Black bear hunting over bait is
            not allowed in Montana or Washington. Hunting over bait can be a source of mortality (due to
            mistaken identity killings) and conflicts (due to conditioning to human foods). Under current
            regulations (under Section 4(d) of the Act), it is legal for private citizens to kill grizzly bears if it
            is in self-defense or defense of others (50 CFR § 17.40). These self-defense situations have
            occurred with elk hunters during surprise encounters, at hunter-killed carcasses or gut piles, or
            when packing out carcasses.

            Snowmobiling and other winter sports (i.e., backcountry skiing) are other forms of recreation
            that can potentially affect grizzly bears by increasing the probability of human-grizzly
            encounters and potential disturbance of denning grizzly bears. Disturbance of grizzly bears in
            the den can result in cub abandonment or early den exit, which could kill a grizzly (if they leave
            before food is readily available). Although there are no data or information suggesting winter
            recreational use is negatively affecting grizzly bear populations in the lower-48 States, the
            potential for disturbance and impacts to reproductive success exists and monitoring will continue
            to support adaptive management decisions about winter recreation use in areas where disturbance


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            is documented or likely to occur. Potential impacts of winter recreation are discussed in further
            detail in Appendix F.

             Recreation in the G)m5

            At least 5 million people visit and recreate in the National Parks and NFs of the GYE annually
            (USDA FS 2006a, pp. 176, 184, Wilmot 2018a, p. 65, Gunther 2018, p. 66). Based on past
            trends, visitation and recreation are expected to increase in the future. For instance, YNP has
            shown an approximate 19 percent increase in the number of people visiting each decade since the
            1950s (Gunther 2018, p. 66), however, the number of backcountry overnight stays has remained
            relatively constant from the 1970s through 2010s (Gunther 2018, p. 68).

            Inside the recovery zone, the vast majority of lands available for recreation are accessible
            through non-motorized travel only (USDA FS 2006a, p. 179). Motorized recreation during the
            summer, spring, and fall inside the recovery zone is limited to existing roads as per standards in
            the habitat-based recovery criteria and the 2016 GYE Conservation Strategy that restrict
            increases in roads or motorized trails. Recreation at developed sites such as lodges, downhill ski
            areas, and campgrounds are limited by the developed sites habitat standard described in the
            habitat-based recovery criteria and the 2016 GYE Conservation Strategy. Ongoing I&E efforts
            are an important contributing factor to successful grizzly bear conservation and will continue
            under the 2016 GYE Conservation Strategy (YES 2016a, pp. 92-95). The number and capacity
            of existing developed sites on Federal lands has not increased from the 1998 baseline and are
            limited as per the habitat-based recovery criteria and the 2016 GYE Conservation Strategy. For
            a more complete discussion of projected increases in recreation in the GYE NFs, see the Final
            EIS for the Forest Plan Amendment for Grizzly Bear Habitat Conservation for the GYE NFs
            (USDA FS 2006a, pp. 176-189).

             Recreation in the NCDE

            At least 3 million people visit and recreate in GNP and the NFs of the NCDE annually (NPS
            2018a, entire, USDA FS 2018a, p. 322, USDA FS 2018b, p. 287). Based on past trends,
            visitation and recreation are expected to increase in the future. For instance, GNP has shown an
            approximate 8 percent increase in the number of people visiting each year since 1930 (NPS
            2018a, entire), however, the number of people recreating in the backcountry has remained
            relatively constant from the l 970s through 20lOs (NPS 2018b, entire).

            Inside the recovery zone, approximately 67 percent of lands available for recreation are
            accessible only through non-motorized travel because of their status as protected areas (see
            Protected Areas above for further discussion, NCDE Subcommittee 2020, Chapter 3, figure 7).
            In order to reduce the risk of human-grizzly bear conflicts when constructing new trails, the
            USFS will employ measures such as locating trails outside of seasonally important grizzly bear
            habitat (i.e., riparian management zones or avalanche chutes) (USDS FS 2018a, p. 183).
            Motorized recreation during the summer, spring, and fall inside the recovery zone are limited to
            roads and trails open to such use as per the standards in the NCDE Conservation Strategy and
            land management plans that restrict increases in roads or motorized trails (NCDE Subcommittee
            2020, Chapter 3, USDA FS 2018c, p. 31, USDA FS 2018d, pp. 9-1 l). Similarly, overnight

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            recreation at developed sites such as lodges and campgrounds are limited by the developed sites
            habitat standard described in the NCDE Conservation Strategy and land management plans.
            Increases in the number and capacity of existing developed sites on public lands are limited
            under habitat-based recovery criteria and NCDE Conservation Strategy (NCDE Subcommittee
            2020, Chapter 3, Service 2018, entire, USDA FS 2018c, p. 31, USDA FS 2018d, pp. 1-7, 1-19,
             1-31, l-42).

             Recreation in the CVE and SE

            Visitor use is not available specifically for the CYE and SE recovery zones. The USDA FS
            National Visitor Use Monitoring program provides estimates for the volume and type of
            recreational visitation to each NF at least once per decade. In the past decade, NFs in the CYE
            had over 3 million site visits and the SE had over l million site visits (USDA FS 2020b) ,
            however, these forests encompass an area that is much larger (approximately 4 and 2 times) than
            the area of the CYE and SE recovery zones, respectively. In addition, the USFS is currently
            evaluating the congressionally designated Pacific Northwest National Scenic Trail, which bisects
            both the CYE and SE. Potential impacts of the trail are unknown at this time, however, if user
            levels increase sufficiently it could create a decrease in core areas as defined in Forest plans
            (USDA FS 201 la, p. 36, USDA FS 201 lb, pp. 23-27). Huckleberry picking is a common
            recreational activity within the CYE and SE. Permits are not required for this activity and
            therefore no means of tracking the amount of use occurring for this activity exists. Motorized
            vehicle restrictions on the NFs probably play a role in limiting the location or amount of this
            activity in grizzly bear habitat.

             Recreation in the BE

            Visitor use is not available specifically for the BE recovery zone. The USDA FS National
            Visitor Use Monitoring program provides estimates for the volume and type of recreational
            visitation to each NF at least once per decade. In the past decade, NFs in the BE had over 2
            million site visits (USDA FS 2020b), however, these forests encompass an area that is
            approximately 3 times the area of the BE recovery zone. Inside the recovery zone,
            approximately 98 percent of lands available for recreation are accessible through non-motorized
            travel only because of their status as designated Wilderness (see Protected Areas above for
            further discussion). Baiting for black bear hunting is currently allowed in the BE. This may be a
            source of mortality (due to mistaken identity) and conflicts (due to conditioning to human foods)
            should grizzly bears recolonize this ecosystem. The first known grizzly bear to move into the
            BE was killed by a black bear hunter over bait in 2007 .

             Recreation in the North Cascades

            The North Cascades Park Complex and surrounding forests within the North Cascades provide a
            diverse array of recreational opportunities, including hiking, backpacking, camping, climbing,
            fishing, horseback riding, bicycling, boating, winter sports, and wildlife viewing. The North
            Cascades Park Complex contains North Cascades National Park, Ross Lake NRA, and Lake
            Chelan NRA. It is estimated that recreational use of federal lands in the North Cascades is 8
            million visitor days per year, however, visitor use is not equally distributed (NPS and Service

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            2017, p. 63). The majority of trails in the North Cascades occur in wilderness and roadless areas
            (NPS and Service 2017, p. 63). Based on past trends, visitation and recreation are expected to
            increase in the future. For instance, the North Cascades Park Complex has shown an
            approximate 9 percent increase in the number of people visiting each year since 1999 (NPS
             2020).

            Inside the recovery zone, approximately 63 percent of lands available for recreation are
            accessible through non-motorized travel only because of their status as protected areas (see
            Protected Areas above for further discussion). The Federal land managers agreed to manage for
            "no net loss" of core areas within the North Cascades recovery zone until the agreement is
            superseded by a forest/park plan amendment or revision (USDA FS 1997, p. l). The 2012 Ross
            Lake Recreation Area General Management Plan (GMP) includes provisions that any new trails
            proposed within the Ross Lake GMP would constitute reductions of less than l percent in each
            of the four BMUs with an intent to retain core area levels of 70 percent or higher per BMU (NPS
            2012, p. 82). In addition, any new trails will occur in areas that are not high quality grizzly bear
             habitat (NPS 2012, p. 74).

            Summary of Recrea son

            Recreation can result in the direct mortality of grizzly bears through increased human-grizzly
            bear encounters and resultant self-defense kills or mistaken identity kills while black bear
            hunting. Grizzly bears are also displaced by motorized and non-motorized recreation, which
            may result in negative impacts to individuals. However, we do not have evidence indicating that
            current levels of recreation are limiting to grizzly bear populations.

             Vegetat/bn Management

            Vegetation management projects typically include timber harvest, thinning, prescribed fire, and
            salvage of burned, diseased, or insect-infested stands. Depending on the type of project,
            vegetation management can be beneficial, neutral, or harmful to grizzly bears. Vegetation
            management programs can negatively affect grizzly bears by:

                      Temporarily removing cover,
                      Disturbing or displacing bears from habitat during the vegetation management activity ,
                      Increasing human-grizzly bear conflicts Cr mortalities as a result of unsecured attractants,
                      and
                      Increasing mortality risk as a result of increased human-grizzly bear encounters Cr
                      displacement due to new reads into previously roadless areas and/or increased vehicular
                      use on existing restricted roads, especially if roads remain open to the public after
                      vegetation management is complete (McLellan and Shackleton 1988, pp. 458-459,
                      McLellan and Shackleton l989b, pp. 377-379, Mace et al. 1996, pp. 1402-1403,
                      Schwartz et al. 2010a, p. 661, Boulanger and Stenhouse 2014, p. 15, Proctor et al. 2017,
                      pp. 53-54, Lamb et al. 2018, pp. 1412-1415, Proctor et al. 2019, entire).

            Vegetation management can also result in positive effects on grizzly bear habitat once the project
            is complete, provided key habitats such as riparian areas and food production areas are

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            maintained or enhanced. For instance, tree removal for thinning or timber harvest and prescribed
            burning or weed control, can result in localized increases in bear foods through increased growth
            of grasses, forbs, and berry-producing shrubs (Zager et al. 1983, p. 124, Kerns et al. 2004, p.
            675). Vegetation management may also benefit grizzly bear habitat by controlling undesirable
            invasive species and improving riparian management in important food production areas .
            Changes in the distribution, quantity, and quality of cover are not necessarily detrimental to
            grizzly bears as long if they are coordinated on a landscape scale to ensure that grizzly bear
            needs are addressed throughout the various projects occurring on at any given time.

             Vegetation Management in the G)m5

            In the GYE, vegetation management occurs throughout the GYE on lands managed by the USFS
            and NPS. In the GYE, although there are known, usually temporary, impacts to individual bears
            from timber management activities, these impacts have been adequately mitigated using the
            Guidelines in place since 1986, and will continue to be managed at levels acceptable to the
            grizzly bear population under the 2016 GYE Conservation Strategy. In addition, approximately
            82 percent of the recovery zone in the GYE are considered "protected lands" (see Protected
            Areas above for further details), which does not allow timber harvest. State and private
            forestlands with motorized restrictions add additional conservation protections.

            Timber harvest can disturb, displace, or remove cover for grizzly bears. According to current
            Forest Plan direction, 23 percent (4,773 km2 (1,843 mi2)) of suitable habitat outside the recovery
            zone on USFS land has both suitable timber and a management prescription that allows
            scheduled timber harvest. Only a small portion of this total land area will contain active projects
            at any given time, if at all. For example, less than 2 percent (9.6 km; (3.7 mi2)) of the roughly
            4,773 km; (1,843 Ni?) identified as having both suitable timber and a management prescription
            that allows timber harvest, was actually logged annually from 2003 to 2018 (Jackson 2019, in
             liar.).

             Vegetation Management in the NCDE

            Vegetation management occurs throughout the NCDE on lands managed by the USFS, NPS,
            DNRC, BLM, FIR, BIR, and MFWP. Despite potential negative impacts from vegetation
            management, mortality risk from vegetation management activities are and will continue to be
            largely mitigated through motorized access standards and food storage requirements on federal
            lands (NPS 2010, p. 4, GNP 2019, pp. 11-18, USDA FS 2018c, p. 31, USDA FS 2018d, pp. 8-
            11, USDA FS 2018e, pp. 42-43, NCDE Subcommittee 2020, Chapters 3 and 4), and motorized
            access restrictions on State and private forestlands. Nearly 67 percent of the recovery zone is
            unavailable for general, commercial timber harvest through Federal and Tribal designations
            (such as Wilderness Areas, WSAs, and other protective designations, see Protected Lands above
            for further information). Although there are known, usually temporary, impacts to individual
            bears from timber and other vegetation management activities, these impacts have been
            adequately mitigated using the Guidelines in place since 1986, and will continue to be managed
            at levels acceptable to the grizzly bear population under the NCDE Conservation Strategy and
            land management plans (CS&KT 2000, p. 284, Blackfeet Nation 2008, pp. 10-12, DNRC 2010b,


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            p. 1-26-1-27, NCDE Subcommittee 2020, Chapter 3, USDA FS 2018c, pp. 42-43, USDA FS
            2018d, 1-9-1-10, 1-21-1-22, 1-33-1-34, 1-44-1-45).

            Vegetation management projects are designed to: enhance forage production, except in areas
            that are frequented by people such as campgrounds, retain or develop cover adjacent to forest
            openings and highway crossing areas, protect important habitats such as avalanche chutes,
            riparian areas, and berry-producing shrubs, and minimize the impacts of motorized access
            (USDA FS 2018a, pp. 143, 184-185, USDA FS 2018b, p. 16). The extent of protected lands
            inside the recovery zone and management standards in the NCDE Conservation Strategy and
            land management plans regarding vegetation management, limit potential negative impacts of
            vegetation management to the NCDE grizzly bear population.

            Outside the NCDE recovery zone, 71 percent of Zone 1 outside the DCAs, 46 percent of Zone 1
            inside the DCAs, and 27 percent of Zone 2 on USFS land has both suitable timber and a
            management prescription that allows scheduled timber harvest according to current Forest Plan
            direction (Ake 2019a, in liar.). On USFS lands from 2004 to 2018, an average of only 3 percent
            of Zone 1 outside the DCAs, 4 percent of Zone 1 inside the DCAs, and 7 percent of Zone 2 was
            actually logged annually (Ake 2019a, in lift). Motorized access commitments by the Federal,
            State, and Tribal agencies in Zone 1, both inside and outside the DCAs, add additional
            conservation protections. Additionally, only a small portion of this total land area will contain
            active projects at any given time, if at all.

             Other Protections: Additional protections occur on Federal (BLM and USFS) and Tribal lands
            outside of the recovery zone but inside the DMA in Zones l and 2. Of the 19,460 km; (7,514
            m?) in Zone l and the 18,854 km; (7,280 mi2) in Zone 2, the USFS manages 4,351 km; (1,680
            m?) of Zone 1 and 4,655 km; (1,797 mi2> of Zone 2, or 22 percent and 24 percent respectively.
            An additional 29 and 6 percent in Zones 1 and 2, respectively, is managed by the BLM, FIR, and
            BIR. The Blackfeet Tribe manages the 1,605 km; (620 m?) of Zone 1 within the boundaries of
            the BIR. Under the Blackfeet Reservation Forest Management Plan forestry activities are not
            allowed during critical periods in identified denning and spring foraging habitat (Blackfeet
            Nation 2008, p. 12). In addition, the Blackfeet Fish and Wildlife Department implement
            measures to prevent human-grizzly bear conflicts, such as attractant storage (Blackfeet Tribal
            Business Council 2013, p. 9). The CS&KT manage the 3,559 km; (1,374 m12) of Zone 1 within
            the boundaries of the FIR. The FIR Forest Management Plan focuses on reducing human-bear
            conflicts and providing secure quality habitat for grizzly bears through forest management
            practices such as selective logging and prescribed fire (CS&KT 2000, p. 111).

             Vegetation Management in the CVE 55 85 and North Cascades

            Despite potential negative impacts from vegetation management, mortality risk from vegetation
            management activities are and will continue to be largely mitigated through motorized access
            standards in the CYE and SE and the "no net loss" policy in the North Cascades. Motorized
            access standards identify core habitat which must remain in place for 10 years at a minimum. In
            reality many of these core blocks remain in place for much longer than 10 years. This
            designation does limit some vegetation management activities that rely on motorized access, but
            it does not preclude prescribed burning or helicopter-supported timber harvest. These activities

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            must also go through the consultation process under Section 7 to determine their effects on listed
            species. In addition, the large acreage of Wilderness Areas and Inventoried Roadless areas
            reduce the effects of vegetation management in the CYE, BE, and North Cascades. State and
            private forestlands with motorized restrictions further reduce the potentially negative effects of
            vegetation management.

            Summary of Vegetation Management

            The building of roads is the largest potential threat to grizzly bear populations resulting from
            vegetation management. However, motorized access standards in recovery zones effectively
            reduce this threat. Other vegetation management projects are generally short-term and small-
            scale in nature, and are not currently limiting grizzly bear populations. Vegetation management
            that improves food resources, such as berry producing shrubs, tubers or corms, succulent
            broadleaves, or grasses, can benefit grizzly bears. Manipulations that can produce these effects
            occur in the form of prescribed fire, thinning, or timber harvest, but all actions must consider the
            individual site and desired condition post treatment.

             Ha bits t Fragmenta t/bn

            Habitat fragmentation can cause loss of connectivity and may be caused by human-caused
            mortality, such as automobile collisions and management removals, and human activities, such
            as habitat modification, road building, and human developments and settlement (Proctor et al.
            2012, p. 23, Lamb et al. 2017, p. 62). Because grizzly bears live at relatively low population
            densities, disperse slowly, and are vulnerable to human-caused mortality, anthropogenic habitat
            fragmentation may influence grizzly bear populations that occur in close proximity to human
            population centers and continuous linear rural development associated with highways (Forman
            and Alexander 1998, pp. 222-223, Proctor et al. 2012, pp. 23-28, 35, Lindenmayer and Fischer
            2006, entire). In general, habitat fragmentation and isolation can increase vulnerability to
            threats, such as decreased demographic or genetic connectivity. Males and females have
            different susceptibility to habitat fragmentation as females are more easily fragmented than
            males for several reasons (Proctor et al. 2005, p. 2414, Proctor et al. 2012, p. 23). Female
            dispersal is gradual (McLellan and Hovey 2001, p. 843), usually significantly shorter than males
            (McLellan and Hovey 2001, p. 841, Proctor et al. 2004, p. 1113), and holds the potential for
            small population augmentation and/or demographic rescue through their ability to bear offspring
            post-immigration into small isolated populations. For these reasons, females tend to be the focus
            of demographic fragmentation/connectivity goals (Proctor et al. 2005, p. 2414, Proctor et al.
            2012, pp. 26-27). In addition, dispersal patterns suggest that to enhance or re-establish female
            connectivity, female occupancy of linkage areas is necessary to facilitate inter-generational
            connectivity (McLellan and Hovey 2001, p. 843, Proctor et al. 2005, p. 2414, Proctor et al. 2015,
            p. 8, Proctor et al. 2018, pp. 363-364). Long distance dispersal distance by males enables
            immigrants to act as a counter to genetic fragmentation and loss of nuclear genetic diversity
            (e.g., GYE) (Proctor et al. 2012, p. 27, Peck et al. 2017, p. 15).

            To minimize future habitat fragmentation and degradation, Federal agencies evaluate read
            construction projects on Federal lands throughout the GYE, NCDE, CYE, and SE for impacts to
            grizzly bear habitat connectivity (NCDE Subcommittee 2020, Chapter 3, USDA FS 2018c, p. 33,

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            USDA FS 2018d, p. 2, YES 2016a, pp. 82-83, Service 2007b, pp. 38-41). By identifying areas
            used by grizzly bears, officials can mitigate potential impacts from road construction during and
            after a project. Federal agencies will continue to identify important crossing areas by collecting
            information about known bear crossings, bear sightings, ungulate road mortality data, bear home
            range analyses, and locations of game trails. The data will be used to reduce grizzly bear
            mortality due to vehicle collisions, identify bear access to seasonal habitats, to help maintain
            traditional dispersal routes, and to decrease the risk of fragmentation of individual home ranges.
            For example, work crews will place temporary work camps in areas with lower risk of displacing
            grizzly bears, and food and garbage will be kept in bear-resistant containers. Highway planners
            will incorporate warning signs and crossing structures such as culverts or underpasses into
            projects when possible to facilitate safe highway crossings by all wildlife.

            Additionally, the conflict prevention, response, and outreach elements of conservation strategies
            and agency plans play an important role in preventing habitat fragmentation by keeping valleys
            that are mostly privately owned from becoming mortality sinks for grizzly bears attracted to
            human food sources (Servheen et al. 1981, pp. 2-3, 17-29, Dood 2006, pp. 32-38, Blackfeet
            Tribal Business Council 2013, pp. 6-10, NCDE Subcommittee 2020, Chapter 4). To reduce
            conflict, Federal, State, and Tribal management authorities remove the source of conflict (e.g.,
            removing or securing attractants) and use non-lethal solutions (e.g., aversive conditioning) when
            possible. I&E efforts and community sanitation measures emphasize keeping private property
            (including livestock and domestic pets) bear resistant, use of electric fencing to keep bears out of
            attractants (e.g., orchards, chicken coops, garbage, and bee yards), and use of bear-resistant
            garbage containers to keep bears out of garbage.

             Fragmenta son in the G)m5

            The GYE grizzly bear population is currently a contiguous population across its range, and there
            are no data to indicate habitat fragmentation within this population is occurring. In other words,
            there is no indication that human activities are preventing grizzly bears from moving freely
            within the ecosystem.

             Fragmenta son in the NCDE

            Kendall et al. (2009, p. 10) identified human-caused habitat fragmentation within the NCDE
            across the U.S. Hwy. 2 / BNSF rail line corridor. Although this corridor does not currently
            prevent demographic and genetic connectivity within the NCDE (Waller and Servheen 2005, pp.
            996-998, Mikie et al. 2016b, supplementary table 3), Waller and Miller (2015, pp. 34-36)
            documented substantial increases in traffic volume along U.S. Hwy. 2, particularly during
            nighttime hours when grizzly bears are most likely to cross the highway (see Genetic Health for
            further details). Measures of genetic diversity from the NCDE are similar to those from
            undisturbed populations in Canada and Alaska leading to the conclusion that the NCDE
            population has high genetic diversity and is sufficiently connected to other populations as
            discussed below in Genetic Health in the NCDE.




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             Fragmentation in the CVE $5 85 and North Cascades

            Inside the CYE, SE, BE, and North Cascades recovery zones, habitat-based recovery criteria will
            be developed prior to any proposed delisting that imposes thresholds that address the threat
            identified at the time of listing of destruction and modification of habitat. These standards will
            limit human-bear interactions and resultant mortality, but also will limit impacts to grizzly bear
            habitat connectivity. Land management practices that result in road construction and the
            conversion of large tracts of private land into residential subdivisions can prevent grizzly bears
            from moving between populations (Proctor et al. 2012, p. 35). There is no indication that such
            potential barriers exist within the SE, BE, and North Cascades recovery zones.

            Fragmentation has occurred, and currently still occurs, between the Yaak and Cabinet Mountains
            portions of the CYE and is related to human settlement, U.S. Hwy. 2, and a busy rail line
            (Proctor et al. 2018, p. 350). Linkage corridors have been identified (Proctor et al. 2015, p. 11)
            and management to re-establish connectivity between these two areas has included non-lethal
            management of appropriate conflict bears, land purchases, electric fencing programs to reduce
            attractants and conflicts, and more (Proctor et al. 2018, pp. 366-367). There is recent evidence
            that some movements are starting to take place (Kasworm et al. 2020a, p. 32) and functional
            connectivity remains a management objective.

             Private Land De we/opment

            Private land development may lead to habitat fragmentation (see Habitat Fragmentation above
            for further discussion). Rapidly accelerating growth of human populations in some areas outside
            of the recovery zones continue to define the limits of grizzly bear range, and will likely limit:

                    the expansion of the grizzly bear populations onto private lands in some areas outside the
                    recovery zones,
                    connectivity between ecosystems, such as the CYE and SE, and
                    natural recolonization of the BE and North Cascades.

            Urban and rural sprawl (low density housing and associated businesses) has resulted in
            increasing numbers of human-grizzly bear conflicts with subsequent increases in grizzly bear
            mortality rates in mere human-dominated landscapes. Private lands account for a
            disproportionate number of bear deaths and conflicts (Service 2007c, figures 15 and 16,
            Schwartz et al. 2010a, p. 661, Proctor et al. 2012, p. 33, MFWP, unpublished data).

            Conservation easements on private lands maintain open lands for wildlife use by protecting
            against potential future subdivision and development while maintaining traditional land uses.
            Public agencies (e.g., the Service) or qualified land trusts (e.g., The Nature Conservancy, The
            Vital Ground Foundation) place conservation easements, in cooperation with the land owner. In
            addition, land trusts or other private conservation organizations have purchased land for the
            purpose of wildlife conservation. Easements and land trusts can be especially effective at
            reducing habitat fragmentation and increasing connectivity of secure grizzly bear habitat.
            Private lands that limit road access also contribute to conservation benefits for bears.


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            In addition to addressing threats from private land development through conservation easement
            programs, Federal, State, and Tribal wildlife management agencies respond to conflicts on public
            and private lands. While human-grizzly conflicts at developed sites on public lands do occur, the
            most frequent reason for management removals are conflicts on private lands (Servheen et al.
            2004, p. 21, MFWP, unpublished data). Depending on the situation, appropriate responses may
            include proactively removing or securing attractants, public outreach and education,
            discouraging the grizzly bear from visiting the area using non-lethal methods, capturing and
            relocating a grizzly bear to a new area, and/or removing the grizzly bear from the population
            (Servheen et al. 1981, pp. 2-3, 17-29, Dood 2006, pp. 32-38, Idaho's Yellowstone Grizzly Bear
            Delisting Advisory Team 2002, pp. 14-18, Blackfeet Tribal Business Council 2013, pp. 6-10,
            MFWP 2013, pp. 49-59, YES 2016a, pp. 86-90, WGFD 2016 pp. 20-22, NCDE Subcommittee
            2020, Chapter 4). Proctor et al. (2018, entire) describe a comprehensive program to reduce
            human-bear conflicts on a fragmented landscape. They were able to reduce human-caused
            mortality and increase connectivity in and between ecosystems through land trust acquisitions
            and easements, attractant management, non-lethal management of appropriate conflict bears, and
            public outreach and education. Other methods to reduce conflicts on private land include
            effective enforcement of regulations and food storage regulations. The feeding of grizzly bears
            is prohibited on private lands in Montana (ARM 87-6-216) and in some counties and cities in
            Idaho and Wyoming.

             Priva to /and de we/opment in the G)m5

            In the GYE, one percent of the recovery zone and nearly 13 percent of the DMA outside of the
            recovery zone is privately owned. As private lands are developed and secure habitat on private
            lands declines, State and Federal agencies will work together through the Coordinating
            Committee to balance impacts from private land development (Idaho's Yellowstone Grizzly
            Bear Delisting Advisory Team 2002, p. 10, MFWP 2013, p. 37, WGFD 2016, p. 15).

            Easements and the purchase of private lands by land trusts have protected 35 percent (89 of 251
            km2 (35 of 97 mi2> of the privately owned land inside the recovery zone and 34 percent (l,l29 of
            3,289 km2 (436 of 1,270 mi2> of privately owned land inside the DMA outside the recovery zone.
            In addition, 2,870 km2 (l,l08 Ni?) of privately owned land that is to the north and northwest of
            the DMA, including lands that straddle the DMA boundary, that are inside the GYE are
            protected by easements or owned by land trusts. These lands occur in potential connectivity
            areas between the GYE and both the BE and the NCDE. State and Federal agencies will
            continue to assist NGOs and other entities to identify and prioritize potential lands suitable for
            permanent conservation through easements and other means as much as possible (Service 2007c,
            p. 54).

            The large areas of widely distributed suitable habitat on public lands in the GYE that are
            protected by Federal legislation help to minimize risk posed by human population growth on
            private lands and ensure that the grizzly bear population continues to meet recovery criteria.




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             Priva to /and development in the NCDE

            In the NCDE, 7 percent of habitat within the recovery zone and nearly 47 percent of habitat in
            Zones 1 and 2 is privately owned. As private lands are developed and as secure habitat on
            private lands declines, State and Federal agencies will work together through the Coordinating
            Committee to balance impacts on the grizzly bear population (Dood 2006, pp. 45-46, NCDE
            Subcommittee 2020, Chapters l and 3).

            Public agencies (e.g., the Service) or qualified Land Trusts (e.g., The Nature Conservancy, The
            Vital Ground Foundation) have placed conservation easements, in cooperation with the land
            owner, on 39 percent (639 of 1,655 km; (247 of 639 mi2)) of the privately owned land in the
            recovery zone, 21 percent (1,507 of 7,160 km2 (582 of 2,764 mi2)) of the privately owned land in
            Zone 1, and 10 percent (1,153 of 11,723 km; (445 of 4,526 mi2)) of the privately owned land in
            Zone 2. In addition, Land Trusts or other private conservation organizations own 6 percent (96
            km2 (37 mi2)) of private land in the recovery zone, 7 percent (498 km; (204 mi2)) of private land
            in Zone 1, and 1 percent (94 km; (32 rM2)) of private land in Zone 2. Zones 1 and 2 provide
            potential connectivity areas from the NCDE to the GYE, BE, and CYE. State and Federal
            agencies will continue to assist NGOs and other entities to identify and prioritize potential lands
            suitable for permanent conservation through easements and other means as much as possible
            (Servheen et al. 1981, pp. 34-35, Dood 2006, pp. 36, 45, NCDE Subcommittee 2020, Chapter 3,
            USDA FS 2018d, p. 2, USDA FS 2018e, pp. 70, 131).

             Priva to /and de we/opment in the CVE

            Agencies and NGOs are working to reduce fragmentation that has occurred due to private land
            development in important linkage areas (Proctor et al. 2015, p. 8) between the CYE and SE.
            Land acquisition and exchange has placed additional areas within the CYE recovery zone in the
            public domain, which benefits the long-term conservation of the species. There have been
            several major land exchanges in particular that have been beneficial to grizzly bear habitat within
            the CYE. In 1997 the Kootenai NF completed a land exchange in which 87 km2 (33 m?) of land
            owned by Plum Creek Timber Company were placed in public ownership and administered by
            the Kootenai NF for the benefit of grizzly bear and other species. Motorized access is managed
            under the BMU-specific standards described above. Almost all of this land was within the CYE
            grizzly bear recovery zone. In 2005, MFWP purchased almost 5 km; (2 mi2) in the Bull River
            Valley between the East and West Cabinet Mountains. A conservation easement on an adjacent
            2 km2 (l Ni?) was accepted by the State of Montana from the Avista Company. The area, now
            known as the Bull River Wildlife Management Area is managed by MFWP and provides linkage
            of public land across the river valley and will have value for a number of species including bull
            trout, westslope cutthroat trout, grizzly bear, lynx, and bald eagle. This acquisition and easement
            limit motorized access, limit future subdivision and home site development, and protect
            population linkage across the Bull River valley. In 2007, another adjacent 2 km; (l m?) was
            added to the management area by purchase and cooperative management with Revett Minerals.
            In addition, in 2017 and 2018, Vital Grounds and the Yukon Conservation Initiative purchased
            0. 17 km; (0.07 Ni?) of habitat in the Hwy. 2 linkage zone near the confluence of the Yaak and
            Kootenai Rivers which divides the Yaak and Cabinet Mountains. Overall, these conservation


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            efforts are important first steps to ensuring habitat fragmentation does not become a larger threat
            to this population of grizzly bears.

            In 2013, an easement with the Stimson Lumber Company was finalized that will protect almost
            110 km2 (42 Ni?) of private timber lands near Troy, Montana. MFWP holds this easement,
            which will maintain working forests, conserve fish and wildlife habitat, and maintain public
            recreation access while avoiding sale and subdivision of these lands. This easement compliments
            the purchase in 2011 of 0.32 km; (0. 12 m?) along the Kootenai River by Vital Ground to protect
            and promote habitat linkage across the Kootenai River between the Yaal<River and Cabinet
            Mountains portions of the CYE. In 2019 an additional Stimson Lumber Company easement on
            90.2 km; (34.8 Ni?) was completed near Libby. Easements have also been placed on 8.8 km;
            (3.5 Ni?) of additional lands either inside or on the periphery of the CYE grizzly bear recovery
            zone from 1995 to 2011. These easements protect grizzly bear and its habitat by limiting further
            subdivision and sale of these lands.

            The Nature Conservancy of Canada and the Transboundary Grizzly Bear Project have protected
            2.9 km2 (1.1 mi2) of private lands in three sites along Hwys. 3 and 3A. These acquisitions and
            easements occurred in linkage areas between Canadian grizzly bear populations and the CYE
            grizzly bear population. These acquisitions and easements will benefit the CYE by protecting
            important linkage habitat between the Purcell and Selkirk Mountain ranges in B.C. and
            immediately north of the Yaak portion of the CYE.

             Priva to /and de we/opment in the SE

            As discussed in Private Land Development in the CYE, there is an ongoing effort to reduce
            fragmentation that has occurred due to private land development in important linkage areas
            between the CYE and SE. The Nature Conservancy of Canada purchased 550 km; (213 mi2>
            of private land within the SE recovery zone in Canada in 2008. The location of these lands
            directly connects to an existing network of parks and wildlife management areas, creating a
            contiguous protected area of more than 1,012 km; (391 mi2), enough for wide-ranging animals
            like mountain caribou and grizzly bears to maintain connectivity with U.S. populations of
            these species. There is currently a team of managers and biologists writing a management
            plan for the area that includes considerations for grizzly bears. This private land purchase
            represents a significant improvement to grizzly bear habitat in the SE recovery zone. In 2013,
            the Nature Conservancy of Canada and the Transboundary Grizzly Bear Project protected 1.5
            km; (0.6 mi2) of lands linking the Purcell and Selldrk Mountain ranges at the south end of
            Kootenay Lake through a combination of acquisition and conservation covenants. These lands
            will be managed through a plan being developed by the Nature Conservancy of Canada.
            Between 2001 and 2018, Vital Ground has completed five land acquisitions in Bismark
            Meadows protecting nearly 4 km; (1.5 Ni?) that provides valuable, low-lying spring habitat.
            Overall, these conservation efforts are important first steps to ensuring habitat fragmentation
            does not become a larger threat to this population of grizzly bears.




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             Priva to Land Development in the BE

            In the GYE, more than 2,800 km2 (1,080 mi2> of privately owned land are protected by
            easements or owned by land trusts in potential connectivity areas between the GYE DMA
            and the BE. In the NCDE, more than 600 km; (230 m?) of privately owned land are
            protected by easements or owned by land trusts in potential connectivity areas in Zone l,
            leading to the BE from the north. In addition, more than 700 km; (270 mi2) of privately
            owned land are protected by easements or owned by land trusts in potential connectivity
            areas from the GYE and NCDE leading to the BE. To facilitate natural recolonization of the
            BE, strategies to minimize human-caused mortality will need to be applied in the intervening
            linkage areas, and may include access management.

             Priva to Land De we/opment in the North Cascades

            Approximately 10 percent (2,500 km; (965 mi2)) of the North Cascades recovery zone are
            private lands and mere than 320 km2 (123 m?) of these privately owned lands are protected by
            easements. In addition, more than 66 km; (25 m?) of privately owned land are protected by
            easements in potential connectivity areas between the North Cascades and the SE recovery zone.
            To facilitate natural recolonization of the North Cascades, strategies to minimize human-caused
            mortality will need to be applied in the intervening linkage areas, and may include access
             management.

            Summary of Ha bits t-Re/ated Effects

             As summarized above, the following stressors could reduce or fragment grizzly bear habitats:

                •   Motorized access management,
                .   Developed sites,
                .   Livestock allotments,
                •   Mineral and energy development,
                •   Recreation, and
                •   Vegetation management.

            We also discussed potential stressors of disturbance at den sites, habitat fragmentation, and land
            development, as they pertain to successful grizzly bear recovery and management.

            Within the GYE and NCDE recovery zones, the Service developed objective and measurable
            habitat-based recovery criteria to limit habitat degradation and human-caused mortality risk
            related to motorized access, developed sites, and livestock allotments (i.e., the 1998 and 201 l
            baselines, respectively). Habitat-based recovery criteria will be developed for each of the
            remaining ecosystems in the future. In the meantime, motorized access standards are in place for
            Federally managed lands within the CYE and SE, Federal lands within the North Cascades are
            managing for a "no net loss" policy, and the BE is 98 percent wilderness.

             Recreation in all of the ecosystems is limited through existing road and developed site standards.
             Additionally, I&E campaigns educate visitors about how to recreate safely in bear country and

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            avoid human-bear conflicts. There are no data available on the impacts of snowmobiling or
            other winter recreation on grizzly bears to suggest an effect on grizzly bear survival or recovery
            of the population. Although vegetation management may temporarily impact individual grizzly
            bears, these activities are coordinated on a BMU or subunit scale according to the Guidelines to
            mitigate for any potentially negative effect. As a result of vegetation management, there may
            also be positive effects on grizzly bears where key habitats are maintained or enhanced. Finally,
            there are no data to indicate that habitat fragmentation is occurring within any of the ecosystems,
            with the exception of U.S. Hwy. 2 in the CYE.

            In addition to the protections discussed by individual land management plans discussed above,
            Federal agencies evaluate proposed road construction, developed site, livestock allotment,
            vegetation, and mineral and energy development projects on Federal lands throughout areas
            where bears may occur through Section 7 consultation.

            Summary ofHa bits t-Re/ated Effects within the G)m5

            Within suitable habitat, different levels of management and protection are applied to areas based
            on importance to the population. Restrictions on motorized access, developed sites, and
            livestock allotments ensure that they will be maintained within the recovery zone at or below
            1998 levels, a time when the population was increasing at a rate of 4 to 7 percent per year
            (Schwartz et al. 2006b, p. 48). Additionally, secure habitat will be maintained at or above 1998
            levels within the recovery zone. The GYE NFs and NPs will continue their 15-year history of
            implementation through the legal implementation of the appropriate planning documents that
            incorporate the 1998 baseline values as habitat standards (USDA FS 2006b, p. 26). Together,
            these two Federal agencies manage 98 percent of lands within the recovery zone. The primary
            factors related to past habitat destruction and modification have been reduced through changes in
            management practices that have already been formally incorporated into regulatory documents .
            As it has done for the last decade, the IGBST will continue to monitor compliance with the 1998
            baseline values and will also continue to monitor grizzly bear body condition, fat levels, and diet
            composition. Accordingly, the recovery zone, which comprises 51 percent of the suitable habitat
            within the DMA boundaries and contains 80 percent of all females with cubs-of-the-year for all
            or part of the year (Haroldson 2019a, in list.), will remain a highly secure area for grizzly bears,
            with habitat conditions maintained at or above levels documented in 1998. Maintenance of the
            1998 baseline values inside the recovery zone will continue to adequately ameliorate negative
            impacts on grizzly bear habitat.

            Suitable habitat outside the recovery zone provides additional ecological resiliency and habitat
            redundancy to allow the population to respond to environmental changes. Together, the USFS
            and NPS manage nearly 80 percent of suitable habitat within the DMA outside of the recovery
            zone. Habitat protections specifically for grizzly bear conservation are not necessary here
            because other binding regulatory mechanisms are in place for 59 percent of suitable habitat
            outside the recovery zone. Specifically, in these areas, the Wilderness Act, the Roadless Areas
            Conservation Rule, and NF Land Management Plans limit development and motorized use.
            Management of individual projects on public land outside the recovery zone will continue to
            consider and minimize impacts on grizzly bear habitat. Continued efforts by NGOs and Tribal,



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            State, and county agencies will reduce human-bear conflicts on private lands (YES 2016a, pp.
            86-91).

            Other management practices en Federal lands have been changed to provide security and to
            maintain or improve habitat conditions for grizzly bears. All operating plans for oil and gas
            leases must conform to secure habitat and developed site standards, which require mitigation for
            any change in secure habitat.

            In summary, the stressors discussed under Habitat-Related Effects continue to occur across the
            current range of the GYE, but have been mitigated such that they likely impact only a small
            proportion of the population. Additionally, although population growth has slowed in the DMA,
            expansion of occupied range outside the DMA continues and habitat protections are in place to
            reduce the effects of this stressor and maintain resiliency of the GYE currently and into the
            future.

            Summary 0l'Habita t-Re/ated Effects within the NCDE

            Within the NCDE recovery zone, which includes the range with the highest density of females
            with cubs (Costello et al. 2016b, p. 22), habitat protections are in place specifically for grizzly
            bear conservation. Inside the recovery zone, restrictions on motorized access, developed sites,
            and livestock allotments ensure that they will be maintained at or improved upon baseline levels,
            with limited allowances for increases in developed recreation sites. Additionally, secure core
            habitat will be maintained at or above baseline levels. The primary factors related to past habitat
            destruction and modification have been reduced through changes in management practices that
            have already been incorporated into regulatory documents (in their entirety: CS&KT 2000,
            Dood 2006; Blackfeet Nation 2008; DNRC 20lOa, 20lOb; USDA FS 2018c, 2018d, 20l8e; BLM
            20l9b). The NCDE NFs and GNP will continue their history of implementing the appropriate
            planning documents that incorporate the baseline values as habitat standards (NCDE
            Subcommittee 2020, Chapter 3, Appendices 4 and 5, in their entirety: USDA FS 2018c, 2018d,
            and 20l8e). Together, these two Federal agencies manage 78 percent of lands within the
            recovery zone.

            Regulations have been put into place by the BLM, BIR, FIR, and DNRC to implement habitat
            protections on an additional 13 percent of lands in the recovery zone (in their entirety: BLM
            1986; CS&KT 2000; Blackfeet Nation 2008; DNRC 20lOa, 20lOb; BLM 20l9b). Accordingly,
            the recovery zone, which comprises 54 percent of the DMA, will remain a highly secure area for
            grizzly bears, with habitat conditions maintained at or improved upon the baseline. Maintenance
            of the baseline values inside the recovery zone by Federal land management agencies (i.e.,
            USFS, NPS, and BLM) and habitat protections on State and Tribal lands will continue to
            adequately ameliorate the multitude of stressors on grizzly bear habitat. As it has done for the
            last decade, the Monitoring Team will continue to monitor compliance with the baseline values
            and will also continue to monitor grizzly bear body condition, fat levels, and diet composition.

            Habitat in Zone 1 outside the recovery zone provides additional ecological resiliency and
            redundancy to allow the population to respond to environmental changes. Regulations have been
            put into place by the USFS, BLM, BIR, FIR, and DNRC to implement habitat protections on 47

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            percent of lands (or 100 percent of non-private lands) in Zone 1 (in their entirety: BLM 1986,
            CS&KT 2000, Blackfeet Nation 2008, DNRC 2010a, 2010b, NCDE Subcommittee 2020,
            Chapter 3, USDA FS 2018c, 2018d, and 2018e, BLM 2019a, 2019b). Management of individual
            projects on public land in Zone l will continue to consider and minimize impacts on grizzly bear
            habitat. NGOs and State and county agencies will seek to minimize human-bear conflicts on
            private lands (Servheen et al. 1981, pp. 2-3, 17-29, Dood 2006, pp. 32-38, Blackfeet Tribal
            Business Council 2013, pp. 6-10, NCDE Subcommittee 2020, Chapter 4). These and other
            conservation measures ensure that changes to habitat outside the recovery zone in Zone 1 will
            continue to be protected.

            Other management practices on Federal lands have been changed to provide security and to
            maintain or improve habitat conditions for grizzly bears. All operating plans for oil and gas
            leases within the recovery zone and Zone l must conform to secure core habitat and developed
            site standards, which require mitigation for any change in secure core habitat (USDA FS 2018d,
            pp. 1-11-1-14, 1-23-1-26, 1-35-1-38, 1-46-1-49, USDA FS 2018e, pp. 77-79).

            In summary, the stressors discussed under Habitat-Related Effects occur across the current range
            of the NCDE, but have been mitigated such that they only affect a small proportion of the
            population. Additionally, the population has increased and stabilized while its current range has
            expanded. The habitat protections that are in place are sufficient to maintain resiliency of the
            NCDE currently and into the future.

            Summary of habita t-re/a red effects in the CVE $5 85 and North Cascades

            Numerous improvements in habitat security for grizzly bears, such as motorized access
            standards, land acquisitions, and conservation easements in the CYE and SE have occurred since
            2011, and will remain in place. However, most BMUs in the CYE are not currently in
            compliance with the Forest Plan standards. Most BMUs on Federal lands in the SE are meeting
            their access management standards and a conservation agreement is in place in the LeClerc
            BMU, for which motorized access standards do not apply because of the high level of non-
            Federal lands. However, it would be desirable to have more information and management
            certainty about motorized access management in the State BMU and in the Canadian portion of
            the SE recovery zone. Additional improvements to habitat security is described in the USFS's
            2011 ROD and the USFS is currently working on an implementation schedule for the remaining
            BMUs to achieve all standards. In the North Cascades, 64 percent of the recovery zone is
            protected from motorized routes due to designation as Wilderness or IRA. However, access
            management standards have not been developed or implemented for BMUs in the recovery zone
            and without an inventory of OMRD and TMRD we are unable to assess the severity of these
            impacts. In the BE, 98 percent of the recovery zone is protected from motorized routes due to
            designation as Wilderness. Standards are needed to maintain resiliency of the CYE, SE, BE and
            North Cascades grizzly bear populations.

             Moria/ity-Re/a red Effects

            The stressors and conservation actions we describe below can also increase or decrease direct
            mortality of grizzly bears. In our monitoring and reporting, we categorize grizzly bear

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            mortalities into three categories: natural mortalities, mortalities with undetermined cause, and
            human-caused mortalities. Below, we evaluate mortality for 2002-2019, as it represents the
            most recent and best available information on the subject. See Appendix G for a detailed
            summary of mortalities by cause for each ecosystem prior to 2002.

             Human-Ca used Mortality

            Excessive human-caused mortality, including "indiscriminate illegal killing" and management
            removals, was the primary factor contributing to grizzly bear decline during the 19th and 20th
            centuries (Leopold 1967, p. 30, Koford 1969, p. 95, Servheen 1990, p. 1, Servheen 1999, pp. 50-
            52, Mattson and Merrill 2002, pp. 1129, 1132, Schwartz et al. 2003a, p. 571), eventually leading
            to their listing as a threatened species in 1975 (40 FR 31734, July 28, 1975). Grizzly bears were
            seen as a threat to livestock and human safety and, therefore, an impediment to westward
            expansion. Both the Federal Government and most early settlers were dedicated to eradicating
            large predators. Grizzly bears were shot, poisoned, trapped, and lolled wherever humans
            encountered them (Servheen 1999, p. 50). In the early 20th century, regulations recognizing
            bears (black and grizzly) as game animals, protecting females and their offspring, and setting
            harvest limits (either season or bag limit) were designed to stop future extirpations. In some
            areas, the protections came too late. By the time grizzly bears were listed under the Act in 1975,
            there were only a few hundred remaining in the lower-48 States in less than 2 percent of their
            former range (Service 1993, pp. 8-10).

            Negative human attitudes towards grizzly bears fueled historical grizzly bear declines (see
            Historical Range and Distribution above for further discussion) and continues to be an important
            factor in grizzly bear conservation and management. Human-caused mortalities continue to be
            the leading cause of grizzly bear mortalities rangewide. While there has been a positive shift in
            public perceptions and attitudes towards grizzly bears in the last several decades, human
            tolerance much more than habitat, genetics, or food resources, will determine where bears exist
            and at what density levels into the future.

            We differentiate types of human-caused mortalities into: (l) accidental killings, (2) management
            removals, (3) mistaken identity killing, (4) defense of life kills, and (5) illegal killings, or
            poaching (Figure 27, above). In addition, methods by Cherry et al. (2002, entire) are used to
            calculate a statistical estimate of the number of unknown/unreported human-caused mortalities
            (see Mortality Limits for further details). This section discusses current sources and impacts of
            human-caused mortalities on the grizzly bear populations, summarizes current and future
            preventative measures being taken to proactively reduce human-caused grizzly bear mortalities
            and improve public attitudes towards grizzly bears, and discusses how mortality thresholds
            prevent future detrimental effects of human-caused mortalities on grizzly bear populations.

            In the GYE DMA, from 1980 to 2001, 81 percent (147) of the 181 known and probable grizzly
            bear mortalities of independent-age bears and 43 percent (23) of the 53 known and probable
            mortalities of dependent young were human-caused (Haroldson 2020d, in lift). In the NCDE
            DMA, from 1975 to 2001, 95 percent (357) of the 375 known and probable grizzly bear
            mortalities of independent-age bears and 83 percent (68) of the 82 known and probable
            mortalities of dependent young were human-caused (MFWP, unpublished data). In the CYE,

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            from 1982 to 2001, 62 percent (13) of the 21 known and probable grizzly bear mortalities,
            including independent-age bears and dependent young, were human-caused (Kasworm et al.
            2020a, p. 33). In the SE, from 1982 to 2001, 75 percent (12) of the 16 known and probable
            grizzly bear mortalities, including independent-age bears and dependent young, were human-
            caused (Kasworm et al. 2020a, p. 23). The main types of human-caused mortality were human
            site conflicts, self-defense, mistaken identification kills, and illegal kills, all of which can be
            partially mitigated for through management actions (Servheen et al. 2004, p. 21). See Appendix
            G for a more detailed summary of human-caused mortality for each ecosystem prior to 2002.

            Below, we evaluate human-caused mortality fer 2002-2019, as it represents the most recent and
            best available information on the subject. Causes for mortalities include all age classes in the
            CYE and SE, while for the GYE and NCDE, mortalities for independent-age bears and
            dependent young are reported separately to reflect differences in mortality limits between the
            ecosystems (see Mortality Limits below for further discussion).

            Accidental killings encompass a broad range of mortality sources such as deaths from vehicle
            collisions, train strikes, unintentional poisoning, electrocution, drowning, and research trapping.

            Management removals are allowed under the Act through a section 4(d) rule (50 CFR l7.40(b)).
            These types of removals encompass grizzly bear mortalities resulting from conflicts at developed
            sites (e.g., bears attracted to anthropogenic food sources), livestock depredation, and other
            situations where human life or property is considered threatened by bear presence. While lethal
            to the individual grizzly bears involved, management removals can promote conservation grizzly
            bears by reducing illegal killing of bears, providing an opportunity to educate the public about
            avoiding conflicts, and promoting tolerance of grizzly bears by responding promptly and
            effectively when bears pose a threat to public safety or repeatedly depredate livestock. Without
            the support of the people that live, work, and recreate in grizzly bear country, grizzly bear
            conservation will not be successful.

            Mistaken identity killings are killings of grizzly bears by black bear hunters, although
            unintentional they are considered a form of illegal take. Black bear hunting ever bait is allowed
            in portions of grizzly bear range outside of the GYE, CYE, and SE in Idaho and Wyoming and
            has resulted in some mistaken identity mortality. Black bear hunting over bait is not allowed in
            Montana or Washington. Conversely, under current regulations, it is legal to kill grizzly bears if
            it is in self-defense or defense of others (50 CFR § 17.40), we call deaths from this source
            "defense of life lulls."

            We define poaching as intentional, illegal killing of grizzly bears. People may lull grizzly bears
            for several reasons, including a general perception that grizzly bears in the area may be
            dangerous, frustration over livestock depredations, or to protest land-use and road-use
            restrictions associated with grizzly bear habitat management (Servheen et al. 2004, p. 21).

             Human-Ca used A40/'ta/ity in the G)m5

             From 2002 to 2019, 83 percent (340) of the 412 known and probable grizzly bear mortalities for
             independent-age bears and 83 percent (95) of the 114 known and probable mortalities for

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            dependent young within the GYE DMA were human-caused (Table 13) (Haroldson 2020d, in
            liar. , van Manen 2020, in liar). Although the number of human-caused mortalities of independent
            female and male grizzly bears have increased gradually over this time period, human-caused
            mortality as a proportion of estimated population size (i.e., the rate of mortality) has remained
            relatively constant (Haroldson 2019d, in list). Overall, human-caused mortality rates have been
            low enough to allow the GYE grizzly bear population to increase in number and range (Schwartz
            et al. 2006a, pp. 64-66, Schwartz et al. 2006b, p. 48, Bjornlie et al. 2014a, p. 184).

            Table 13. Causes of grizzly bear mortalities in the GYE, 2002-2019. This table includes all known and probable mortalities for
            independent-age bears and dependent young, as displayed in parenthesis (), inside and outside the demographic monitoring area
            (DMA).




                                                         Inside DMA                 Outside DMA
              Cause of mortalities (all         Number of Avg./     Percen Number of Avg./     Percent
              sources)                          mortalities year    t total mortalities year   total
              Natural                           34 (13)         1.9 (0-7)      8(11)   1 (1)             0.1 (0.1)   1 (5)
              Undetermined                      38 (6)          2.1 (0.3)      9 (6)   2(1)              0.1 (0.1)   2 (5)
              Human-caused                      340 (95)        18.9 (5.3)     83 (83) 101 (18)          5.6 (1.0)   97 (90)
              Total mortalities                 412 (114)       22.9 (6-3)             104 (20)          5.8 (1-1)

              Human-caused mortalities*         Number of Avg./                Percen Number of          Avg./       Percent
                                                mortalities year               t of   mortalities        year        of
                                                                               hums                                  human-
                                                                               n-                                    caused
                                                                               caused
              Accidental
                 Automobile collision           32 (12)         1.8 (0-7)      9(13)      2 (0)          0.1 (0-0)   2 (0)
                 Capture related                8 (5)           0.4 (0.3)      2 (5)      0 (2)          0.0 (0.1)   0(11)
                  Drowning                      0 (0)           0.0 (0.0)      0 (0)      4 (0)          0.2 (0-0)   4 (0)
                  Poisoning                     1 (0)           0.1 (0.0)      <1 (0)     0 (0)          0.0 (00)    0 (0)
              Defense of life                   109 (52)        6.1 (2.9)      32 (55)    11 (3)         0.6 (0.2)   11 (17)
              Illegal **                        22 (4)          1.2 (0.2)      6 (4)      2 (0)          0.1 (0.0)   2 (0)
              Management removal
                Site conflicts/Human            71 (20)         3.9 (1-1)      21 (21)    39(5)          2.2(0.3)    39 (28)
              safety***
                 Injured or diseased bear       2 (1)           0.1 (0.1)      1 (1)  0 (3)              0.0 (0.2) 0 (17)
                 Livestock depredation          71 (1)          3.9 (0.1)      21 (1) 37 (5)             2.1 (0.3) 37 (28)
              Mistaken identification**** _ 24 (0)            _ 1.3 (0.0)    _ 7 (0) _ 6 (0)       _ 0.3 (0.0) 6 (0)
            * Orphaned dependent offspring were classified according to cause of death of their mother.
            ** Illegal includes poaching, malicious, and defense of property lulls.
            *** Site conflicts/human safety include anthropogenic food and property damage related management removals in
            the front- and backcountry.
            **** Mistaken identification includes grizzly bear kills over bait. Four instances of bears lolled over bait are
            included.




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             Human-Ca used A40/'ta/ity in the NCDE

            From 2002 to 2019, 87 percent (255) of the 292 known and probable grizzly bear mortalities for
            independent-age bears and 89 percent (117) of the 132 of known and probable grizzly bear
            mortalities for dependent young within the NCDE DMA were human-caused (Table 14)
            (MFWP, unpublished data). In addition to the categories of human-caused mortalities discussed
            above, legal hunting of grizzly bears (i.e., recreational purposes) was allowed in the NCDE from
            1975 until 1991, under a special rule authorizing take in the 1975 listing (40 FR 331734, July 28,
            1975). While human-caused mortalities of grizzly bears have increased gradually each year, the
            level of these mortalities as a proportion of the estimated population size (i.e., mortality rate) has
            remained relatively constant (MFWP, unpublished data). Overall, human-caused mortality rates
            have been low enough to allow the NCDE population to increase in number and range (Costello
            2019, in lire., MFWP, unpublished data).

             Table 14. Causes of grizzly bear mortalities in the NCDE, 2002-2019. This table includes all known and probable mortalities
            for independent-age bears and dependent young, as displayed in parenthesis (), inside and outside ine demographic monitoring
             area (DMA).




                                                                   Inside DMA                                Outside DMA
              Cause of mortalities (all sources)     Number of       Avg./      Percent           Number of Avg./        Percent
                                                     mortalities     year       total             mortalities year       total
              Natural                                10 (10)         0.6 (0.6)  3 (8)             0 (0)           0.0 (0.0)     0 (0)
              Undetermined                           27 (5)          1.5 (0.3)  9 (4)             1 (0)           <0.1 (0-0)    <1 (0)
              Human-caused                           255 (117)       14.2 (6.5) 87 (89)           32 (17)         1.8 (0.9)     97 (100)
              Total mortalities                      292 (132)       16.2 (7-3)                   33 (17)         1.8 (0-9)

              Human-caused mortalities*              Number of       Avg./         Percent        Number of       Avg./         Percent
                                                     mortalities     year          of             mortalities     year          of
                                                                                   human-                                       human-
                                                                                   caused                                       caused
              Accidental
                  Automobile collision               28 (34)         1.6 (1-9)     11 (29)        2 (2)           0.1 (0-1)     6 (12)
                  Capture related                    7 (5)           0.4 (0.3)     3 (4)          1 (0)           <0.1 (0.0)    3 (0)
                  Drowning                           0 (0)           0.0 (0-0)     0 (0)          1 (0)           <0.1 (0.0)    3 (0)
                  Poisoning                          0 (0)           0.0 (0.0)     0 (0)          0 (2)           0.0 (0.1)     0 (12)
                  Train collision                    18(17)          1.0 (0-9)     7(15)          2( 1)           0.1 (<0.1)    6 (6)
              Defense of life                        35 (10)         1.9 (0-6)     14 (9)         5 (6)           0.3 (0.3)     16 (35)
              Illegal *                              54(13)          3.0 (0-7)     21 (11)        10 (2)          0.6 (0-1)     31 (12)
              Management removal
                  Augmentation**                     15 (0)          0.8 (0.0)      6 (0-0)       0 (0)           0.0 (0-0)     0 (0)
                  Site conflictsH{uman               39 (22)         2.2 (1.2)      15 (19)       1 (3)           <0.1 (0.2)    3 (18)
              safety***
                 Injured or diseased bear         6 (1)          0.3 (<0.1) 2 (<1)         1 (0)                  <0.1 (0-0)    3 (0)
                 Livestock depredation             36 (13)       2.0 (0.7)     14 (11)     8 (1)                  0.4 (<0.1)    25 (6)
             Mistaken identification              15 (2)         0.8 (0.1) .. 6 (2)        0 (0)                  0.0 (0-0)     0 (0)
             Unknown                             _ 2 (0)       _ 0.1 (0.0) _ <1 (0)      _ 1 (0)                  <0.1 (00)     3 (0)
            * Orphaned dependent offspring were classified according to cause of death of their mother.
            ** Illegal includes poaching, malicious, and defense of property lulls.


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            *** When bears are relocated from the NCDE to augment the CYE population, they are counted as mortalities in the
            NCDE.
            **** Site conflicts include both anthropogenic food and property damage related management removals. Human
            safety includes incidents in both the front and backcountry.

             Human-Caused A40/'ta/ity in the CVE $5 85 and North Cascades

            From 2002 to 2019, 76 percent (29) of the 38 known and probable grizzly bear mortalities in the
            CYE were human-caused (Table 15) (Kasworm et al. 2020a, pp. 33). We recognize that some
            grizzly bears in the CYE and SE have home ranges that overlap the international border,
            however, it is most appropriate to discuss human-caused mortality for the U.S. portion of the SE
            because that is the area encompassed by the listed entity, the lower-48 States. From 2002 to
            2019, 80 percent (12) of the 15 known and probable grizzly bear mortalities in the U.S. portion
            of the SE recovery zone were human-caused (Table 15) (Kasworm et al. 2020b, p. 23). There
            have been no known, human-caused mortalities in the North Cascades since 1967, however the
            last verified sighting in the North Cascades occurred in 1996. In the BE recovery zone, the last
            known, human-caused mortality occurred in 1932 and there has only been one verified sighting
            in the recovery zone since the 1940s, a collared bear from the CYE that spent several weeks in
            the northern part of the recovery zone in 2019. There have been 2 known human-caused
            mortalities inside the lower-48 States outside of these areas.

            Table 15. Causes of known and probable grizzly bear mortalities frorn 2002 zo 2019 in the CYE and the U.S. portion of the SE.
            Mortalities in the CYE and SE include independent-age bears and dependent young, and apply within the recovery zone plus a
            I0-mile bujcer, excluding Canada.




                                                                          CYE                                        SE
                                                         Number of        Avg./      Percent       Number of       Avg./       Percent
             Cause of mortalities (all sources)
                                                         mortalities      year        total        mortalities     year         total
             Natural                                         8             0.4         21                4           0.2          24
             Unknown/undetermined                              1          <0. 1         3                0           0.0          0
             Human-caused                                     29           1.6         76               13           0.7          77
             Total mortalities                                38           2.1                          17           0.9

                                                                                    Percent of                                Percent of
                                                         Number of        Avg./                    Number of       Avg./
              Human-caused mortalities*                                              human-                                    human-
                                                         mortalities      year                     mortalities     year
                                                                                     caused                                    caused
             Accidental                                     2        0.1          7              1                  <0.1           8
             Defense of life                                6        0.3         21              0                  0.0           0
             Illegal poaching                               5        0.3         17              0                  0.0           0
             Management removal                             1       <0.1          3              3                  0.2           23
             Mistaken identification                        3        0.2         10              4                  0.2           31
             Unknown**                               _     12     _ 0.7 _        41       _      5                  0.3           39
            * Orphaned dependent offspring were classified accordiong to cause of death of their mother.
            ** Includes mortalities that are under investigation.




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            Sources and Impacts ofHuma /7-Ca used Mortality

            No grizzly bears have been removed from the lower-48 States since 1975 for commercial,
            scientific, or educational purposes. Outside of the limited time period in which hunting was
            allowed in the NCDE, no grizzly bears have been removed from the rest of the lower-48 States
            since 1975 for recreational purposes. Hunting of grizzly bears in the lower-48 States is not
            currently allowed. The remaining sources of human-caused mortalities can be broken down into
            five main categories:

                   Management removals,
                   Accidental killings,
                   Mistaken identity killings,
                   Illegal killings, and
                   Defense of life ldllings.

            We summarize each of these below.

             Management Removals:

            Management removals encompass grizzly bear mortalities resulting from conflicts at developed
            sites (e.g. bears attracted to anthropogenic food sources), livestock depredation, and other
            situations where human life or property is considered threatened by bear presence. The majority
            of management removals result from attractant-related conflicts at sites associated with frequent
            or permanent human presence (i.e., developed sites) and livestock depredations. Management
            removals are allowed under the Act through a section 4(d) rule (50 CFR l7.40(b)). Management
            removals are conducted by trained Federal, State, and Tribal bear managers. Current regulations
            allow management removals of bears constituting a demonstrable but non-immediate threat to
            human safety, bears constituting an immediate threat to human safety, or bears committing
            significant depredations to lawfully present livestock, crops, or beehives under certain
            circumstances (50 CFR l7.40(b)(l)(i)(C)). These types of removals encompass grizzly bear
            mortalities resulting from conflicts at developed sites (e.g., bears attracted to anthropogenic food
            sources), livestock depredation, and other situations where human life or property is considered
            threatened by bear presence. Management removals in which bears were placed in zoos or
            research facilities are counted as mortalities.

            In the GYE, between 2002 and 2019, management removals resulted in 144 mortalities of
            independent-age bears and 22 mortalities of dependent young, accounting fer 42 percent and 23
            percent, respectively, of human-caused mortalities within the DMA (Haroldson 2020d, in liar. ,
            van Manen 2020, in list). In the NCDE, management removals resulted in 96 mortalities of
            independent-age bears and 36 mortalities of dependent young within the DMA, accounting for
            38 percent and 31 percent of all human-caused mortalities, respectively (MFWP, unpublished
            data). Management removals resulted in l mortality in the CYE and 3 mortalities in the SE,
            accounting for 3 percent and 23 percent, respectively, of all human-caused mortalities (Kasworm
            et al. 2020a, p. 33, Kasworm et al. 2020b, p. 23). Below we discuss two types of management
            removals in further detail, site conflicts and livestock depredation.


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            Site Conflicts

            Management removals at site conflicts usually involve unsecured attractants, including garbage,
            human foods, chickens, pet/livestock foods, bird food, livestock carcasses, wildlife carcasses,
            barbeque grills, compost piles, orchard fruits, or vegetable gardens. These conflicts often
            involve food-conditioned bears actively seeking out unsecured attractants or bears that were
            habituated to human presence seeking natural sources of food in areas near human structures or
            roads. While these mortalities are clearly related to unsecured, human-attractants, they are also
            related to human attitudes, knowledge, and tolerance toward grizzly bears. Many of these
            mortalities can be prevented through changes in human perceptions and actions including
            limiting bear access to human-related food sources and increasing human-understanding and
            tolerance towards grizzly bears (see Preventative Measures below for further discussion). These
            factors are common targets of the 2016 GYE Conservation Strategy and Federal, State, and
            Tribal I&E Programs (discussed in detail below in I&E Programs). In the GYE, conflicts at
            front- or back-country sites (on either public or private lands) were responsible for 49 percent
            (71 of 144) of management removals and 21 percent (71 of 340) of all human-caused mortality
            of independent-age bears within the DMA between 2002 and 2019 (van Manen 2020, in lift). In
            addition, they were responsible for 91 percent (21 of 23) of management removals and 21
            percent (21 of 95) of all human-caused mortalities of dependent young (Haroldson 2020d, in
            Zia).

            In the NCDE, the majority of management removals result from attractant-related conflicts at
            sites associated with frequent or permanent human presence, either in the front- or back-country .
            Conflicts at developed sites (on both public and private lands) were responsible for 41 percent
            (39 of 96) of management removals and 15 percent (39 of 255) of all human-caused mortalities
            of independent-age bears within the DMA conducted between 2002 and 2019 (MFWP,
            unpublished data). In addition, they were responsible for 61 percent (22 of 36) of management
            removals and 19 percent (22 of 36) of all human-caused mortalities of dependent young (MFWP,
             unpublished data) .

            In the CYE site conflicts accounted for the single management removals (Kasworm et al. 2020a,
            p. 33). In the SE, site conflicts accounted 2 of 3 of management removals (Kasworm et al.
            2020a,p.23)

             Livestock Depredation

            In the GYE, management removals due to grizzly bear conflicts with livestock accounted fer 49
            percent (71 of 144) of management removals and 21 percent (71 of 340) of all human-caused
            mortalities of independent-age bears in the DMA between 2002 and 2019 (van Manen 2020, in
            lift). In addition, they were responsible for less than one percent (1 of 23) of all management
            removals and less than one percent (1 of 95) of all known and human-caused mortalities of
            dependent bears (Haroldson 2020d, in lift). Only 2 of these 71 mortalities of independent-age
            bears occurred inside the recovery zone where multiple measures to reduce livestock conflicts
            are in place (van Manen 2020, in lift). The USFS phases out sheep allotments within the DMA
            as opportunities arise to resolve conflicts (see discussion in Livestock Allotments in Habitat
            Destruction and Modification, above). Additionally, the alternative chosen by the USFS during

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            its NEPA process to amend the five NF plans for grizzly bear habitat conservation inside the
            recovery zone includes direction to resolve recurring conflicts on livestock allotments through
            retirement of those allotments with willing permittees (USDA FS 2006b, pp. 16-17, YES 2016a,
            pp. 67-68). Livestock grazing permits throughout occupied grizzly bear habitat inside the GYE
            include special provisions regarding reporting of conflicts, proper food and attractant storage
            procedures, and carcass removal to reduce the potential for depredations. The USFS monitors
            compliance with these special provisions associated with livestock allotments annually
            (Servheen et al. 2004, p. 28). Moreover, all three State management plans contain direction on
            reducing grizzly bear-livestock conflicts and cooperating with private landowners to reach this
            goal (Idaho's Yellowstone Grizzly Bear Delisting Advisory Team 2002, pp. 15-16, MFWP
            2013, pp. 51-53, WGFD 2016, pp. 22-23). The 2016 GYE Conservation Strategy also
            recognizes that removal of individual conflict bears is sometimes required, as a few individual
            bears often are responsible for multiple livestock depredations (Jonkel 1980, p. 12, Knight and
            Judd 1983, p. 188, Anderson et al. 2002, pp. 252-253).

            In the NCDE, management removals due to grizzly bear conflicts with livestock (on both public
            and private land) accounted for nearly 38 percent (36 of 196) of all management removals and 14
            percent (36 of 255) of all known and probably mortalities of independent-age bears within the
            DMA between 2002 and 2019 (MFWP, unpublished data). In addition, they were responsible
            for nearly 36 percent (13 of 36) of all management removals and 11 percent (13 of 117) of all
            known and probable mortalities of dependent bears (MFWP, unpublished data). None of these
            mortalities occurred inside the recovery zone within NF lands where several measures to reduce
            livestock conflicts are in place. The USFS phases out sheep allotments within the recovery zone
            as opportunities arise and only one active sheep allotment remains inside the recovery zone
            (USDA FS 2018b, p. 64). The USFS also has closed sheep allotments outside the recovery zone
            and there are only two active sheep allotments in Zone 1 (USDA FS 2018b, p. 64). Livestock
            grazing permits on Federal lands include special provisions regarding reporting of conflicts,
            proper food storage and attractant storage procedures, and carcass removal to reduce the
            potential for depredation (USDA FS 2018d, pp. 1-10, 1-22, 1-34, 1-45, USDA FS 2018e, pp. 80-
            81,). We expect the USFS will continue to implement these measures that reduce grizzly bear
            conflicts with livestock and limit allotments to baseline levels (see Habitat Destruction and
            Modification for further discussion, USDA FS 2018d, pp. 1-10, 1-22, 1-34, 1-45, USDA FS
            2018e, pp. 80-81). The NCDE Conservation Strategy also recognizes that removal of individual
            conflict bears is sometimes required, as many livestock depredations involve a few individual
            bears (Jonkel 1980, p. 12, Knight and Judd 1983, p. 188, Anderson et al. 2002, pp. 252-253,
            NCDE Subcommittee 2020, Chapter 4) .

            In the SE, management removals due to grizzly bear conflicts with livestock accounted fer 33
            percent (1 of 3) of all management removals (Kasworm et al. 2020b, p. 23). Conflicts with
            livestock were not a factor in the single management removal in the CYE (Kasworm et al.
            2020a,p.33)

             Strategy for Management Removals

            The Interagency Grizzly Bear Guidelines (Guidelines) guide decisions about management
            removals of conflict bears and keep this source of human-caused mortality within the mortality

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            limits (USDA FS l986c, pp. 53-54), emphasizing the individual's importance to the entire
            population. Females will continue to receive a higher level of protection than males. Location,
            cause of incident, severity of incident, history of the bear, health, age, and sex of the bear, and
            demographic characteristics are all considered in any relocation or removal action. State, Tribal,
            and NPS bear managers coordinate and consult with each other and relevant Federal agencies
            (i.e., Service, USFS, BLM) about conflict bear relocation and removal decisions (50 CFR 17.40) .
            The Guidelines, the 2016 GYE Conservation Strategy, and the NCDE Conservation Strategy
            emphasize removal of the cause of the conflict when possible, or management and education
            action to limit such conflicts. In addition, the I&E team coordinates the development,
            implementation, and dissemination of programs and materials to aid in preventative management
            of human-bear conflicts. Federal, State, and Tribal partners recognize that successful
            management of human-grizzly bear conflicts requires an integrated, multi-agency approach to
            continue to keep human-caused grizzly bear mortality within sustainable levels.

            Overall, we consider agency management removals a necessary component of grizzly bear
            conservation. Conflict bears can become a threat to human safety and erode public support if
            they are not addressed. However, we recognize the importance of managing these sanctioned
            removals within sustainable levels, and Federal, Tribal, and State management agencies are
            committed to working with citizens, landowners, and visitors to address unsecured attractants to
            reduce the need for grizzly bear removals. Mortality limits (see discussion on Mortality Limits
            below) currently in place ensure that overall mortality, including management removals, remains
            within sustainable limits.

             Accidental Killings

            Humans kill grizzly bears unintentionally in a number of ways, including: vehicle collisions,
            train collisions, unintentional poisoning, drowning, electrocution, and mortalities associated with
            research trapping. Accidental killings as a result of unintentional poisoning, electrocution, and
            drowning in irrigation canals are extremely low, as evidenced in the discussion below.

             Accidental Killings in the GYE

             From 2002 to 2019, there were 41 reported accidental mortalities of independent-age bears and
             17 reported accidental mortalities of dependent young inside the DMA (totaling 12 percent and
             18 percent, respectively, of human-caused mortality for this time period) (Haroldson 2020d, in
             jin., van Manen 2020, in lift).

            Automobile collisions accounted for 9 percent (32 of 340) of human-caused mortality of
            independent-age bears and 13 percent (17 of 95) of human-caused mortality of dependent young
            from 2002 to 2019 (Haroldson 2020d, in liar., van Manen 2020, in list.). Measures to reduce
            vehicle collisions with grizzly bears include removing roadkill carcasses from the road so that
            grizzly bears are not attracted to the roadside (Servheen et al. 2004, p. 28). Cost-effective
            mitigation efforts to facilitate safe crossings by wildlife will be voluntarily incorporated in
            highway construction or reconstruction projects on Federal lands within suitable grizzly bear
            habitat (YES 2016a, pp. 82-83).


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            For the first time since 1982, there were grizzly bear mortalities of independent-age bears
            possibly associated with scientific research capture and handling in 2006. That year, four
            different bears died within 4 days of being captured, most likely from clostridium infections, but
            the degraded nature of the carcasses made the exact cause of death impossible to determine. In
            2008, two more grizzly bear mortalities suspected of being related to research capture and
            handling occurred. A necropsy confirmed the cause of death for one of these bears as a
            clostridium infection at the anesthesia injection site. Once the cause of death was confirmed, the
            IGBST changed its handling protocol to include antibiotics for each capture (Haroldson and Frey
            2009, p. 21). There has not been a research-related capture mortality from clostridium infection
            since. In 2013, a snared subadult female grizzly bear was killed by a large, probably male bear
            (Haroldson and Frey 2013, p. 27). In 2019, a subadult male died from exertional myopathy in a
            culvert trap before it was drugged (Haroldson 2020a, in list.). In addition, there were 5 capture
            related mortalities of dependent young within the DMA from 2002 to 2019 (Haroldson 2020d, in
            list.). These mortalities were the result of: non-target trapping, drugging related handling, injury
            from a trap, and the killing of a cub by another bear while its mother was captured (Haroldson
            2020e, in list.). IGBST's rigorous protocols and adaptive approach dictating proper bear capture,
            handling, and drugging techniques have effectively reduced the risk of mortality due to captures.

             Accidental poisonings accounted for less than 1 percent (1 of 340) of human-caused mortality of
             independent-age from 2002 to 2019 (van Manen 2020, in lift). This accidental poisoning was
             the unintended result of a grizzly bear consuming rat poison and Coleman fuel when it raided a
             backcountry camp (Haroldson 2019c, in lift).

            Accidental killings of grizzly bears in the GYE comprise a small portion of total mortalities, and
            are factored into total mortality limits (described in detail in Mortality Limits below), which limit
            their impact on population resiliency .

             Accidental Killings in the NCDE

            From 2002 to 2019, 53 reported accidental mortalities accounted for 21 percent of known and
            probable human-caused mortalities of independent-age bears and 56 mortalities accounted for 48
            percent of known and probable human-caused mortalities of dependent young in the DMA
            (MFWP, unpublished data). Since 2002, there have been 7 capture related mortalities of
            independent bears and 5 capture related mortalities of dependent bears (totaling 3 percent and 4
            percent of human-caused mortality, respectively) (MFWP, unpublished data). However, from
            2004 to 2019, only around 1 percent of captures resulted in mortality, more than half of these
            mortalities occurred in situations where bear managers were responding to conflict situations,
            when and where conditions for capture are sometimes problematic (MFWP, unpublished data).
            For example, when trapping at a livestock carcass for a livestock killing bear, multiple bears,
            including family groups, are frequently attracted to the trap site and this may increase chances of
            intraspecific mortality. This type of accidental mortality is rare because of the rigorous protocols
            and adaptive approach dictating proper bear capture, handling, and drugging techniques.

            Automobile and train collisions accounted for 11 percent (28 of 255) and 7 percent (18 of 255),
            respectively, of human-caused mortality of independent-age bears from 2002 to 2019 (MFWP,
            unpublished data). In addition, automobile and train collisions accounted for 29 percent (34 of

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            117) and 15 percent (17 of 117), respectively, of human-caused mortalities of dependent bears
            (MFWP, unpublished data). These mortality sources have increased significantly since 2000,
            likely due to the growth and expansion of grizzly bear populations and increasing vehicle traffic.
            Measures to reduce vehicle and train collisions with grizzly bears include removing roadkill
            carcasses from the road and spilled grain and carcasses from railways so that grizzly bears are
            not attracted to the roadside/railway (Servheen et al. 2004, p. 28, Service 2004, entire,
            Mundinger et al. 2020, p. 3). Wildlife crossing structures, with guide fencing, can also be very
            effective at reducing highway collisions, however, they require significant resources and long-
            term planning. All of these measures are being implemented to varying degrees in different parts
            of the NCDE (Mundinger et al. 2020, pp. 5-7, NCDE Subcommittee 2020). In the early-2000s
            to mid-2010s, implementation measures were successful in reducing grizzly bear mortalities
            caused by train collisions (Mundinger et al. 2020, pp. 19-20). However, recent mortalities
            suggest that there is room for improvement in implementing preventative measures, such as
            prompt carcass pickup and fence maintenance, to reduce train collisions (MFWP, unpublished
            data). In addition, the signatories to the NCDE Conservation Strategy have been cooperating for
            many years to improve protections for wildlife traversing highways and this is expected to
            continue (Dood 2006, p. 43, NCDE Subcommittee 2020, Chapter 3, USDA FS 2018c, p. 33,
            USDA FS 2018d, p. 2). Montana Department of Transportation and MFWP recently signed an
            MOA to institutionalize cooperation and collaboration on wildlife and transportation issues (MT
            Department of Transportation and MFWP 2020). Also, the two agencies co-convened the
            Montana Wildlife and Transportation Summit to strengthen working relationships between
            stakeholders, share information, and develop strategies to plan and implement wildlife
            accommodations, reduce animal-vehicle collisions, and protect wildlife and their movement
            across state highways.

            Accidental killings of grizzly bears in the NCDE comprise a small portion of total mortalities,
            and are factored into total mortality limits (described in detail in Mortality Limits below), which
            limit their impact on population resiliency .

             Accidental Killings in the CYE and SE

            From 2002 to 2019, 7 percent (2 of 29) of all human-caused mortalities in the CYE and 8 percent
            (1 of 12) of all human-caused grizzly bear mortalities in the SE were accidental (Kasworm et al.
            2020a, p. 33, Kasworm et al. 2020b, p. 23). In the CYE, both of these accidental mortalities, all
            females, were the result of collisions with trains. In the SE, the single accidental mortality was
            due to a train collision.

            Measures to reduce vehicle and train collisions with grizzly bears include: removing roadkill
            carcasses from the road, removing spilled grain and carcasses from railways so that grizzly bears
            are net attracted to the roadside/railway, and constructing crossing structures with fencing over
            roads or railways (Servheen et al. 2004, p. 28, Service 2004, p. entire). Although these measures
            can be successful in reducing the percentage of human-caused mortalities caused by train
            collisions, there are currently no HCPs in the CYE or SE mandating adoption of such measures.
            There are three rail lines that pass through or alongside the CYE and SE operated by BNSF,
            Montana Rail Link, and Union Pacific Railroad. Without mitigation plans in place, there is



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            potential for the frequency of vehicle and train collisions to increase as the population recovers,
            such that train mortalities to influence the resiliency of the CYE and SE.

             Mistaken Identity Killings:

            Mistaken identity killings are both accidental and illegal. Mistaken identification is prosecuted
            as illegal take, with any grizzly bear mortality fully investigated to determine cause. This will
            likely always be a source of mortality due to the similarity of appearance between black bears
            and grizzly bears. However, preventative actions, such as I&E programs targeted at hunters to
            emphasize patience, awareness, and correct identification of targets can reduce this type of
            mortality. Black bear hunting over bait is allowed in portions of Idaho and Wyoming outside of
            occupied grizzly bear range in the GYE, CYE, and SE and has resulted in some mistaken identity
            mortality. Black bear hunting over bait is not allowed in Montana or Washington.

             Mistaken Identity Killings in the GYE

            Twenty-four mortalities (7 percent of human-caused mortality) of independent-age bears were
            associated with mistaken identification of grizzly bears by black bear hunters within the DMA
            from 2002-2019 (van Manen 2020, in list.). Four of these mistaken identity mortalities occurred
            over bait in Wyoming. The 2016 GYE Conservation Strategy identifies I&E programs targeted
            at hunters that emphasize patience, awareness, and correct identification of targets to help reduce
            grizzly bear mortalities by inexperienced black bear and ungulate hunters (YES 2016a, pp. 92-
            95). Beginning in license year 2002, the State of Montana required that all black bear hunters
            pass a Bear Identification Test before receiving a black bear license (see
            http:/[fWp.mt.gov/education/hunter/bearID/ for more information and details). Idaho and
            Wyoming provide a voluntary bear identification test online (IDFG 201 l, WGFD 2016, p. 16).
            In addition, all three States include grizzly bear encounter management as a core subject in basic
            hunter education courses. Although we have no information on the effectiveness of these
            programs, we assume they have some positive impact on reducing the threat of mortality due to
            mistaken identification. Mistaken identity killings are factored into total mortality limits
            (described in detail in Mortality Limits below), and I&E programs aimed at preventing mistaken
            identification killings limit potential risks to the GYE grizzly bear population from this stressor.

             Mistaken Identity Killings in the NCDE

            Mistaken identification of grizzly bears by black bear hunters accounted for 6 percent (15 of
            255) of human-caused grizzly bear mortalities of independent-age bears and percent less than l
            percent (2 of ll7) of human-caused grizzly bear mortalities of dependent young in the DMA
            from 2002 to 2019. Beginning in license year 2002, the State of Montana required that all black
            bear hunters pass a Bear Identification Test before receiving a black bear license (see
            http:/[fwp.mt.gov/education/hunter/bearID/ ). In addition, the NCDE Conservation Strategy
            identifies I&E programs targeted at hunters that emphasize patience, awareness, and correct
            identification of targets to help reduce grizzly bear mortalities from inexperienced black bear and
            ungulate hunters (Dood et al. 2006, p. 54, NCDE Subcommittee 2020, Chapters l and 4). As in
            the GYE, mistaken identity ldllings are factored into total mortality limits (described in detail in


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            Mortality Limits below), and I&E programs aimed at preventing mistaken identification killings
            limit potential risks to the population.

             Mistaken Identity Killings in the CYE, SE, BE, and North Cascades

            From 2002 to 2019, mistaken identification of grizzly bears by black bear hunters accounted for
            10 percent (3 of 29) of human-caused mortalities in the CYE and 33 percent (4 of 12) of human-
            caused grizzly bear mortalities in the SE (Kasworm et al. 2020a, p. 33, Kasworm et al. 2020b, p.
            23). In addition, there was one mistaken identification killing of a grizzly bear over bait inside
            the BE, which originated from the SE and occurred outside but in close proximity to the recovery
            zone. Two other instances of mistaken identity killing of a grizzly bear occurred in the area
            between the CYE and BE, one of which occurred over bait. Both Idaho and Washington
            launched educational campaigns in 2011 to reduce mistaken identity by black bear hunters by
            teaching them how to correctly identify the two bear species. Idaho also offers a voluntary
            online bear identification test (https://idfg.idaho.gov/hunt/beaninfo/overview). Beginning in
            2019, Washington State required black bear hunters hunting in grizzly bear recovery areas to
            take the bear identification test on the WDFW website or an equivalent test from another state
            (WDFW 2019, p. 70). Reducing this source of human-caused mortality is especially desirable in
            the CYE and SE due to the small population size, in the BE and North Cascades where there are
            currently no known populations, and in potential connectivity areas between the ecosystems.

             Illegal Killings

            We define poaching as intentional, illegal killing of grizzly bears. People may lull grizzly bears
            for several reasons, including a general perception that grizzly bears in the area may be
            dangerous, frustration over livestock depredations, or to protest land-use and road-use
            restrictions associated with grizzly bear habitat management (Servheen et al. 2004, p. 21).
            Regardless of the reason, poaching continues to occur.

            State and Federal law enforcement agents have cooperated to ensure consistent enforcement of
            laws protecting grizzly bears. Currently, State and Federal prosecutors and enforcement
            personnel from each State and Federal jurisdiction work together to make recommendations to
            all jurisdictions, counties, and States on uniform enforcement, prosecution, and sentencing
            relating to illegal grizzly bear kills. This cooperation means illegal grizzly bear mortalities are
            often prosecuted under State statutes instead of the Act. The U.S. Department of Justice's
            "McKittrick Policy" requires proof of intent, that the individual knowingly killed a listed species
            under the Act, for Federal prosecution. However, intent is not necessary for prosecution under
            State law. During an investigation, the investigative officers usually meet with both local and
            Federal attorneys to decide if prosecution will be more successful under State or Federal
            jurisdiction. In most instances where the U.S. Attorney has declined prosecution conflicts, the
            States have taken over those prosecutions through State courts. There have been successful
            prosecutions under both Federal and State laws. There is a long record of this enforcement
            approach being effective, and no reason to doubt its effectiveness.

            Illegal killings are factored into mortality limits for each ecosystem, and I&E campaigns
            (described in detail in Preventative Measures) are used to reduce the potential threat of poaching.

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            These programs address illegal killing by working to change human perceptions and beliefs
            about grizzly bears, and lack of tolerance to some restrictions on use of Federal lands designed
            for grizzly bear protection (Servheen et al. 2004, p. 27).

             Illegal killings in the GYE

            We are aware of at least 22 illegal killings of independent-age bears and 4 illegal killings of
            dependent young in the GYE DMA between 2002 and 2019 (Haroldson 2020d, in lift. , van
            Manen 2020, in lift). This constituted 6 percent of human-caused mortalities of independent-age
            bears and 4 percent of human-caused mortalities of dependent young from 2002 to 2019. These
            illegal killings occurred during a period when poaching was subject to Federal prosecution.
            Independent of the Act, all three affected States and the Eastern Shoshone and Northern Arapaho
            Tribes of the WRR have enacted regulatory mechanisms that require State or Tribal
            authorization for grizzly bear take, with illegal poaching remaining prosecutable under State and
            Tribal laws because grizzly bears are designated as a game animal (W.S. 23-1-101(a)(xii)(A),
            W.S. 23-3-102(a), MCA 87-2-101<4>, MCA 87-1-301, MCA 87-1-304, MCA 87-5-302, IC 36-
            2-1, IDAPA 13.01.06.100.01(e), IC 36-1101(a), Idaho's Yellowstone Grizzly Bear Delisting
            Advisory Team 2002, pp. 18-21, MFWP 2013, p. 6, Eastern Shoshone and Northern Arapahoe
            Tribes 2009, p. 9, WGFD 2016, p. 9, YES 2016a, pp. 104-116). In addition, in Montana, a
            grizzly bear may be killed if it is caught in the act of attacking or killing livestock (-6-106 MCA)
            and in Idaho, a grizzly bear may be killed if it is "molesting or attacking livestock or domestic
            animals" (Senate Bill 1027: Section 7: 36-1107(d)). Although it is widely recognized that
            poaching still occurs, illegal killings of grizzly bears in the GYE comprise a small portion of
            total mortalities, and are factored into total mortality limits (described in detail in Mortality
            Limits below), which limit their impact on population resiliency .

             Illegal killings in the NCDE

            From 2002 to 2019, at least 54 illegal killings of independent-age bears and 13 illegal killings of
            dependent bears occurred within the NCDE DMA, constituting 21 percent and II percent of
            human-caused mortalities, respectively (MFWP, unpublished data). Independent of the Act, the
            State of Montana and the Tribes have enacted regulatory mechanisms that require State or Tribal
            authorization for grizzly bear take, with illegal poaching remaining prosecutable under State and
            Tribal laws, since grizzly bears are designated as a game animal (MCA § 87-2-101(4), MCA 87-
            1-301, MCA 87-1-304, MCA 87-5-302, FIR Tribal Ordinance 44D, Blackfeet Tribal Business
            Council 2018, p. 29, NCDE Subcommittee 2020, Chapter 6). In addition, in Montana, a grizzly
            bear may be killed if it is caught in the act of attacking or lolling livestock (-6-106 MCA) .
            Illegal killings continue to occur, but are not at a level significant to hinder population stability
            or range expansion.

             Illegal killings in the CYE, SE, BE, and North Cascades

            From 2002 to 2019, at least 5 illegal killings occurred in the CYE, constituting 17 percent of
            human-caused grizzly bear mortalities (Kasworm et al. 2020a, p. 33). No illegal ldllings
            occurred in the SE from 2002 to 201 (Kasworm et al. 2020b, p. 23). Independent of the Act, the
            States of Idaho, Montana, and Washington have regulations that make it illegal to kill a grizzly

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            bear other than in defense of life (ARM 14.9. 1403, IDAPA 13.01.06. 100.01(e), Washington
            Administrative Code 220-610-010). In addition, in Montana, a grizzly bear may be killed if it is
            caught in the act of attacking or killing livestock (-6-106 MCA) and in Idaho, a grizzly bear may
            be killed if it is "molesting or attacking livestock or domestic animals" (Senate Bill 1027 :
            Section 7: 36-1107(d)). While we recognize that illegal killings will never be eliminated
            entirely, reducing this source of human-caused mortality is desirable in the CYE and SE due to
            the small population sizes.

             Defense of Life Killings

            Grizzly bears may be legally taken in self-defense or in defense of others (50 CFR 17.40(b)). In
            the GYE DMA, from 2002 to 2019, 32 percent (109 of 340) of human-caused mortalities of
            independent-age bears an 55 percent (52 of 95) of human-caused mortalities of dependent young
            were self-defense or defense of other person kills (Haroldson 2020d, in lift. , van Manen 2020, in
            lift). In the NCDE DMA, 14 percent (35 of 255) of human-caused grizzly bear mortalities of
            independent-age bears and 9 percent (10 of 117) of human-caused mortalities of dependent
            young were self-defense or defense of other person kills (MFWP, unpublished data). In the
            CYE, 21 percent (6 of 29) of human-caused mortalities were from self-defense or defense of
            other person kills (Kasworm et al. 2020a, p. 33). These grizzly bear mortalities occurred
            primarily with elk hunters on public lands during the fall, but also at other times and locations
            (IGBST 2009, p. 18, Haroldson 2019b, in lift., MFWP, unpublished data). Self-defense
            situations often occur during surprise encounters, at hunter-killed carcasses or gut piles, or when
            packing out carcasses. Federal and State agencies have many options to potentially reduce
            conflicts with hunters (IGBST 2009, pp. 21-31), but self-defense mortalities will always be a
            reality when conserving a species that is capable of killing humans. By promoting the use of
            bear spray and continuing I&E programs pertaining to food and carcass storage and retrieval,
            risk to hunters can be substantially reduced and many of these grizzly bear deaths can be
            avoided. No defense of life killings occurred in the U.S. portion of the SE from 1982-2019
            (Kasworm et al. 2020b, p. 23). Defense of life mortalities will always occur with a species that
            can pose a threat to humans, however, they are factored into mortality limits (see discussion on
            Mortality Limits below), and this source of mortality is not a limiting factor to the resiliency of
            grizzly bear populations in the lower-48 States.

             Pre vents five Measures to A address PUb//CA ttitudes to wards Grizzly Bears and Reduce Mortality

            This section discusses preventative measures used to affect human attitudes toward grizzly bears,
            thereby reducing future human-caused mortality. Public support is paramount to any successful
            large carnivore conservation program (Servheen 1998, p. 67). Historically, human attitudes
            played a primary role in grizzly bear population declines by promoting a culture and government
            framework that encouraged excessive, unregulated, human-caused mortality. Through
            government-endorsed eradication programs and perceived threats to human life and economic
            livelihood, Europeans settling the Western United States were able to effectively eliminate most
            known grizzly bear populations after less than 100 years of westward expansion. Today, public
            attitudes towards bears vary greatly, and are often based on individuals' perception of risk and
            experience with conflict (Lute and Carter 2020, entire). We discuss three strategies that


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            proactively prevent human-grizzly bear conflicts and grizzly bear mortality: (l) I&E programs,
            (2) livestock prevention programs, (3) food storage orders, (4) and hazing guidelines.

             l&E Programs

            Although some human-caused grizzly bear mortalities are accidental (e.g., vehicle collisions),
            management removals in response to human-grizzly bear conflicts, defense of life lulls, mistaken
            identity killings, and illegal killings are responsible for the majority of known and probable
            human-caused mortalities. These sources of mortality can be reduced if adequate I&E are
            provided to people who live, work, and recreate in occupied grizzly bear habitat and if proper
            management infrastructure is in place (Linnell et al. 2001, p. 345). Public outreach presents an
            opportunity to effectively integrate human and ecological concerns into comprehensive programs
            that can modify societal beliefs about, perceptions of, and behaviors toward grizzly bears.

            The objective of I&E is to proactively address human-grizzly bear conflicts by informing the
            public about the root causes of these conflicts and providing suggestions on how to prevent them
            (YES 2016a, pp. 92-95). Increasing awareness of grizzly bear behavior, ecology, and biology,
            can enhance appreciation of the grizzly bear, increase public involvement, and correct common
            misconceptions about its temperament and feeding habitats. By identifying values common to
            certain user groups, I&E working groups can disseminate appropriate materials and provide
            workshops catered to these values, contributing to the continued coexistence between grizzly
            bears and humans. Additionally, I&E programs foster relationships and build trust between the
            general public and the government agencies implementing them by initiating communication and
            dialogue. Effective I&E programs have been an essential factor contributing to progress towards
            the recovery of the grizzly bear populations in the lower-48 States since its listing in 1975.

            Servheen et al. (2004, p. 15) estimated that from 1980 through 2002, at least 36 percent (72 out
            of 196) of human-caused mortalities in the GYE may have been avoided if relevant I&E
            materials had been presented and used by involved parties. Educating back- and front-country
            users about the importance of securing potential bear attractants can reduce grizzly bear
            mortality risk. Similarly, adhering to hiking recommendations, such as making noise, hilting
            with other people, hiking on designated trails, and hiking during daylight hours, can further
            reduce grizzly bear mortalities by decreasing the likelihood that hikers will encounter bears
            (Herrero 1985, pp. 249-250, Gunther and Haroldson 2020, p. 13). Hunter-related mortalities
            may involve hunters defending their life because of carcasses that are left unattended or stored
            improperly. Grizzly bear mortalities also occur when hunters mistake grizzly bears for black
            bears. Many of these circumstances can be further reduced through I&E programs.

            Another source of animosity towards grizzly bears is disagreement over land-use restrictions in
            place to enhance recovery of the species, effective I&E programs can address this too.
            Traditionally, stakeholders involved in resource extraction industries, such as loggers, miners,
            livestock operators, and hunting guides, were opposed to land-use restrictions that were
            perceived to place the needs of the grizzly bear above human needs (Kellert 1994, p. 48, Kellert
            et al. 1996, p. 984). Surveys of these user groups have shown that they tolerate large predators
            when they are not seen as direct threats to their economic stability or personal freedoms (Kellert
            et al. 1996, p. 985). To address the concerns of user groups who have objections to land use

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            restrictions that accommodate grizzly bears, Federal and State agencies market the benefits to
            multiple species of restricting motorized access. For example, both Montana and Wyoming have
            recommendations for elk habitat security similar to those for grizzly bears (road densities of less
            than 0.6 km/km2 (l mi/mi2)). This level of motorized access for elk habitat security meets the
            needs of a variety of wildlife species, while maintaining reasonable opportunities for public
            access.

            I&E teams for the GYE, NCDE, SE/CYE, BE, and North Cascade IGBC Subcommittees and the
            IGBC Executive Committee coordinate the development, implementation, and dissemination of
            programs and materials to aid in preventative management of human-bear conflicts. I&E team
            members include the Service, State wildlife agencies, Tribal wildlife agencies, the NPS, and the
            USFS. These partners recognize that public I&E programs are a crucial key to preventing
            human-grizzly bear conflicts, which is evidenced by the fact that they have been actively
            involved in grizzly bear I&E outreach for over a decade.

            In the GYE, all three States have been actively involved in I&E outreach for several decades, and
            their respective management plans contain chapters detailing efforts to continue current
            programs and expand them when possible. For example, the WGFD created a formal human-
            grizzly bear conflict management program in July 1990 and has coordinated an extensive I&E
            program since then. Similarly, since 1993, MFWP has implemented countless public outreach
            efforts to minimize human-bear conflicts, and the IDFG has organized and implemented
            education programs and workshops focused on private and public lands on the western periphery
            of the grizzly bear's range. To address public attitudes and knowledge levels, I&E programs
            present grizzly bears as a valuable public resource while acknowledging the potential dangers
            associated with them and ways to avoid conflicts. I&E programs are integral components of the
            2016 GYE Conservation Strategy and will continue to be implemented by all partners whether
            the GYE grizzly bear is listed or not (YES 2016a, pp. 92-95).

            In the NCDE, the State of Montana and Tribal entities recognize that public I&E programs are a
            crucial key to preventing human-grizzly bear conflicts. The State of Montana, CS&KT, and
            Blackfeet Nation have been actively involved in grizzly bear I&E outreach for over a decade,
            and their respective grizzly bear management plans contain chapters detailing efforts to continue
            current programs and expand them when possible (Servheen et al. 1981, pp. 17-29, Dood et al.
            2006, pp. 31-38, 62-65, Blackfeet Tribal Business Council 2013, pp. 3-4, 9-10, NCDE
            Subcommittee 2020, Chapter 4). Their management plans also acknowledge that public outreach
            is the most effective, long-term solution to human-grizzly bear conflicts and that I&E programs
            are paramount in driving successful coexistence between humans and bears in the NCDE. We
            have no independent data to confirm the success of the I&E programs, but we consider the
            increase in the NCDE grizzly bear population from 2004 to 2018 to be some evidence of success
            (Mace et al. 2012, p. 124, Costello et al. 2016b, p. 2, MFWP, unpublished data), since this 2 to 3
            percent annual growth rate occurred despite large increases in people living and recreating in the
            NCDE over the last 3 decades.

            In the CYE, SE, BE, and North Cascades, I&E efforts include: public meetings, community
            events, informational posters, brochures, and bear identification sheets, bear-resistant containers,
            electric fencing, and funding of outreach by NGOs. The State of Montana contains detailed I&E

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            efforts in its grizzly bear management plan (Dood et al. 2006, pp. 31-38, 62-65) and hired a bear
            conflict specialist fer northwest Montana in 2007. A recent study documented the success of
            these efforts with a decrease in the level of human-caused grizzly bear mortality in the northwest
            Montana portion of the CYE after the hiring of the bear conflict specialist, supporting the success
            of these I&E programs (Proctor et al. 2018, p. 359). Further support of this success is the recent
            increase in the CYE grizzly bear population and the positive population trend since 2012 after a
            decade-long decline (Kasworm et al. 2020a, p. 40).

            Public attitude surveys towards grizzly bears and their management have been conducted in both
            the North Cascades and CYE (Duda et al. 1996, entire, Canepa et al. 2008, entire). These
            surveys posed questions about public understanding and perception of grizzly bear biology and
            management and then were used to craft I&E programs to address identified needs (Morgan et
            al. 2004, entire, Annis and Trimbo 2020, entire). The Grizzly Bear Outreach Program in the
            North Cascades is an example of a nongovernmental organization providing educational efforts
            in Washington with field representatives in small communities.

             Livestock Prevention Programs

            Carcass pickup programs, electric fences, and range riders can reduce livestock depredations.
            Carcass removal can be helpful by reducing attractants that may draw grizzly bears into areas
            with livestock. Programs typically employ drivers to pick up carcasses on a regular basis and
            dispose of them at carcass composting sites. These programs are currently used throughout a
            number of Montana and Wyoming communities. Livestock producers also often employ range
            riders to regularly ride large pastures or open range to monitor predator activity, actively haze
            predators, detect depredations, and group livestock to make them less vulnerable to predators.
            Electric fencing can be effective in protecting many types of human attractants, including
            gardens, orchards, chickens, and livestock, from predators, including grizzly bears.

             Food Storage Orders

            Mandatory food storage orders on public lands decrease the chance of human-grizzly bear
            conflicts and reduce risks for both humans and grizzly bears. In addition, State and Federal I&E
            programs reduce human-grizzly bear conflicts on both private and public lands by educating the
            public about potential grizzly bear attractants and how to store them properly. Accordingly, the
            majority of grizzly bear budgets of the agencies responsible for managing grizzly bear
            populations in the lower-48 States is for human-grizzly bear conflict management, outreach, and
            education. The relationship between human food baiting by black bear hunters and subsequent
            conflict activity by bears may be an issue in areas of Idaho and Wyoming where baiting is
            allowed. Black bear baiting is limited and regulated by Idaho Department of Fish and Game
            (IDFG 2020, pp. 69-70) and Wyoming Fish and Game (WDFG 2020, pp. 3-2-3-6). Black bear
            baiting is not allowed in Montana.

            In the GYE, food storage rules aimed at decreasing grizzly bear access to human foods are
            enforced on the 98 percent of lands inside the DMA managed by the USFS and NPS (USDA FS
            2008, 2014a, 2014b, 2016a, entire, YES 2016, pp. 84-85, GTNP 2019, p. 24, YNP 2019, pp. 34-
            35). In addition, food storage restrictions include most USFS lands and some Montana wildlife

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            management areas where connectivity with the NCDE and/or BE are most likely to occur
            (USDA FS 2014b, entire, YES 2016, pp. 84-85, Montana Fish and Wildlife Commission 2019,
             pp. 5, 7-9).

            In the NCDE, on NPS, USFS, and Tribal lands inside the recovery zone, Zone 1 including the
            DCAs, and Zone 2, food storage rules are aimed at decreasing grizzly bear access to human
            foods (NPS 2010, p. 4, GNP 2019, pp. 12-18, Blackfeet Tribal Business Council 2018, p. 28,
            CS&KT 2018, p.10, USDA FS 2018d, pp. 9, 1-5, 1-17, 1-29, 1-40, USDA FS 2018e, p. 50,
            NCDE Subcommittee 2020, Chapter 4). In addition, food storage orders occur on most State
            lands (Dood et al. 2006, ARM 12.8.201 and 12.8.210, DNRC 2010a, p. 4-436).

             All three NFs (Idaho Panhandle, Lola, and Kootenai) within the CYE and beth NFs (Idaho
             Panhandle and Colville) in the SE have made food storage requirements mandatory in portions of
             the grizzly bear range (USDA FS 201 la, pp. 6-7, USDA FS 2015a, pp. 31, 33, USDA FS 201519,
             pp. 31, 34, USDA FS 2018, p. 61).

            In the BE recovery zone, there are HO food storage orders on the NFs that manage nearly 100
            percent of the BE recovery zone. The lack of mandatory food storage orders on USFS lands
            within the BE recovery zone may contribute to future grizzly bear mortality risk and inhibit
            natural recolonization.

            In the North Cascades recovery zone, mandatory food storage orders are in effect in North
            Cascades NP (Title 36 CFR chapter 1, section 2. l0(d) and section 2.2(a)(2)), however, there are
            no food storage orders on 75 percent of lands managed by the USFS. The lack of mandatory
            food storage orders on USFS lands within the North Cascades recovery zone may contribute to
            future grizzly bear mortality risk and inhibit restoration efforts .

             Hazing Guide//nes

            As grizzly bear populations have expanded, more bears are using areas in or near human
            developments, causing concern from the public. Because of these concerns, the Service
            developed guidelines on safe, legal hazing techniques to discourage grizzly bears from using
            areas near homes and other human-occupied areas (Service 2020, entire). The guidance
            describes techniques that the public may use to deter grizzly bears away from the immediate
            vicinity of a human-occupied residence or potential conflict area. The use of safe and legal
            hazing techniques prevents grizzly bears from becoming habituated to humans or conditioned to
            human foods, which can become a human-safety issue and often results in removal of the bear.
            Successful hazing should result in fewer bears near homes, fewer human-bear conflicts, and,
            ultimately, improved attitudes.

            Summary of Conservation Efforts that reduce Human-Caused Mortality

            In addition to the I&E programs, livestock prevention programs, food storage orders, and hazing
            guidelines discussed above, the States and NGOs have implemented other programs to help
            reduce conflicts with the people that are directly affected by grizzly bears. These efforts include
            livestock carcass removal programs, electric fencing subsidies for apiaries and orchards, and

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            sharing costs of bear-resistant garbage bins where appropriate. Moreover, annual reports are
            prepared by the IGBST for the GYE, MFWP for the NCDE, and the Service for the CYE and
            SE, analyzing the causes of conflicts, known and probable mortalities, and proposed
            management solutions (Servheen et al. 2004, pp. 1-29, DeBolt et al. 2018, pp. 84-89, Frey and
            Smith 2018, pp. 78-83, Gunther et al. 2018a, pp. 70-74, Gunther et al. 2018b, pp. 91-96,
            Gunther et al. 2018c, pp. 97-102, Hnilicka 2018, p. 90, Nicholson and Hendricks 2018, pp. 75-
            77, Wilmot 2018b, p. 69, Costello and Roberts 2020, Appendix C, Kasworm et al. 2020a, p. 33-
            34, Kasworm et al. 2020b, p. 23). The responsible agencies have committed to continuing to use
            these data to identify where problems occur and compare trends in locations, sources, land
            ownership, and types of conflicts to inform proactive management of human-grizzly bear
            conflicts. The IGBST and Yellowstone Grizzly Coordinating Committee9 (YGCC) implemented
            this adaptive management approach when the GYE grizzly bear population was delisted between
            2007 and 2009. After high levels of mortality in 2008, the IGBST provided management options
            to the YGCC about ways to reduce human-caused mortality. In fall 2009, the YGCC provided
            updates on what measures they had implemented since the report was released the previous
            spring. These efforts, conducted through I&E and State fish and game agencies, included:
            increased outreach on the value of bear spray, development of a comprehensive encounter,
            conflict, and mortality database, and increased agency presence on USFS lands during hunting
            season (YGCC 2009, entire). In response to a recent increase in conflicts in the GYE and NCDE
            as their distributions expand, the IGBC and each ecosystem subcommittee is currently
            reevaluating recent sources of human-caused mortality and preventative measures. Based on the
            analysis provided above, we conclude that negative attitudes can be improved through I&E
            programs and proactive conflict reduction measures, such as food storage orders and hazing
            guidelines, negative attitudes are not currently limiting to grizzly bear populations.

             Mortality Limits

            Human-caused mortality is the primary factor affecting grizzly bears at both the individual and
            population levels. Understanding and managing for sustainable mortality levels is necessary to
            facilitate and maintain recovery .

             Mortality limits in the GYE

            In partnership with the States, other Federal Agencies, and Tribes in the GYE, we have
            developed a mortality management scheme to ensure sustainable mortality limits within the
            DMA and to maintain recovery within the GYE. The population inside the DMA has stabilized
            since 2002, with the model-averaged Chao2 population estimate for 2002-2014 being 674 bears
            (95% CI = 600-747). This stabilization over 13 years is strong evidence that the population is
            exhibiting density-dependent population regulation inside the DMA, which has recently been
            documented (van Manen et al. 2016, entire) and is further evidence that the population has
            achieved recovery within the DMA. The population in the DMA is managed to maintain the
            population around the long-term average population size for 2002-2014 of 674 bears (95% CI =
            600-747) (using the model-averaged Chao2 population estimate), consistent with the revised

            9 The Yellowstone Grizzly Coordinating Committee replaces the Yellowstone Ecosystem Subcommittee (YES)
            upon delisting and implementation of the GYE Conservation Strategy. The YGCC replaced YES when grizzly
            bears in the GYE DPS were delisted between 2007 and 2009.

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            demographic recovery criteria (Service 2017, entire). Population growth inside the DMA has
            slowed and stabilized at this population size, and the long-term model-averaged Chao2 estimate
            of 674 bears represents a population level that is at or near carrying capacity in the core area of
            its range (van Manen et al. 2016, entire). The model-averaged Chao2 population estimator is
            used by the IGBST to annually estimate population size inside the DMA (YES 2016a, pp. 38-
            40), as this currently represents the best available science. By attempting to manage within the
            95 percent confidence interval (600-747), in accordance with demographic recovery criterion #3,
            there is a sufficient buffer to ensure that recovery is achieved, while also acknowledging that
            populations fluctuate naturally and that it is not reasonable to manage to an exact population
            target. To achieve a population in the DMA that remains around the 2002-2014 average of 674,
            total mortality is limited to less than 7.6 percent for independent females when the population is
            at or below 674, with higher mortality limits when the population is higher than 674 (as per
            Table 9 in Demographic Recovery Criterion 3 for the GYE). A total mortality rate of 7.6 percent
            for independent females is the mortality level that the best available science shows results in
            population stability (IGBST 2012, entire). In addition, a total mortality rate of 15 percent for
            independent males and a human-caused mortality rate of 7.6 percent for dependent young
            resulted in population stability from 2002 to 2011 (IGBST 2012, entire). Annual estimates of
            population size in the DMA are derived each fall by the IGBST from the model-averaged Chao2
            estimate of females with cubs-of-the-year (i.e., the model-averaged Chao2 population estimate) .
            These annual estimates normally vary as in any wild animal population. Dependent on the
            annual population estimate, mortalities are managed on a sliding scale within the DMA as
            summarized in Chapter 3 (Table 9).

            Total annual allowable mortality numbers are calculated each year by multiplying the total
            annual mortality rate by the size of each sex/age cohort, which varies with population size, from
            the previous year. Total mortality includes documented known and probable grizzly bear
            mortalities from all causes, including but not limited to: management removals, illegal kills,
            mistaken identity kills, self-defense kills, vehicle lulls, natural mortalities, undetermined-cause
            mortalities, grizzly bear hunting, and a statistical estimate (Cherry et al. 2002, entire) of the
            number of unknown/unreported mortalities.

             Mortality limits in the NCDE

            In partnership with the States, other Federal Agencies, and Tribes in the NCDE, we manage
            human-caused mortalities as in demographic recovery criterion #3. Recently, the agencies
            agreed to also manage mortalities from all sources to support a greater than or equal to 90
            percent estimated probability that the grizzly bear population within the DMA remains above
            800 individuals, considering the uncertainty associated with the demographic parameters (NCDE
            Subcommittee 2020, Chapter 2, ARM 12.9. 1403). In order to consider this uncertainty, the
            model that estimates the probability that the population is above 800 individuals incorporates the
            standard error associated with calculating survival rates for all age/sex classes (e.g., cubs,
            yearlings, independent males, and independent females) and reproductive parameters (e.g.,
            proportion of females with cubs and litter size). The methods to determine thresholds for
            independent female survival, independent female mortality, and independent male mortality that
            allow achievement of this objective into the future are set forth in the NCDE Conservation
            Strategy (NCDE Subcommittee 2020, Chapter 2 and Appendix 3).

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            Population modeling based on vital rates from Costello et al. (2016b, entire), indicates that the
            estimated probability that the NCDE grizzly bear population was greater than 800 bears was only
            21 percent in 2004, increased to greater or equal to 90 percent in 2010, and has been greater or
            equal to 99 percent since 2015 (NCDE Subcommittee 2020, Chapter 2, Costello 2018, in lift).
            Given the current rates and levels of uncertainty, managing the NCDE grizzly bear population
            with a greater than or equal to 90 percent estimated probability of being above 800 bears
            necessitates maintaining an estimated population size of approximately 950-1,000 bears. Larger
            estimated population sizes are needed if the level of uncertainty increases (NCDE Subcommittee
             2020, Chapter 2) .

            As outlined in the NCDE Conservation Strategy (NCDE Subcommittee 2020, Chapter 2),
            managers use a 6-year running average for independent female survival, independent female
            TRU mortality10, and independent male TRU mortality to:

                         Maintain an estimated annual survival rate of independent females within the DMA
                         of at least 90 percent and a rate at or above the minimum level consistent with a
                         projected probability of at least 90 percent that the population within the DMA will
                         remain above 800 bears based on population modeling,
                         Limit the annual estimated number of TRU mortalities of independent females within
                         the DMA to a number that is no more than 10 percent of the number of independent
                         females estimated within the DMA based on population modeling and a number that
                         is at or below the maximum level consistent with a projected probability of at least 90
                         percent that the population within the DMA will remain above 800 bears based on
                         population modeling,
                         Limit annual estimated number of TRU mortalities of independent males within the
                         DMA to a number that is no more than 15 percent of the number of independent
                         males estimated within the DMA based on population modeling.

            Managers need a number of population parameters to follow this process for calculating
            allowable mortality limits that meet the population objective of supporting a greater than or equal
            to 90 percent estimated probability that the grizzly bear population within the DMA remains
            above 800 individuals: (l) the 6-year running average for the annual survival rate of
            independent females, (2) annual mortalities for independent males and females in the DMA (i.e.
            TRUM), and (3) population estimates.

            First, the 6-year running averages for the annual survival rate of independent females and the
            estimated number of TRU mortality for independent females and males within the DMA is
            calculated and reported annually by the Monitoring Team to the NCDE Subcommittee. Survival
            is estimated from current and previously collected (preceding five years) radio-telemetry data,
            using a known-fates statistical analysis that will also incorporate survival data from monitoring

            10 Total reported and unreported mortalities (TRU mortality) - an estimate of the total number of mortalities of
            independent-age bears within the DMA, by sex, representing the sum of documented management removals,
            documented radio-marked deaths, and an estimate of other reported and unknown/unreported mortality calculated
            using the Cherry et al. (2002) method based on reported mortalities (excluding management removals and radio-
            marked removals) and the reporting rate observed among radio-marked bears.

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            since 2004 (NCDE Subcommittee 2020, Appendix 2). Six-year running averages account for
            two breeding cycles and make estimates less sensitive to sampling variance and annual
            variability. Survival of independent females has been monitored and reported previously (Mace
            et al. 2012, p. 119, Costello et al. 2016b, p. l). Costello et al. (20l6b, pp. 43-44) reported a
            mean annual survival of 0.95 for all independent females during 2004-2013, and found no
            evidence for change in the annual rate during that period.

            Second, the annual TRU mortalities for each sex in the DMA are calculated and reported
            annually by the Monitoring Team to the NCDE Subcommittee, and includes documented
            mortalities from all causes, including known and probable human-caused, natural, and
            undetermined causes. Estimated numbers of TRU mortality for independent females and males
            within the DMA have also been calculated and reported previously (Costello et al. 2016b, p. 32,
            Costello and Roberts 2016, pp. 8-9, Costello and Roberts 2017, pp. 8-9).

            Third, the population estimates used to calculate survival and mortality thresholds for the NCDE
            DMA are produced by a stochastic population modeling incorporating: (l) the estimated
            population size of 765 for the NCDE reported by Kendall et al. in 2004 (2009, p. 9), and (2)
            interagency monitoring data estimating vital rates for the population (Costello et al. 2016b, p. 2).
            Costello et al. (2016b, p. 2) estimated the annual population growth rate from 2004 to 2014 at of
            2.3 percent and the median estimated population size for the NCDE in 2014 at 960 bears (95%
            CI = 837, 1,089). No change in vital rates was observed during 2014 to 2017, and updated
            analyses indicates the NCDE grizzly bear population size in 2019 was 1,068 individuals (95%
            CI: 890-1,283) (Costello 2019, in lire., Costello 2020, in liar.).

            Adherence to these survival and mortality thresholds for the DMA is evaluated by the
            Monitoring Team through continued demographic monitoring, application of stochastic
            population modeling to track size and trend, and management of mortality of independent female
            and independent male grizzly bears. The population modeling methods are set forth in detail in
            Appendices l and 2 of the NCDE Conservation Strategy (NCDE Subcommittee 2020) and
            currently represent the best available science.

             Mortality Limits in the CYE and SE

            For the CYE and SE, the mortality limits as set forth in demographic recovery criterion 3 of the
            Recovery Plan continue to apply (Service 1993, p. 33-34). These mortality limits apply within
            the recovery zone and a 10-mile buffer around the recovery zone. As discussed above in
            Recovery Progress, the mortality limits for the CYE and SE are that known, human-caused
            mortality cannot exceed 4 percent of the population estimate based on the most recent 3-year
            sum of females with cubs. No more than 30 percent shall be females. These mortality limits
            cannot be exceeded during any 2 consecutive years for recovery to be achieved. Although the
            Recovery Plan established a goal of zero human-caused mortality for the CYE and SE until the
            minimum population reached approximately 100 bears in the CYE and 90 bears in the SE, it also
            stated "In reality, this goal may not be realized because human-bear conflicts are likely to occur
            at some level within the ecosystem."




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             Mortality Limits in the BE

            For the BE, the mortality limits as set forth in demographic recovery criterion 3 of the Recovery
            Plan Supplement continue to apply (Service 1996, p. 4). The mortality limits apply within the
            recovery zone and a 10-mile buffer around the recovery zone. As discussed above in Recovery
            Progress, the mortality limits for the BE are that known, human-caused mortality cannot exceed
            4 percent of the population estimate based on the most recent 3-year sum of females with cubs.
            No more than 30 percent shall be females. These mortality limits cannot be exceeded during any
            2 consecutive years for recovery to be achieved. Although the Recovery Plan established a goal
            of zero human-caused mortality for BE until the minimum population reached approximately 90
            bears in the BE, it also stated "In reality, this goal may not be realized because human bear
            conflicts are likely to occur at some level within the ecosystem."

             Mortality limits in the North Cascades

            Sustainable levels of human-caused mortality were not established in the Recovery Plan
            Supplement fer the North Cascades due to a lack of information for the ecosystem, however, the
            supplement established a goal of zero known, human-caused mortalities until the "population is
            large enough to offset some level of human-induced mortality" (Service 1997, pp. 3-4) .

             Legal Hun ting

            Legal hunting of grizzly bears has not been allowed in the lower-48 States, except the limited
            hunt in the NCDE during 1975-1991, since the grizzly bears in the lower-48 States were listed as
            a threatened species under the Act in 1975 (40 FR 331734, July 28, 1975).

            Legal hunting of grizzly bears was allowed in the NCDE from 1975 until 1991, under a special
            rule authorizing take in the 1975 listing (40 FR 331734, July 28, 1975). During this time,
            recreational hunting accounted for 50 percent of human-caused mortality in the NCDE (124 of
            249). The special rule allowing a limited hunt in the NCDE was removed in 1992 (57 FR 37478,
            August 19, 1992).

            Independent of the Act, the States of Idaho, Montana, and Wyoming, and the Tribes have
            enacted regulatory mechanisms that require State or Tribal authorization for grizzly bear take,
            with illegal poaching remaining prosecutable under State and Tribal laws, since grizzly bears are
            designated as a game animal (IC 36-2-1, IDAPA l3.0l.06.l00.0l(e), IC 36-1 lOl(a), Idaho's
            MCA § 87-2-101<4>, MCA 87-1-301, MCA 87-1-304, MCA 87-5-302, W.S. 23-1-
            lOl(a)(xii)(A), W.S. 23-3-l02(a), FIR Tribal Ordinance 44D, Blackfeet Tribal Business Council
            2018, p. 29, NCDE Subcommittee 2020, Chapter 6).

            Summary 0l'Human-Ca used A40/'ta/ity

            Human-caused mortality includes illegal kills, defense of life and property mortality, accidental
            mortality, and management removals. Despite these mortalities, the GYE, NCDE, CYE, and SE
            grizzly bear populations have continued to increase in size and expand their current distribution
            (Pyare et al. 2004, pp. 5-6, Schwartz et al. 2006a, pp. 64-66, Schwartz et al. 2006b, p. 48,

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            IGBST 2012, p. 34, Bjornlie et al. 2014a, p. 184, Costello et al. 2016b, pp. 2, 10, Bjornlie and
            Haroldson 2019, pp. 25-28, Haroldson et al. 2020b, p. 13, Kasworm et al. 2020a, pp. 38-40,
            Kasworm et al. 2020b, p. 26-27). Although humans are still directly or indirectly responsible
            for the majority of grizzly bear deaths, this source of mortality is mitigated through science-
            based management, monitoring, and outreach efforts. I&E programs reduce human-caused
            mortality by: (1) changing human perceptions and beliefs about grizzly bears, (2) educating
            recreationists and hunters on how to avoid encounters and conflicts, how to react during a bear
            encounter, how to use bear spray, and how to properly store food, and (3) educating black bear
            hunters on bear identification.

            Monitoring agencies have committed to continuing to produce annual reports that analyze the
            causes of known and probable grizzly bear mortalities. Population monitoring data collected by
            the Federal, State, and Tribes is used to help identify where human-grizzly grizzly bear conflicts
            occur and compare trends in locations, sources, land ownership, and types of conflicts to inform
            proactive management of human-grizzly bear conflicts. Total mortality rates are managed
            consistent with recovery criteria and updated population objectives in the GYE and NCDE, with
            a goal of recovering and maintaining grizzly bear populations.

             Na tuna/ Mortality

            Mortality due to natural causes represents a relatively small portion of total mortality sources
            (GYE DMA: 8 percent for independent-age bears and II percent for dependent young, NCDE
            DMA: 3 percent for independent-age bears and 8 percent for dependent young, CYE: 21 percent,
            SE: 24 percent). Natural causes include avalanches, injuries, killing by other bears or wildlife
            species, old age, and starvation. The rate of known natural mortality is higher for independent-
            age radio-collared bears than for non-radio-collared bears (17 and 4 percent, respectively, within
            the GYE) (Haroldson 2020b, in lift.) because the probability of documenting natural mortality is
            greater for radio-collared bears, however, it is possible to use a statistical estimate to account for
            unknown natural mortalities. Dependent cubs and yearlings are particularly vulnerable to natural
            mortality sources, however detection of these events is difficult and we often do not know the
            specific cause.

            Grizzly bears are sometimes killed by other grizzly bears or ether species. These incidents are
            rarely documented, therefore the impact of predation on grizzly bear population dynamics is
            difficult to know. Intraspecific predation by adult grizzly bears on dependent young, including
            sexually-selected infanticide, subadults, or other adults (Stringham 1980, p. 337, Dean et al.
            1986, pp. 208-211, Hessing and Aumiller 1994, pp. 332-335, McLellan 1994, p. 15, Schwartz et
            al. 2003a, pp. 571-572, McLellan 2005, entire) occurs, but is rarely documented (Stringham
            1980, p. 337). This type of intraspecific killing has only been observed among grizzly bears
            27 times in the GYE between 2002 and 2019 (Haroldson 2019c, in lire., Haroldson 2020a, in list. )
            and 16 times in the NCDE between 1975 and 2019 (MFWP, unpublished data). Between 1980
            and 2017, intraspecific predation has only been observed among grizzly bears twice in the SE
            and three times in the CYE, however, there have been seven cubs in the CYE and two cubs in the
            SE lost to unknown causes (Kasworm 2018b, in lift., Kasworm et al. 2020a, p. 33, Kasworm et
            al. 2020b, p. 23). There have been no documented cases of natural predation in the North
            Cascades since 1967, however, the last verified sighting in the North Cascades occurred in 1996.

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            There have been no documented cases of natural predation in the BE, but until the last few years,
            there have been ne verified sightings since the 1940s.

            Grizzly bears are occasionally killed by other wildlife. Wolves and grizzly bears often scavenge
            similar types of carrion and, sometimes, will interact with each other in an aggressive manner.
            Since wolves were reintroduced into the GYE in 1995, we know of 339 wolf-grizzly bear
            interactions with 6 incidents in which wolf packs likely killed grizzly bear cubs-of-the-year and 2
            incidents in which wolves likely lolled adult female grizzly bears (Gunther and Smith 2004, pp.
            233-236, Gunther 2014, in list.). Although interactions have been observed, there are no
            documented instances in which wolves have killed grizzly bears in the NCDE (MFWP,
            unpublished data). Overall, these types of aggressive interactions, intraspecific and interspecific,
            are rare and are an insignificant factor in population dynamics.

            Although grizzly bears have been documented with a variety of bacteria and ether pathogens,
            parasites, and disease, fatalities from disease are uncommon (LeFranc et al. 1987, p. 61) and do
            not appear to have population-level impacts on grizzly bears (Jonkel and Cowan 1971, pp. 31-
            32, Mundy and Flock 1973, p. 13, Rogers and Rogers 1976, p. 423). Researchers have found
            grizzly bears with brucellosis (type 4), clostridium, toxoplasmosis, canine distemper, canine
            parvovirus, canine hepatitis, and rabies (LeFranc et al. 1987, p. 61, Zarnke and Evans 1989, p.
            586, Marsilio et al. 1997, p. 304, Zarnke et al. 1997, p. 474). However, based on nearly 40 years
            of research by the IGBST and MFWP, natural mortalities in the wild due to disease have never
            been documented (Craighead et al. 1988, pp. 24-84, IGBST 2005, pp. 34-35, Haroldson 2019c,
            in lire., MFWP, unpublished data). Based on this absence in more than 50 years of data, we
            conclude that mortalities due to bacteria, pathogens, or disease are negligible components of total
            mortality for grizzly bears and are likely to remain an insignificant factor in population
            dynamics. Therefore, although disease may affect individuals, it does not significantly influence
            the resiliency of ecosystems.

             Connectivity and Genet/t Health

            The isolated nature of the GYE and BE grizzly bear populations was identified as a potential
            threat when listing occurred in 1975 (40 FR 31734, July 28, 1975). The 1991, 1993, and 1999
            findings of warranted but precluded for endangered status also identified the North Cascades,
            CYE, and SE, respectively, as small populations facing potential isolation (56 FR 33892, July
            24, 1991, 58 FR 8250, February 12, 1993, 64 FR 26725, May 17, 1999). Although the 1993
            Recovery Plan did not require connectivity for recovery of individual grizzly bear populations,
            natural connectivity between grizzly bear populations will benefit long-term grizzly bear
            conservation through potential genetic exchange (Service 1993, pp. 23-25) and demographic
            augmentation of smaller isolated or female-fragmented ecosystems (Proctor et al. 2005, p. 2414,
            Proctor et al. 2012, pp. 23-28). As shown in Figure 26, genetic diversity of small, isolated
            populations is influenced by connectivity which in turn is influenced by large intact blocks of
            land.

            Small, isolated populations are vulnerable to extinction from demographic fluctuations resulting
            from environmental processes (e.g., poor food years, disease, human-caused mortality), and low
            genetic diversity due to genetic drift and inbreeding. Low genetic diversity can have deleterious

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            effects on fitness and fecundity (Allendorf et al. 1991, p. 651, Burgman et al. 1993, p. 220), and
            ultimately reduces long-term population viability.

            As populations decrease in size, inbreeding, or mating between related individuals (i.e., those
            with similar genetic make-up) increases, resulting in increased frequency of homozygous genes.
            Within a few generations, severe inbreeding in very small founding populations can cause
            inbreeding depression, or reduced biological fitness, resulting from the expression of deleterious
            traits coded by homozygous alleles. Examples of carnivore populations with observed
            inbreeding depression include the endangered Mexican wolf (Canis lupus bailey) and the
            endangered Florida panther (Puma concolor), whose population sizes were reduced to 7 and
            possibly less than 30, respectively (Hedrick and Frederickson 2010, entire). Inbreeding
            depression was inferred from low fitness and, in the case of the Florida panther, several rare and
            potentially deleterious traits, including undescended testicles, kinked tails, atrial septal defects,
            and poor semen quality (Hedrick and Fredrickson 2010, pp. 618, 620). The inference of
            inbreeding depression was supported by improved fitness and decreased frequency of rare traits
            following outbreeding programs (Hedrick and Frederickson 2010, pp. 622-623).

            Small, isolated populations are also more vulnerable to random loss of genetic variation known
            as genetic drift. In large populations, where even rare alleles are likely carried by multiple
            individuals, genetic variability is usually maintained because the loss of alleles through drift is
            counterbalanced by the addition of alleles through mutation. In small populations, rates of drift
            are higher than mutation rates because rare alleles are carried by fewer individuals, and over
            generations genetic variation declines. In very small populations, the increase in homozygosity
            resulting from inbreeding can intensify drift and lead to abrupt declines in genetic variation
            within a few generations, an event known as a genetic bottleneck.

            Genetic health is typically assessed using a variety of metrics, including effective population size
            and measures of genetic diversity (e.g., allelic richness, heterozygosity, inbreeding rate) .
            Modeling of population genetics has allowed scientists to estimate minimum population sizes
            needed to avoid the short-term effects of inbreeding depression and the long-term effects of loss
            of genetic variation. However, in these contexts population size does not refer to the census
            population size, but to a metric known as effective population size (Ne), usually derived using
            genetic data. Effective population size (No) is the size at which a hypothetical population begins
            losing genetic diversity at the same rate as the observed population (Kamath et al. 2015, p.
            5507). To maintain short-term fitness (i.e., avoid inbreeding depression), Franklin (1980, pp.
            140, 147) and Miller and Waits (2003, p. 4338) suggested that Ne should be greater than 50.
            Additionally, Franklin (1980, p. 147) suggested that an Ne of at least 500 is needed to maintain
            long-term evolutionary potential through additive genetic variance. These short- and long-term
            criteria are referred to as the "50/500 rule." The 50/500 rule is imprecise and does not account
            for human management, but could be useful as a broad guideline when case-specific studies are
            not available (Franklin 1980, pp. 147-148). Reported ratios of Ne/N¢ for grizzly bear populations
            vary widely from 0.04 to 0.6 (Allendorf et al. 1991, pp. 652-653, Paetkau et al. 1998, p. 424,
            Miller and Waits 2003, p. 4337, Schregel et al. 2012, pp. 3483-3484). For the GYE, ratios of
            Ne/Nc of 0.27 to 0.42 have been reported (Miller and Waits 2003, p. 4338, Kamath et al. 2015, p.
            5513). Ratios of Ne/N¢ vary between species and can even vary within a species, therefore



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            conclusions based on inference should be viewed cautiously (Jamieson and Allendorf 2012, p.
            579).

            Metrics to measure genetic diversity include allelic richness, heterozygosity, and inbreeding rate.
            Low heterozygosity values can be indicative of small and/or genetically isolated populations,
            which may reflect potential current or past population bottlenecks, whereas high heterozygosity
            values are indicative of genetic variability that is typically associated with larger and
            interconnected populations. Allelic richness (number of alleles/locus) is an index of genetic
            diversity, which reflects a population's long-term capacity to respond evolutionarily to selective
            pressures other than current ones. Inbreeding is a result of mating events among close relatives
            and may lead to expression of deleterious alleles, potentially affecting individual bears' ability to
            reproduce and survive at otherwise normal rates, which is referred to as "inbreeding depression."
            To maintain short-term fitness (i.e., evolutionary response), Franklin (1980, pp. 140) suggested
            that the rate of inbreeding should be less than l percent per generation, which is equivalent to an
            Ne of 50. Other demographic factors that can reassure biologists that there are not manifestations
            in the population of inbreeding depression include: healthy reproduction and survival, such as
            normal litter size, no evidence of disease, high survivorship, an equal sex ratio, normal body size
            and physical characteristics, and a stable to increasing population.

            Connectivity, or dispersal and successful immigration, of males or females enhances genetic
            diversity and reduces genetic fragmentation (i.e., provide genetic or demographic connectivity,
            respectively) (Miller and Waits 2003, pp. 4337-4338, Proctor et al. 2005, pp. 27-28). As few as
            one to two effective migrants per generation can maintain or enhance genetic diversity (Mills and
            Allendorf 1996, p. 1510, 1516, Newman and Tall non 2001, pp. 1059-1061, Miller and Waits
            2003, p. 4338). Female immigration is necessary to enhance population growth rate (i.e.,
            provide demographic connectivity), which is particularly important for small populations
            (Proctor et al. 2012, pp. 5, 26-28). Female grizzly bears generally disperse short distances, often
            overlapping with their maternal home range, and therefore demographic connectivity requires
            habitat to support female residents in potential connectivity areas between ecosystems (McLellan
            and Hovey 2001, pp. 841-843, Servheen et al. 2001, p. 164, Proctor et al. 2005, pp. 2413-2415,
            Proctor et al. 2012, p. 35, Proctor et al. 2015, pp. 8-12, Proctor et al. 2018, pp. 356-361).
            Additional data are needed to determine thresholds for adequate habitat to facilitate genetic and
            demographic connectivity. However, Proctor et al. (2018, pp. 358-363) documented improved
            connectivity in identified linkage areas after the implementation of measures to reduce human-
            caused mortality (i.e., attractant storage and motorized access reductions) and improve habitat
            security (i.e., motorized access reductions), which is particularly important for demographic
            connectivity as females will likely need to live in linkage areas.

             Connectivity and Genetic Hea/t/7 in the G)m5

            Effective population size and genetic diversity (e.g., allelic richness, heterozygosity, inbreeding
            rate), in addition to ether indicators of genetic health (e.g., reproduction, survival), are monitored
            by the IGBST for the GYE grizzly bear population (in their entirety: Miller and Waits 2003 ,
            Haroldson et al. 2010, Kamath et al. 2015). Recent data indicate an extremely low rate of
            inbreeding and an increase in the effective population size over the 25-year period of 1982 to
            2007, substantially reducing the prospects of potential negative effects associated with isolation

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            of the GYE population in the short term. These findings are likely a function of significant
            growth of the GYE grizzly population during the same 25-year period. Additionally, other
            measures of genetic health, such as heterozygosity and allelic richness, have not changed over a
            similar 25-year time period of 1985 to 2010 (Kamath et al. 2015, p. 5512).

             Effective Population Size

            Two studies have estimated Ne for the GYE grizzly bear population during different time periods
            over the last century using various methods. Both studies reported an increase in Ne over time,
            with the greatest increase indicated by the most contemporary data (Miller and Waits 2003 ,
            entire, Kamath et al. 2015, entire). Miller and Waits (2003, p. 4338) calculated maximum-
            likelihood estimates of Ne and found that Ne increased from 80 individuals across the period
            from the 1910s to the 1990s to more than 100 individuals during the late 1990s. Kamath et al.
            (2015, p. 5512) used a temporal-based method (variance effective population size or Neva to
            recalculate the data from Miller and Waits (2003, p. 4337) and found similar results (i.e., Nev of
            180 in the 1910s-1960s), however, they estimated an Nev of 280 individuals for the more recent
            time period of 1982-2007, a 3- to 4-fold increase over the earlier period. In addition, Kamath et
            al. (2015, p. 5512) used the Estimator of Parentage Assignment (EPA) method to estimate Ne for
            the GYE grizzly bear at 469 (95% CI = 284-772) in 2007, a 4-fold increase from an estimator by
            parentage assignments (EPA)-based estimated Ne of 102 (95% CI = 64-207) in 1982 (Kamath et
            al. 2015, p. 5512). The mean EPA-derived Ne during 1982-2007 was estimated at 274, and the
            harmonic mean [a frequently used metric in population genetic analyses incorporating variability
            in size over time] as 213. Other approaches to estimate Ne yielded estimates of 202-319 for the
            time period 1982-2007. This increase in EPA-base Ne was evident regardless of the specified
            probability of parentage assignment used (i.e., 0.80 or 0.95), and is supportive of increases in
            population size, from approximately 136 to 312 individuals at the time of listing in 1975 (Cowan
            et al. 1974, pp. 32, 36, Craighead et al. 1974, p. 16, McCullough 1981, p. 175) to 571
            individuals in 2007 using the model-averaged Chao2 estimator (Haroldson 2008, p. 10). The
            model-averaged Chao2 underestimates the number of bears, and the population in 2007 was
            likely 30-40 percent higher than the 571 reported (Schwartz et al. 2008, figure 5, Cherry et al.
            2007, p. 16). Kamath et al. (2015, p. 5514) noted that even for an isolated population such as the
            GYE grizzly bear population, increases in Ne will slow the loss of genetic variation over the long
            term (100-200 years) and thus will decrease the risk of inbreeding depression.

            The estimated Ne levels from these studies reflect a population with extremely low risk of
            inbreeding depression, or similar adverse effects over the next few decades. To maintain short-
            term fitness (i.e., maintain response to natural selection and avoid inbreeding depression),
            Franklin (1980, pp. 140, 147) and Miller and Waits (2003, p. 4338) suggested that Ne should be
            greater than 50 individuals. Miller and Waits (2003, p. 438) conclude that "Ne is likely to be
            near or > 100 [and] it is unlikely that genetic factors will have a substantial effect on the
            viability of the Yellowstone grizzly over the next several decades." The current estimates of
            EPA-based Ne of 280 to 469 grizzly bears in the GYE are sufficiently large for inbreeding
            avoidance (i.e., Ne > 50) over the short term, and are approaching, but have not yet achieved
            levels of Ne that would support long-term genetic viability (Ne > 500) (Franklin 1980, pp. 140,
            147, Kamath et al. 2015, p. 5517).


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            Genetic Diversity

            We use heterozygosity, allelic richness, and inbreeding rates to monitor genetic health of the
            GYE grizzly bear population. Given the isolated nature of the GYE population, it will likely lose
            allelic richness and heterozygosity over time without genetic connectivity but evidence from
            multiple genetic studies indicate this loss would be extremely small due to the large population
            size. Heterozygosity values for the GYE grizzly bear population have been relatively stable over
            the last few decades (heterozygosity = 0.60-0.61) (Haroldson et al. 2010, p. 4338, Kamath et al.
            2015, p. 5512). When limited to eight microsatellites common to Miller and Waits (2003, p.
            4337) and corrected for differences in sample sizes, heterozygosity indices were stable from
            1985 to 2010 (Kamath et al. 2015, p. 5512). Based on observed heterozygosity and year of birth
            of 1,130 grizzly bears in the GYE, Paetkau (2019, in list.) calculated a rate of decline in
            heterozygosity of 0.0007 per year, implying a total loss of heterozygosity of 0.028 over the past
            40 years, from 1979 to 2019. These heterozygosity values (0.6549) are slightly below average
            for 19 North American brown bear populations (Cronin et al. 2012, p. 875) and lower than
            values in the NCDE (heterozygosity = 0.730) (Kendall et al. 2009, p. 12), which is connected to
            populations in Canada. However, heterozygosity values for the GYE are higher than the Selkirk
            Mountains (heterozygosity = 0.54), which was isolated for several decades but likely
            experienced greater genetic drift than the GYE due to its much smaller population size (Proctor
            et al. 2005, p. 2411, Proctor et al. 2012, pp. 12, 16, 33). They are also higher than the naturally
            isolated Kodiak brown bear (heterozygosity = 0.2985) (Paetkau et al. 1998, p. 421, Proctor et al.
            2012, pp. 12, 16).

            Kamath et al. (2015, p. 5512) also demonstrated no statistical support for a decline in mean
            allelic richness (A) for the GYE grizzly bear population from 1985 to 2010 (A 1985 = 4.65, A2010 =
            4.52). When limited to eight microsatellites common to Miller and Waits (2003, p. 4337) and
            corrected for differences in sample sizes, allelic richness for the 1990s were similar across
            studies, and there was no significant evidence of a decline in allelic richness from 1985 to 2010
            (Kamath et al. 2015, p. 5512). These values fall within the range of allelic richness (2. 13 to
            8. 13) for grizzly bear populations within North America (Paetkau et al. 1998, p. 421, Cronin and
            MacNeil 2012, p. 875).

            The rate of inbreeding for the GYE grizzly bear population has been well below the 1 percent
            theoretical guidance set forth by Franklin (1980, p. 140), and has improved over the last several
            decades: Kamath et al. (2015, p. 5512) reported a 0.2 percent rate of inbreeding from 1985 to
            2010, or approximately 0.1 percent per generation, an improvement from the 0.5 percent per
            generation estimated by Miller (2006, in jin.) based on an Ne approaching 100 in the late 1990s.
            These trends match those observed for the Ne estimates and strengthen overall inference of the
            contemporary genetic analyses by Kamath et al. (2015, entire) .

            Evidence from other of small and/or isolated brown bear populations suggest that the GYE
            population may be able to withstand long-term genetic effects. The brown bear population on
            Kodiak Island, Alaska, has been isolated for thousands of years on an island similar in size
            (9,311 km; (3,595 mi2)) to YNP (8,983 km2 (3,468 mi2)), and has one of the lowest documented
            heterozygosity (0.265) and allelic richness (2, 13) values in brown bear populations worldwide.
            However, the population appears to be healthy and productive with an estimated annual

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            population growth of 1.4 percent during 1995-2005, while supporting a sustainable harvest that
            has consistently yielded some of the largest bears in North America (Troyer and Hensel 1964,
            pp. 770-772, Barnes and Smith 1998, p. 6, Paetkau et al. 1998, p. 421, Van Daele and Barnes
            2010, entire). The GYE population is smaller than the estimated population size for Kodiak
            brown bears (approximately 2,600 individuals) (Barnes and Smith 1998, p. 1), but genetic
            diversity in the GYE is more than double than values reported for Kodiak bears. No phenotypic
            signs (i.e., physically observable characteristics) of inbreeding have been documented in either
            population.

             Connectivity

            Genetic diversity in species consisting of disjunct populations is typically maintained through
            genetic connectivity between populations and as few as one to two effective migrants per
            generation can maintain or enhance genetic diversity (Mills and Allendorf 1996, p. 1510, 1516,
            Newman and Tall non 2001, pp. 1059-1061, Miller and Waits 2003, p. 4338). An effective
            migrant is an individual that immigrates into an isolated population from a separate area,
            survives, breeds, and whose offspring survive. No effective migrants into the GYE have been
            detected to date, however, based on the 2018 estimates of occupied range for grizzly bears in the
            GYE and NCDE, and verified outlier observations, the likelihood of genetic connectivity through
            natural bear movement is better now than at any other time since listing in 1975. The Euclidean
            distance between GYE and NCDE grizzly bear occupied range in 2018 is 75 km (47 mi, Figure
            29) (Bjornlie 2019, in lift), a decrease of 47 km since 2006. In addition, there have been
            numerous confirmed sightings outside of occupied range between the two ecosystems, such as
            Big Hole Valley, and the Big Belt, Little Belt, Elldiorn, Deer Lodge, and Pioneer Mountains
            (Figure 29). Nonetheless, successful immigration events will likely remain rare due to distance
            and barriers unless current distributions continue to expand (Peck et al. 2017, pp. 15-16). Peck
            et al. (2017, entire) modeled potential male dispersal paths between the NCDE and GYE. These
            dispersal paths could be used to identify and prioritize conservation efforts that foster
            connectivity .

            To document natural connectivity between the GYE and the NCDE, Federal, Tribal, and State
            agencies monitor bear movements with telemetry on the northern periphery of the GYE grizzly
            bear range and the southern periphery of NCDE occupied range, and collect genetic samples
            from all captured or dead bears to document possible gene flow between the two ecosystems
            (MFWP 2013, p. 71, YES 2016a, pp. 52-54, NCDE Subcommittee 2020, pp. 29-30). An
            "assignment test" based on these genetic samples can detect a migrant, or their descendants, and
            identify the population from which it most likely originated based on their unique genetic
            signature (Paetkau et al. 1995, p. 348, Waser and Strobeck 1998, p. 43, Paetkau et al. 2004, p.
            56, Proctor et al. 2005, pp. 2410-2412, Haroldson et al. 2010, p. 7). This technique also
            identifies offspring of reproduction between grizzly bears from the GYE and NCDE, or other
            source populations (Dixon et al. 2006, p. 158, Haroldson et al. 2010, p. 7). However, detection
            of a migrant or their descendants is dependent on the intensity of sampling efforts.




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                        North
                      Cascades
                                                   Selkirk'




                                     WASHING'l'0N




                                                                                                                   MONTANA




                                                                              litterrfi



                         Verified outliers 2010 to 10-15-2020
                 M Estimated distributions
                 1_1 Northern Continental Divide DMA
                  _:I Greater Yellowstone DMA                                 IDAHO
                 i=i Bitterroot RZ
                 L_] Cabinet-Yaak RZ                                                                                      WYOMING
                 l_l Greater Yellowstone RZ
                       l Northern Continental Divide RZ
                       North Cascades RZ
             l
                       Selkirk RZ                       ii      35   70   :~ 140 41
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                                                                                                I kilometers
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            Figure 29. Estimated distribution of grizzly bears in the NCDE (2009-2018 data), GYE (2004-2018 data), CYE (2005-2019
            data), and SE (2005-2019 data), and verified grizzly bear outlier observations between the ecosystems based on data from
            2010 to October I5, 2020.


            In addition to monitoring gene flow and movements, the signatories to the 2016 GYE
            Conservation Strategy identified and committed to a protocol to encourage maintaining or
            enhancing landscape conditions that promote grizzly bear movement between the GYE and other
            ecosystems (YES 2016a, pp. 85-86). Connectivity between the GYE and the NCDE is a long-
            term goal for the State of Montana, as set out in their Grizzly Bear Management Plan for
            Southwestern Montana (MFWP 2013, pp. 41-44, NCDE Subcommittee 2020, pp. 20, 31). In
            addition, the Grizzly Bear Management Plan for Southwestern Montana indicates that
            connectivity will be considered when relocating grizzly bears (MFWP 2016, pp. 4-5). If and
            when grizzly bears are documented to be present in areas between the NCDE management area
            and the DMA of the GYE, such as the Tobacco Root and Highland Mountains, maintaining their
            presence through reducing conflict-related mortality would likely facilitate potential grizzly bear
            movements between the NCDE and GYE.

            Additional mechanisms to promote natural connectivity include public outreach and education,
            attractant storage rules, highway crossing structures, and habitat protection (e.g., easements and
            conservation trust land acquisitions). Attractant storage rules on public lands between the GYE
            and other grizzly bear recovery zones in the NCDE and BE would help to reduce human-grizzly

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            bear conflicts (see Preventative Measures for further details on attractant storage), increasing the
            likelihood that bears within connectivity corridors will survive. Highway planning can facilitate
            connectivity (YES 2016a, p. 85), where state transportation agencies are actively requesting
            information about grizzly bear data, including locations of highway-related mortalities and
            documented crossings, and information from state and federal wildlife agencies on proposed
            projects. Grizzly bears successfully used crossing structures in Alberta, with increasing use over
            time and a preference for larger structures in terms of height, width, and length (Clevenger and
            Waltho 2005, p. 453, Sawaya et al. 2014, p. 7). Distance to forest cover was also positively
            correlated with grizzly bear use of crossing structures, whereas human activity (i.e., traffic noise)
            was negatively correlated with use (Clevenger and Waltho 2005, p. 459). Lastly, the Service
            currently partners with several NGOs who work on conservation of important habitat linkage
            areas (see Land Development for further discussion). We do not consider connectivity to the east
            or south a relevant issue to the GYE grizzly bear population's long-term persistence because
            there are no extant populations in these directions to enhance the genetic diversity of the GYE
            population. However, we recognize the GYE grizzly bear population could be a possible source
            population to re-colonize the BE to the west and could provide an indirect connection to the
            NCDE.

            Translocation

            The current estimated effective population size of approximately 280 to 469 animals (Kamath et
            al. 2015, p. 5512) in the GYE is sufficiently large to avoid substantial accumulation of
            inbreeding depression and maintain genetic health over the short term. However, the long-term
            capacity of the GYE grizzly bear population to respond to future changes in selective pressures
            would improve by occasional gene flow (one to two effective migrants per generation interval
            (10-15 years)) from nearby grizzly bear populations, such as the NCDE. Additionally, the Ninth
            Circuit concluded that adequate measures to ensure long-term genetic health are necessary (Crow
            Indian Tribe v. United States, 965 F.3d 662 lath Cir. 2020).

            Efforts mentioned above (I & E programs, attractant storage rules, highway crossing structures,
            and habitat protection) to facilitate natural connectivity between the NCDE and GYE will
            continue. These efforts, however, cannot ensure connectivity. Translocation of bears between
            these ecosystems could act as a precautionary measure to maintain or enhance genetic diversity
            (Miller and Waits 2003, p. 4338). Translocation has been successfully deployed in the CYE
            (Kasworm et al. 2020a, pp. 24-25). Kasworm et al. (2020a, pp. 24-25) documented
            reproduction of three of the 10 individuals that stayed in the target area and survived for more
            than 4 months after release (see Augmentation Program in the CYE below for further details).

             Connectivity and Genetic Hea/t/7 in the NCDE

            The NCDE grizzly bear population is genetically diverse, large enough to ensure genetic health,
            and genetically and demographically well connected to Canadian populations, and we have no
            reason to believe genetic health will affect the continued existence of the population.
            Nevertheless, ongoing genetic sampling and radio telemetry enables scientists to examine
            movements, genetic diversity, and population structure within the NCDE grizzly bear population


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             (in their entirety: Kendall et al. 2008, Kendall et al. 2009, Mace et al. 2012, Proctor et al. 2012,
             Mikle et al. 2016a, Morehouse et al. 2016).

             Effective Population Size

            Currently, no reliable effective population size estimates have been calculated fer the NCDE
            grizzly bear population. Pierson et al. (2018b, entire), estimated that Ne in the NCDE ranged
            from 61 to 191, depending on the method used to estimate Ne. However, the authors note that Ne
            for the NCDE is underestimated because of substructuring within the population (i.e., reduced
            gene flow between subpopulations within the NCDE), this underestimation is particularly
            notable because estimates for Ne are higher inside GNP, a segment of the NCDE, than for the
            estimate for the entire NCDE (Pierson et al. 2018a, p. 7). In addition, several assumptions of
            estimating Ne, such as random mating, equal sex ratio, non-overlapping generations, and spatial
            structure, are violated in grizzly bear populations (Waples 2005, pp. 3349-3350, Waples and
            England 2011, pp. 633, 640, Neel et al. 2013, pp. 190, 194-196, Gilbert and Whitlock 2015, p.
             2155).

            Given that the NCDE has a current estimated population size of approximately 1,068 bears, if the
            NCDE were assumed to have the same Ne/Nc ratio as the GYE, its current Ne would be
            approximately 278-432 bears. However, we believe that the Ne is likely larger than this estimate
            because, unlike the GYE, the NCDE population is not geographically isolated from other bear
            populations, and there is ongoing connectivity with Canadian populations (Service 1993, p. 12,
            Kendall et al. 2009, pp. 3, 10, 12, Proctor et al. 2012, p. 28). The effective population size of the
            larger grizzly bear population to which the NCDE is connected likely has a Ne greater than 500,
            therefore, Ne is not considered a risk to the genetic health of the NCDE population.

            Genetic Diversity

            Measures of heterozygosity and allelic richness from the NCDE in 2004 (heterozygosity = 0.73,
            A = 8.6), are similar to those from undisturbed populations in Canada (heterozygosity 0.68, A
            = 6.5) and Alaska (heterozygosity = 0.75, A = 7.6), leading to the conclusion that the NCDE
            population has high genetic diversity and is sufficiently connected to other bear populations
            (Paetkau et al. 1998, p. 421, Kendall et al. 2009, p. 12, Proctor et al. 2012, p. 12).

             Fragmentation within the NCDE

            Proctor et al. (2012, entire) used genetic information and movement data from radio-collared
            grizzly bears between 1979 and 2007, to assess fragmentation in grizzly bear populations in the
            U.S. and Canada (Figure 15). Data from radio-collared bears demonstrated that both male and
            female grizzly bears moved across the U.S.-Canadian border on the northern edge of the NCDE
            (Proctor et al. 2012, pp. 21, 25). Based on those movements and on recent measures of genetic
            diversity, there is currently little risk of significant reduction in the present high levels of genetic
            diversity (Proctor et al. 2012, p. 39).

            Kendall et al. (2009, p. 10) identified six subpopulations in the NCDE that are a result of
            historically low levels of genetic interchange between these subpopulations, however, the

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            difference in heterozygosity between the subpopulations was low. Subpopulation boundaries did
            not coincide with natural or anthropogenic geographic features, and are most likely a result of
            multigenerational matrilineal assemblages (Steen et al. 2005, p. 6). The only suggestion of
            human-caused population fragmentation within the NCDE was on the western side of the U.S.
            Hwy. 2 / BNSF rail line corridor between GNP and USFS lands where historically mortality
            rates from vehicle and train collisions were higher compared to other areas of the ecosystem.
            However, the long-term trend in mortality as a result of train collisions has decreased as a result
            of mitigation measures that have been implemented by BNSF rail line (MFWP, unpublished
            data). Conversely, there was little genetic differentiation across the eastern portion of the
            corridor (Kendall et al. 2009, p. 10).

            In recent years, connectivity within the ecosystem has mostly restored the genetic diversity
            across the NCDE. Genetic differentiation between subpopulations decreased when genetic data
            from 1976-1998, was compared to data from 1999-2006, a finding consistent with demographic
            recovery of the population (Kendall et al. 2009, p. 10). In addition, heterozygosity increased in
            three regions south of the Hwy. 2 corridor in the NCDE from 2004 to 2013 (2004: 0.69, 0.67,
            and 0.70, 2012: 0.76, 0.73, and 0.70) (Mikle et al. 2016b, supplementary table 3), these regions
            generally lined up with three of the subpopulations identified in Kendall et al. (2009, p. 4) .
            While managers remain vigilant about the possible fragmenting effects of the U.S. Hwy. 2
            corridor, frequent male and female movements have been documented across this corridor
            (Waller and Servheen 2005, pp. 992, 996), indicating that the current state of fragmentation
            along this corridor does not prevent demographic and genetic connectivity of grizzly bears
            within the NCDE (Waller and Servheen 2005, pp. 996-998).

             Connectivity

            The NCDE population (south of the Canadian border) is connected to and functions as part of a
            larger trans-border grizzly bear population (2012, pp. 20-21, 39). Habitat fragmentation and
            human-caused mortality along Hwy. 3 in Canada has created a partial fracture to bear
            movements, particularly for females, to the grizzly bear population north of Hwy. 3 in Canada
            (Proctor et al. 2002, pp. 156-158, Proctor et al. 2005, pp. 2412, 2414, Proctor et al. 2012, pp.
            20-21, 39). Based on grizzly bear movements across Hwy. 3 in Canada and on recent measures
            of genetic diversity, males are providing genetic connectivity and there is currently little risk of
            significant reduction in the present high levels of genetic diversity (Proctor et al. 2012, p. 39).
            However, enhanced connectivity management is desirable across Hwy. 3 in Canada (Proctor et
            al. 2005, pp. 2414-2415). Additional information on populations and management in B.C. is
            provided in Appendix E.

             Connectivity and Genetic Hea/t/7 in the CVE

            Proctor et al. (2012, entire) used several metrics to evaluate the genetic status of grizzly bears
            in the CYE. They found that genetic diversity in the Yaak portion of the CYE was comparable
            to ether healthy grizzly bear populations in North America. The sample size of native Cabinet
            bears was insufficient to include in the analysis. As discussed above, Miller and Waits (2003)
            recommended that effective population size remain above 100 animals in an isolated
            population to avoid negative, short-term genetic effects associated with small population size.

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            Because habitat in the CYE recovery zone cannot support a grizzly bear population of this
            size, it is important to maintain connectivity with other populations. Female movement and
            reproduction provides demographic and genetic rescue to a population, whereas male
            movement and reproduction may only provide genetic rescue. Telemetry from collared
            animals indicates that grizzly bears move freely across the length of the international border
            from the CYE into and out of the Yahk grizzly bear population unit in B.C. immediately north
            of the international boundary (Kasworm et al. 2020a, p. 72-99). B.C. Hwy. 3 is a potential
            fracture area that divides the north and south Purcell Mountains. Data suggests that the Yaak
            River portion of the CYE ecosystem has experienced gene flow from B.C. grizzly bear
            populations. Using capture, telemetry, and DNA data, 14 individuals (II males, 3 females) are
            known to have moved into the Yaak portion of the CYE from the NCDE, SE, and the North
            Purcells in Canada (north of Hwy. 3), not including augmentation bears. Reproduction was
            documented for three (two males, one female) of these individuals, all from the North Purcells,
            resulting in four offspring in the CYE (Kasworm et al. 2020a, p. 32). No gene flow is known
            to have occurred from the NCDE or SE into the Yaak or Cabinets portions of the CYE. While
            there is evidence of movement into the Cabinets from the Yaak, NCDE, and the SE,
            reproduction that would contribute to the genetic health of the population has not been
            documented for any emigrants (see Augmentation Program in the CYE below).

            Of additional concern is population linkage between the Yaak and Cabinet portions of this
            recovery zone, which are split along Hwy. 2 (Proctor et al. 2012, p. 12, Kendall et al. 2016,
            pp. 320-321). The Yaak population is larger and connected to Canadian populations to the
            north, making it more genetically diverse than the Cabinet population (Proctor et al. 2012, p.
            12, Kendall et al. 2016, pp. 320-321). Based on DNA analysis, only three individuals (all
            males) were detected on both sides of Hwy. 2 from 2012 to 2019 (Kendall et al. 2016, p. 325,
            Kasworm et al. 2020a, p. 32).

            Moreover, while the Yaak portion of the recovery zone is connected with Canadian
            populations to the north, these Canadian populations are becoming increasingly fragmented
            from the rest of Canada by Canadian Hwy. 3 (Figure 15) (Proctor et al. 2012, pp. 17, 18, 33,
            Proctor et al. 2015, pp. 10-11). This highway is at least a partial barrier to demographic
            connectivity, as females only accounted for 13 percent (4 of 30) of all known migrant
            movements between population units in the transborder areas and adjacent U.S. recovery zones
            (Proctor et al. 2005, p. 2411, Proctor et al. 2012, p. 25, Proctor et al. 2015, pp. 10-11). Of the
            four females documented migrating between population units in Canada, two moved from
            areas entirely within Canada to areas that straddled the international border (i.e., the SE and
            NCDE) (Proctor et al. 2012, p. 25). These female migration movements demonstrate that
            limited demographic connectivity with Canadian populations exists while highlighting the
            importance of maintaining connectivity between U.S. and Canadian populations.

            Maintaining or increasing current levels of genetic diversity in the CYE would help ensure
            genetic concerns do not become a threat in the future. Small population size makes this
            grizzly bear population more vulnerable to genetic, demographic, and environmental
            stochasticity. Natural connectivity would alleviate potential future genetic concerns, reduce
            extinction risk due to small population size, and increase this population's resilience to
            environmental and climate change impacts. Designation of the Salish DCA, with

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            accompanying habitat protections, is designed to promote connectivity from the NCDE to the
            CYE over the 34-105 km (21-65 mi) distance between these areas.

             Augmentation Program in the CYE

            In the Cabinet Mountains portion of the CYE, researchers and managers have been augmenting
            the small population by introducing one to two grizzly bears a year from 1990-1994 and since
            2005. All bears have originated from the NCDE or just north of the NCDE in B.C. Grizzly bear
            research indicated that only a small population remained (less than 15) in the Cabinet Mountains
            portion of the CYE as of 1988 (Kasworm and Manley 1988, p. 98). Concern over persistence of
            grizzly bear populations within this area resulted in a pilot program in 1990 that tested
            population augmentation techniques. Four subadult female bears with no history of conflicts
            with humans were captured in north fork of the Flathead in B.C. and moved to the Cabinet
            Mountains for release during 1990-1994 (Kasworm et al. 2013, p. 2). B.C. was selected as a
            source for augmentation bears because of the ability to capture non-conflict bears of appropriate
            age and sex, and similarity of habitat and food sources to the CYE (Service 1990, pp. 10, 23).
            By 2005, at least one augmentation bear was identified as remaining in the Cabinet Mountains
            and having reproduced (Kasworm et al. 2007, pp. 1263-1264). The success of the augmentation
            test program prompted additional augmentation between populations in the U.S. Beginning in
            2005, in cooperation with MFWP, ten female bears and eight male bears were moved from the
            Flathead River to the Cabinet Mountains during 2005-2019 (Kasworm et al. 2020a, pp. 24-26) .
            Of 22 bears released through 2019, 11 were known to have remained in the target area for more
            than a year. One of the individuals that left the area initially was recaptured and brought back
            and another individual returned to the target area a year after leaving. DNA analysis from hair
            corrals has been occurring since 2000 and from rub trees since 2012. Based on this analysis, one
            female is known to have produced at least 10 first generation, 16 second generation, and one
            third generation offspring. This female was a 2-year-old female that was released in 1993 as part
            of the augmentation program. Another female is known to have produced three offspring and a
            male is also known to have produced one offspring (Kasworm et al. 2020a, p. 31). Of 22 bears
            released through 2019, 8 are known to have left the target area (one was recaptured and brought
            back, two returned in the same year, and one returned a year after leaving), three were killed
            within 4 months of release, and one was killed 16 years after release (Kasworm et al. 2020a p.
            25). Annual survival rates of augmentation bears (0.802) is lower than native subadult female
            CYE bears (0.847) (Kasworm et al. 2020a, pp. 37, 39).

            Data collected since the 1988 population estimate new suggest the population may have been
            even smaller than the previously thought estimate of 15 or fewer individuals in 1988. However,
            this recent data also suggests that the number of grizzly bears in the Cabinet portion of the CYE
            has increased to 22-24 bears (Kendall et al. 2016, p. 314), almost exclusively through the
            augmentation effort and reproduction from those individuals (Kasworm et al. 2020a, p. 31).
            Genetic diversity in the Cabinet Mountains portion of this population remains a concern. Thirty-
            six offspring are known arising from five founders in this population. Twenty-six of these 36
            individuals had the same father (Kasworm et al. 2020a, p. 31). This male died in 2019 and other
            males are expected to contribute offspring in succeeding generations. The augmentation
            program began transplanting males in 2010 and at least one of those individuals is known to have
            sired offspring. Male augmentation is expected to continue. Eight males from either the Yaak

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            drainage, Selkirk Mountains, or NCDE are known to have traveled into and out of this area but
            no known reproduction has occurred (Kasworm et al. 2020a, p. 31). Most of these individuals
            are known to have died or left the area prior to any breeding opportunities.

            Our assessment of genetic health of the CYE is predicated on the management goal of this entity
            being one population. While that may not be true at this moment, we have seen recent events
            toward reconnecting the Cabinets and Yaak portions through the monitoring of bear movements
            in the last decade. Where previously we saw no movement from the Yaak to the Cabinets during
            1980-2010, we have documented several instances in the last 10 years (Kasworm et al. 2020a, p.
            32). Though we have not yet seen any gene flow, we attempt to conservatively assess the
            genetic health of the CYE based on the Cabinets portion of this population and this lack of
            demonstrated gene flow.

            While genetic issues may be a concern for this small population in the longer term, currently,
            demographic concerns outweigh those genetic concerns. Movement from other populations into
            the Yaak portion of this recovery area and the continued augmentation from the NCDE reduce
            the level of concern. Isolation of the CYE is more of a concern because of the small population
            size, but recent data indicate increasing movements by males and females and subsequent
            reproduction, resulting in limited, but increasing population connectivity, particularly in the
            Yaak portion of the CYE.

             Connectivity and Genetic Hea/t/7 in the .SE

            Telemetry from collared animals indicates that grizzly bears move freely across the length of
            the international border in the SE (Kasworm et al. 202019, p. 47-61). The area on the B.C.
            side of the border is the South Selkirk population unit. B.C. Hwy. 3 bisects this unit but
            numerous home ranges of collared bears cross this highway (nine males and seven females,
            Kasworm et al. 2020b, p. 47-61).

            Proctor et al. (2012, entire) used several metrics to evaluate the genetic status of grizzly bears
            in the U.S. and B.C. portions of the SE. They found genetic diversity was lower in the SE
            than in other grizzly bear populations in in the lower-48 States and Canada and that the SE
            grizzly bear population had likely been isolated in the recent past. From capture, telemetry,
            and DNA data, seven individuals (six males, one female) are known to have moved into the
            SE from the CYE and the North Purcells in Canada between 2000 and 2019 (Proctor et al.
            2018, pp. 361, 363, Kasworm et al. 2020b, p. 22). Reproduction has been documented for
            two males from the North Purcells, resulting in nine offspring in the SE (Proctor et al. 2018,
            pp. 361, 363-365, Kasworm et al. 2020b, p. 22). These examples of migration into the SE,
            combined with an increase in expected heterozygosity from 0.54 (Proctor et al. 2005, p.
            2411) to 0.57 (Proctor et al. 2018, p. 361). Thirteen of 15 loci tested (the same loci as used
            in Proctor et al. 2005a, p. 2410) increased in heterozygosity while two decreased (1 tailed,
            paired sample I-test, P = 0.07). Furthermore, 13 of 15 loci had an increased number of
            alleles, while 1 declined and another stayed the same (1 tailed paired sample t-test, P <
            0.001) (Proctor et al. 2018, p. 361). These changes demonstrate that the SE is starting to
            increase connectivity with other grizzly bear populations.


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            The lower genetic diversity in the SE is likely a result of a bottleneck effect (Van Dyke 2003,
            pp 149-150). When the grizzly bear was listed in 1975, the SE recovery zone in the U.S. was
            thought to have only a few bears (Layser 1978, p. 78). These numbers gradually increased
            over the next 33 years to an estimated population of roughly 83 total animals in the U.S. and
            Canada in 2010 (25 of which were in the U.S.), however, the effects of such a small initial
            population size are evidenced by the lower genetic diversity values documented in 2007
            (Proctor et al. 2012, pp. 12, 31).

            Despite the lower levels of genetic diversity in the SE, there have been no detectable
            consequences on grizzly bear morphology, physiology, ecology, or biology related to these
            differences in genetic diversity as evidenced by normal litter size, little evidence of disease,
            an equal sex ratio, and normal physical characteristics such as body size and weight
            (Wakkinen and Kasworm 2004, pp. 71-72, Kasworm et al. 2020b, pp. 25-26, 40-4lin
            pop-)~

            Because current levels of genetic diversity are net translating into any documented detectable
            deleterious effects, we do net consider genetic concerns to be a threat to grizzly bears in the
            SE. Because of the SE population's small size, its isolation is of more concern, but recent
            data indicate increasing connectivity and movements by both males and females.
            Maintaining or increasing current levels of genetic diversity in the SE would help ensure
            genetic concerns do not become a threat in the future. Small population size makes the SE
            grizzly bear population more vulnerable to genetic, demographic, and environmental
            stochasticity. Although connectivity has been documented in the SE, increased natural
            connectivity would alleviate potential future genetic concerns, reduce extinction risk due to
            small population size, and improve this population's resilience to environmental and climate
             change impacts.

             Connectivity and Genetic Hea/t/7 in the BE

            There is currently no known population in the BE and isolation is a concern for any future
            populations. However, multiple grizzly bears have been confirmed in areas immediately
            surrounding the recovery zone over the last 15 years. In addition, current distributions of grizzly
            bears in the GYE and NCDE continue to expand (NCDE and BE are only 7 km (4.3 mi) apart
            and multiple verified sightings have occurred between them and the BE. To date, all verified
            occurrences of grizzly bears entering the BE have been males and female immigration is also
            needed for natural recolonization. Female immigration is anticipated to be slower given their
            shorter dispersal distances and potential barriers (e.g., I-90). However, these examples indicate
            that connectivity between other ecosystems (CYE, SE, GYE, NCDE) and the BE is possible.

             Connectivity and Genetic Hea/t/7 in the North Cascades

            There is currently no known population in the North Cascades and natural recolonization is
            unlikely in the near future due to the low numbers of bears in nearby populations and the highly
            fragmented landscape in between (NPS and Service 2017, p. 5). However, if a population is
            established in the North Cascades, there are populations close enough that could provide a male
            immigrant, thereby ensuring long-term genetic fitness. There are at least three populations

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            within long-distance male dispersal range (67-176 km (42-109 mi)) (Blanchard and Knight
            1991, pp. 50, 55, McLellan and Hovey 2001, p. 841, Peck et al. 2017, p. 2), from the North
            Cascades, including the Stein-Nahatlatch, Squamish-Lillooet, Garibaldi-Pitt Grizzly Bear
            Population Units in Canada.

            Summary of Connectivity and Genetic Hea/t/7

            Genetic concerns are not an immediate threat to the GYE grizzly bear population (Miller and
            Waits 2003, p. 4338, Kamath et al. 2015, entire). First, as stated by Kamath et al. (2015, p.
            5517), the current effective population size is sufficiently large to avoid accumulation of
            inbreeding depression, thereby reducing concerns regarding genetic factors affecting the viability
            of GYE grizzly bears. Second, the current level of genetic diversity in the GYE grizzly bear
            population coincides with robust demographic vital rates (i.e., reproduction, survival) that are
            fully comparable with other growing or stable brown bear populations in North America (van
            Manen 2016, in liar). However, the GYE has been isolated for many generations, and could
            benefit from restoration of gene flow (Kamath et al. 2015, p. 5517).

            For the GYE grizzly bear population, potential decreases in genetic diversity would occur
            gradually over decades due to long generational time and relatively large population size (Miller
            and Waits 2003, p. 4338). We remain confident that genetic monitoring, and translocation if
            necessary, will address the ability of future GYE bears to adapt evolutionarily (Hedrick 1995, p.
            1004, Miller and Waits 2003, p. 4338). Reductions in conflict situations through attractant
            storage orders on public lands and other preventative measures (see Preventative Measures for
            further details), promotes genetic connectivity through natural movement. The IGBST monitors
            grizzly bear movements and observations, and the IGBST checks for the presence of alleles from
            grizzly bear populations outside the GYE grizzly bear (YES 2016a, pp. 52-54). The IGBST also
            monitors genetic diversity of the GYE grizzly bear population so that a possible reduction in
            genetic diversity will be detected and responded to accordingly with translocation of grizzly
            bears into the GYE originating from another population in the lower-48 States. In addition to
            possible translocations, measures described in the 2016 GYE Conservation Strategy are and will
            continue to be used to promote genetic connectivity through natural movements. These
            measures include habitat protections, population standards, mortality control, outreach efforts,
            and adaptive management.

            Overall, the NCDE population is genetically and demographically well connected to Canadian
            populations, current levels of genetic diversity are sufficient to support healthy reproduction and
            survival, and the NCDE's current population size ensures genetic health. Accordingly, genetic
            health is not affecting the continued existence of the NCDE grizzly bear population and we do
            not expect that to change in the future. In fact, due to its good genetic health, the NCDE has
            served, and will continue to serve, as a source population for genetic and demographic rescue of
            other grizzly bear populations in the lower-48 States.

            Recent data indicates increasing genetic connectivity and movements between populations
            within the lower-48 States and between these populations and populations Canada. However,
            because of the small populations sizes in the in CYE and SE, and the lack of known populations
            in the BE and North Cascades, isolation is still a potential future threat to the resiliency of these

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            populations. To address this threat, interagency efforts are continuing to provide and maintain
            movement opportunities for grizzly bears, and reestablish natural connectivity and gene flow
            among all grizzly bear populations in the lower-48 States. To document natural connectivity,
            we monitor bear movements near the edges of all populations using a combination of radio-
            collared bears, non-invasive genetic sampling, and motion-triggered wildlife cameras,
            depending on available resources and opportunities. We also collect genetic samples from all
            captured or dead bears to document movements or gene flow between ecosystems. These
            monitoring efforts will continue in the future.

             Food Resources

            The lower-48 States is comprised of highly diverse landscapes containing a wide array of habitat
            types and bear foods. Plant communities vary from grasslands, grain fields, and hay fields at
            lower elevations to extensive conifer forests at mid-elevation to subalpine and alpine meadows at
            high elevations. Contraction of historical range could change the availability of highly energetic
            food resources, such as ungulates, anny cutworm moths, and berries, that could influence grizzly
            bear reproduction, survival, or mortality risk (Mealey 1975, pp. 84-86, Pritchard and Robbins
            1990, p. 1647, Craighead et al. 1995, pp. 247-252).

            Grizzly bear diets are characterized by high variability among individuals, seasons, and years
            (Servheen 1981, p. 119-123,127-128, LeFranc et al. 1987, pp. 24-25, Mattson et al. 1991a, pp.
            1621-1625, Mattson et al. 1991b, pp. 2433-2434, Schwartz et al. 2003a, pp. 568-569, Felicetti
            et al. 2004, pp. 496-499, Gunther et al. 2014, pp. 64-69). They display great diet plasticity and
            switch food habits according to which foods are most nutritious and available (Servheen 1981,
            pp. 119-123,127-128, Kendall 1986, pp. 12-18, Mace and Jonkel 1986, entire, Martinka and
            Kendall 1986, pp. 21-22, LeFranc et al. 1987, pp. 24-25, Aune and Kasworm 1989, pp. 64-72,
            Schwartz et al. 2003a, pp. 568-569, Gunther et al. 2014, pp. 65-69). Grizzly bears are
            successful omnivores, and in many areas almost entirely herbivorous (Kendall 1986, p. 12,
            Jacoby et al. 1999, pp. 924-927, Schwartz et al. 2003a, pp. 568-569, Teisberg et al. 2015, pp.
            10-12). Grizzly bears will consume almost any food available, including living or dead
            mammals or fish, insects, worms, plants, human-related foods, and garbage (Mattson et al.
            1991a, pp. 1621-1622, Mattson et al. 1991b, pp. 2433-2434, Schwartz et al. 2003a, pp. 568-
            569, Gunther et al. 2014, entire). In areas where animal matter is less available, berries, grasses,
            roots, bulbs, tubers, seeds, and fungi are important in meeting protein and caloric requirements
            (LeFranc et al. 1987, pp. 24-25, Schwartz et al. 2003a, pp. 568-569, Gunther et al. 2014, p. 65).
            It is hypothesized that grizzly bears frequently sample new foods in small quantities so that they
            have options in years when preferred foods are scarce (Mattson et al. 1991a, p. 1625). Annual
            changes in feeding strategy have been documented in GYE grizzly bears (Mattson et al. 1991a,
            entire) .

            Though bear diets vary across the range of the species, bears seek to balance protein and
            carbohydrate intake over the nondenning seasons to provide the essential nutrients for growth,
            reproduction, and survival through the denning period (Robbins et al. 2007 pp. 1680-1681,
            Costello et al. 2016a, p. 19).



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             Food Resources in the G)m5

            A comprehensive study of the GYE grizzly bear diet documented over 266 distinct plant and
            animal species ranging from grasses, fungi, berries, and seeds, to fish, carrion, and other meat
            sources (e.g., young and weakened animals) (Gunther et al. 2014, entire). Monitoring foods
            comprising such a diverse diet is challenging, which is why IGBST's current monitoring efforts
            have focused on four foods with relatively high energetic value and for which abundance (or use
            by bears) is relatively easy to measure: ungulates, spawning cutthroat trout, anny cutworm
            moths, and whitebark pine seeds (Mealey 1975, pp. 84-86, Pritchard and Robbins 1990, p. 1647,
            Craighead et al. 1995, pp. 247-252). The discussion below assesses the potential influence of
            the availability of these four food sources on grizzly bears. Although we briefly discuss
            ungulates, cutthroat trout, and army cutworm moths, more details on the specific ways in which
            changes in these food sources could affect the GYE grizzly bear population are discussed in
            detail in the 2007 final rule (72 FR 14866, March 29, 2007, 14928-14933). Our analysis focuses
            on the potential impacts that the loss of whitebark pine could have on the GYE grizzly bear
            population.

            Ungulates

            Grizzly bears consume ungulates as winter-killed carrion in the early spring, kill calves
            opportunistically, consume hunter-killed carcasses OI' gut piles, and prey upon adults weakened
            during the fall breeding season. Although bison and elk are the primary ungulate species
            consumed by grizzly bears in the GYE, they also feed on mule deer, moose, pronghorn, and
            pronghorn sheep. Ungulate populations may be affected by: brucellosis (8rucella aborts) and
            the resulting management practices that can result in bison removal (however, brucellosis is not
            regulating in ungulate populations), chronic wasting disease, hunting regulations outside of
            Yellowstone National Park, and decreasing winter severity. In addition, ungulate availability
            may be affected by competition with other top predators for ungulates as prey, including human
            hunters. Brucellosis does not affect bison as a food source for grizzly bears because it is not a
            threat to the long-term survival of the Yellowstone bison, and the subsequent removal program is
            managed to "maintain a wild, free-ranging population of bison" (NPS and USDA Animal and
            Plant Health Inspection Service 2000, p. 22). Chronic wasting disease is fatal to deer and elk but
            has not been detected in the GYE, and, as transmission is density-dependent (Schauber and
            Woolf 2003, pp. 611-612), chronic wasting disease would not result in local extinction of deer or
            elk populations. The availability of ungulate carcasses is not anticipated to be impacted by either
            of these diseases. The reintroduction of gray wolves (Canis lupus) to the GYE in 1995 has
            created competition between grizzly bears and wolves for carrion, however, there has been no
            documentation of negative influence on the GYE grizzly bear population (Servheen and Knight
            1993, p. 36). Decreasing winter severity and length as a result of climate change could reduce
            spring carrion availability (Wilmers and Getz 2005, p. 574, Wilmers and Post 2006, p. 405). A
            reduction of winter-killed ungulates may be buffered by increased availability of meat to adult
            grizzly bears during the active season as a result of grizzly bears usually prevailing in usurping
            wolf-killed ungulate carcasses (Ballard et al. 2003, p. 262). The Yellowstone bison population
            size has remained within the Interagency Bison Management Plan's recommended range of
            2,500 and 4,500 bison since 2000, with the exception of 2005 and 2007 when numbers exceed
            4,500.

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             Cutthroat Trout

            A decline in the Yellowstone cutthroat trout population has resulted from a combination of
            factors: the introduction of nonnative lake trout (Salvelinus naymaycush), a parasite that causes
            whirling disease (Myxobolus cerebrals), and several years of drought conditions in the
            Intermountain West (Koel et al. 2005, p. 10). Although there has been a corresponding decrease
            in grizzly bear use of cutthroat trout, only a small portion of the GYE grizzly bear population has
            access to this food resource (Haroldson et al. 2005, p. 175), and grizzly bears that fish in
            spawning streams only consume, on average, between 8 and 55 trout per year (Felicetti et al.
            2004,p.499)

             Army Cutworm Moths

            Army cutworm moths aggregate on remote, high-elevation talus slopes where grizzly bears
            forage on them from mid- to late summer. Moth sites are limited to the southeast corner of the
            GYE and only about 25 percent of grizzly bears use moth sites (Haroldson 2020c, in lift).
            Grizzly bears using moth sites could potentially be disturbed by backcountry visitors (White et
            al. 1999, p. 150), but this is currently not a major issue of concern due to the remoteness of these
            sites in the GYE (Nunlist 2020, pp. 83-90). Grizzly bear use of these sites is monitored by the
            WGFD and IGBST. Climate change may affect anny cutworm moths by changing the
            distribution of plants that the moths feed on or the flowering times of the plants (Woiwod 1997,
            pp. 152-153). However, the GYE plant communities have a wide elevational range that would
            allow for distributional changes (Rom re and Turner 1991, p. 382), and army cutworm moths
            display foraging plasticity (Burton et al. 1980, pp. 12-13).

             White bark Pine

             Background on White bark Pine

            While we discussed notable declines in whitebark pine due to mountain pine beetle in the 2007
            final rule, the data used to estimate population growth only went through 2002. The Ninth
            Circuit Court of Appeals questioned our conclusions about future population viability based on
            data gathered before the sharp decline in whitebark pine began (Greater Yellowstone Coalition,
            Inc. V. Servheen, et al., 665 F.3d 1015, 1030 lath Cir. 2011)). To assess vital rates for grizzly
            bears in the GYE since 2002, the IGBST completed a comprehensive demographic review using
            data from 2002-2011 (IGBST 2012, p. 7) and extensive analyses to determine if the decline in
            whitebark pine is driving observed changes in grizzly bear population vital rates (IGBST 2013,
            entire) .

            The threats to whitebark pine reported in our 2007 final rule and reiterated in our 12-month
            finding for whitebark pine (76 FR 42631, July 19, 2011) are currently being analyzed in a SSA.
            The 2011 12-month finding made the determination that whitebark pine is warranted for
            protected status under the Act, but that action is precluded by higher priority actions. This status
            is primarily the result of direct mortality due to white pine blister rust and mountain pine beetles
            but also less obvious impacts from climate change and fire suppression. For more details on the

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             status of whitebark pine, please see the 2013 candidate notice of review (78 FR 70104,
             November 22, 2013).

            Whitebark pine is a masting species, which means it produces large seed crops in some years and
            poor crops in other years. In the GYE, a good seed crop occurs approximately every two to three
            years. During years of low availability of whitebark pine seeds, human-grizzly bear conflicts
            tend to increase as bears use lower elevations for foraging, and those areas tend to be within less
            secure habitats (Gunther et al. 2004, pp. 13-15, Schwartz et al. 2010a, pp. 661-662).
            Approximately six more independent females and six more independent males die across the
            ecosystem in poor versus good whitebark pine years (IGBST 2013, p. 25, figure 5). These
            mortalities are primarily due to defense of life encounters and management removals of conflict
            bears (Gunther et al. 2004, pp. 13-14, IGBST 2009, p. 4). Additionally, litter size and the
            likelihood of producing a litter may decrease slightly in years following poor whitebark pine
            crops (Schwartz et al. 2006b, p. 21). Therefore, an important question was whether decline of
            whitebark pine would make most years similar to those years with poor seed crops. In this
            section we will discuss the Food Synthesis Report, past studies on whitebark pine and grizzly
            bear mortality, density-dependent effects, and the GYE grizzly bear's high diet diversity.

             Food Synthesis Report

            Using data from 2002 to 2011, the IGBST documented an average annual population growth rate
            for the GYE grizzly bear population between 0.3 and 2.2 percent (IGBST 2012, p. 34) .
            Although the population was still increasing in this more recent time period, it was increasing at
            a slower rate than in the previous time period (1983-2001) and coincided with the rapid decline
            of whitebark pine that began in the early 2000s. Therefore, the IGBST examined the potential
            influence of whitebark pine decline on the change in population growth rate. Because extrinsic,
            density-independent factors (e.g., availability of whitebark pine seeds) and intrinsic, density-
            dependent factors (i.e., a population with high bear density) can produce similar changes in
            population vital rates, the IGBST conducted several analyses to clarify and tease apart these two
            similar effects. The results of these analyses were summarized in a report titled "Response of
            Yellowstone grizzly bears to changes in food resources: a synthesis" (hereafter referred to as
            "the Food Synthesis Report") (IGBST 2013, entire). Regardless of whether these changes in
            population vital rates are being driven by declines in whitebark pine or are simply an indication
            of the population reaching high densities, the management response would be the same: to
            carefully manage human-caused mortality based on scientific monitoring of the population.

             For this Food Synthesis Report, the IGBST developed a comprehensive set of research questions
             and hypotheses to evaluate grizzly bear responses to changes in food resources. Specifically, the
             IGBST asked eight questions:

                (1) How diverse is the diet of GYE grizzly bears?
                (2) Has grizzly bear selection of whitebark pine habitat decreased as tree mortality
                    increased?
                (3) Has grizzly bear body condition decreased as whitebark pine declined?
                (4) Has animal matter provided grizzly bears with an alternative food resource to declining
                    whitebark pine?

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                (5) Have grizzly bear movements increased during the period of whitebark pine decline
                   (2000-201 l)?
                (6) Has home range size increased as grizzly bears sought alternative foods, or has home-
                    range size decreased as grizzly bear density increased?
                (7) Has the number of human-caused grizzly bear mortalities increased as whitebark pine
                   decreased?
                (8) Are changes in vital rates during the last decade associated more with decline in
                    whitebark pine resources than increases in grizzly bear density?

            The preliminary answers to these questions are contained in the Synthesis Report and the final
            results have been (or will be) published in peer-reviewed journals (in their entirety: Bjornlie et
            al. 2014a, Costello et al. 2014, Gunther et al. 2014, Schwartz et al. 2014a and 2014b, van
            Manen et al. 2016, Ebinger et al. 2016, Haroldson et al., in prep.)

            Key findings of the Synthesis Report and subsequent publications are summarized below. To
            address the first question about how diverse diets of grizzly bears in the GYE are, Gunther et al.
            (2014, entire) conducted an extensive literature review and documented over 260 species of
            foods consumed by grizzly bears in the GYE, representing four of the five kingdoms of life (for
            more information, please see Nutritional Ecology, above). Regarding the second research
            question, if whitebark pine seeds were highly selected over other fall foods, grizzly bears would
            continue to seek this food even if availability declined. However, Costello et al. (2014, p. 2013)
            found that grizzly bear selection of whitebark pine habitat and duration of use decreased between
            2000 and 2011. Additionally, regarding the third research question, if grizzly bears were
            dependent on whitebark pine to meet their nutritional requirements, we would expect body
            condition to have decreased during that time. Schwartz et al. (2014a, p. 75) and the IGBST
            (2013, p. 18) found body mass and percent body fat in the fall had not changed from 2000 to
            2010. When they examined trends in females only, the data showed a moderate decline in
            female body fat during the fall, starting around 2006 (Schwartz et of. 2014a, p. 72). However,
            they suggested it could be the result of small sample sizes (n = 2.6 bears/year) and noted the data
            for 2011 (not included in their published paper) showed an increase in fall body fat for females,
            ultimately cautioning that more data were needed before it could be determined if there was truly
            a trend (Schwartz et al. 2014a, p. 76). In the Food Synthesis Report, the IGBST revisited this
            previous analysis with data collected since 2010, and concluded that body condition was not
            different between poor and good years of whitebark pine production (IGBST 2013, p. 18).
            Furthermore, extending the female fall body fat data from Schwartz et al. (2014a, p. 73) by
            almost a decade (2011-2019) (IGBST, unpublished data), indicates a stable instead of decreasing
            trend.

            In response to the fourth research question, in years with poor whitebark pine seed production,
            grizzly bears shifted their diets and consumed more meat (Schwartz et al. 2014a, p. 68). These
            results were consistent with previous findings (Mattson 1997, p. 169). Given these observations
            of diet shifts, Ebinger et al. (2016, p. 705) examined whether grizzly bear use of ungulate
            carcasses in the fall had increased during the period of whitebark pine decline. This was indeed
            the case, supporting the interpretation that responses to changing food resources were primarily
            behavioral. In response to the fifth and sixth questions, if overall food resources were declining,
            one would expect daily movements, fall movements, and home range sizes to increase if bears

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            were roaming more widely in search of foods. However, movement rates did not change during
            2000 to 2011, suggesting that grizzly bears were finding alternate foods within their home range
            as whitebark pine seeds became less available over the past decade (Costello et al. 2014, p.
            2013). For females, home ranges actually decreased in size from the period before (1989-1999)
            to the period after (2007-2012) whitebark pine decline. This decrease was greater in areas with
            higher grizzly bear densities but showed no relationship with the amount of live whitebark pine
            in the home range (Bjornlie et al. 2014b, pp. 4-6). Male home ranges did not change in size
            (Bjornlie et al. 2014b, pp. 4-6). Finally, at the population level, bear density, but not whitebark
            pine decline, was associated with lower cub survival and reproductive suppression, factors
            contributing to the slowing of population growth since the early 2000s. Combined, these
            findings suggest that changes in population vital rates since the early 2000s are more indicative
            of the population approaching carrying capacity than a shortage of resources (van Manen et al.
             2016, p. 310).

            In response to the seventh question, while land managers have little influence on how calories
            are spread across the landscape, we have much more influence on human-caused mortality risk.
            Consistent with findings from earlier studies, the IGBST (2013, p. 24) found that grizzly bear
            mortalities increased in poor whitebark pine seed production years as compared to good
            whitebark pine seed production years. Assuming the poorest observed whitebark pine cone
            production, the IGBST (2013, p. 25) predicted an increase of 10 annual mortalities ecosystem-
            wide of independent females comparing 2000 with 2012, encompassing the period that coincided
            with whitebark pine decline (IGBST 2013, p. 25). The greatest increase in predicted mortality
            occurred outside the recovery zone, which may be partially attributable to range expansion and
            continued population increase (IGBST 2013, p. 25). However, increased mortality numbers
            during poor whitebark pine cone production years have not led to a declining population trend
            (IGBST 2012, p. 34), and total mortality will be maintained within the total allowable mortality
            limits set forth in tables 2 and 4.

            In response to the eighth question, the IGBST found that while whitebark pine seed production
            can influence reproductive rates the following year, overall fecundity rates during the last decade
            (2002-201 l) did not decline when compared with data from 1983-2001 (IGBST 2013, p. 32) .
            This is important because fecundity rates are a function of both litter size and the likelihood of
            producing a litter, the two ways in which whitebark pine seed production may affect
            reproduction. Although Schwartz et al. (2006a, p. 21) found one-cub litters were more common
            in years following poor whitebark pine seed production, one-cub litters are still adequate for
            population growth. Furthermore, one-cub litters are still relatively uncommon following poor
            whitebark pine years, as evidenced by a very consistent average litter size around two cubs since
            the IGBST began reporting this metric. Fecundity and mean litter size did not change between
            the two monitoring periods (1983-2001 versus 2002-2011) examined by the IGBST even though
            the availability of whitebark pine seeds declined (IGBST 2013, pp. 33-34).

             Past Studies on White bark Pine and Grizzly Bear Mortality

            In contrast to previous studies that concluded increased mortality in poor whitebark pine cone
            production years led to population decline in those years (Pease and Mattson 1999, p. 964), the
            IGBST found the population did not decline despite increased mortality in poor whitebark pine

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            cone production years. Therefore, we determined that the conclusions of Pease and Mattson
            (1999, p. 964) are inaccurate. First and foremost, estimating population growth for individual,
            non-consecutive years, as Pease and Mattson (1999, p. 962) did, is "not legitimate" and results in
            an "incorrect estimate" (Eberhardt and Cherry 2000, p. 3257). Even assuming their methods of
            separating out individual, non-consecutive years of data for a species whose reproduction and
            survival are inextricably linked to multiple, consecutive years (e.g., reproductive status in l year
            affects status in the following year), many other aspects of their analysis do not reflect the best
            available science. An important difference between Pease and Mattson (1999, p. 964) and other
            population growth rate estimates (Eberhardt et al. 1994, p. 362, Boyce 1995, entire, Schwartz et
            al. 2006b, p. 48, IGBST 2012, p. 34) is related to their treatment of conflict bears. Pease and
            Mattson (1999, p. 967) assumed that grizzly bears with any history of conflict would experience
            lower survival rates associated with conflict bears for the rest of their lives.

            The findings of Schwartz et al. (2006b, p. 42) challenge this assumption, finding that while
            survival of conflict bears decreases during the year of the conflict and the next year, survival
            returns to approximately normal within 2 years. In other words, management-trapped bears
            often return to foraging on naturally occurring food sources without causing conflict. Another
            assumption made by Pease and Mattson (1999, p. 967) was that 73 percent of the GYE grizzly
            bear population were conflict bears, with correspondingly lower survival rates. However,
            Schwartz et al. (2006b, p. 39) found only about 28 percent of the GYE grizzly bear population
            were ever involved in conflicts. Together, these two erroneous assumptions by Pease and
            Mattson (1999, p. 967) resulted in a gross underestimation of population trend. Empirical trend
            data based on the two most recent decades of data refute their conclusions (Haroldson et al.
            2020b, p. 18). As a result, we do not consider Pease and Mattson (1999, entire) to be the best
             available science.

            Earlier studies suggested that increased grizzly bear mortalities in peer whitebark pine cone
            production years are a result of bears roaming more widely in search of foods and exposing
            themselves to higher mortality risk in readed habitats at lower elevations. However, Costello et
            al. (2014, p. 2014) showed that grizzly bears did not roam over larger areas or canvass more area
            within their fall ranges as whitebark pine declined rapidly starting in the early 2000s, and
            suggested bears found alternative foods within their fall ranges. Furthermore, Bjornlie et al.
            (2014b, p. 4) found that home range size has not increased after whitebark pine declined. In
            addition, Schwartz et al. (2010, p. 662) found that when bears use lower elevations in poor
            whitebark pine seed production years, it is the amount of secure habitat that determines mortality
            risk: in both good and poor whitebark pine seed years, survival is determined primarily by levels
            of secure habitat. Therefore, our approach of maintaining these levels of secure habitat on
            Federal lands, which comprise 98 percent of lands within the recovery zone and 59 percent of
            suitable habitat outside the recovery zone, provides effective mitigation against any impacts the
            decline of whitebark pine may have on this grizzly bear population because the mechanism
            driving the increased mortality risk is secure habitat, not the presence or absence of whitebark
            pine, or their seed production.

            While there was some concern that the rapid less of whitebark pine could result in mortality rates
            similar to those experienced after the open-pit garbage dumps were closed in the early l 970s
            (Schwartz et al. 2006b, p. 42), we new know this has not been the case. This is most likely due

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            to the fact that whitebark pine has never been a spatially or temporally predictable food source
            on the landscape like the open-pit garbage dumps were. The dumps were open year-round and
            provided high-calorie foods the entire time. They were in the exact same location every year and
            for the entire season. Grizzly bears congregated at these known locations in large numbers and
            in very close proximity to each other and to people. None of these circumstances are true for
            grizzly bears foraging on whitebark pine seeds.

             Density-Dependent Effects

            Evidence suggests that observed changes in population vital rates were driven by density-
            dependent effects and have resulted in a relatively flat population trajectory (van Manen 2016, in
            list.). van Manen et al. (2016, entire) found cub survival, yearling survival, and reproductive
            transition (i.e., transition probability) from no young to cubs all changed from 1983 to 2012,
            with lower rates evident during the last 10 years of that time period. Cub survival and
            reproductive transition were negatively associated with an index of grizzly bear density,
            indicating greater declines of those parameters where bear densities were higher. Their analysis
            did not support a similar relationship with estimates of decline in whitebark pine tree cover.
            Moreover, changes in vital rates started in the late 1990s and early 2000s (van Manen et al. 2016,
            pp. 307-308), which preceded the beginning and peak time period of whitebark pine decline.
            The results of van Manen et al. (2016, entire) support the interpretation that slowing of
            population growth during the last decade was associated more with increasing grizzly bear
            density than the decline in whitebark pine.

            GYE Grizzly Bears' High Diet Diversity

            GYE grizzly bears have high diet diversity (Gunther et al. 2014, p. 65) and use alternate foods in
            years of low whitebark pine seed production (Schwartz et al. 2014a, pp. 75-76). Nearly one
            third of grizzly bears in the GYE do not have whitebark pine in their home range, so they do not
            use this food (Costello et al. 2014, p. 2013). Grizzly bears in the GYE that do use whitebark
            pine are accustomed to successfully finding alternative natural foods in years when whitebark
            pine seeds are not available, and body mass and body fat are not different between good and poor
            whitebark pine seed years (Schwartz et al. 2014a, pp. 72-73, 75).

            Grizzly bears are resourceful omnivores that will make behavioral adaptations regarding food
            acquisition (Schwartz et al. 2014a, p. 75). Diets of grizzly bears vary among individuals,
            seasons, years, and where they reside within the GYE (Mealey 1980, pp. 284-287, Mattson et al.
            1991a, pp. 1625-1626, Felicetti et al. 2003, p. 767, Felicetti et al. 2004, p. 499, Koel et al. 2005,
            p. 14, Costello et al. 2014, p. 2013, Gunther et al. 2014, pp. 66-67), reflecting their ability to
            find adequate food resources across a diverse and changing landscape. In other nearby areas
            such as the NCDE (100 miles north of the GYE), whitebark pine has been functionally extinct as
            a bear food for at least 40 years (Kendall and Keane 2001, pp. 228-232), yet the NCDE grizzly
            bear population has continued to increase and thrive with an estimated 765 bears in 2004, and a
            subsequent average 2.3 percent annual rate of growth (Kendall et al. 2009, p. 9, Costello et al.

            11 Transition probability: The probability of a transition for an adult female (greater than 3 years old) among
            reproductive states. The possible reproductive states are: no young, with cubs-of-the-year, or with 2-years-olds.
            Ten potential reproductive transitions are biologically feasible.

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             2016b, p. 2, Costello 2018, in list.). Similarly, although whitebark pine seed production and
            availability of cutthroat trout in the Yellowstone Lake area varied dramatically over the last
            3 decades due to both natural and human-introduced causes (Reinhart and Mattson 1990, pp.
            345-349, Podruzny et al. 1999, pp. 134-137, Felicetti et al. 2004, p. 499, Haroldson et al. 2005,
            pp. 175-178, Haroldson 2015, p. 47, Teisberg et al. 2014, pp. 375-376), the GYE grizzly bear
            population has continued to increase and expand during this time period despite these changes in
            foods (Schwartz et al. 2006a, p. 66, IGBST 2012, p. 34, Bjornlie et al. 2014a, p. 184).

            The GYE grizzly bear population has been coping with the unpredictable nature of whitebark
            pine seed production for millennia. Grizzly bears are not dependent upon whitebark pine seeds
            for survival, nor do they have a diet that is specialized on consumption of these seeds.
            Whitebark pine seed production can influence reproductive and survival rates, however, decline
            of whitebark pine seed production has not caused a negative population trend, as evidenced by a
            relatively constant population size within the DMA since the early 2000s, rather there is greater
            evidence of an increasing trend in recent years (Haroldson et al. 2020b, pp. 13, 18). As
            articulated in the Food Synthesis Report by the IGBST (IGBST 2013, pp. 32-35) and supporting
            studies (in their entirety: Bjornlie et al. 2014b, Costello et al. 2014, Gunther et al. 2014), the
            demonstrated resiliency to declines in whitebark pine seed production and other high-calorie
            foods such as cutthroat trout shows that changes in food resources are not likely to become
            substantial impediments to the long-term persistence of the GYE grizzly bear population.

             Food Resources in the NCDE

            The NCDE is comprised of a highly diverse landscape containing a wide array of habitat types
            and bear feeds. Plant communities vary from short grass prairie, grain fields, and hay fields on
            the eastern foothills to extensive conifer forests at mid-elevation to subalpine and alpine
            meadows at high elevations. In the NCDE, historical grizzly bear presence was less common in
            prairie habitats (i.e., those areas outside the DMA) and was associated with rivers and streams
            where grizzly bears used bison carcasses as a major food source (Rollins 1935, p. 191, Wade
            1947, p. 444, Burroughs 1961, pp. 57-60, Herrero 1972, pp. 224-227, Stebler 1972, pp. 297-
            298, Mattson and Merrill 2002, pp. 1128-1129). Most of the shortgrass prairie on the east side
            of the Rocky Mountains has been converted into agricultural land (Woods et al. 1999, entire),
            and high densities of traditional food sources (i.e., bison) are no longer available due to land
            conversion and human occupancy of urban and rural lands. Traditional food sources such as
            bison and elk have been reduced and replaced with domestic livestock such as cattle, sheep,
            chickens, goats, pigs, and beehives, which can become anthropogenic food sources for grizzly
            bears. Historically, grizzly bears on the prairie also fed on grasses, berries, and forbs commonly
            associated with riparian areas, which they continue to do today (Herrero 1972, p. 224, Stebler
            1972,p.299)

            Grizzly bears are successful omnivores, and in many areas of the NCDE are almost entirely
            herbivorous (Kendall 1986, p. 12, Jacoby et al. 1999, pp. 924-927, Schwartz et al. 2003a, pp.
            568-569, Teisberg et al. 2015, pp. 10-12). Using observed ratios of stable isotopes in food
            items, it is possible with sufficient sample sizes to infer information about assimilated diets of
            grizzly bears (Robbins et al. 2004, pp. 162-164). Stable isotope analysis indicates that grizzly
            bear consumption of animal matter has remained relatively constant within the NCDE over the

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            last several decades. Animal matter comprises a larger percentage of adult male grizzly bear
            diets (60%) than adult females (35%) and subadults (46%) (Teisberg et al. 2015, p. 10). There
            was high variation across the ecosystem with bears en the southwestern, southern, and eastern
            periphery having higher levels of dietary animal matter and bears in the northwestern and interior
            periphery having lower levels of dietary animal matter (Teisberg et al. 2015, see figure 2) .
            Grizzly bears on the East Front consumed the highest proportions of animal matter at 71 percent
            while the lower Swan River and lower South Fork of the Flathead had the lowest proportions of
            animal matter at 21 percent (Teisberg et al. 2015, p. 11). These findings are consistent with
            previous studies completed in the 1980's, 1990's, and early 2000's (Aune and Kasworm 1989,
            pp. 64-72, Jacoby et al. 1999, pp. 924-927, Mow at and Heard 2006, pp. 477-482), and indicate
            that NCDE grizzly bear consumption of animal matter has not varied greatly throughout the
            decades.

            Upon den emergence, bears in the NCDE may search avalanche chutes for animal carcasses
            before descending to lower elevations seeking newly emerging vegetation. From den-emergence
            until early summer, grizzly bears typically subsist on the roots of sweet vetches (Hedysarum
            spp.), biscuit root (Lomatium spp.), glacier lilies (Erythonium grandiflorum) and western spring
            beauty (Claytonia lanceolata), berries from the previous year's crop of bearberry
            (Arctostaphylos Eva-ursi), vegetation from grasses, sedges, cow parnsip (Heracles spp.), and
            angelica (Angelica spp.), and deer (Odocoileus spp.), elk (Cervus canadensis), or domestic
            livestock in the form of neonate fawns or calves and carrion resulting from winter related die-off
            and calving season mortality (Servheen 1981, pp. 99-102, Kendall 1986, pp. 15-16, Mace and
            Jonkel 1986, p. 108, Martinka and Kendall 1986, p. 22, LeFranc et al. 1987, pp. 111-114, Aune
            and Kasworm 1989, pp. 65-66). During summer, before berry crops are available, bears in the
            NCDE may eat the roots of western spring beauty and glacier lilies and the vegetation of
            Ligusticum species, sweet Cicely (Osmorhiza spp.), grasses, Equisetum species, cow parsnip
            (Heracles lanatum), and Angelica species (LeFranc et al. 1987, pp. 111-114, Aune and
            Kasworm 1989, pp. 65-66, McLellan and Hovey 1995, p. 708). Consumption of insects,
            especially ants, peaks during summer months. Many bears also begin to feed on army cutworm
            moths (Euxoa auxiliaris) in GNP from late June through mid-September (White et al. 1998, p.
            223). In the Mission Mountains, grizzly bears may feed on army cutworm moths and ladybird
            beetles (Coccinnella spp.) from the beginning of July through the end of August (Chapman et al.
            1955, entire, Servheen 1983, p. 1031). Grizzly bears have also been observed feeding on army
            cutworm moths in the Scapegoat Wilderness (Sumner and Craighead 1973, p. 21) and the Rocky
            Mountain Front of Montana (Aune and Kasworm 1989, p. 70). Once berries become available,
            bears in the NCDE may consume huckleberries (Vaccinia spp.), soap berries (Shepherdia
            canadensis), service berries (Amelanchier almfolia), hawthorn berries (Crataegus douglasii), and
            choke cherries (Prunes spp.), and to a lesser degree alderleaf buckthorn berries (Rhamnus
            alnzfolia) and mountain ash berries (Sorbus spp.) (Servheen 1981, p. 101, Kendall 1986, pp. 12,
            15-16, Mace and Jonkel 1986, p. 108, Martinka and Kendall 1986, p. 21, LeFranc et al. 1987, p.
            111, McLellan and Hovey 1995, pp. 706-707). The amount and species of berries in bear diets
            vary annually based on annual fruit production and distributions (McLellan and Hovey 1995, pp.
            706-707).

             During late summer to fall, bears in the NCDE may continue to eat berries but will also consume
             more animal matter (mostly from hunter gut piles and hunter wounded animals) and the

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            roots/bulbs/corms of sweet vetches and biscuit roots (Kendall 1986, pp. 15-16, Mace and Jonkel
            1986, p. 108, Martinka and Kendall 1986, p. 22, LeFranc et al. 1987, pp. 112-114, Aune and
            Kasworm 1989, pp. 64-72, McLellan and Hovey 1995, pp. 706-708). While the roots of sweet
            vetches are used by grizzly bear populations in Canada, Alaska, GNP, and the northern reaches
            of the lower-48 States during spring and fall (Hamer and Herrero 1987a, p. 205, LeFranc et al.
            1987, pp. 112-114, McLellan and Hovey 1995, pp. 706-708, Munro et al. 2006, p. 1115), where
            Hedysarum is less common in the southern and eastern edges of the recovery zone, grizzly bears
            can consume biscuit roots and glacier lily bulbs instead (LeFranc et al. 1987, pp. 112-114, Aune
            and Kasworm 1989, pp. 64-72).

            Prior to the spread of white pine blister rust (Cronartium ribicola) in the NCDE, grizzly bears
            opportunistically fed on whitebark pine seeds in the late summer through fall, primarily in the
            Whitefish Mountain range and along the Rocky Mountain Front (Shaffer 1971, pp. 39, 76, 78,
            Mace and Jonkel 1986, pp. 107-109, Aune and Kasworm 1989, pp. 64-72, Kendall and Arno
            1990, pp. 264-265, Schwartz et al. 2003a, pp. 568-569). By the early to mid-1990s however, 42
            to 58 percent of all trees surveyed were dead and 48 to 83 percent of the remaining live trees
            surveyed showed signs of blister rust infection within the NCDE (Kendall and Keane 2001, pp.
            228-232). By 2006, nearly 75 percent of whitebark pine trees were dead and of the remaining
            live trees, 90 percent were affected by blister rust (Fiedler and McKinney 2014, p. 290). Due to
            this widespread mortality from blister rust, whitebark pine has been functionally extinct as a food
            resource for grizzly bears for the past 40 years (Kendall and Keane 2001, pp. 228-232). Despite
            this loss, during this same period, the NCDE grizzly bear population thrived and increased from
            as few as 300 grizzly bears in 1986 to an estimated 765 bears in 2004 (Kendall et al. 2009, p. 9),
            and a subsequent average 2-3 percent annual growth rate (Mace et al. 2012, p. 124, Costello et
            al. 2016b, p. 2).

            Body fat content is measured for captured grizzly bears in the NCDE (Teisberg 2020, in list.).
            As noted in the GYE, CYE, and SE, body fat varies by month, exhibiting a trend that is
            presumably dependent on denning and availability and quality of foods consumed during the
            active season (Schwartz et al. 2014, p. 72, Kasworm et al. 2020a, pp. 61-63). For data from
            2010-2017, adult males had significantly higher body fat content than subadult grizzly bears and
            adult females (Teisberg 2020, in lift). Body fat content for NCDE grizzly bears also differed by
            month. October-November body fat values were significantly higher than those in all other
            months, and September fat values were higher than those in June and July. Upon den
            emergence, grizzly bears continue to lose body fat and start gaining fat as early as July. Body fat
            content is highest in the fall period prior to hibernation, suggesting that habitat and food
            resources are available to allow for body fat gain. In addition, fall levels for females are well
            above the minimum pre-denning body fat to produce cubs suggested by Robbins et al. (2012, p.
            543).

             Food Resources in the CVE and$E

            The CYE and SE are both within the Rocky Mountains and are characterized by a Pacific
            maritime-continental climate, with wet, forested mountains. Mixed coniferous and deciduous
            tree stands are interspersed with riparian shrub fields and wet meadows along major drainages.
            Mixed shrub fields contain many species of berries, including huckleberries (Vaccinia spp.),

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            buffaloberry (Sheperdia canadensis), and mountain ash (Sorbus scopulina). Understory and
            non-forested include graminoid parks. The small size of the CYE and SE provide a narrower
            range of habitats than the GYE and NCDE, and as a result may limit the diversity of foods
            available. In addition, their densely forested habitats may support less dense populations of
            ungulates and therefore ungulates may be less available as a food source.

            In the CYE, seasonal consumption of food resources was estimated based on scat analysis
            (Kasworm et al. 2020a, p. 56). Upon den emergence in April and May, graminoids (i.e., grasses
            and sedges) and meat, presumably from winter-killed deer and moose, constituted 40 percent of
            the dry mater consumed. The use of forbs, such as cow parsnip, clover (Trzfolium spp.), and
            dandelion (Ta raxacum 0]§9cinale) increased in June but grasses and sedges were still the main
            food resource. As graminoids begin to cure in July they provide less digestible nutrition and the
            amount of grasses and sedges decreased while forbs increased, mainly cow parsnip. Grizzly
            bears began to feed upon berries (huckleberry, whortleberry, and serviceberry) and insects
            (mainly ants) in July as they became available. Berries were the primary food consumed in
            August and September, however, consumption of animal matter (elk, deer, and moose) began to
            increase in September and was the primary food consumed in October. This consumption
            correlates with the hunting season and consumption may involve entrails left by hunters or
            wounded animals. The SE has similar vegetation types and we assume that food habitats are
            similar to that in the CYE.

            Stable isotope analysis was used to investigate the proportion of animal matter and vegetation in
            grizzly bear diets in the CYE and SE (Kasworm et al. 2020a, pp. 55-56., Kasworm et al. 2020b,
            p. 38). In the CYE, grizzly bears in the Yaak contained nearly 22 percent animal matter whereas
            grizzly bears in the Cabinets contained only about 13 percent. In addition, males in the Cabinets
            made greater use of animal matter than females (24 percent and 10 percent animal matter,
            respectively). Grizzly bears in the SE consumed less animal matter than the in CYE with an
            estimated 12 percent animal matter. Both males and females exhibited a shift in diet from spring
            to fall, consuming nearly double the animal matter in the fall.

            Body fat content is measured for captured grizzly bears in the CYE and SE (Kasworm et al.
            2020a, pp. 61-63). As noted in the GYE and NCDE, body fat varies by month, exhibiting a
            trend that is presumably dependent on denning and availability and quality of foods consumed
            during the active season (Schwartz et al. 2014a, p. 72). Male and female grizzly bears did not
            differ in their body fat content. Upon den emergence, grizzly bears continue to lose body fat and
            start gaining fat as early as July. Body fat content is highest in the fall period prior to
            hibernation, suggesting that habitat and food resources are available to allow for body fat gain.
            In addition, fall levels for females are well above the minimum pre-denning body fat to produce
            cubs suggested by Robbins et al. (2012, p. 543).

             Food Resources in the BE

            The climate in the BE varies from warm and dry in the southern portion to cool and moist in
            subalpine areas. Low elevations are predominately grasslands, which with increasing elevation
            give way to open ponderosa pine types, subalpine fir and several types of lodgepole pine, and
            near-alpine habitat at the highest elevational areas. Plentiful ungulates, including elk, mule deer,

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            and white-tailed deer, occur throughout the BE during summer and fall (Service 2000, p. 3-11).
            Davis and Butterfield (1991, p. entire) did a comprehensive evaluation of habitat centered around
            the Frank Church-River of No Return Wilderness north of the Salmon River, the Selway-
            Bitterroot Wilderness, and Roadless areas north of the Selway-Bitterroot Wilderness mostly in
            the North Fork Clearwater drainage to the crest of the Mallard Larkins Mountains. In the area
            they evaluated, a wide variety of vegetation types were identified that were well distributed
            throughout the area and are comparable to occupied habitat in other grizzly bear ecosystems
            (Davis and Butterfield 1991, pp. 29-320). They concluded that these habitats would support
            adequate sources of known grizzly bear foods, including elk and deer, small mammals,
            herbaceous vegetation and tubers, and fruits and nuts (Davis and Butterfield 1991, pp. 32-40).
            The southern part of the BE recovery zone is drier and less productive and was not included in
            the analysis done by Davis and Butterfield (1991, entire). The final EIS for Grizzly Bear
            Recovery in the BE concluded that although the fork and berry production in these dry habitats is
            relatively low, the southern half of the BE recovery zone contains substantial stands of whitebark
            pine as well as populations of elk and deer that can provide food for grizzly bears (Service 2000,
            p. 3-20). Hogg et al. (1999, Service 2000, p. 3-23) determined that bear foods in the form of
            primary and secondary berries are present in biologically significant amounts in both the
            northern and southern portions of the ecosystem, but generally decline in abundance moving
            from north to south. In contrast, whitebark pine tend to follow the opposite pattern with greater
            abundance and distribution south of the Salmon River and a general decline through the northern
            portions of the BE (Service 2000, Appendix 21, Figure 6-15).

            The diet of grizzly bears that recolonize the BE will likely differ somewhat from historical diets.
            Current runs of anadromous fish would ne longer provide a readily abundant food source and
            would be supplemental at best, however, other fish species such as cutthroat trout and kokanee
            salmon may provide supplemental food for grizzly bears (Brostrom 1996, as cited in Service
            2000, p. 3-16). Prior to the most recent outbreak of mountain pine beetle, Keane and Arno
            (1996, p. 52) estimated whitebark pine to be at 20-40 percent of historical levels because of
            mortality from white pine blister rust. Davis and Butterfield (1991, p. 39) concluded that
            whitebark pine is still consistently present in the non-riparian subalpine habitats and may still be
            an important fall food source for grizzly bears that recolonize the BE. However, more recent
            data from the national forest inventory data suggests that blister rust and mountain pine beetle
            infestation rates have led to increased mortality of whitebark pine and subsequently reduced the
            availability of whitebark pine seeds since 2000 (Goeking and Izlar 2018, p. 4) to a level
            comparable to that in the GYE. However, data are currently not available to assess potential
            local impacts to availability to grizzly bears in the BE as a food resource.

             Food Resources in the North Cascades

            The North Cascades provides a variety of habitat types from temperate rainforests of the west
            side to the dry ponderosa pine forests and sage-steppe on the east side. The area provides a
            range of elevations from low elevation old growth forest to subalpine meadows to alpine
            environments. Grizzly bears in ecosystems with similar food economies to the North Cascades
            have been shown to rely heavily on herbaceous vegetation, graminoids, forbs, berries, and roots,
            depending on the season (McLellan and Hovey 1995, pp. 706-708, Munro et al. 2006, p. lll5).
            In these similar habitat types in west-central Alberta, upon den emergence in early spring, grizzly

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            bears dig for roots before beginning to hunt ungulates in late May and early June. Avalanche
            chutes, common on the west side of the North Cascades, have been identified as important spring
            food sources fer grizzly bears in a number of studies (Waller and Mace 1997, pp. 1034-1037,
            Ramcharita 2000, p. 15, McLellan and Hovey 2001, pp. 96-97). Avalanche chutes provide
            spring and summer forage species as well as potential avalanche mortalities (carrion) in the
            spring (Waller and Mace 1997, p. 1034-1037). As herbaceous vegetation begins to green up, the
            predominant food items include grass-like plants and forbs. Grizzly bears shift to eating berries
            as they become available later in the summer. At the end of the berry producing period, grizzly
            bears again shift to consuming roots and ungulates prior to reentering their dens (McLellan and
            Hovey 2001, pp. 96-97). Data from the CYE (Kasworm et al. 2020a, p. 56), may be indicative
            of potential grizzly bear food habitats in the central and west side of the Cascade Mountains due
            to the similar Pacific maritime climate.

            In addition, Almach et al. (1993, entire) and Gaines et al. (1994, entire) produced vegetation
            cover maps of the study area according to vegetation structure (e.g., forest, shrub, barren rock,
            etc.) and community composition. Analysis of the vegetation maps indicate that 100 of the 124
            plant species known to be grizzly bear foods in other ecosystems exist in the study area. In
            addition, they found that ungulates were dispersed relatively evenly throughout the study area.
            Results led both teams to conclude that sufficient vegetative grizzly bear foods are readily
            available in the North Cascades, and the occurrence of wildlife prey species could sustain a
            grizzly bear population (in their entirety: Almach et al. 1993, Gaines et al. 1994, Lyons et al.
            2018) .

            Several salmon species occur in the North Cascades, although current distribution is limited to
            streams on the western slope of the North Cascades and occur at much lower levels than what
            was historically available. Most bears would not have access to salmon and would likely feed
            almost exclusively on terrestrial foods. However, grizzly bears introduced into the North
            Cascades with no history of salmon consumption may be susceptible to salmon poisoning
            disease (Robbins et al. 2018, entire). Salmon poisoning disease is a potentially fatal condition
            caused by infective bacterium. Ongoing studies, including prevalence in the recovery area, are
            looking into whether this could be an impediment to grizzly bear recovery in the North Cascades.

            Summary of Food Resources

            There are no indications that long-term trends in food availability, other than whitebark pine
            nuts, cutthroat trout, and salmon, have changed in the GYE, NCDE, CYE, SE, BE, and North
            Cascades in the last several decades. Although grizzly bears in the GYE have experienced a
            decline in the availability of whitebark pine nuts and cutthroat trout, bears are finding sufficient
            alternative food resources to maintain body condition. While salmon abundance is reduced in
            the BE and North Cascades compared to historical numbers, several studies have concluded that
            there are sufficient alternative foods to maintain grizzly bear populations in those ecosystems.
            We anticipate that grizzly bears will be able to adapt to any future potential changes in individual
            food sources because of the great plasticity of grizzly bear diets and the range of available foods.
            Thus, the highly omnivorous and flexible diet of grizzly bears will enable the species to adapt to
            future changes in food availability. It is also clear that grizzly bears can compensate for changes
            in the availability of food as long as there are sufficient large intact, blocks of land. In addition,

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            the varying climate, topography, and vegetative conditions encompassed in the ecosystems
            provide a variety of habitats and foods for grizzly bears to consume.

             Potential Effects of C/#nate Change

            We evaluated observed or likely future environmental changes resulting from ongoing and
            projected changes in climate. Effects related to climate change may result in a number of
            changes to grizzly bear habitat, including a reduction in snowpack levels, which may shorten the
            denning season (Leung et al. 2004, pp. 93-94), shifts in denning times (Craighead and Craighead
            1972, pp. 33-34, Van Daele et al. 1990, p. 264, Haroldson et al. 2002, pp. 34-35), shifts in the
            abundance and distribution of some natural food sources (Rodriguez et al. 2007, pp. 41-42), and
            changes in fire regimes (Nitschke and Innes 2008, p. 853, McWethy et al. 2010, p. 55).

             Background on C/imate Cha nge

            As defined by the Intergovernmental Panel on Climate Change (IPCC), the term "climate" refers
            to the mean and variability of different types of weather conditions over time, with 30 years
            being a typical period for such measurements, although shorter or longer periods also may be
            used (IPCC 2013a, p. 1450). The term "climate change" thus refers to a change in the state of
            the climate that can be identified by changes in the mean or the variability of relevant properties,
            which persists for an extended period, typically decades or longer, due to natural conditions (e.g.,
            solar cycles), or human-caused changes in the composition of the atmosphere or in land use
            (IPCC 2013a, p. 1450).

            Scientific measurements spanning several decades demonstrate that changes in climate are
            occurring. In particular, warming of the climate system is unequivocal, and many of the
            observed changes in the last 60 years are unprecedented over decades to millennia (IPCC 2013b,
            p. 4). The current rate of climate change may be as fast as any extended warming period over
            the past 65 million years and is projected to accelerate in the next 30 to 80 years (National
            Research Council 2013, p. 5). Thus, rapid climate change is adding to other sources of
            extinction pressures, such as land use and human-caused mortality, which will likely place
            extinction rates in this era among just a handful of the severe biodiversity crises observed in
            Earth's geological record (American Association for the Advancement of Sciences 2014, p. 17).

            Examples of various other observed and projected changes in climate and associated effects and
            risks, and the bases for them, are provided for global and regional scales in recent reports issued
            by the IPCC (in their entirety: 2013b, 2014), and similar types of information for the United
            States and regions within it are available via the National Climate Assessment (Melillo et al.
            2014, entire). Results of scientific analyses presented by the IPCC show that most of the
            observed increase in global average temperature since the mid-20*** century cannot be explained
            by natural variability in climate and is "extremely likely" (defined by the IPCC as 95-100
            percent likelihood) to be due to the observed increase in greenhouse gas concentrations in the
            atmosphere as a result of human activities, particularly carbon dioxide emissions from fossil fuel
            use (IPCC 2013b, p. 17).




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            Scientists use a variety of climate models, which include consideration of natural processes and
            variability, as well as various scenarios of potential levels and timing of greenhouse gas
            emissions, to evaluate the causes of changes already observed and to project future changes in
            temperature and other climate conditions. Model results yield very similar projections of
            average global warming until about 2030, and thereafter the magnitude and rate of warning vary
            through the end of the century depending on the assumptions about population levels, emissions
            of greenhouse gases, and other factors that influence climate change. Thus, absent extremely
            rapid stabilization of greenhouse gas emissions at a global level, there is strong scientific support
            for projections that warming will continue through the 21st century, and that the magnitude and
            rate of change will be influenced substantially by human actions regarding greenhouse gas
            emissions (IPCC 2013b, p. 19, IPCC 2014, entire).

            Global climate projections are informative, and, in some cases, the only or the best scientific
            information available for us to use. However, projected changes in climate and related impacts
            can vary substantially across and within different regions of the world (in their entirety: IPCC
            2013b, 2014), and within the U.S. (Melillo et al. 2014, entire). Therefore, we use "downscaled"
            projections when they are available and have been developed through appropriate scientific
            procedures, because such projections provide higher resolution information that is more relevant
            to spatial scales used for analyses of a given species (see Glick et al. 2011, pp. 58-61, for a
            discussion of downscaling) .

            The hydrologic regime in the Rocky Mountains has changed and is projected to change further
            (Bartlein et al. 1997, p. 786, Cayan et al. 2001, p. 411, Leung et al. 2004, p. 75, Stewart et al.
            2004, pp. 223-224, Pederson et al. 2011, p. 1666). The western United States may experience
            milder, wetter winters with warmer, drier summers and an overall decrease in snowpack (Leung
            et al. 2004, pp. 93-94, Joyce et al. 2018, pp. 20-22). While some climate models do not
            demonstrate significant changes in total annual precipitation for the western United States (Duffy
            et al. 2006, p. 893), an increase in "rain on snow" events is expected (Leung et al. 2004, p. 93,
            McWethy et al. 2010, p. 55). The amount of snowpack and the timing of snowmelt may also
            change, with an earlier peak stream flow each spring (Cayan et al. 2001, p. 410, Leung et al.
            2004, p. 75, Stewart et al. 2004, pp. 223-224). Although there is some disagreement about
            changes in the water content of snow under varying climate scenarios (Duffy et al. 2006, p. 893),
            reduced runoff from decreased snowpack could translate into decreased soil moisture in the
            summer (Leung et al. 2004, p. 75). However, Pederson et al. (2011, p. 1682) found that
            increased spring precipitation in the northern Rocky Mountains is offsetting these impacts to
            total annual stream flow from expected declines in snowpack thus far.

            A vulnerability assessment of the North Cascades was conducted recently by The North
            Cascadia Adaptation Partnership, a collaborative group with members from USFS, NPS, and the
            University of Washington (Littell and Raymond 2014, entire). The USFS analyzed historical
            climate data in conjunction with global climate models to project what changes in the climate are
            likely to occur in the Pacific Northwest. In addition, the Climate Impacts Group at the
            University of Washington developed datasets of downscaled climate and hydrologic projections
            to support the vulnerability assessments, which estimated an average regional temperature
            increase of 2. l°c by 2040 and 3.8°C by 2080. The highest relative increases in temperature are
            projected to occur during summer months (Littell et al. 201 l, p. 35). While a change in

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            precipitation was predicted, magnitude and direction varied between models. Increases in
            average temperature are almost certain to decrease the regional snowpack in extent and duration
            (Eisner et al. 2010, p. 225-226, Mote 2003, p. 280).

            Climate change is likely to alter physical and hydrologic conditions in the North Cascades in a
            way that will create shifts in vegetation communities in the area (Littell et al. 2010, entire) .
            Using dynamic models that take into account climate change, current vegetation community
            composition, and plant tolerances, Rogers et al. (201 l, entire) predicted shifts in vegetation
            biomes for three different climate scenarios. The results indicate that alpine tundra, which
            provides early and late season habitat for grizzly bears, may nearly disappear from the North
            Cascades and the total area of subalpine forest may decrease. The specific effects of climate
            change on grizzly bears in the North Cascades are unknown. However, research in Alberta,
            Canada has shown that higher temperatures and earlier snowmelt have contributed to improved
            food resources for grizzly bears (Nielsen et al. 2013, pp. 9-10). Grizzly bears historically ranged
            as far south as northern Mexico and are both habitat and food generalists.

            Climate change could also change the habitat as a result in changes in disturbance patterns such
            as wildfires. However, depending on their size and severity, fires may only have short term
            adverse effects on grizzly bears while providing more long term benefits. For example, "recently
            burned areas are generally avoided by bears for the first few years after a fire while vegetation
            recovers, but once vegetation recovers, food resources generally become plentiful and these areas
            often become highly used habitats by bears" (Hamer and Herrero 1987b, p. 185, Apps et al.
            2004, p. 147). Additionally, Ransom et al. (2018, pp. 25-26) concluded that despite predicted
            increases in growing season length, winter and spring water availability, wildfire, and decreases
            in snowpack, grizzly bears will likely persist due to their adaptive capacity and ability to change
            their movements to accommodate shifting food resources .

            Grizzly bears use several behavioral mechanisms to avoid hyperthermia, including: adjusting
            activity patterns to less active during the hottest parts of the day (Schwartz et al. 2010b, p. 1633),
            selecting for areas with more cover that provided alternative forage or cool substrate for daybeds
            with increased temperatures (Moe et al. 2007, p. 521, Pigeon et al. 2016, pp. 1108-1109), and
            using water to cool (Gunther et al. 2015, p. 66, Rogers et al. 2020, p. 10). Although grizzly
            bears in the GYE became less active during the hottest part of the day when ambient
            temperatures exceeded 20°C (Schwartz et al. 2010b, p. 1633), McLellan and McLellan (2015, p.
            12) found that female grizzly bears in Alberta remained diurnal in temperatures above 30°C and
            40°C, as that likely maximized their foraging efficiency on berries. The risk of hyperthermia is
            greater for lactating females and may increase with projected temperature increases predicted by
            climate change models (Rogers et al. 2020, pp. 7-9). Rogers et al. (2020, p. 10) modeled
            potential hyperthermia for non-lactating and lactating females under current ambient
            temperatures and future temperature increase of 2.5°C and concluded that grizzly bears can avoid
            hyperthermia through behavioral thermoregulation, particularly through the use of water for
            cooling.




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             Potential Impacts from C/imate Change on Denning

            Because timing of den entry and emergence is at least partially influenced by feed availability
            and weather (Craighead and Craighead 1972, pp. 33-34, Van Daele et al. 1990, p. 264), less
            snowpack would likely shorten the denning season as foods become available later in the fall and
            earlier in the spring. In the GYE, Haroldson et al. (2002, pp. 34-35) reported later den entry
            dates for male grizzly bears, corresponding with increasing minimum November temperatures
            from 1975 to 1999. This increased time outside of the den could increase the potential for
            conflicts with humans (Servheen and Cross 2010, p. 4). To monitor climate change impacts, den
            entry and exit times are recorded annually for research bears in the GYE, NCDE, CYE, and SE,
            and these provide a basis for comparison of data. Upon restoration or natural recolonization of
            grizzly bears into the BE and North Cascades, den entry and exit times would be recorded
            annually for research bears in these areas as well. As discussed in Human-Caused Mortality
            discussion, above, any possible increase in grizzly bear mortality risk is not expected to
            significantly affect ecosystem resiliency because of management of grizzly bear mortalities to
            sustainable levels within each ecosystem.

             Potential Impacts from C/imate Change on Food Sources

            Effects related to climate change could create temporal and spatial shifts in grizzly bear food
            sources (Rodriguez et al. 2007, pp. 41-42, Roberts et al. 2014, entire, Prevey et al. 2020, entire).
            Changes in plant communities have already been documented, with species' ranges shifting
            farther north and higher in elevation due to environmental constraints (Walther et al. 2002, pp.
            390-391, Walther 2003, pp. 172-175, Walther et al. 2005, p. 1428) and increases in outbreaks of
            insects that reduce survival (Bentz et al. 2010, entire). A net loss in forested areas is anticipated
            as forest contraction occurs more rapidly than forest expansion, with an expected increase in
            productivity in montane, subalpine, and alpine areas and a decrease in productivity in lower
            elevation, warmer, and drier sites (Whitlock et al. 2017, p. 165). It is unclear whether avalanche
            chutes, an important habitat component to grizzly bears, will decrease, possibly as a result of
            decreased snowpack, or increase, as a result of increases in "rain on snow" events that may
            decrease the stability of snowpack. Changes in vegetative food distributions also may influence
            other mammal distributions, including potential prey species such as ungulates (White et al.
            2018, entire). While the extent and rate to which individual plant species will be impacted is
            difficult to foresee with any level of confidence (in their entirety: Walther et al. 2002, Fagre et
            al. 2003), there is general consensus that grizzly bears are flexible enough in their dietary needs
            that they will not be impacted directly by ecological constraints such as shifts in food
            distributions and abundance (Servheen and Cross 2010, p. 4, IGBST 2013, p. 35). However,
            research in Alberta, Canada has shown that higher temperatures and earlier snow melt have
            contributed to improved food resources for grizzly bears (Nielsen et al. 2013, p. 9). Grizzly
            bears historically ranged as far south as northern Mexico and are both habitat and food
            generalists. Grizzly bears will consume almost anything available including vegetation, living or
            dead mammals or fish, insects, and human garbage (Knight et al. 1988, p. 123, Mattson et al.
            1991a, entire, Schwartz et al. 2003a, pp. 568-569).




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             Potential C/imate Change Impacts on Fire Regimes

            Fire regimes can affect the abundance and distribution of some vegetative bear foods (e.g.,
            grasses, berry-producing shrubs) (LeFranc et al. 1987, p. 150). For instance, fires can reduce
            canopy cover, which usually increases berry production. However, on steep south or west
            slopes, excessive canopy removal due to fires or vegetation management may decrease berry
            production through subsequent moisture stress and exposure to sun, wind, and frost (Simonin
            2000, entire). Fire frequency and severity may increase with late summer droughts predicted
            under climate change scenarios (Nitschke and Innes 2008, p. 853, McWethy et al. 2010, p. 55).
            Increased fire frequency has the potential to improve grizzly bear habitat, with low to moderate
            severity fires being the best. For example, fire treatment most beneficial to huckleberry shrubs is
            that which results in damage to stems, but does little damage to rhizomes (Simonin 2000, entire).
            High-intensity fires may reduce grizzly bear habitat quality immediately afterwards by
            decreasing hiding cover and delaying regrowth of vegetation. However, depending on their size
            and severity, fires may only have short term adverse effects on grizzly bears while providing
            more long-term benefits. For example, fire plays an important role in maintaining an open forest
            canopy, shrub fields, and meadows that provide for grizzly bear food resources, such as
            increased production of forbs, root crops, and berries (Hamer and Herrero 1987b, pp. 183-185,
            Blanchard and Knight 1996, p. 121, Apps et al. 2004, p. 148, Pengelly and Hamer 2006, p. 129).
            Because grizzly bears have shown resiliency to changes in vegetation resulting from fires, we do
            not expect altered fire regimes predicted under most climate change scenarios to have significant
            negative impacts on grizzly bear survival or reproduction, despite the potential effects on
            vegetation.

            Summary of fffects of C/imate Change

            Most grizzly bear biologists in the United States and Canada do not expect habitat changes
            predicted under climate change scenarios to directly threaten grizzly bears (Servheen and Cross
            2010, p. 4). Climate change may even make habitat some more suitable and food sources more
            abundant (Servheen and Cross 2010, Appendix D). In addition, we anticipate that grizzly bears
            will be able to adapt to any future potential changes in suitable habitat and food sources because
            they display great diet plasticity and switch foods according to which foods are most nutritious
            and available (Servheen 1981, pp. 119-123,127-128, Kendall 1986, pp. 12-18, Mace and Jonkel
            1986, entire, Martinka and Kendall 1986, pp. 21-22, LeFranc et al. 1987, pp. 24-25, Aune and
            Kasworm 1989, pp. 64-72, Schwartz et al. 2003b, pp. 568-569, Edwards et al. 2011, pp. 883-
            886, Gunther et al. 2014, pp. 65-69). Timing and frequency of human-grizzly bear interactions
            and conflicts may change (Servheen and Cross 2010, p. 4), and monitoring will continue to
            support adaptive management decisions. We expect that conservation plans and strategies and
            mortality limits will limit negative effects of climate change on grizzly bears.

             Ca tastrop/wt Events

            Here we analyze a number of possible catastrophic events including fire, volcanic activity, and
            earthquake. Volcanic activity is most relevant for the GYE given their geographic location,
            however, fires and earthquakes are the most plausible stressor to all of the ecosystems given their
            geographic location.

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             Fire

            Fire is a natural part of all grizzly bear ecosystems. Even though fire frequency and severity may
            increase with late summer droughts predicted under climate change scenarios (Nitschke and
            Innes 2008, p. 853, McWethy et al. 2010, p. 55, Whitlock et al. 2017, pp. 123-131, 216,
            XXXII), increased frequency of low to moderate severity fires has the potential to improve
            grizzly bear habitat. Grizzly bears have evolved with fire as part of the natural landscape, and
            they are capable of adapting to changing ecological conditions. Wildfires have both positive and
            negative impacts on grizzly bears, but often provide significant long-term benefits by
            maintaining natural ecosystem processes (YNP 2005, p. 47). For instance, fires can reduce
            canopy cover, which usually increases berry production (LeFranc et al. 1987, p. 150, Simonin
            2000, entire, Proctor et al. 2017, pp. 49, 51). Negative impacts of fire on berry production have
            been noted on steep south or west slopes, however, where excessive canopy removal may
            decrease berry production through subsequent moisture stress and exposure to sun, wind, and
            frost (Simonin 2000, entire) .

            Twentieth century forest management, which included extensive wildfire suppression efforts,
            promoted heightened potential for a large fire event. In 1988, the largest wildfires in YNP's
            recorded history, burned a total of 3,213 km; (1,240 mi2) or 36 percent of the Park. However,
            large mobile species such as grizzly bears and their ungulate prey were not meaningfully
            adversely affected. Surveys after the 1988 fires found that 345 elk, 36 deer, 12 moose, 6 black
            bears, and 9 bison died in GYE as a direct result of the conflagration (YNP 2011, p. 3).
            Blanchard and Knight (1990, p. 592) found that the 1988 fire resulted in the probable deaths of
            only a few grizzly bears and no increase in bear home range sizes or daily movement rates
            during or after the fire. Immediately after the fires had passed, grizzly bears moved into the
            burned areas to feed on the increased availability of burnt ungulate carcasses, roots, ants, and
            newly emerged grasses and forbs. Although some grizzly bears avoided burned sites in the year
            after the fire (1989), use of burned areas in subsequent years (1990 to 1992) suggested that fires
            increased production of forbs and roots and were, therefore, beneficial to grizzly bears
            (Blanchard and Knight 1996, pp. 120-121). The period of most robust grizzly bear growth (4 to
            7 percent) occurred shortly after the 1988 fires, through the entire decade of the 1990s. YNP's
            fire management policy (YNP 2014, entire) indicates natural wildfires should be allowed to burn,
            so long as parameters regarding fire size, weather, and potential danger are not exceeded. Those
            fires that do exceed the standards set forth in the fire management policy, as well as all human-
            caused fires, are to be suppressed (YNP 2014, entire). NFs manage natural wildfires to allow
            them to play their "natural ecological role" while "minimizing negative effects to life,
            investments and valuable resources" (USDA FS 2005, p. 11, USDA FS 201 lc, pp. 3-4, USDA
            FS 2012, p. 2, USDA FS 2015d, p. 8). Future fires are likely in grizzly bear ecosystems and
            while the other ecosystems have yet to experience a wildfire of a similar scale, we agree with the
            YNP conclusion (YNP 2005, Appendix H) that grizzly bears are adaptable and will benefit from
            fires in the long term. Wildfires often lead to an increase in ungulate food supplies and an
            increase in ungulate numbers. Wildfire suppression activities may displace grizzly bears from
            habitat near these activities. Fire camps associated with fire suppression are potential sources of
            conflict due to improper food or attractant storage. While minor, localized, short-term impacts
            are likely, fire is not a major concern for grizzly bear ecosystems in the lower 48-States.

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             Vo/ca/7icActivity

            Of the six ecosystems, only the GYE is potentially at risk from volcanic activity. The GYE has
            experienced several large volcanic eruptions in the past 2.1 million years. Super eruptions
            occurred 2.1 million, 1.3 million, and 640,000 years ago (Lowenstern et al. 2005, pp. 1-2). Such
            a similar event would devastate the GYE. While one could argue "we are due" for such an
            event, scientists with the Yellowstone Volcano Observatory maintain that they "see no evidence
            that another cataclysmic eruption will occur at Yellowstone in the foreseeable future... [and that]
            recurrence intervals of these events are neither regular nor predictable" (Lowenstern et al. 2005,
            p. 6). Such an event is not likely within the 30 to 45 year timeframe for this SSA.

            Slightly more probable is a nonexplosive lava flow eruption or a hydrothermal explosion. There
            have been 30 nonexplosive lava flows in YNP ever the last 640,000 years, most recently 70,000
            years ago (Lowenstern et al. 2005, p. 2). During such an eruption, flows ooze slowly over the
            surface, moving a few hundred feet per day for several months or several years (Lowenstern et
            al. 2005, p. 2). Any renewed volcanic activity at YNP would most likely take this form
            (Lowenstern et al. 2005, p. 3). In general, such events would have localized impacts and be far
            less devastating than a large eruption (although such an event could also cause fires, fire as a
            stressor is discussed above). Hydrothermal explosions, triggered by sudden changes in pressure
            of the hydrothermal system, also occasionally affect the region. More than a dozen large
            hydrothermal explosion craters formed between 14,000 and 3,000 years ago (Lowenstern et al.
            2005, p. 4). The largest hydrothermal-explosion crater documented in the world is along the
            north edge of Yellowstone Lake in an embayment known as Mary Bay, this 2.6-km (1.5-mi)
            diameter crater formed about 13,800 years ago (Lowenstein et al. 2005, p. 4). We do not
            consider either nonexplosive lava flow eruptions or a hydrothermal-explosion likely to occur
            within the 30 to 45 year timeframe for this analysis. However, even if one did occur, the impact
            to grizzly bears would likely be localized, temporary, and not a significant concern for grizzly
            bear populations, and within the GYE only.

             Earthquakes

            Earthquakes also occur within the region and can impact the surrounding environment through
            fire damage, rockslides, ground cracks, and changes in ground water (Pardee 1926, entire). The
            most notable earthquake in YNP's recent history was a magnitude 7.5 in 1959 (Lowenstern et al.
            2005, p. 3). Similarly, a magnitude 6.5 earthquake hit within YNP in 1975 (Lowenstern et al.
            2005, p. 3). The 1959 earthquake lolled 28 people, most of them in a massive landslide triggered
            by the quake (Lowenstern et al. 2005, p. 3). The highest magnitude earthquake originating
            within the NCDE in recent history was a 6.9 magnitude earthquake in Townsend, Montana, in
            1925 (Pardee 1926, entire), and seismic effects from other high magnitude earthquakes have also
            occurred within the NCDE (Lowenstern et al. 2005, p. 3). Most earthquakes in the CYE, SE,
            BE, and North Cascades have been lower than a 3.5 magnitude (Earthquake Tracker 2020),
            however larger earthquakes have occurred, and there is a potential that large earthquakes will
            occur in the future. Although massive landslides and other earthquake-related impacts could also
            affect wildlife, as with other potential catastrophic events, the impact of a large earthquake to


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            grizzly bears would be localized, temporary, and are not a significant concern for grizzly bear
            populations.

            Summary of Ca tastrophic Events

            We considered catastrophic and stochastic (random probability) events that might reasonably
            occur in the each of the ecosystems within the 30 to 45 year future, to the extent possible. Most
            catastrophic events discussed above are unpredictable and unlikely to occur within the
            biologically meaningful timeframe for our SSA. Other events that might occur within the future
            would likely cause only localized and temporary impacts that would not significantly reduce the
            resiliency of any of the six ecosystems.

             Conserver t/bn Efforts

            The following existing regulatory mechanisms are specifically considered and discussed as they
            relate to the stressors under each relevant discussion, affecting grizzly bears in the lower-48
            States. Under Habitat-Related Effects:

                    2016 Conservation Strategy for the Grizzly Bear in the Greater Yellowstone Ecosystem
                    and the Appendices (YES 2016a, 2016b),
                    Conservation Strategy for the Grizzly Bear in the Northern Continental Divide
                    Ecosystem (NCDE Subcommittee 2020),
                    2006 Forest Plan Amendment for Grizzly Bear Habitat Conservation for the Greater
                    Yellowstone Area National Forests (USDA FS 2006a, 2006b),
                    2011 Forest Plan Amendments for Motorized Access Management within the Selkirk and
                    Cabinet-Yaak Grizzly Bear Recovery Zones for the Kootenai, Lolo, and Idaho Panhandle
                    National Forests (USDA FS 201 lb),
                    2015 Revision of the Land Management Plan for the Kootenai National Forest (USDA
                    FS 2015a);
                    2015 Revision of the Land Management Plan for the Idaho Panhandle National Forest
                    (USDA FS 2015b);
                    2019 Colville National Forest Land Management Plan (USDA FS 2019) ,
                    2000 Conservation Agreement between Stimson Lumber Company, Colville National
                    Forest, and the Service (Service 2001),
                    1997 interim Forest direction for the North Cascades Federal land management agencies,
                    Final Environmental Impact Statement for the Forest Plan for the Flathead National
                    Forest (USDA FS 2018a) ;
                    Final Environmental Impact Statement for the Forest Plan Amendments: Incorporating
                    Habitat Management Direction for the Northern Continental Divide Ecosystem Grizzly
                    Bear Population for the Helena-Lewis and Clark, Kootenai, and Lolo National Forests
                    (USDA FS 2018b);
                    Blackfeet Forest Management Plan (Blackfeet Nation 2008),
                    Flathead Indian Reservation Forest Management Plan (CS&KT 2000) ,
                    Final Environmental Impact Statement for the Montana Department of Natural Resources
                    and Conservation Forested Trust Lands Habitat Conservation Plan (DNRC 2010a,
                    2010b);

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                   Administrative Rules of Montana 36. 11.433 and 12.9. 1401,
                   Wilderness Act of 1964,
                   The 2001 Roadless Rule,
                   Glacier National Park Superintendent' s Compendium implemented under the National
                   Park System Organic Act (GNP 2019). The Organic Act of 1916, 16 U.S.C. Section 1,
                   created the NPS and assigned it the responsibility to manage the NPs. The Organic Act
                   requires the NPS to manage park units to conserve scenery, natural and historic objects
                   within parks, and wildlife, and to provide for their enjoyment in a manner that leaves
                   them unimpaired for the enjoyment of future generations,
                   Yellowstone National Park (YNP 2020, in prep.) and Grand Teton National Park
                   Compendia (GTNP and JDR 2019) implemented under the National Park Service
                   Organic Act.
                   Bureau of Land Management's Record of Decision for the Garnet Resource Management
                   Plan and the Environmental Impact Statement (BLM 1986),
                   Bureau of Land Management's Draft Resource Management Plan and Environmental
                   Impact Statement for the Missoula Field Office (BLM 2019a), and
                   Bureau of Land Management's Draft Lewistown Resource Management Plan (BLM
                   2019b).

             Under Human-Caused Mortality:

                   2016 Conservation Strategy for the Grizzly Bear in the Greater Yellowstone Ecosystem
                   and the Appendices (YES 2016a, 2016b),
                   Conservation Strategy for the Grizzly Bear in the Northern Continental Divide
                   Ecosystem (NCDE Subcommittee 2020) ,
                   2011 Forest Plan Amendments for Motorized Access Management within the Selkirk and
                   Cabinet-Yaak Grizzly Bear Recovery Zones for the Kootenai, Lolo, and Idaho Panhandle
                   National Forests (USDA FS 201 lb),
                   2015 Revision of the Land Management Plan for the Kootenai National Forest (USDA
                   FS 2015a);
                   2015 Revision of the Land Management Plan for the Idaho Panhandle National Forest
                   (USDA FS 2015b);
                   2018 Colville National Forest Land Management Plan (USDA FS 2018).
                   Grizzly Bear Management Plan for Western Montana (Dood et al. 2006) ,
                   Flathead Indian Reservation Grizzly Bear Management Plan (Servheen et al. 1981),
                   Bear Management Plan and Guidelines for Bear Management on the Blackfeet Indian
                   Reservation (Blackfeet Tribal Business Council 2013),
                   Blackfeet National Fish and Wildlife Code (Blackfeet Tribal Business Council 2018),
                   Administrative Rules of Montana 12.9.1401 and 12.9.1403.
                   State of Idaho Yellowstone Grizzly Bear Management Plan (Idaho's Yellowstone Grizzly
                   Bear Delisting Advisory Team 2002) ,
                   Proclamation of the Idaho Fish and Game Commission Relating to the Limit of the Take
                   of Grizzly Bear in the Greater Yellowstone Ecosystem (Idaho Fish and Game
                   Commission 2016),
                   Grizzly Bear Management Plan for Southwestern Montana (MFWP 2013),
                   Montana Hunting Regulations for Grizzly Bear (MFWP 2016),


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                    Montana Fish and Wildlife Commission Resolution approving the Tri-State
                    Memorandum of Agreement (July 13, 2016),
                    Wyoming Grizzly Bear Management Plan (WGFD 2016),
                    Wyoming Game and Fish Commission (2016) Chapter 67 Grizzly Bear Management
                    Regulation, and
                    Memorandum of Agreement Regarding the Management and Allocation of Discretionary
                    Mortality of Grizzly Bears in the Greater Yellowstone Ecosystem (Wyoming Game and
                    Fish Commission et al. 2016).

             Cum u/a five Effects

            Many of the stressors faced by grizzly bears are interrelated and could be synergistic, or act
            cumulatively. When stressors act synergistically, or in concert with one another, the potential
            combined effects on the species are called cumulative effects. Principal stressors discussed
            above include habitat loss through road building and the resulting increased human access to
            grizzly bear habitat, human-caused mortality of grizzly bears, and the legal mechanisms that
            direct habitat and population management. The principal stressors assessed in previous sections
            may cumulatively impact individual grizzly bear populations beyond the scope of each
            individual stressor. For example, expected increases in human populations across the Western
            United States and climate change both have the potential to increase grizzly bear conflicts and
            human-caused mortality (Servheen and Cross 2010, entire). Historically, each of these factors
            impacted grizzly bears in each of the ecosystems and cumulatively acted to reduce their range
            and abundance over time.

            We note that, by using the SSA framework, we have not only analyzed individual effects of
            stressors on individuals, ecosystems, and the lower-48 States, but we have also analyzed their
            potential cumulative effects. Because the SSA uses metrics for demographics, distribution, and
            diversity, the effect of multiple stressors is inherent in the assessment and helps to assess how
            populations and, ultimately the species, responds cumulatively to the interactive effects of
            stressors and conservation efforts included in the future scenarios (Smith et al. 2018, p. 6). We
            incorporate the cumulative effects into our analysis when we characterize the current and future
            condition of the species across six ecosystems. Our assessment of the current and future
            conditions encompasses and incorporates the stressors individually and cumulatively. Our
            current and future condition assessment is iterative because it accumulates and evaluates the
            effects of all the factors that may be influencing the subspecies, including negative influences
            from stressors and positive influences from conservation efforts. We evaluate potential effects
            from these influences consistently across the same subset of habitat and demographic needs for
            the subspecies, both currently and into the future. Because the SSA framework considers not
            just the presence of the factors, but also to what degree they collectively influence risk to the
            entire species, our assessment integrates the cumulative effects of the factors and replaces a
            standalone cumulative effects analysis.

            It is important to recognize that grizzly bears are a "conservation reliant" species (Scott et al.
            2005, p. 384, Scott et al. 2010, pp. 92, 95). According to Scott et al. (2010, p. 91), for
            "conservation reliant" species, "Even when management actions succeed in achieving biological
            recovery goals, maintenance of viable populations of many species will require continuing,

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            species-specific intervention." As a "conservation reliant" species, grizzly bears will require
            ongoing management and conservation efforts to remain recovered.

            While stressors on grizzly bear persistence are numerous and challenging to conservation, our
            experience demonstrates that if human-caused mortality can be sufficiently limited, it is possible
            for large carnivore conservation to be compatible with them (Linnell et al. 2001, p. 48). We
            consider estimates of population trend (i.e., "lambda") to be the ultimate metric to assess
            cumulative impacts to the population. Population trend reflects all of the various stressors on the
            population. This calculation reflects total mortality, changes in habitat quality, changes in
            population density, change in current range, displacement effects, and so forth. Despite the
            various stressors discussed above, the best available data indicate that, due to ongoing
            conservation efforts in the GYE, NCDE, CYE, and SE, grizzly bear population trends in these
            ecosystems are stable or increasing, and range extent has continued to expand. Ongoing
            conservation efforts have reduced the multiple negative effects to such levels that these
            populations are currently stable or increasing. As long as conservation efforts continue, existing
            threats are not significantly impacting the 3Rs in the ecosystems, but stressors are still operating
            within each ecosystem, either individually or cumulatively. In addition, the likelihood of natural
            recolonization of the BE is better now than at any point since listing. Natural recolonization of
            the North Cascades is unlikely in the near future due to the low numbers of bears in nearby
            populations and the highly fragmented landscape in between.

            Summary of Ca use-a no-Effects

            We evaluated the following stressors (we provide the relevant listing factors under the Act for
            reference only):

                •   Effects due to habitat destruction and modification (Factor A) ,
                •   Human-caused mortality (Factors B and C),
                •   Natural mortality (Factor C),
                •   Effects due to genetic health (Factor E) ,
                •   Effects due to changes in food resources (Factor E),
                •   Effects due to climate change (Factor E) ,
                •   Effects due to catastrophic events (Factor E), and
                •   Cumulative effects.

            We summarize each of these stressors by ecosystem below.

            Summary of Cause-and-Effects in the G)m5

            The primary factors related to past habitat destruction and modification have been reduced
            through changes in management practices that have been formally incorporated into regulatory
            documents. In the GYE, maintenance of the 1998 baseline values for secure habitat, developed
            sites on public lands, and livestock allotments inside the recovery zone will adequately reduce
            the multitude of stressors on grizzly bear habitat such that they do not become threats to the GYE
            grizzly bear population in the future. We expect many of these stressors to continue to occur at


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            some level, but, assuming that current regulatory mechanisms remain in place, these stressors are
            currently reduced so that they affect only a small proportion of the population.

            The GYE NFs and NPs will continue to implement and maintain the 1998 baseline. Together,
            these two Federal agencies manage 98 percent of lands within the GYE recovery zone and 88
            percent of all suitable habitat within the DMA. Suitable habitat outside the recovery zone
            provides additional ecological resiliency and habitat redundancy to allow the population to
            respond to environmental changes. Habitat protections specifically for grizzly bear conservation
            are not necessary here because other regulatory mechanisms that limit development and
            motorized use are already in place for 59 percent of suitable habitat outside the recovery zone
            (e.g., Wilderness Areas, WSAs, and IRAS). These and other conservation measures discussed in
            the USFS's ROD (2006b, pp. 4-6) ensure threats to the GYE grizzly bear population's habitat
            outside the recovery zone will not become substantial enough to reduce resiliency.

            Human-caused mortality, mainly "indiscriminate illegal killing" and management removals
            historically reduced the resiliency of all ecosystems. Since the 1975 listing, the GYE grizzly
            bear population has tripled in size and range (Eberhardt et al. 1994, pp. 361-362, Knight and
            Blanchard 1995, pp. 2-11, Boyce et al. 2001, pp. 1-11, Schwartz et al. 2006b, p. 48, Pyare et al.
            2004, pp. 5-6, Schwartz et al. 2006a, pp. 64-66, IGBST 2012, p. 34, Bjornlie and Haroldson
            2019, pp. 25-281, Haroldson et al. 2020b, p. 13). Inside the DMA, the population has been
            stable to slightly increasing since 2002 and is exhibiting density-dependent population regulation
            (van Manen et al. 2016, entire). Although humans are still directly or indirectly responsible for
            most grizzly bear deaths, this source of mortality is reduced through science-based management,
            State regulations, careful population monitoring, and education and outreach efforts. Since 1975,
            no grizzly bears have been removed from the GYE for commercial, recreational, scientific, or
            education purposes. In the future, although the States may choose to institute carefully regulated
            grizzly bear hunting outside of the National Parks, it would be within scientifically determined
            sustainable levels to maintain the population in the long term and would not occur if other
            sources of human-caused mortality were excessive. While human-caused mortality will continue
            to occur, State regulatory mechanisms limit total mortality to sustainable levels detailed in Table
            9.

            The importance of continued regulatory mechanisms and effective wildlife management
            infrastructure to large carnivore conservation cannot be understated, as described under Habitat
            Destruction and Modification and Human-Caused Mortality (see Linnell et al. 2001, p. 348).
            Regulatory mechanisms in place include NP Superintendent's Compendia, the USFS
            Amendment for Grizzly Bear Habitat Conservation for the GYE NFs, and State and Tribal
            commission regulations controlling mortality as described under Habitat Destruction and
            Modification and Human-Caused Mortality. The management infrastructure is already in place
            and described in the 2016 GYE Conservation Strategy. Because the signatory agencies to the
            2016 GYE Conservation Strategy are the same agencies that have been managing grizzly bear
            habitat, population, and monitoring for the last 40 years, the management transition would be
            minimal. Existing regulatory mechanisms ensure the GYE grizzly bear population will continue
            to meet the recovery criteria and maintain resiliency .




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            The GYE grizzly bear population has experienced population growth and range expansion since
            1975 (Pyare et al. 2004, pp. 5-6, Schwartz et al. 2006a, pp. 64-66, Schwartz et al. 2006b, p. 48,
            IGBST 2012, p. 34, Bjornlie and Haroldson 2019, pp. 25-281, Haroldson et al. 2020b, p. 13),
            and potential threats from disease, predation, genetic health, changes in food resources, climate
            change, and catastrophic events have not manifested themselves such that they negatively affect
            the long-term trajectory of the. Essentially, the management response to all these potential
            threats would be to limit human-caused mortality through conflict prevention and management
            as well as managing discretionary mortality. Because of the manageable nature of these
            potential threats through conflict prevention and response efforts and the large amount of
            suitable, secure habitat within the GYE, we do not expect these other natural or manmade factors
            to become threats to the GYE grizzly bear population.

            Many of the stressors faced by grizzly bears are interrelated and could cumulatively impact the
            GYE grizzly bear population through excessive grizzly bear mortality. While these numerous
            stressors on grizzly bear persistence are challenging to conservation, our experience
            demonstrates it is possible for large carnivore conservation to be compatible with them as long as
            regulatory mechanisms remain in place (Linnell et al. 2001, p. 48), particularly given the
            rigorous scientific monitoring protocols established for the GYE grizzly bear population. There
            will always be stressors that influence individuals, and potentially ecosystems, but if these are
            not causing the population to decline, we do not consider them to reduce resiliency .

            Summary of Cause-and-Effects in the NCDE

            The primary factors related to past destruction and modification of grizzly bear habitat have been
            reduced through changes in management practices that have been formally incorporated into
            regulatory documents. Maintenance of the baseline values for secure core habitat, developed
            sites on public lands, and livestock allotments inside the recovery zone will adequately mitigate
            the stressors on grizzly bear habitat. We expect many of the threats discussed under Habitat
            Destruction and Modification to continue to occur at some level, but they are reduced so they
            affect only individuals or a small proportion of the population.

            The NCDE NFs and GNP, which manage 78 percent of lands within the recovery zone, will
            continue to implement and maintain the baseline. The BLM, FIR, and DNRC have implemented
            habitat protections on an additional 13 percent of lands within the recovery zone. The USFS,
            BLM, BIR, FIR, and DNRC have put habitat protections in place in Zone l that protect 47
            percent of lands and provide additional ecological resiliency and habitat redundancy to allow the
            population to respond to environmental changes (in their entirety: CS&KT 2000, Blackfeet
            Nation 2008; DNRC 20lOa, 20lOb; USDA FS 2018c, 2018d, and 20l8e; BLM 2019a, 20l9b).
            These and other conservation measures discussed in the NCDE Conservation Strategy (NCDE
            Subcommittee 2020, entire) ensure threats to the NCDE grizzly bear population's habitat will not
            become substantial enough to reduce resiliency of this ecosystem.

            When grizzly bears were listed in 1975, we identified human-caused mortality, mainly
            "indiscriminate illegal killing" and management removals, as threats to the population under
            Human-Caused Mortality. In response, we implemented demographic recovery criteria in the
            1982 Recovery Plan (Service 1982, pp. 59-81). These criteria were then updated in the 1993

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            Recovery Plan to maintain a minimum population size and a well-distributed population and to
            establish total mortality limits based on scientific data and direct monitoring of the population
            (Service 1993, pp. 61-79). Since implementing these criteria, the NCDE grizzly bear population
            has more than doubled in size (from approximately 300 to 1,068 grizzly bears) and range (from
            24,800 km2 (9,600 mi2) to 63,924 km2 (24,681 mi2)) (Dood et al. 1986, p. 166, Service 1993, pp.
            11-12, Kendall et al. 2009, p. 3, Mace et al. 2012, p. 124, Costello et al. 2016b, p. 2, Costello
            and Roberts 2019, p. 10, Costello 2020, in liar. , MFWP, unpublished data). The population in the
            NCDE has grown at a rate of 2.3 percent annually since 2004 (Costello et al. 2016b, p. 2,
            Costello 2018, i n j i n ) .

            Although humans are still directly or indirectly responsible fer the majority of grizzly bear
            deaths, this source of mortality is being effectively mitigated through science-based
            management, State and Tribal regulations, careful population monitoring, and outreach efforts.
            In addition, recent levels of human-caused mortality have not precluded an annual population
            growth rate of 2.3 percent since 2004 (Costello et al. 2016b, p. 2, Costello 2018, i n l i f t ). Since
            1975, no grizzly bears have been removed from the NCDE for commercial, scientific, or
            education purposes. Legal hunting was allowed in the State of Montana under a special
            exception from 1975 until 1991, but no grizzly bears have been removed from the NCDE for
            recreational purposes since 1991. Although the State of Montana may choose to institute
            carefully regulated grizzly bear hunting outside of GNP and the BIR and FIR, it would be within
            scientifically determined sustainable levels to maintain the population in the long term and
            would not occur if other sources of human-caused mortality were excessive. Overall, the NCDE
            Conservation Strategy and existing regulatory mechanisms include provisions to ensure
            discretionary mortality will be limited to sustainable levels and ensure resiliency is maintained.

            The importance of regulatory mechanisms and effective wildlife management infrastructure to
            large-carnivore conservation cannot be overstated, as described under Habitat Destruction and
            Modification, and Human-Caused Mortality (see Linnell et al. 2001, p. 348). The regulatory
            mechanisms that are now in place or will be in place before publication of any final rule include:
            (1) as described under Habitat Destruction and Modijieationz GNP's Superintendent' s
            Compendium, the USFS revised Flathead NF Plan, the USFS Plan Amendments to Incorporate
            Habitat Management for the NCDE Grizzly Bear Population on the Helena-Lewis and Clark,
            Kootenai, and Lolo NFs, BLM's Garnet Resource Management Plan, BLM's Draft Lewistown
            Resource Management Plan, BLM's Draft Resource Management Plan and EIS Statement for
            the Missoula Field Office, the Blackfeet Forest Management Plan, the FIR Forest Management
            Plan, DNRC's HCP, ARM 36.11.433 and 12.9.1401, the Wilderness Act of 1964, and the 2002
            Roadless Rule, and (2) as described under Human-Caused Mortality: the Grizzly Bear
            Management Plan for Western Montana, the FIR Grizzly Bear Management Plan, the Bear
            Management Plan and Guidelines for Bear Management on the BIR, the Blackfeet National Fish
            and Wildlife Code, and ARM 12.9. 1401 and 12.9.1403. The management infrastructure to
            maintain habitat conditions and limit mortality is or will be in place, as described in the NCDE
            Conservation Strategy, prior to any final rule. Because the signatory agencies to the NCDE
            Conservation Strategy are the same agencies that have been managing grizzly bear habitat,
            population, and monitoring for the last 40 years, the management transition would be minimal.
            Regulatory mechanisms that currently exist ensure the NCDE grizzly bear population will
            continue to meet the recovery criteria and maintain resiliency .

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            The NCDE grizzly bear population has experienced population growth and range expansion
            since 1993 (Dood et al. 1986, p. 164, Kendall et al. 2009, p. 3, Mace et al. 2012, p. 124, Costello
            et al. 2016b, p. 2, Costello 2018, in list., Costello and Roberts 2019, p. 10, MFWP, unpublished
            data), in spite of potential threats from disease, predation, genetic health, potential changes in
            food resources, climate change, and catastrophic events. Many of these are infrequent and
            unpredictable and are not currently a significant concern for the NCDE population.

            Many of the threats faced by grizzly bears are interrelated and could cumulatively impact the
            NCDE grizzly bear population through excessive grizzly bear mortality. While these numerous
            stressors on grizzly bear persistence are challenging to conservation, our experience
            demonstrates it is possible for large-carnivore conservation to be compatible with them (Linnell
            et al. 2001, p. 48), particularly given the rigorous scientific monitoring protocols established for
            the NCDE grizzly bear population. There will always be stressors to the NCDE grizzly bear
            population, but if these are not causing the population to decline, we do not consider them
            currently to be significant threats to the long-term persistence of the population.

            Summary of Cause-and-Effects in the CVE $5 85 and North Cascades

            When grizzly bears were listed in 1975, we identified habitat destruction and modification,
            isolation, and human-caused mortality, mainly "indiscriminate illegal killing" and management
            removals, as threats to the population. The States of Idaho, Montana, and Washington have
            regulations, independent of the Act, that make it illegal to kill a grizzly bear other than in defense
            of life (ARM 14.9. 1403, IDAPA 13.01.06. 100.01(e), Washington Administrative Code 220-610-
            010). Human-caused mortality will continue to be the limiting factor, but it can be managed
            within levels that prevent population decline. Human-caused mortality has been reduced to
            levels that have allowed the CYE population to increase at a rate of 0.9 percent annually
            (Kasworm et al. 2020a, p. 39) and the SE to increase 2.5 percent annually (Kasworm 2020b, pp.
            26-27). There is currently no known population in either the BE or the North Cascades.
            However, because of the small population sizes in the in CYE and SE, isolation is still a potential
            threat to the resiliency of these grizzly bear populations. Trans-boundary connectivity has been
            observed in the NCDE and limited demographic and genetic connectivity has been observed
            between Canadian populations and the SE and the Yaak portion of the CYE. While gene flow
            has not yet been documented between the CYE and SE, movements between the CYE, SE, and
            NCDE and Canada have increased. In addition, movements between the CYE, SE, NCDE and
            the BE have increased, the estimated distribution of the NCDE grizzly bear population is within
            7 km (4.3 mi) of the BE recovery zone, and there are multiple verified sightings between the
            GYE and NCDE distributions and the BE (figure 2) .

            Habitat standards currently exist only in the CYE and SE recovery zones and BORZ are
            managed under a "no net loss" policy (in their entirety: USDA FS 201 la, 2015a, 2015b, 2018).
            Inter-ecosystem connectivity could be enhanced by higher female survival rates in linkage areas,
            as research indicates female occupancy in these intervening linkage areas is necessary for
            demographic connectivity (Proctor et al. 2015, pp. 8-11, Proctor et al. 2018, pp. 356-364).
            These standards should reduce human-caused mortality risk. Habitat standards are not yet in
            place in the two unoccupied recovery zones, the BE and North Cascades. We do not view the

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            lack of standards in the BE as a threat, however, because it is 98 percent Wilderness. In the
            North Cascades, approximately 64 percent of the public lands are designated Wilderness or IRAS
            and existing regulatory mechanisms regulate the remaining Federal lands under a "no net loss"
            policy for secure core habitat. However, existing motorized access levels are unknown on USFS
            lands and we are unable to assess the adequacy of existing levels. Further monitoring of the
            population and cause-specific mortality will determine the success of the current "no net loss"
            policy. Habitat protections within the CYE and SE and in potential connectivity areas in the
            form of easements and purchases have protected additional lands. Because habitat in the BE,
            CYE, North Cascades, and SE may only support relatively small grizzly bear populations,
            connectivity with other grizzly bear populations, including Canada, is necessary for their long-
            term conservation.

            The principle land management agency in the CYE and SE, the USFS, amended forest plans
            with regulatory requirements for food storage orders requiring forest users to keep foods and
            attractants inaccessible to bears (in their entirety: USDA FS 201 la, 2015a, 2015b, 2018). Food
            storage orders should reduce human-caused mortality risk. There are no food storage orders
            within the BE recovery zone. In the North Cascades, food storage orders are in effect in North
            Cascades NP, but not on 75 percent of land managed by the USFS within the North Cascades
            recovery zone. The lack of mandatory food storage orders within the North Cascades and BE
            recovery zones may contribute to future grizzly bear mortality risk and inhibit restoration efforts
            or natural recolonization. As grizzly bear distribution expands, food storage orders in areas
            outside the recovery zones would likely facilitate connectivity.

            Effective I&E programs have been an essential factor in the progress towards recovery of the
            CYE, SE, NCDE, and GYE grizzly bear populations since its listing in 1975, and have likely
            played a crucial supporting role to the success of other grizzly bear management strategies
            implemented for the population. In addition, I&E programs in the BE and North Cascades lay
            the foundation for restoration of grizzly bears in these two ecosystems.




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             Chapter 6: Current Condition
            In this chapter, we describe the current condition of the grizzly bear in the lower-48 States in
            terms of resiliency, redundancy, and representation. We do this by evaluating the current
            condition of the habitat and demographic factors that we identified as needs in Chapter 4. In
            Chapter 5, we summarized our evaluation of potential stressors and conservation efforts that
            influence the condition for each ecosystem. The stressors that influence current resiliency of
            ecosystems include sources of human-caused mortality and motorized access. As also
            summarized in Chapter 5, a variety of conservation measures help reduce the influence of these
            stressors on ecosystem resiliency.

            We begin our evaluation of current condition with a description of the methodology that we used
            to evaluate resiliency consistently across all six ecosystems. We developed a categorical model,
            called a condition category table, to calibrate resiliency in terms of stochastic risk based on the
            condition of two habitat factors and six demographic factors. We then used this table to evaluate
            resiliency for each ecosystem and summarized our evaluation of current condition for the grizzly
            bear in terms of the 3Rs.

             Methodology to Eva/uate Current and Future Condition

            As summarized in Chapter 4, we identified large intact bocks of land, cover, high-caloric foods,
            and dens as habitat needs for the grizzly bear in the lower-48 States. For demographic needs, we
            identified connectivity, adequate fecundity and survival, genetic diversity, population trend, and
            abundance as ecosystem-level needs for resiliency. For our analysis of current and future
            condition, we selected a subset of these needs, two habitat factors and six demographic factors
            that are most influential to ecosystem resiliency and that we could measure relatively
            consistently across all six ecosystems. The two habitat factors and six demographic factors that
            we used to evaluate condition were:

                   Natural, high-caloric foods, as measured by available data on body fat, stable isotope
                   analyses, and where available, the direct monitoring of food sources,
                   Large intact blocks of land, as measured by the status of meeting habitat standards,
                   where applicable, and the existence of other protections that influence the security of
                   habitats9
                   Adult female survival, as measured by estimates of survival rates using data from radio-
                   collared individuals,
                   Abundance, as measured by progress toward meeting Population Targets outlined in
                   relevant conservation plans, and the Number of Bears. While the overall number of
                   bears is most important to resiliency, we also evaluated population targets to
                   acknowledge that some recovery zones are small in size (and therefore rely on
                   connectivity to larger populations nearby) and carrying capacity is more limited.
                   Population targets consider both biological and social factors and do not represent
                   carrying capacity for each ecosystem,
                   Population trend, as measured using long-term trend data available for each ecosystem,
                   Fecundity, as measured by occupancy of BMUs by reproductive females,


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                   Inter-ecosystem connectivity, or natural connectivity between ecosystems either within
                   the U.S. or between the U.S. and Canada, as measured by monitoring data on
                   immigration. Natural connectivity can facilitate a small population to become self-
                   sustaining, an objective of the recovery plan (Service 1993, p. 15), and
                   Genetic diversity, as measured by the effective population size, heterozygosity, allelic
                   richness, and inbreeding rates, as available for each ecosystem.

            We describe each of these habitat and demographic factors needed by individuals and
            ecosystems in more detail in Chapters 2 and 4.

            We then developed a categorical model, called a condition category table, for these two habitat
            and six demographic factors, to calibrate our evaluation of resiliency in terms of a plausible
            range of stochastic risk, from highest to lowest risk, for each factor (Table 16). The categories
            we used to describe resiliency are high, moderate, low, very low, and functionally extirpated,
            which represent relative levels of stochastic risk for each factor, with high being the most
            resilient, and functionally extirpated being the least resilient, based on the condition of the factor
            as described in the table's rows. For the two habitat factors (high-caloric foods and large intact
            blocks of land), and one demographic factor (population trend), resiliency categories did not
            include a 'very low' score due to evaluation metrics.

            We used a condition category table to calibrate our understanding of resiliency and to evaluate
            the condition of each habitat and demographic factor for each ecosystem. As we considered the
            condition, we used metrics that were available consistently for all ecosystems, including
            compiled information from peer-reviewed literature, surveys and reports, and input from
            scientific experts. For several factors, other accurate metrics exist (e.g., carrying capacity to
            measure population target), however, we did not have accurate estimates of those metrics for all
            ecosystems and therefore used different metrics commonly available to evaluate condition.
            Throughout our evaluation, we considered the life history and ecology of grizzly bear in the
            lower-48 States, as summarized in Chapter 2, data on the current distribution and trends, as
            summarized in Chapter 2, and our cause-and-effect analysis of stressors and conservation efforts,
            as summarized in Chapter 5. The SE recovery zone extends into Canada, but we analyzed the
            SE for the lower-48 States portion only where possible, however, there are some demographic
            factors that are assessed for the entire recovery zone and we note where this is the case.

            To calculate an overall score for resiliency, we assigned weighted values to the resiliency
            categories and then calculated a weighted average using the formula in Figure 30. We assigned
            4 to high, 3 to moderate, 2 to low, l to very low, and 0 to the functionally extirpated category.
            We weighted the demographic factor for abundance, the number of bears, three times, due to its
            relative importance to the resiliency of each ecosystem and to balance its weight proportionally
            to four other demographic factors. Adult female survival and fecundity influence the number of
            bears, population trend reflects changes in the number of bears, and population target is a
            different metric of the same factor (number of bears) (Figure 30). Population target is an
            objective or threshold from existing plans and conservation strategies, and considers biological
            and social factors, it does not represent carrying capacity.




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            We based the overall condition score thresholds on the difference between the highest and lowest
            possible condition scores, divided into five equal intervals. A weighted average of 3.2 or greater
            was classified as a High Condition, 2.4-3. 19 a Moderate Condition, 1.6-2.39 a Low Condition,
            0.8-1.59 a Very Low Condition, and less than 0.79 a Functionally Extirpated (X) Condition
            (Figure 30). For any ecosystem, if the demographic factor for abundance, the number of bears,
            received a Functionally Extirpated Condition (X), then the overall resiliency for the ecosystem is
            categorized as Functionally Extirpated (X), regardless of the condition category assigned to any
            of the other habitat or demographic factor. This methodology allowed us to summarize the
            condition of habitat factors needed by individuals to breed, feed, and shelter, to the demographic
            factors needed by ecosystems to be resilient, to the redundancy and representation needed by the
            lower-48 States to withstand catastrophes and adapt to environmental change. In general,
            ecosystems with higher resiliency have a greater probability of persistence over the next 30 to 45
            years than ecosystems with lower resiliency.


                                                                                       Calculation of Thresholds for
              Overall Resiliency                                                       Overall Resiliency Condition
                           = (High Caloric Foods                                       hoax Score            4
                           + Large Intact Blocks of Land                               Intervals           0.8
                           + Adult Female Survival                                                        Min Max
                           + Population Target + 3                                                         3.2       4
                           * (Number of Bears)
                                                                                                           2.4     3.2
                           + Popufation Trend
                                                                                                           1.6     2.4
                           + Fecundity
                                                                                                           0.8     1.6
                           + InterEcosystem Connectivity
                           + Genetic Diversity)/11                                                               0.0       0.8



            Figure 30. Formula and thresholds used Zo calculate an overall score for resiliency for each ecosystem based on our
            evaluation of eonditionfor the two habitat faetors and six demographic factors.




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      Table 16. Condition category table (categorical model) used to evaluate resiliency in terms for the six ecosystems of grizzly bear in the lower-48 States, in terms of two hahitatfactors and six demographic facIony.




       Resiliency                                                                                                                                Abundance
                          Natural, High-Caloric            Large, intact blocks of              Adult Female                                                                                                                                                   Inter-Ecosystem
       Categories                                                                                                                                            Number of Bears                  Population Trend                       Fecundity                                              Genetic Diversity
                                 Foods                              land                           Survival                 P0 ulation Tar et                                                                                                                    Connectivity
                                                                                                                                                                  3x)

                                                                                                                             Recovery criteria                                                                                                            Monitor natural immigration
                                                                                                                           and/or Conservation                                                                                                            into ecosystems during the
                                                              Status of meeting                                                                                                             The method we use to
                            Body fat data, stable                                             Estimate survival             Strategies indicate            The methods we use to                                               A BMU is occupied by                  most                  Effective population
                                                               various habitat                                                                                                               estimate population
       Evaluation         isotope analysis, and/or                                            rates using peer-            population target, the          estimate the number of                                              a reproductive female at   recent generational interval     size, heterozygosity,
                                                           standards, existence of                                                                                                              trend varies by
        Metrics             direct monitoring of                                                  reviewed                  methods we use IO                  bears varies by                                                  least once in a 6-year     (10 to 15 years) (through           allelic richness,
                                                            other protections that                                                                                                          ecosystem and reiiects
                                food sources                                                   methodology"               estimate the number of                 ecosystem                                                             window             radio-collared bears, DNA           inbreeding rates
                                                           ensure habitat security                                                                                                           the long-term trend
                                                                                                                           bears depends on the                                                                                                               sampling, marked
                                                                                                                                ecosystem                                                                                                                        individuals)


                           Diverse, high-caloric,           Availability of secure                                                                                                                                              All BMUs within the       Females have immigrated
             High                                                                          Survival rate is above                                                                                                                                                                        Sufficient for long-term
                           natural foods are not            habitat is sufficient to                                         At or above target             More than 800 bears             Lambda greater than 1                recovery zone are         and bred (demonstrating
              (4)                                                                                  0.93                                                                                                                                                                                           fitness
                                 limiting                   meet individual needs                                                                                                                                                    occupied             demographic connectivity)



                                                            Availability of secure
                           Diverse, high-caloric,                                                                                                                                             Lambda is stable or               70-99% of the BMUs        Males have immigrated and
           Moderate
                             natural foods are                 habitat to meet                 Survival rate is
                                                                                                                                                                                               slightly declining              within the recovery zone                                  Sufficient for shalt-term
                                                                                                                          80-99 percent of target               400-799 bears                                                                             bred (demonstrating genetic
             (3)            somewhat limiting                individual needs is             between 0.90-0.93                                                                                                                                                                                    fitness
                                                             somewhat limiting                                                                                                               (between 0.98 and 1)                    are occupied                connectivity)



                                                                                                                                                                                                                                                           Evidence of an immigrant
                                                                                                                                                                                                                                50-69% of the BMUs                                       Sufficient for short-term
             Low                                                                                                                                                                                                                                          that has established a home
                                                                                                                          50-79 percent of target                91-399 bears                                                  within the recovery zone                                   fitness, but with high
              (2)                                                                                                                                                                                                                                         range within the ecosystem
                                                                                                                                                                                                                                     are occupied                                          levels of inbreeding
                                                                                                                                                                                                                                                          but no documented breeding
                                                            Availability of secure
                           Diverse, high-caloric,
                             natural foods are                 habitat to meet             Survival rate is below                                                                           Lambda is below 0.98
                                                             individual needs is                   0.90
                                 limiting
                                                                  limiting
                                                                                                                          Less than 50 percent of                                                                                                          Immigrant is documented
           levy Low                                                                                                          the target and has             Fewer than 90 bears                                                 Less than 50% of the      within the ecosystem but no      Insufficient for short-
              (1)                                                                                                               evidence of               and a known population                                                BMUs are occupied           evidence of home range       term or long-term fitness
                                                                                                                               reproduction.                                                                                                               establishment or breeding



           Ixtirpated      Diverse, high-caloric,             There is no secure
                                                                                           No known population             No known population              No known population              No known population                 No BMUs occupied              No connectivity            No known population
               (0)        natural foods are absent                 habitat


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           Data from radio-collared individuals is currently used to estimate survival rates.
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             Current Condition: Res/Yiency

            Table 17 summarizes the current demographic data in each ecosystem for five of the
            demographic factors used to evaluate resiliency.

            Table I7. Summary of eurrent data forfve demographic faetors used zo evaluate resiliency. Values are point estimates and do
            not reflect sampling errors associated with estimates.




                                                         18 out of 18                               Above target of
                   GYE                   0.94                                   1.003-1.022                                   737
                                                        BMUs occupied                                    674



                                                         22 out of 23                               Above target of
                  NCDE                   0.94                                      1.023                                     1,068
                                                        BMUs occupied                                   800



                                                         12 out of 22                               Below target of        55 to 60
                    CYE                  0.94                                      1.009
                                                        BMUs occupied                                    100                bears



                                                                                                    Below target of      Minimum of
                                                         8 out of 10
                     SE                  0.91                                      1.025             90 (including       53 bears (in
                                                        BMUs occupied
                                                                                                       Canada)              U.S.)


                                                                                                    Below target of
                    BE                     0                    0                     0                                        X
                                                                                                         280



                                                                                                    Below target of
              North Cascades               0                    0                     0                                        X
                                                                                                         200



            Table 18 presents CHI' evaluation of current condition for grizzly bears in the six ecosystems in
            the lower-48 States. Currently, there are two ecosystems with high resiliency (GYE and NCDE),
            one ecosystem with moderate resiliency (SE), and one ecosystem with low resiliency (CYE) .
            Two ecosystems (BE and North Cascades) are currently in a functionally extirpated condition,
            with no resiliency. There may be one or more individuals in the BE, however there is no known
            population, so it currently is in a functionally extirpated condition. We summarize our
            evaluation of current condition for ecosystem below .



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      Table 18. Current condition for six ecosystems for grizzly bear in the lower-48 States, evaluated used the condition category table for resiliency. *Overall Current Condition was calculated as the
      weighted average of allfactors, with "number of bears" weighted three times due to its importance to resiliency. High=4, Moderate = 3, Low=2, Very Low= I, and Functionally Extirpated (X) = 0,
      with score thresholds as Moderate: 2.4-3.19, Low= 1.6-2.39, Very Low=0.8-I.59,' and less than 0. 79 = Functionally Extirpated (X) Condition. An X in number of bears results in an overall
      condition off regardless of the other factors. In general, ecosystems with higher resiliency have a greater probability of persistence over the next 30 to 45 years, based on their ability to withstand
      stochastic events, than ecosystems with lower resiliency.




                                                                                                                                                                                                             3
                                                                                                                                                                                                             u
                            Natural.           Large,                                   Abundance
                                                                                                                                                                                                              z
        Ecosystem            High-              intact
                                                                 Adult
                                                                                                                   Population                              Inter-Ecosystem            Genetic
                                                                                                                                                                                                             E4
                                                                Female                                                                 Fecundity
                            Caloric           blocks of
                                                                Survival                           Number            Trend                                   Connectivity             Diversity              :Z
                                                                                                                                                                                                             m
                             Foods               land                           Population
                                                                                  Target           of Bears
                                                                                                       (3x)


            GYE               High               High              High             High           Moderate             High               High                     X                 Moderate             High


           NCDE               High               High              High             High              High              High            Moderate                  High                   High              High


            CYE            Moderate           Moderate             High             Low          | Very Low             High               Low                 Moderate                   Low               Low


                           Moderate           Moderate          Moderate         Moderate | Very Low                    High            Moderate               Moderate               Moderate          Moderate


                           Moderate           Moderate               X                X                 X                 X                  X                 Very Low                    X                     X

          North
                           Moderate           Moderate               X                X                 X                 X                  X                      X                      X                     X
         Cascades




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             Current Co/7o7tio/7 in the G)m5

             Overall Current Condition: HIGH

             High-Caleric Foods: HIGH
                • High-caloric foods are readily available and diverse.
             Large Intact Blocks of Land: HIGH
                • A variety of land protections influence the current condition of these habitat factors
                    (Chapters 2 and 5).

             Adult Female Survival: HIGH
                • Adult female survival = 0.94.
             Fecundity: HIGH
                • Females with cubs occupy 18 of 18 BMUs.
             Population Trend: HIGH
                 •   Population growth rate = 1.003-1.022 (IGBST 2012, p. 34). The population trajectory
                     that includes the most recent data are based on Chao2 estimates of females with cubs for
                     the period 2002 to 2019, which indicates a relatively constant population size for this
                     reproductive segment of the population within the DMA, but with some evidence in
                     recent years of an increasing trend (Haroldson et al. 2020b, p. 13).

             Population Target: HIGH
                • Population size = 737 individuals (target = 674, Service 2017, p. 5) inside the DMA
                     (Haroldson et al. 2020b, p. 13), as estimated by conservative model-averaged Chao2
                     method (Schwartz 2008, entire) .

             Number of Bears: MODERATE
               • 737 individuals falls short of the 800 individuals needed for high condition fer the
                  number of bears, however this is likely an underestimate due to the way that the
                  population size is estimated (Cherry et al. 2007, entire, Schwartz et al. 2008, figure 5).

             Genetic Diversity: MODERATE
                • Heterozygosity is moderate and the population remains isolated.
            Inter-Ecosystem Connectivity: FUNCTIONALLY EXTIRPATED
                • Population is currently isolated, but given the increased distributions of the GYE and
                   NCDE and the increasing number of verified sightings in between these distributions
                   (Figure 22), if current trends continue we expect that natural immigration into the GYE
                   will occur in the future and improve the condition of inter-ecosystem connectivity .

             Current Co/7o7tio/7 in the NCDE

             Overall Current Condition: HIGH

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             High-Caloric Foods: HIGH
                .  High-caloric foods are readily available and diverse.

             Large Intact Blocks of Land: HIGH
                 .   A variety of land protections influence the current condition of these habitat factors
                     (Chapters 2 and 5).

             Adult Female Survival: HIGH
                • Adult female survival = 0.94.
             Fecundity: MODERATE
                • Females with cubs occupy 22 of the 23 BMUs in the NCDE, which falls just short of the
                   requirement for a high fecundity condition that all BMUs be occupied by a reproductive
                    female at least once in a 6-year window. However, we note that due to its forested
                    habitats, which make surveying females with cubs challenging, this factor is difficult to
                    measure in the NCDE, so moderate condition for fecundity could be an underestimate.
                    Additionally, one BMU in the NCDE is entirely a Wilderness area that is not actively
                    monitored, which also suggests that a moderate condition could be an underestimate for
                    fecundity in the NCDE.

             Population Trend: HIGH
                • Population growth rate = L023.
             Population Target: HIGH
                • Estimated number of individuals = 1,068 individuals (target for the lower 90%
                    confidence bound, taking into account sampling uncertainty associated with demographic
                    parameters = 800). Given current rates and levels of uncertainty, managing for a
                    population with a greater than or equal to 90 percent estimated probability of being above
                    800 bears requires maintaining an estimated population size of approximately 950-1,000
                    bears .

             Number of Bears: HIGH
               • Large population size increases population fitness.
             Genetic Diversity: HIGH
                .   Due to high population size and relatively high levels of heterozygosity and allelic
                    richness (Kendall et al. 2008, pp. 1698-1704, Kendall et al. 2009, pp. 9-12, Mace et al.
                    2012, pp. 124-125, Proctor et al. 2012, pp. 33-34, Mikle et al. 2016a, pp. 4-6,
                    Morehouse et al. 2016, pp. 1160-1163).

            Inter-Ecesystem Cennectivityz HIGH
                • Female grizzly bears have naturally entered the NCDE from Canada and bred (Proctor et
                   al. 2012, entire).



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             Current Co/7o7tio/7 in the CVE

             Overall Current Condition: LOW

             High-Caleric Foods: MODERATE
                • The CYE is smaller than the GYE and NCDE, with a narrower range of habitats, which
                   may limit the diversity of foods available. Few alternatives to huckleberries exist in the
                   CYE, and its forested habitats may make ungulates less available as a food source.
                   Although foods are less diverse in the CYE, individuals have body fat levels to indicate
                   that natural, high-caloric feeds are not limiting.

             Large Intact Blocks of Land: MODERATE
                .   Large intact blocks of land are somewhat limiting in the CYE. Although there are large
                    protected areas within the CYE recovery zone (with 44 percent designated as Wilderness
                    or IRAS), additional protections outside the recovery zone, and recent conservation
                    efforts on private lands, habitat standards for motorized route densities established for the
                    CYE recovery zone have not yet been met.

             Adult Female Survival: HIGH
                .   Adult female survival = 0.94.

             Fecundity: LOW
                •   Females with cubs occupy 12 of 22 BMUs. Likely a result of the very low abundance in
                    terms of the number of bears. We expect that ever time, if the population trend and adult
                    female survival rates remain high in the CYE, the population in this ecosystem will likely
                    expand, which would improve the condition of fecundity and abundance.

             Population Trend: HIGH
                .   Population growth rate = 1.009.

             Population Target: LOW
                • The population target of 100 for the CYE is not currently being met.
             Number of Bears: VERY LOW
                • 55 to 60 individuals (Kasworm et al. 2020a, p. 40). This low estimate likely reflects the
                    fact that the CYE is a smaller ecosystem that is still slowly recovering from being close
                    to historical extirpation, particularly in the Cabinets portion of the CYE.

            Genetic Diversity: LOW
              • The low rating is driven by the Cabinets portion of the CYE. Though we have
                  documented some movement and gene flow from the Purcells north of Hwy. 3 into the
                  Yaak, we have only recently detected movement by males but no gene flow into the
                  Cabinets. Potential inbreeding and a small population size, but evidence of connectivity
                  suggests there is short-term genetic fitness in the CYE.

             Inter-Ecosystem Connectivity: MODERATE

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                .    Males have naturally immigrated into the Yaak portion of the CYE and subsequently
                     bred, but we have only detected movements into or out of the Cabinets portion (Kasworm
                     et al. 2020a, p. 32, Proctor et al. 2018, p. 363). Emigration out of the CYE has occurred
                     and may benefit other ecosystems .

             Current Co/7o7tio/7 in the SE

            The recovery zone extends into Canada, therefore, some of the demographic information (i.e.,
            female survival and population trend) we have is based on the entire recovery zone (so includes
             bears in Canada) .

             Overall Current Condition: MODERATE

             High-Ca10ric Foods: MODERATE
                • Foods are less diverse in the SE, likely due to its small size and narrower range of
                     habitats. The SE is also forested, which may reduce the availability of ungulates as a
                     food source. Although high-caloric feeds are somewhat limiting in the SE, body fat
                     levels indicate that individuals are relatively healthy.

             Large Intact Blocks of Land: MODERATE
                . The SE contains a limited amount of protected areas inside the recovery zone (3 percent
                    designated or recommended Wilderness) and motorized route densities do not yet meet
                    applicable habitat standards, although they are close. There have been recent
                    conservation efforts on private lands in Canada and there are some regulations that
                    manage motorized access outside the recovery zone. However, motorized access
                    standards have not been fully implemented, and motorized route densities somewhat limit
                    the availability of large intact blocks of land in the SE.

             Adult Female Survival: MODERATE
                • Adult female survival rate = 0.91 (Kasworm et al. 2020b, p. 24).
             Population Trend: HIGH
                • Population growth rate = L025.
             Population Target: MODERATE
                . The population target of 100 bears, including Canada, is not currently being met.

             Number of Bears: VERY LOW
                 •   A minimum of 53 individuals in the U.S. portion. Small population size decreases
                     population fitness. Some individuals in the U.S. minimum population estimate have
                     home ranges that crossed the international border, for which an updated population
                     estimate is in progress. An estimate of 83 bears for the international population was
                     made in 2010 (Proctor et al. 2012, p. 31).

             Fecundity: MODERATE


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                    Eight of the 10 BMUs had sightings of females with young (Kasworm et al. 2020b, p.
                    12). Likely a function of the very low number of bears in the SE. We expect that if the
                    SE population continues to expand and maintains a positive population trend, females
                    with cubs will occupy more of the BMUs, which would improve the condition of
                    fecundity and abundance in the SE.

            Genetic Diversity: MODERATE
              • Heterozygosity values in the SE, as measured in the trans-boundary population, remain
                  low, due to the small number of bears, historical bottleneck, and past isolation. However,
                  heterozygosity has increased some in the past decade with increased immigration and
                  breeding from other populations (Proctor et al. 2018, p. 361).

             Inter-Ecosystem Connectivity: MODERATE
                 • Males have been observed moving into the SE from other ecosystems (Kasworm et al.
                    2020b, p. 22in prep). Emigration out of the SE has occurred and may benefit other
                    ecosystems.

             Current Co/7o7tio/7 in the BE

             Overall Current Condition: FUNCTIONALLY EXTIRPATED
                . There is at least one known bear near the recovery zone, but no known population.

             High-Caleric Foods: MODERATE
                • High-caloric foods are less diverse in the drier southern part of the BE.
             Large Intact Blocks of Land: MODERATE
                • Approximately 98 percent of the BE recovery zone is designated Wilderness, but
                    condition is Moderate because motorized access standards have not been developed for
                    the recovery zone or for adjacent areas to the north and east, where female occupancy is
                    necessary for natural recolonization of the BE. This is different for ecosystems that
                    currently contain a core population, areas peripheral to the recovery zone are less integral
                    to recovery »

             Adult Female Survival: FUNCTIONALLY EXTIRPATED

             Fecundity: FUNCTIONALLY EXTIRPATED

             Population Trend: FUNCTIONALLY EXTIRPATED

             Population Target: FUNCTIONALLY EXTIRPATED
                • The population target of 280 bears (Service 2000, p. ii) is not currently being met.
             Number of Bears: FUNCTIONALLY EXTIRPATED
               • There is no known population but in 2019, a collared bear dispersed from the CYE into
                  the BE recovery zone, and returned north to the CYE to den. Multiple additional grizzly


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                    bears have been confirmed in areas immediately surrounding the recovery zone over the
                    last 15 years, indicating that connectivity is possible.

             Genetic Diversity: FUNCTIONALLY EXTIRPATED

             Inter-Ecosystem Connectivity: Very LOW
                 • Despite its relative isolation from ether ecosystems, recent sightings suggest that inter-
                    ecosystem connectivity is currently very low for the BE. In 2019, at least one bear from
                    the CYE spent time in the BE recovery zone, and there have been multiple, verified
                    sightings to the north and west of the recovery zone, one of which is known to have
                    originated from the SE. There have also been verified sightings in potential connectivity
                    areas between all four occupied ecosystems, although it is unknown for every case from
                    what ecosystem the individuals originated. Numerous conservation easements on private
                    lands and the purchase of land by land trusts have increased the potential for future
                    natural recolonization of the BE from other ecosystems. For example, in the GYE, more
                    than 2,800 km2 (1,080 m?) of privately owned land are protected by easements or owned
                    by land trusts in potential connectivity areas between the GYE and the BE. In the NCDE,
                    more than 600 km; (230 mi2) of privately owned land are protected by easements or
                    owned by land trusts in the Ninemile DCA in Zone l, which borders the northeast
                    boundary of the BE. More than 700 km2 (270 mi2) of privately owned land are protected
                    by easements or owned by land trusts in areas that border the GYE and the NCDE and
                    could connect to the BE. While these conservation measures are helpful for connectivity,
                    and the distance between the BE and NCDE is small (7 km (4.3 mi)), significant
                    impediments remain in place (e.g., I-90) that act to slow down immigration. To date all
                    verified occurrences of grizzly bears entering the BE have been males and female
                    immigration is also needed for natural recolonization. Female immigration is anticipated
                    to be slower given their shorter dispersal distances and potential barriers (e.g., I-90) .

             Current Co/7o7tio/7 in the North Cascades

             Overall Current Condition: FUNCTIONALLY EXTIRPATED

             High-Caloric Foods: MODERATE
                .  Berries and herbaceous material are the primary foods available, ungulate food sources
                    are less available.

             Large Intact Blocks of Land: MODERATE
                • For the BMUs in the North Cascades, there is a habitat standard of "no net loss" of secure
                    habitat developed from a 1997 baseline. Federal land managers have met this baseline,
                    however, we have not evaluated whether this 1997 "no net loss" approach provides an
                    adequate amount of secure habitat for a healthy grizzly bear population. Approximately
                    63 percent of the North Cascades ecosystem is designated Wilderness or IRAS.
                    Therefore, although the North Cascades has protected areas and meets its "no net loss"
                    approach, uncertainty associated with the adequacy of the baseline means that the
                    condition of large intact blocks of land is currently moderate for the North Cascades. We
                    note that the North Cascades ecosystems likely has sufficient habitat resources to support

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                    a population (Servheen et al. 1991, p. 6, Almach et al. 1993, pp. 21-22, Gaines et al.
                    1994, Lyons et al. 2018, p. 30).

             Adult Female Survival: FUNCTIONALLY EXTIRPATED

             Fecundity: FUNCTIONALLY EXTIRPATED

             Population Trend: FUNCTIONALLY EXTIRPATED

             Population Target: FUNCTIONALLY EXTIRPATED
                . The population target of 200 bears (NPS and Service 2017, p. 5) is not currently being
                    met.

             Number of Bears: FUNCTIONALLY EXTIRPATED

             Genetic Diversity: FUNCTIONALLY EXTIRPATED

            Inter-Ecosystem Connectivity: FUNCTIONALLY EXTIRPATED
                .  Although the North Cascades is currently isolated, we note that it is within the long-
                   distance dispersal distance for males of existing populations in the United States or
                   Canada, and inter-ecosystem connectivity could improve in the future, which in turn
                   could then improve the condition of the other demographic factors. There are several
                   populations within the long-distance male dispersal range (67-176 km (42-109 mi))
                   (Blanchard and Knight 1991, pp. 50, 55, McLellan and Hovey 2001, p. 841, Peck et al.
                   2017, p. 2), in Canada (Stein-Nahatlatch, Squamish-Lillooet, Garibaldi-Pitt Grizzly Bear
                   Population Units), inter-ecosystem connectivity is plausible.

            Although the BE and North Cascades currently do not support populations and are in overall
            functionally extirpated condition, I&E programs provide an important foundation for the
            potential future restoration of grizzly bears in these two ecosystems. The I&E team for the North
            Cascades and BE IGBC Subcommittee coordinates the development, implementation, and
            dissemination of programs and materials to aid in preventative management of human-bear
            conflicts. I&E team members include the Service, State fish and game agencies, Tribal wildlife
            agencies, the NPS, and the USFS. These partners recognize that public I&E programs are crucial
            in preventing human-grizzly bear conflicts, which is evidenced by the fact that they have been
            actively involved in grizzly bear I&E outreach for over a decade. I&E efforts include: public
            meetings, community events, informational posters, brochures, and bear identification sheets,
            bear-resistant containers, electric fencing, and funding of outreach by NGOs. In contrast to these
            I&E efforts, there are currently no food storage orders on the NFs in the BE, which manage
            nearly 100 percent of the BE recovery zone. Similarly, there are currently no food storage orders
            on the 75 percent of lands within the North Cascades recovery zone that are managed by the
            USFS, mandatory food storage orders are in effect in North Cascades NP (Title 36 CFR chapter
            l, section 2. l0(d) and section 2.2(a)(2). The lack of mandatory food storage orders on USFS
            lands within the North Cascades and BE recovery zones could reduce potential future
            improvements in the condition of the demographic factors for these ecosystems.


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            Summary of Current Res//iency

            Currently, the GYE and NCDE have high resiliency. The SE has moderate resiliency and the
            CYE has low resiliency. Resiliency of the GYE and NCDE is currently high due to the generally
            high and moderate conditions for the habitat and demographic factors that influence resiliency
            (Figure 31). Despite high population trends and high and moderate adult female survival, both
            the CYE and SE currently have very low numbers of bears, although this factor could improve as
            bears reproduce and expand in the future. Despite the moderate condition of habitats, without
            known populations, the BE and North Cascades are currently in functionally extirpated
            condition, and therefore have no resiliency .

             Current Condition: Redundancy

            Redundancy describes the number and distribution of ecosystems, such that the greater the
            number and the wider the distribution of the ecosystems, the better able grizzly bear in the lower-
            48 States can withstand catastrophic events. Grizzly bears in the lower-48 States currently
            occupy four ecosystems, with two ecosystems with high resiliency, one with moderate resiliency,
            and one with low resiliency. Two ecosystems are currently in functionally extirpated condition,
            with no resiliency, so do not contribute to redundancy. The four ecosystems are currently
            distributed from north to south and east to west as illustrated in Figure 31.




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                                                    Selkirk


                                                               ICablct~
                                                                                                                 MONTANA

                                        WASHINGTON




              Current Condition                                              ID A HO

                    High
             1- Moderate
                    Low                                                                                                  WYOMING
                    Very Low
              l     Extirpated       m-m_"                             210
                                                                              _   IKilomctcrs \
                                                                              T 280
             Figure 31. Ma, of the overall w.. run. conditionjOi un, so. ca' »~ 'y bear ecosystems in the lower-48 States, in terms of resiliency,
             redundancy, and representation. Colors represent the current resilieneyfor each ecosystem, based on the current condition of
             two habitat faetors and six demographic factorsfor each ecosystem. Ecosystems with higher levels of resiliency are at less risk
            from environmental and demographic stochasticity. Currently, the Greater Yellowstone (GYE) and Northern Continental Divide
             (NCDE) ecosystems have high resiliency, the Selkirk ecosystem (SE) has moderate resiliency, and the Cabinet-Yaak ecosystem
             (CYE) has low resiliency. The North Cascades and Bitterroot (BE) ecosystems are in a functionally extirpated condition
             currently, so have no resiliency. Four ecosystems (GYE, NCDE, SE and CYE) distributed as illustrated on the map contribute zo
             redundancy and these eeosystemsfeature a diversity of ecological types used by the grizzly bear for representation.


             Current Condition: Representa son

            Representation describes the breadth of ecological, genetic, behavioral, and morphological
            diversity across the six ecosystems. Representation is currently captured by ecological diversity
            inherent within the four resilient ecosystems (Figure 31, above). For example, the GYE,
            contained in the Middle Rockies ecoregion, is dominated by forested, mountainous habitat, and
            dry sagebrush to the east and south, and includes hydrothermal features and other unique
            geologic features. The NCDE includes parts of the Great Plains, Middle Rockies, and Northern
            Rockies ecoregions, and habitat varies from wet forested lands west of Glacier Park to much
            drier habitat to the east, including prairie grasslands. The CYE and SE are both contained within
            the Rocky Mountains, and are characterized by wet, forested mountains. The BE is primarily
            contained in the Idaho Batholith ecoregion, and contains mountainous regions, canyons, dry,
            partly wooded mountains, grasslands, high glacial valleys, and hot dry canyons. The North

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            Cascades is composed of high, rugged mountains, and has a high concentration of active
             glaciers.

            Summary of Current Condit/bn

            Of the six ecosystems, two ecosystems currently have high resiliency, one ecosystem has
            moderate resiliency, and one ecosystem has low resiliency. Two ecosystems are currently in
            functionally extirpated condition, with no resiliency. The four resilient ecosystems, the NCDE,
            GYE, CYE, and SE, contribute to redundancy as they are distributed north to south and east to
            west across the lower-48 States, and the ecological diversity inherent within these ecosystems
            contributes to representation (Figure 31, above).




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             Chapter 7: Future Conditions

            In Chapter 6 we described the current condition for the grizzly bear in the lower-48 States in
            terms of resiliency, redundancy, and representation. In this chapter, we consider how the
            viability of the grizzly bear in the lower-48 States could change from its current condition in the
            future. To evaluate future condition, we used the same methodology used to evaluate current
            condition, but instead considered the plausible conditions for the two habitat factors and six
            demographic factors projected into the future under a range of plausible scenarios. We
            developed future scenarios to capture the range of uncertainty associated with how stressors and
            conservation efforts could influence viability in the future.

            We evaluated future condition for the grizzly bear 30 to 45 years into the future. We selected
            this timeframe because it captures approximately two to three generation intervals fer grizzly
            bear. A generation interval is the approximate time that it takes a female grizzly bear to replace
            herself in the population. Given the longevity of grizzly bears, two to three generation intervals
            represent a time period during which a complete turnover of the population would have occurred,
            any positive or adverse changes in the status of the population would be evident. Additionally,
            this timeframe considers the possibility that USFS land management plans, which may provide
            important conservation measures to reduce potential stressors, could go through at least one
            revision. Below we discuss our future scenarios and evaluation of future condition under each
            scenario »

             Future Scenarios

            Future scenarios allow us to explore a range of possible future conditions for the grizzly bear in
            the lower-48 States, given the uncertainty in both the stressors it may face, the potential response
            to those stressors, and the potential for possible conservation efforts to improve future
            conditions. For all scenarios, we assumed that stressors and conservation efforts in Canada
            remain the same and that climate change would not impact grizzly bears within the 30-45 years
            timeframe considered under all future scenarios. For this assessment, we developed five
            scenarios that capture a range of plausible, future possibilities for the grizzly bear and its
            habitats, based largely on the conservation efforts and other mechanisms that influence resiliency
            of ecosystems that we described in Chapter 5. Scenarios are qualitative in nature, include a high
            level of uncertainty, and are intended to discuss general impacts of potential future stressors and
            conservation actions. Although there may be different probabilities associated with our future
            scenarios, all five of our scenarios are equally plausible for the purposes of our SSA analysis.
            The future scenarios that we used to evaluate condition for the grizzly bear in the lower-48 States
            are (see Table 19 below for further details):

                   Future Scenario 1 - Significantly Decreased Conservation: Under this scenario,
                   conservation actions decrease significantly, largely through the termination or non-
                   renewal of plans or regulations, and rate of private land development increases
                   dramatically ,
                   Future Scenario 2 - Decreased Conservation: Under this scenario, conservation
                   actions decrease, but not as significantly as Scenario 1, due to decreased effectiveness


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                   and implementation of conservation actions and mechanisms, and rate of private land
                   development increases,
                   Future Scenario 3 - Continuation of Conservation: Under this scenario, conservation
                   actions continue at their same rate, magnitude, and effectiveness as current condition, and
                   rate of private land development remains the same,
                   Future Scenario 4 - Increased Conservation: Under this scenario, conservation
                   actions increase or improve, and rate of private land development decreases, and
                   Future Scenario 5 - Significantly Increased Conservation: Under this scenario,
                   conservation actions increase significantly, and rate of private land development
                   decreases dramatically.

                Table 19 details the five future scenarios in terms of the expected outcome for stressors and
                conservation actions under the range from significantly decreased conservation to
                significantly increased conservation. We describe the causes-and-effects for the sources,
                stressors, activities, and conservation actions in more detail in Chapter 5.




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      Table 19. Five future scenarios used 10 evaluate future condition for the six grizzly bear ecosystems in the lower-48 States,

                                                                                                                                                                                                                 I
         Source, Stressor,
                                                                                                                                                                            SCENARIO 3:
           Activity, or                                    SCENARIO l:                                                  SCENARIO 2:                                                                                               SCENAR10 4:                                       SCENARIO 5:
                                                                                                                                                                Continuation of current levels of
          Conservation                     Significantly decreased conservation                                  Decreased conservation                                                                                       Increased conservation                     Significantly increased conservation
                                                                                                                                                                         conservation
             Action
                                                                                                                                                                                                                                                                         Assurances in place that funding for
                                                                                                                                                                                                                                                                         conservation programs, monitoring, and
                                                                                                                                                                                                                                                                         personnel will continue indefinitely. There is
                                                                                                                                                                                                                                                                         an increase in funding for conservation and
                                       No assurances that conservation actions and                                                                                                                                                                                       management to areas where bears are
                                                                                                                                                             Same long-term average and distribution of
                                       mechanisms will continue and there is a significant                                                                                                                                                                               expanding, in addition to increases in funding
               Funding                 decrease in funding. There is also a reduction in
                                                                                                        Slight decrease in funding across the board.         funding sources for conservation actions and            Slight increase in funding across the board.
                                                                                                                                                                                                                                                                         across all areas (within and outside ecosystems)
                                                                                                                                                             monitoring.
                                       research and conflict management.                                                                                                                                                                                                 for conflict prevention and I&E programs.
                                                                                                                                                                                                                                                                         There is also increased funding for research on
                                                                                                                                                                                                                                                                         stressors and the effectiveness of conservation
                                                                                                                                                                                                                                                                         actions and efforts (improved adaptive
                                                                                                                                                                                                                                                                         management).

                                                                                                                                                                                                                                                                         There is a significant decrease in motorized




                                          l                                                                                                              !                                                                                                               access in key habitats. There are
                                            he regulations/management plans currently
                                            rang motorized access standards are eliminated.I           Loss of some IRAS and all motorized access I          Management plans, regulations, and protections          Motorized access standards increase (OMRD           new/additional regulations limiting motorized
         Motorized Access                                                                              standards decrease (OMRD and TMRD). There             enforcing and influencing levels of motorized           and TMRD). There is a decrease in motorized         access in connectivity areas. Some IRAS
                                            road building occurs. and there is a significant
                                                                                                       is an increase in motorized access.                   access remain in place.                                 access in grizzly bear habitat.                     become Wilderness areas. Increased funding
                                            ase in motorized access.
                                                                                                                                                                                                                                                                         could support underpasses/overpasses/fencing
                                                                                                                                                                                                                                                                         to reduce stressors from roads and highways.

                                                                                                                                                                                                                                                                         In addition to prompt clean-up of carcasses and
                                                                                                                                                                                                                                                                         spills, increased fencing, and a final HCP with
                                       Carcasses and grain spills are not removed from the                                                                                                                           All carcasses and grain spills are cleaned from
                                                                                                                                                             Voluntary conservation measures that reduce                                                                 BNSF, the conservation measures in the HCP
                                             s. Existing fencing along tracks is not                   HCP with BNSF is implemented but not                                                                          the tracks and rights of way promptly. There is
                                                                                                                                                             the impact/potential of train collisions continue                                                           expand throughout all recovery areas, as
                                             lively maintained. The HCP with BNSF is not               renewed. and voluntary conservation measure;                                                                  increased fencing to keep livestock off the
                 Trains                                                                                                                                      to be implemented. However, all carcasses and                                                               appropriate. The HCP is also renewed
                                            ized and/or not renewed. The HCP is not
                                            oded to cover all appropriate areas as grizzly be
                                           klotions expand.
                                                                                                  I    that reduce the impact/potential of train
                                                                                                       collisions are not implemented.
                                                                                                                                                             spills are not promptly removed. and there is
                                                                                                                                                             insufficient fencing.
                                                                                                                                                                                                                     tracks and existing fencing is effectively
                                                                                                                                                                                                                     maintained. The HCP with BNSF is finalized
                                                                                                                                                                                                                     and fully implemented
                                                                                                                                                                                                                                                                         regularly. There is improved effectiveness and
                                                                                                                                                                                                                                                                         implementation of other conservation actions to
                                                                                                                                                                                                                                                                         reduce the impacts of train collisions, such as
                                                                                                                                                                                                                                                                         noise deterrents, electric fencing on trestles.
                                                                                                       Less effectiveness of and compliance with                                                                     Maintain current number of allotments.
                                                                                                       permit conditions (e.g.. food storage orders.         Current grazing practices on Federal allotments         Increased effectiveness of and compliance with
              Livestock                     ease in the number of livestock on federal lands           carcass removals). Transition allotments to           stay the same. Livestock operations continue to         permit conditions (e.g., food storage orders,       Close high-conflict livestock allotments to
              (Federal                        ase in the number of active allotments and/or            more vulnerable types of livestock (e.g.,             use existing active allotments (numbers,                carcass removals). Transition current               reduce the number of livestock on federal
             Allotments)                    ity of livestock).                                         sheep). Implement less effective animal               distribution, type of livestock, and management         allotments to less vulnerable types of livestock.   lands.
                                                                                                       husbandry practices that increase the potential       of livestock stay the same).                            Implement improved animal husbandry
                                                                                                       for conflict.                                                                                                 practices to reduce potential for conflict.

                                                                                                                                                             The amount and type of livestock on private
             Livestock                      ase in the number of livestock on private lands,           Decreased effectiveness and implementation of                                                                 Improved effectiveness and implementation of        Decrease in the number of livestock on private
                                                                                                                                                             lands stays the same. in the same locations.
                                            ge the type of livestock to more vulnerable                animal husbandry practices that reduce                                                                        animal husbandry practices that reduce              lands, change the type of livestock to less
            Operations                      tock. and decrease the quality of husbandry on             potential for conflict with livestock on privatl
                                                                                                                                                             Grazing occurs on the same schedule. Current
                                                                                                                                                                                                                     potential for conflict with livestock on private    vulnerable livestock, and increase the quality of
          (Private Lands)                  rtock operations on private lands.                          lands.
                                                                                                                                                             implementation and effectiveness of animal
                                                                                                                                                             husbandry practices stay the same.
                                                                                                                                                                                                                     lands.                                              husbandry.




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                                                                                                                                                                                                                                                                                                      FWS001295
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        Source, Stressor,
                                                                                                                                                                        SCENARIO 3:
          Activity, or           _                 SCENARIO l:                                                SCENARIO 2:     _                                                                                                 SCENARIO 4:                                      SCENARIO S:
                                                                                                                                                            Continuation of current levels of
         Conservation             Significantly decreased conservation                                  Decreased conservation                                                                                              Increased conservation                    Significantly increased conservation
                                                                                                                                                                     conservation
            Action
                                                                                                                                                         All food storage orders currently on federal,
                                                                                               Regulatory mechanisms promoting securing f
           Unsecured
           Attractants
                                  existing regulations controlling securing of
                                   clams are removed and there are no new
                                  Ilations.
                                                                                               attractants (e.g., food storage orders) become
                                                                                               less effective (either less restrictive or less
                                                                                               enforcement).
                                                                                                                                               et"
                                                                                                                                                     I   state. tribal. and private lands stay in place. All
                                                                                                                                                         other current attractant storage regulations stay
                                                                                                                                                         in place. There are no food storage orders in
                                                                                                                                                                                                                   Additional food storage orders are
                                                                                                                                                                                                                   implemented so they exist on all public lands in
                                                                                                                                                                                                                   all ecosystems.
                                                                                                                                                                                                                                                                      Regulations or standards are implemented to
                                                                                                                                                                                                                                                                      secure all attractants on public and private
                                                                                                                                                                                                                                                                      lands in all ecosystems.
                                                                                                                                                         the North Cascades, BE. or connectivity areas.
                                                                                                                                                         There is no increase in developed sites in the
                                                                                                                                                         GYE recovery zone. There are no increases in
                                                                                                                                                                                                                   There is no increase in developed sites in the
                                                                                               Existing management plans change to allow for             developed sites in the NCDE recovery zone,
                                     ting management plans change to allow for                                                                                                                                     GYE recovery zone. In the NCDE recovery
                                                                                               increases in developed sites, but these increases         beyond the allowed increases (l increase per                                                                 There is no increase in developed sites in all
         Developed Sites              ases in developed sites, and these increases are                                                                                                                             zone, sideboards on the allowed increases are
                                                                                               are in lower quality habitat areas. and they are          BMU per decade). There are no restrictions on                                                                ecosystems and connectivity areas.
                                  %ficant.                                                     consolidated near existing development.                   developed sites in the CYE. BE. SE. or North
                                                                                                                                                                                                                   clarified. There are restrictions on developed
                                                                                                                                                                                                                   sites in the other recovery zones.
                                                                                                                                                         Cascades but development continues to occur
                                                                                                                                                         at a minimal rate on USFS lands.

                                                                                               Some of the non-designated wilderness areas
                                                                                                                                               l         Current wilderness areas remain designated as
          Federal Land               on-designated wilderness areas (e.g.,                                                                                                                                         Some proposed and recommended wilderness           All proposed and recommended wilderness and
         Protections (i.e.,
                                  '[
                                     mmended. proposed. WSAs) lose this status and
                                     o longer managed as wilderness.
                                                                                           I   (e.g.. recommended. proposed, WSAs) lose to;
                                                                                               status and are no longer managed as
                                                                                                                                                         wilderness and non-designated wilderness areas
                                                                                                                                                         (e.g., recommended. proposed, WSAs) are
                                                                                                                                                                                                                   and WSAs become designated as wilderness
                                                                                                                                                                                                                   (especially in the CYE).
                                                                                                                                                                                                                                                                      WSAs become designated as wilderness
                                                                                                                                                                                                                                                                      (especially in the CYE).
           wilderness)                                                                         wilderness.                                               managed as wilderness.

                                                                                               There is a decrease in the number of IRAS _
                                                                                                                                                         The number of IRAS stays the same. The level              There is a reduction in the number of motorized
               IRAS                       ; disappear.                                         and/or an increase in the number of motorized
                                                                                                                                                         of motorized trails within IRAS stays the same.           trails within the IRAS.
                                                                                                                                                                                                                                                                      All IRAS are converted to Wilderness areas.
                                                                                               trails within the IRAS.
                                                                                                                                                         Standards and protections in USFS and NPS                                                                    There are habitat management standards that
        Forest Plans and            standards that benefit grizzly bears in some (but
                                    II) Forest Plans are eliminated. NPS changes
                                                                                         I Forest
                                                                                           Standards that benefit grizzly bears in some
                                                                                                  Plans revised to allow for more
                                                                                                                                               I
                                                                                                                                                         land management plans that benefit grizzly
                                                                                                                                                                                                                   Improvement and expansion of standards that
                                                                                                                                                                                                                   benefit grizzly bears in USFS and NPS
                                                                                                                                                                                                                                                                      benefit grizzly bears in USFS and NPS
         National Park                                                                                                                                   bears stay the same. Standards that currently                                                                management plans in all ecosystems, and in
       Management Plans
                                    x of their standards so that they are less effective
                                  l'e are no standards in the connectivity areas.
                                                                                         I omer activities (e.g., recreation. timber
                                                                                           motorized access. and allow for increases in I
                                                                                                                                                         exist in some of the connectivity areas remain
                                                                                                                                                                                                                   management plans, especially where new bears
                                                                                                                                                                                                                   are detected.
                                                                                                                                                                                                                                                                      connectivity areas, improving the security of
                                                                                               harvest).                                                 in place.                                                                                                    habitat.
                                                                                                                                                                                                                   Existing State and Tribal plans are renewed and

         State and Tribal
                                     'e are no State and Tribal management plans for     I                                                               If needed. existing State and Tribal plans can
                                                                                                                                                                                                                   have legally binding regulatory mechanisms to      State and Tribal plans are finalized and
                                     tat and mortality management. either because              Less effective State and Tribal plans for habitat                                                                   manage mortality and habitat in a few              expanded with legally binding regulatory
                                                                                                                                                         sustainably manage mortality. These plans also
               Plans              4   are not finalized or they lapse and are not              and mortality management.
                                                                                                                                                         provide habitat standards in important areas.
                                                                                                                                                                                                                   ecosystems. State and/or tribal conservation       mechanisms to manage mortality and habitat in
                                                                                                                                                                                                                   improves issues related to mistaken identity       all ecosystems.
                                                                                                                                                                                                                   killing by black bear hunters.


          Private Land                 of private land development increases                                                                             Rate of private land development remains the                                                                 Rate of private land development decreases
                                                                                               Rate of private land development increases.                                                                         Rate of private land development decreases,
        Development Rate          Latically.                                                                                                             same.                                                                                                        dramatically.




                                                                                                                                                                                                                                                                      Bears are successfully reintroduced into the
         Translocation,              an-facilitated restoration of bears in extirpated
                                                                                                                                                         Continuation of current augmentation program              Bears are successfully reintroduced into the       North Cascades and in the BE. There is
                                     ystems does not occur. Bears do not move                  CYE augmentation does not continue.
        augmentation, or                                                                                                                                 in the CYE. We would translocate bears into               North Cascades. CYE augmentation continues.        enough natural movement that augmentation of
                                     rally into the CYE. and augmentation does not             Translocations into the GYE occur if
        human-facilitated         W  lnue. There are no translocations into the GYE            necessary.
                                                                                                                                                         the GYE, if needed for long-term genetic
                                                                                                                                                         health.
                                                                                                                                                                                                                   We would translocate bears into the GYE, if
                                                                                                                                                                                                                   needed for long-term genetic health.
                                                                                                                                                                                                                                                                      the CYE is no longer needed. There is enough
                                                                                                                                                                                                                                                                      natural movement into the GYE that
       restoration of bears          I if needed for long-term genetic health.
                                                                                                                                                                                                                                                                      translocation is no longer needed.

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             Future Condit/bn: Res/Yiency, Redundancy, and Representat/bn

            Using the same methodology that we used to evaluate current condition, we projected the
            resiliency for the six ecosystems 30 to 45 years into the future. First, we projected the future
            condition for the two habitat factors and six demographic factors that we identified as needs in
            Chapter 5, for each future scenario. Then, we used the same weighted average to calculate an
            overall resiliency score for each ecosystem under each scenario. In general, ecosystems with
            higher resiliency have a greater probability of persistence, based on their ability to withstand
            stochastic events, than ecosystems with lower resiliency. After evaluating resiliency, we then we
            evaluated redundancy and representation for each future scenario.

            As we evaluated the future condition of fecundity under the five future scenarios, we considered
            the uncertainty associated with how this demographic factor is measured. Fecundity may be
            underestimated, because detecting breeding females depends on how and where surveys occur,
            and on the overall survey effort. As a result, we used our best professional judgment to project
            the future condition of fecundity assuming no issues with measuring. Our evaluations therefore
            reflect the actual projected condition for fecundity, not what measurement techniques would
            likely detect. Similarly, because inter-ecosystem connectivity is measured within a 10 to 15 year
            window, we projected whether immigrants move between ecosystems between years 2040 and
            2050.

            We also highlight uncertainty associated with measuring a population target for the SE.
            Although grizzly bears in the lower-48 States is the subject of our SSA, the demographic
            information we have for the SE is for the whole recovery zone, which includes a small portion of
            Canada. Therefore, our evaluation of conditions for the SE may overestimate conditions,
            because we must rely on data that includes individuals in Canada. Below, we summarize our
            evaluation of future conditions under each of the five future scenarios.

             Future Scenario 1 - 5/g/7il7cant/y Decreased Conservation

            Future Scenario 1 is a pessimistic scenario. Under Scenario 1, conservation decreases
            significantly, due largely to a significant revisions to the current regulatory framework, decrease
            in funding for conservation actions and other mechanisms, research, and conflict management
            tools that reduce habitat loss, increase the potential for conflicts and increase human-caused
            mortality. Under this scenario, motorized access increases significantly, as new roads are
            constructed, and all regulations and management plans that enforce motorized access standards
            disappear. IRAS also disappear. Existing regulations that reduce habitat loss and human-caused
            mortality from unsecured attractants, developed sites, livestock operations, and trains disappear.
            The rate of development of private lands increases dramatically. Augmentation and
            translocation efforts do not occur. Additionally, all non-designated Wilderness areas lose their
            designations and are no longer managed as Wilderness (Table 19, above).

            With a significant decrease in conservation under Scenario 1, there are subsequent decreases in
            resiliency across the habitat and demographic factors (Figure 32 and Table 20). Both the GYE
            and NCDE decrease in overall resiliency from high to moderate, the SE declines from moderate
            to very low, and the CYE declines from low to very low. While the four ecosystems are still

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              distributed similarly to current condition within their respective ecological types, the
              resiliency of each ecosystem has decreased under this Scenario, given this decrease in
              resiliency, grizzly bears in the lower-48 States are also less able to withstand catastrophic risk
              and environmental change. In other words, as resiliency declines with decreased
              conservation under Scenario l, redundancy and representation decrease correspondingly.

              Table 20. Future conditions for habitat and dentographicfactors, 30 to 45 years under Future Scenario I, where conservation
              decreases significantly.




              Natural.       Large,                           Abundance
                                          Adult                                                                    Inter-                     Future
               High-         intact                                                 Population                                   Genetic
                                         Female      Population    Number of                     Fecundity      Ecosystem                    Resiliency
              Caloric       blocks of                                                 Trend                                      Diversity
                                         Survival     Target         Bears                                     Connectivity
               Foods          land
     GYE        HigH        Moderate       Low                      Moderate          Low        Moderate            X             Low       Moderate
    NCDE                   Moderate        Low        Moderate      Moderate          Low        Moderate           High           High      Moderate
     CYE      Moderate                     Low                                        Low
              Moderate        Low          Low                                        Low                                          Low
              Moderate                      X             X               X             X            X               X               X           X
    North
              Moderate      Moderate        X             X               X             X            X               X               X           X
   Cascades


              Natural high-caloric foods remain high or moderate fer all ecosystems under Scenario 1, due in
              part to the large amount of Wilderness and National Parks within the GYE and NCDE, which
              help ensure that a diversity of food sources would continue to be available to the grizzly bear
              into the future. However, as conservation declines significantly under Scenario l, large intact
              blocks of land decline from high to moderate for the GYE and NCDE, and from moderate to low
              in the CYE, SE, and BE, but remains moderate for the North Cascades. In the GYE and NCDE,
              large intact blocks of land shifts from high to moderate as motorized access increases, but the
              quantity of Wilderness Areas and National Parks that remain in these ecosystems and also the
              North Cascades, helps ensure that the condition of this habitat factor does not fall below
              moderate. Despite also having large amounts of designated Wilderness areas that are not
              expected to change under Scenario l, large intact blocks of land in the BE declines from
              moderate to low given a reduction in the IRAS that reduce motorized access in the important
              connectivity areas in the northern part of the ecosystem. Large intact blocks of land in the CYE
              and SE are low under this scenario due also to increases in motorized access. Conditions also
              worsen in the CYE and SE because these ecosystems lack large Wilderness areas or National
              Parks to help reduce motorized access and sources of human-caused mortality.

              Under Scenario 1, there are overall declines in condition for most of the demographic factors for
              the four ecosystems that are currently resilient (GYE, NCDE, CYE, and SE). Under this
              scenario, significant reductions in conservation actions that address unsecured attractants and
              other sources of human-caused mortality lead to increased mortality and hence declines in adult
              female survival, abundance, population trend, and fecundity. Without effective management of
              human-caused mortality, such as a HCPs, to help reduce human-caused mortality along railroads,

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            the population target in the NCDE shifts from high to moderate under Scenario 1. The NCDE
            could lose 50 individuals or more per year without these conservation actions, so its future
            population target is moderate. The decline in future condition related to population target in the
            GYE, from high to low, is more dramatic than the NCDE, given increased mortality and declines
            in an ecosystem that currently has fewer grizzly bears.

            Fecundity remains moderate in the NCDE under Scenario 1, due to the quantity of wilderness
            areas and National Parks, which help reduce motorized access and other sources of human
            caused mortality such that at least 70 percent of the BMUs will likely be occupied. Fecundity in
            the GYE declines from high to moderate, as at least one BMU in this ecosystem would not likely
            be occupied as a result of significantly decreased conservation, more than likely in the southwest
            corner of YNP where occupancy is often relatively low. Fecundity in the CYE and SE also
            declines due to the significantly decreased conservation under this scenario.

            Under Scenario 1, inter-ecosystem connectivity remains high in the NCDE, because we assumed
            that conservation efforts would remain the same in Canada, regardless of reduced conservation in
            the lower-48 States. If Canadian conservation efforts remain the same under this scenario,
            individuals could continue to move into the NCDE from Canada. Even with significantly
            reduced conservation, at least one female grizzly bear would likely move down from Canada into
            the NCDE and successfully breed, so inter-ecosystem connectivity remains high in the NCDE.
            Inter-ecosystem connectivity for the CYE and SE drops from moderate to very low under
            Scenario l, as increases in motorized access and human caused-mortality reduces the quality of
            habitats and discourages immigrating females from establishing new home ranges.

            Finally, under Scenario 1, genetic diversity remains high in the NCDE, due to moderate
            abundance. However, in the GYE, CYE, and SE genetic diversity declines as abundance
            declines due to increasing human caused mortality. Additionally, augmentation efforts in the
            CYE cease under this scenario, which would decrease the size and genetic health of this
            ecosystem. Genetic diversity in the SE is currently moderate, with lower heterozygosity than the
            other ecosystems, and as human caused mortality increases under this scenario and reduces
            immigration of individuals, abundance decreases, which reduces genetic diversity. In general
            under Scenario l, increased human caused mortality could exacerbate declines in genetic
            diversity across all four ecosystems.




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                                                      Selkirk
                           Cascades



                                                                fCab t
                                                                  Yaak
                                                                       -'I                         Northern
                                                                                               Continental             MONTANA
                                                                                                 Divide
                                              WASHINGTON




                                                                              Bitterroot

                                                                                                                           Greater
                                                                                                                         Yellowstone




              Future Condition                                                I D AH O

              -_    High


               _
               _
                    Moderate
                    Low
                    Very Low
                                                                                                                                V V YOMING

                                                                               _     IKilomctcrs
             un Extirpated
                   -1* 1.. 1 - Y-llE.l   1ll II""-I
                                                                        210    T 280                                                   Sources. E5rl. USGS. NOAA

            Figure 32. M, "J Jsure Seen.,.,..J I      U 'gnijlc¢mtl}               ,.mserv£....,n 30 to 45 years into the future, which illustrates the
            3RD under this scenario.


             Future Scenario 2 - Decreased Conserver son

            Like Scenario 1, Future Scenario 2 is a pessimistic scenario. Under Scenario 2, there is a
            decrease in conservation under future Scenario 2, but the decrease is not as significant. Under
            Scenario 2, overall declines result from slight, not significant, decreases in funding levels and in
            the quantity and effectiveness of conservation actions and regulations, but some efforts remain.
            As a result, motorized access increases as existing regulatory mechanisms remain in place, but
            are less effective, and the potential for conflict increases. There are no augmentations in the
            CYE, but translocation occurs in the GYE, as needed. There is a slight decline in the number of
            protected areas, as some areas are no longer managed as wilderness. The rate of development on
            private land increases.

            With a decrease in conservation under Scenario 2, potential decreases in overall resiliency are
            less severe than under Scenario l. Under Scenario 2, both the GYE and NCDE remain in high
            overall resiliency, the CYE remains in low resiliency, but the SE drops from moderate to low
            overall resiliency (Table 21 and Figure 33). While the four ecosystems are still distributed
            similarly to current condition within their respective ecological types, the resiliency of one

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              ecosystem decreases under this Scenario, given this decrease in resiliency, grizzly bears in the
              lower-48 States are also slightly less able to withstand catastrophic risk and environmental
              change. In other words, as resiliency declines with decreased conservation under Scenario 2,
              redundancy and representation decrease correspondingly.

              Table 21 . Future conditions for habitat and demographic factors, 30 to 45 years under Future Scenario 2, where conservation
              decreases.




              Natural.       Large,                           Abundance
                                          Adult                                                                    Inter-                        Future
               High-         intact                                                 Population                                     Genetic
                                         Female      Population     Number of                     Fecundity      Ecosystem                      Resiliency
              Caloric       blocks of                                                 Trend                                        Diversity
                                         Survival     Target          Bears                                     Connectivity
               Foods          land
     GYE                    Moderate     Moderate
                                                         i           Moderate       Moderate      Moderate            X
                                                                                                                             IH!!!-Moderate
    NCDE                    Moderate     Moderate     Moderate                      Moderate      Moderate          High                          High
     CYE      Moderate      Moderate     Moderate       ery OW        ery OW        Moderate                                                      Low
                                                                                                                               n
              Moderate      Moderate     Moderate                                   Moderate       ILow           Moderate         Moderate
                                                                                                                                               .1Lof
              Moderate      Moderate        X             X               X             X             X                               X             X
    North
              Moderate      Moderate         X            X               X             X             X               X               X             X
   Cascades



              As conservation is reduced under Scenario 2, natural high-caloric foods remain the same as
              current condition fer all ecosystems, but large intact blocks of land shift from high to moderate
              for the GYE and NCDE due to increases in motorized access, but remain moderate for the CYE
              and SE.

              Despite the reduced conservation, abundance as related to the population target and the number
              of bears, both remain high fer the NCDE under Scenario 2. However, we note that this could be
              an overestimate, as the number of bears is likely to hover around the threshold between high and
              moderate condition for both of these measures of abundance. In general, reduced conservation
              could increase human-caused mortality, and reduce abundance in the NCDE, but we have some
              uncertainty regarding the magnitude of this reduction under this scenario. Population trends for
              the GYE, NCDE, CYE, and SE are moderate under this scenario, as population trends are
              currently high for all four ecosystems .

              Under Scenario 2, inter-ecosystem connectivity for the BE remains very low, not functionally
              extirpated. Even with reduced conservation measures under this scenario, which would increase
              human-caused mortality in the SE, CYE, and NCDE, we believe that at least one individual
              could wander into the BE between years 2040 and 2050. Therefore, inter-ecosystem
              connectivity is very low. Genetic diversity stays the same for all four ecosystems under Scenario
              2.




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                                                  Selkirk


                                                            fCabi\ct~
                                                                                                             MONTANA

                                      WASHINGTON




              Future Condition                                           IDAHO

              -_   High
                   Moderate
               _   Low                                                                                                VVYOMING

               _   Very Low
                                                                         _ IKilomctcrs
              l     Extirpated                                     210   T 280
            Figure 33. M..2, of future Scen....J 2- -creased e.,           ,O to 45 , rs into the future, which illustrates the oRs under this
            scenario.


             Future Scenario 3 - Continua son of Conservation

            Future Scenario 3 is a continuation scenario, where all stressors and conservation efforts
            continue at their same rate and magnitude 30 to 45 years into the future. The current levels of
            funding and effectiveness and implementation of conservation actions and mechanisms stay the
            same under this scenario. As a result, the GYE and NCDE remain in overall high resiliency, the
            SE stays moderate, but the CYE improves in overall resiliency from low to moderate (Table 22
            and Figure 34). Redundancy and representation remain the same as current conditions.




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                  Table 22. Future conditions for habitat and demographic factors, 30 to 45 years under Future Scenario 3, where conservation
                  continues at the same rate and e]j'ectiveness as current condition.




                  Natural.       Large,                             Abundance                                                                     Future
                                              Adult                                                                    Inter-
                   High-         intact                                                   Population                                 Genetic     Resiliency
                                             Female         Population     Number                      Fecundity     Ecosystem
                  Caloric       blocks of                                                   Trend                                    Diversity
                                             Survival        Target        of Bears                                 Con rect'M't
                   Foods          land
              I
    GYE
    NCDE
                    High

                      lg
                           I     I
                                     High

                                      lg
                                               High
                                               High     I
                                                              High        Moderate
                                                                            High
                                                                                            High
                                                                                            High
                                                                                                       -
                                                                                                       Moderate
                                                                                                                      Moderate         High
                                                                                                                                                  _
                                                                                                                                                      High


     CYE          Moderate      Moderate       High         Moderate                        High       Moderate       Moderate       Moderate    Moderate
                  Moderate      Moderate       High           High          Low             High       Moderate       Moderate       Moderate    Moderate
                  Moderate      Moderate        X               X               X             X            X            Low              X             X
    North
                  Moderate      Moderate        X               X               X             X            X              X              X             X
   Cascades




                  Habitat factors remain the same under Scenario 3 fer all ecosystems. Despite ongoing
                  conservation, large intact blocks of land remain moderate for the SE and CYE by virtue of their
                  smaller size relative to the GYE and NCDE. However, there are increases in condition for
                  specific demographic factors, particularly in the CYE and SE, under this scenario, as continued
                  conservation continues to allow demographic factors to improve over time. Most notably in the
                  SE, adult female survival improves from moderate to high under this scenario, as 30 to 45 years
                  of additional implementation of motorized access conservation efforts help achieve secure
                  habitat goals for each BMU. Population targets in the CYE and SE improve, from low to
                  moderate and moderate to high, respectively, as abundance increases with ongoing conservation.
                  With an additional 30 years of implementing conservation efforts at their current rate and
                  effectiveness, we expect there could be at least an additional 10 individuals in the SE, for 90
                  total, which would meet the population target for this ecosystem, so the abundance as related to
                  the population target would be high.

                  If conservation continues as described under Scenario 3, inter-ecosystem connectivity fer the
                  GYE improves from a functionally extirpated to a moderate condition. Individuals moving south
                  from the NCDE are already very close to the GYE, and we expect that within 30 to 45 years, as
                  the ecosystems continue to grow, supported by ongoing conservation, it is likely that at least one
                  male would enter the GYE, establish a home range, and breed. We are confident that with
                  ongoing conservation, an individual could naturally immigrate into the GYE within 30 to 45
                  years, therefore inter-ecosystem connectivity is moderate for the GYE under Scenario 3. We
                  have documented several bears in and near the BE over the last several years, however a
                  breeding population is needed to overcome a functionally extirpated status. A population is
                  defined as at least two different female grizzly bears with young or one female seen with
                  different litters in two different years in an area geographically distinct (separate) from other
                  grizzly bears populations (Service 2000, pp. 3-14-3-15). Female dispersal movements are much
                  more limited than males, and we believe it is unlikely that a breeding population will be



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            established in the next 30 to 45 years. Because this criterion is unlikely to be met in the next 30
            to 45 years, the population is classified as Functionally Extirpated.




                                                   Selkirk


                                                             fCab\et
                                                                                                               MONTANA

                                      WASHINGTON




              Future Condition                                             IDAHO

              _     High
              _     Moderate
              _    Low                                                                                                 W YOM ING

              _     Vcry Low
              _     Extirpated                                       210
                                                                           _   lKilomctcrs \
                                                                           T 280
             Figure 34. Map Q    tune Scenario 3     ntinued conservation 30 to 45 years into the future, which illustrates the 3Rs under this
             scenario.


             Future Scenario 4 - Increased Conservation

            Future Scenario 4 is the first of two optimistic scenarios. Under Scenario 4, conservation
            increases, as funding increases and the mechanisms that reduce motorized access and human
            caused mortality increase or are more effective. Rates of development on private lands decrease
            and there are increases in the amount designated Wilderness and IRAS. Under this scenario,
            individuals are successfully moved into the North Cascades, augmentations continue into the
            CYE, and translocations occur in the GYE, as needed.

            Under Scenario 4, redundancy and representation improve, as both the BE and North Cascades
            shift from their currently functionally extirpated conditions with no resiliency to low resiliency.
            The GYE and NCDE remain in overall high resiliency, the SE remains moderate, and the CYE
            improves from low to moderate resiliency (Table 23 and Figure 35). Risk from potential
            catastrophic events is now spread across six instead of four ecosystems (redundancy) with

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              additional ecological diversity gained at the northwestern and central extents of the overall range
              (representation) (Figure 35).

              Table 23. Future conditions for habitat and demographic factors, 30 to 45 years under Future Scenario 4, where conservation
              increases.




              Natural.       Large,                          Abundance                                                                          Future
                                          Adult                                                                      Inter-
               High-         intact                                               Population                                     Genetic       Resiliency
                                         Female         Population   Number                       Fecundity   n   Ecosystem
              Caloric       blocks of                                               Trend                                        Diversity
                                         Survival        Target      of Bears                                     Connectivit
               Foods          land
                     _       I                                                                                                                  _
     GYE        High             High      High           High         High          High           High           Moderate        High             High
    NCDE
     CYE      Moderate
                         II;      lg
                            Moderate
                                           High
                                           High
                                                    I       r
                                                        Moderate
                                                                       High
                                                                       Low
                                                                                     High
                                                                                     High
                                                                                                   | High I
                                                                                                  Moderate         Moderate
                                                                                                                                l;1J lg
                                                                                                                                 Moderate      Moderate

              Moderate      Moderate       High           High         Low           High         Moderate           High        Moderate      Moderate

              Moderate      Moderate     Moderate       Very Low     Very Low I Moderate          Very Low           Low          Jery Low |        Low
    North
              Moderate      Moderate       Low          IVerv Low    Verv Low I Moderate          Verv Low         Verv Low      Verv Low I         Low
   Cascades


              Despite the increased conservation under Scenario 4, natural high-caloric foods and large intact
              blocks of land remain the same as current condition. Without additional Wilderness areas and
              IRAS, large intact blocks of land remain moderate for the CYE and SE. Additionally, habitat
              conditions remain relatively the same for both the North Cascades and BE under this scenario.

              Under Scenario 4, demographic factors for the BE and North Cascades begin to improve from
              their currently functionally extirpated condition to moderate in the BE and low in the North
              Cascades. In the BE, improvements in conservation measures associated with mistaken identity
              kills by black bear hunters help improve adult female survival in the BE under this scenario.
              Local support for reintroduction in the North Cascades increases and a population is established
              via reintroduction. Natural recolonization in the BE under this scenario improves population
              trend in these ecosystems to moderate. We expect that successful reintroduction into the North
              Cascades would result in a positive population trend, as it would be unlikely that all the
              individuals would die. Reintroduction moves bears in the North Cascades under this scenario,
              but subadult female survival is low because reintroduced bears have wandered, which has
              increased human-caused mortality as demonstrated in the Cabinet Mountains augmentation effort
              (Kasworm et al. 2020a, p. 37). Abundance in the CYE and SE improves under this condition,
              with targets of 90 individuals achieved due to decreases motorized access, ongoing augmentation
              in the CYE, and a positive population trend. Additionally, with increased conservation, inter-
              ecosystem connectivity improves for the GYE, SE, and North Cascades.




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                                                     Selkirk


                                                                fCab\ct~
                                                                                                                   MONTANA

                                        WASHINGTON




              Future Condition                                             IDAHO

              -     High
                    Moderate
              _     Low                                                                                                     VVYOMING
              _     Very Low
              l     Extirpated
                                                                                 IKilomctcrs

            Figure 35. Mc., Jffuture Seem.. DL/ 4 -...sreasecl consent ration 30 to 45 }w..'s into the future, which illustrates the oRs under this
            scenario.


             Future Scenario 5 - 5/g/7il7cant/y Increased Conserver son

            Future Scenario 5 is an optimistic scenario under which conservation increases significantly.
            Tolerance and acceptance also significantly increases, and there is general acceptance of grizzly
            bears persisting in all ecosystems and the importance of connectivity. As a result, resiliency,
            redundancy, and representation improve. Under this scenario, the GYE and NCDE stay in high
            overall resiliency, but the CYE and SE improve to high overall resiliency. The BE and North
            Cascades have low overall resiliency under this scenario (Table 24 and Figure 36) .




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              Table 24. Future conditions for habitat and dernographicfactors, 30 to 45 years under Future Scenario 5, where conservation
              increases significantly.




              Natural.       Large,                         Abundance                                                                           Future
                                          Adult                                                                       Inter-
               High-         intact                                               Population                                       Genetic     Resiliency
                                         Female      Population      Number                       Fecundity    n    Ecosystem
              Caloric       blocks of                                               Trend                                          Diversity
                                         Survival     Target         of Bears                                      Connectivity
               Foods          land

     GYE        High          High         High          High          High          High            High           Moderate         High        High

    NCDE        High          High         High          High          High          High            High                                        High
     CYE      Moderate        High         High          High          Low           High           Moderate          High           High        High
              Moderate        High         Hi oh         High          Low           High       l    Hil              Hi oh          High        High
                              High       Moderate                                    High                           Moderate         Low         Low
    North
              Moderate                   Moderate
   Cascades



              Conditions under Scenario 5 generally improve similarly to conditions under Scenario 4, but
              with additional increases in genetic diversity and population trend. The condition for high-
              caloric foods remains consistent from current to future conditions for all six ecosystems, except
              for an improvement in condition for the BE from moderate to high under Scenario 5, where
              conservation increases significantly. This improvement in high-caloric foods for the BE under
              Scenario 5 results from an increase in secure habitats as IRAS become Wilderness, and
              conservation actions are implemented that could benefit ungulates as a food source. Local
              support for reintroduction in the BE and North Cascades increases and a population is
              established via reintroduction. In the BE and North Cascades, adult female survival improves
              from functionally extirpated to moderate, not to high, as a result of the inherently low survival
              rates for reintroduced individuals that tend to wander. Under this scenario, the CYE would
              likely reach the population target of 100 individuals, especially given the ecosystem's currently
              positive population trend. However, fecundity in the CYE is moderate due to the uneven
              distribution of females across the ecosystem, and it will take additional time for fecundity to
              reach a high condition.

              With significantly increased conservation, inter-ecosystem connectivity in the North Cascades
              could improve if individuals from B.C. move into this ecosystem, therefore, the condition of this
              factor is very low under this scenario. Genetic health of the CYE would improve with an
              increase in abundance and improved connectivity with Canada and the SE.




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                                                                                                                    MONTANA

                                        WASHINGTON




              Future Condition                                                IDAHO

              -     High
                    Moderate
              _     Low                                                                                                     VVYOMING
              _     Very Low
                                                    25    50      100         150        200

              l     Extirpated                           '70    140     210
                                                                                     IKilomctcrs
                                                                                    280

            Figure 36. Mc., Jffuture Seem.. DL/ 5 - .,.b'ni.Heantly Ine. -..sed eonservatw.. 30 to 45 years into the future, which illustrates the
            oRs under this scenario.




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             Chapter 8: Synthesis of Current and Future Condition

            For this SSA of grizzly bear in the lower-48 States, we evaluated the current and future
            conditions in terms of resiliency, redundancy, and representation. Resiliency describes risk
            associated with stochastic events, redundancy with catastrophic events, and representation
            describes risk associated with long-term environmental change. We used future scenarios to
            capture a range of plausible futures and uncertainty associated with the future.

            Currently, there are two ecosystems with high resiliency, one ecosystem with moderate
            resiliency, and one ecosystem with low resiliency (Table 25). Within 30 to 45 years in the
            future, there are improvements and reductions in resiliency across the ecosystems depending on
            the scenario, with reductions in resiliency under Scenario l, the most pessimistic scenario where
            conservation efforts decline significantly and improvements in resiliency under Scenario 5, the
            most optimistic scenario where conservation efforts improve significantly. If conservation
            efforts stay the same, as under Scenario 3 the continuation scenarios, the CYE improves from
            low to moderate resiliency. Under this continuation scenario, the GYE and NCDE stay in high
            resiliency and the SE retains moderate resiliency. Under the optimistic scenarios where
            conservation efforts increase under Scenarios 4 and 5, the BE and North Cascades improve from
            functionally extirpated conditions with no resiliency to low resiliency, which also represents an
            increase in redundancy and representation. To summarize changes in resiliency from current to
            future conditions, there is less risk from stochastic events if conservation efforts continue or
            improve, but there is greater risk from stochastic events if conservation efforts decrease (Table
            25).

            Table 25. Current and fUture resilieneyfor the six eeosystemsfor the grizzly bear in the lower-48 states.




                                        Current
                                       Condition
                                                      I    Future
                                                          Scenario 1
                                                                             Future
                                                                            Scenario 2
                                                                                               Future
                                                                                             Scenario 3
                                                                                             Continuation
                                                                                                                Future
                                                                                                               Scenario 4
                                                                                                                                Future
                                                                                                                               Scenario 5

                                                                            Conservation     Conservation      Conservation   Conservation
             GYE                          533             Moderate             High              High              High       - : pin p
             NCDE
             CYE
                                         High
                                         Low
                                                          Moderate
                                                           V Low
                                                                       -I      High
                                                                               Low
                                                                                             1H.1gh
                                                                                              Moderate
                                                                                                       II           tI
                                                                                                                   His
                                                                                                                Moderate
                                                                                                                                 High
                                                                                                                                 High
                                        Moderate           V Low               Low            Moderate          Moderate         High
                                           X                 X                  X               X                  Low           Low
              North Cascades               X                 X                  X               X                  Low           Low


            Currently, redundancy for the grizzly bear is described as four ecosystems, the NCDE, GYE,
            CYE, and SE, as they are distributed from north to south and east to west across the lower-48
            States. Catastrophic risk is spread across these four ecosystems and their ecological diversity
            contributes to representation. Two ecosystems, the BE and North Cascades have no populations,
            are not resilient, so do not currently contribute to redundancy or representation. In 30 to 45
            years, redundancy is maintained across the future scenarios and never falls below the four,

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            currently resilient ecosystems as they are distributed. Although redundancy stays the same from
            now to the future, if conservation efforts decrease, as under Scenarios 1 and 2, resiliency
            decreases and the four ecosystems are at greater risk to stochastic events. But if conservation
            efforts increase, as under Scenarios 4 and 5, resiliency in the BE and North Cascades improves,
            as does redundancy, as the number and distribution of ecosystems increases from four to six
            ecosystems. This improvement in redundancy reduces risk to the grizzly bear from catastrophic
            events (Table 26 and Figure 37). To summarize redundancy across the future scenarios,
            catastrophic risk to the grizzly bear stays the same if conservation efforts continue at their
            current rate and effectiveness, but catastrophic risk decreases with increased conservation as the
            BE and North Cascades improve to low resiliency. Representation stays the same with a
            continuation and decreases in conservation efforts, but ecological diversity increases if
            conservation efforts increase with resilient BE and North Cascades ecosystems.

            Our SSA characterizes the viability for the grizzly bear in the lower-48 States, or its ability to
            sustain populations in the wild over time, based on the best scientific understanding of its current
            and future abundance, distribution, and diversity. Based on our assessment of the 3Rs, currently
            and 30 to 45 years into the future, viability for the grizzly bear in the lower-48 States improves
            slightly if conservation efforts continue at their current rate and levels of effectiveness. If
            conservation efforts declines, viability also decreases. If conservation efforts increase, viability
            improves.

            Table 26. Summary of current and fUture viability in terms of resiliency, redundancy, and representation for the six ecosystems
            of z>ri77lv bear in the lower-48 States.




                                                   Future                 Future            Future           Future           Future
                                       Current I Scenario 1              Scenario 2       Scenario 3        Scenario 4       Scenario 5
                                      Condition                                 V         Continuation            I                TT
                                                                       ..aanaaual¢aa      Cowasrvation      C'IHiFrvation    Conservation
                                        2 High                                                                 2 High
                                                     2 Moderate            2 High            2 High                             4 High
                                      1 Moderate                                                            2 Moderate
              Resiliency                             2 Very Low             2 Low          2 Moderate                           2 Low
                                         1 Low                                                                 2 Low
                                                     2 Extirpated        2 Extirpated      2Extirpated
                                      2 Extirpated I
                                           4              4                   4                4
              Redundancy                             I
                                      ecosystems, ecosystems,            ecosystems,      ecosystems,       ecosystems,      ecosystems,

                                       distributed   I   distributed      distributed      distributed       distributed      distributed
                                       Ecological
                                        diversity
                                                     I   Ecological
                                                          diversity
                                                                          Ecological
                                                                           diversity
                                                                                           Ecological
                                                                                            diversity
                                                                                                            Ecological
                                                                                                             diversity
                                                                                                                              Ecological
                                                                                                                               diversity
              Representation            across 4          across 4         across 4         across 4         across 6          across 6
                                       ecosystems    I   ecosystems       ecosystems       ecosystems       ecosystems        ecosystems




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                                                                                                                                                                  Future Scenario 3
              Current Condition
                                                                                                                                                                  Continuation of Consent/ation
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               Future Scenario 1                                                                                                                                   Future Scenario 2
               Significantly Decreased Conservation                                                                                                                Decreased Conservation

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                 Future Scenario 4                                                                                                                                    Future Scenario 5
                 Increased Conservation                                                                                                                               Significantly Increased Conservation

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            Fzgure 37. Current and future (30 to 45 years) condmonsfor reszlzency, redundancy, and representatzon for grzzzly bear zn the lower-
            48 States.



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             Appendix A: Grizzly Bear Secure Core/Habitat Analysis for the San Juan
             and Sierra Nevada Mountains' Historical Range

              Lara Juliusson, USFWS Ecological Services R6 Regional Office, Classification and Recovery
                                                        and
              Jennifer K. Fortin-Noreus, USFWS Ecological Services R6, Grizzly Bear Recovery Program
                                                December 17, 2020

             /ntroduct/bn and Goa/5

            This document describes the process and data used to analyze secure core for grizzly bears
            within historical range, as well as the results of that analysis. We first analyzed secure core for
            Federal, State, and Tribal lands within mapped historical grizzly bear range circa 1850 (Mattson
            and Merrill 2002). The largest area of secure core within grizzly bear historical range outside of
            the six ecosystems (NCDE, GYE, CYE, SE, BE, and North Cascades) is the Sierra Nevada
            Mountain Range in California (Figure l). We also analyzed habitat security for the San Juan
            Mountains because of the Recovery Plan recommendation to do so (Service 1993). This
            document describes the process and data used to further analyze secure core/habitat within the
            San Juan and Sierra Nevada Mountains' historical range, as well as the results of that analysis.
            We report secure core using the definition from the Northern Continental Divide Ecosystem and
            secure habitat using the definition from the Greater Yellowstone Ecosystem. We report secure
            core as the percentage of federal, state, or tribal lands within the analysis area with no motorized
            routes, more than 500 meters from an open or gated motorized route, and at least 2,500 acres in
            size. In addition, we report secure habitat as the percentage of federal, state, or tribal lands
            within the analysis area with no motorized routes, more than 500 meters from an open or gated
            motorized route, and at least 10 acres in size. We lacked data for high-use trails in the San Juan
            and Sierra Nevada Mountains to analyze core areas as defined for the Cabinet-Yaak, Selkirk, and
            North Cascades Ecosystems.




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            Figure I. Secure core for the western United States.


            G/5 Layers Used'
            This section describes the best available GIS data used in this analysis.

            Su/face Ma nageme/#Agency

            Surface management agency (SMA) is authoritative spatial data from the Bureau of Land
            Management (BLM) representing land management across the U.S. We acquired the latest SMA
            from BLM, published 2017-11-03. As this layer has been known to include significant area
            overlaps, which can lead to double counting, we performed a quality control test within the areas
            of the San Juan and Sierra Nevada Mountains and found that overlaps were negligible.

            San Juan Moun to ins Historical Ra nge A no /ysis Area

            An initial challenge to conducting this analysis was describing an analysis area for the San Juan
            Mountains, which has no official mapped boundary. To do this, we began by selecting the U.S.
            Forest Service (USFS) San Juan National Forest (NF) polygon in the BLM's SMA layer, and
            then moved outward from this polygon and selected contiguous Federal lands. We used mapped
            mountain peaks described on Wikipedia as being within the San Juan Mountains to help
            delineate where the San Juan Mountains end. We used the extent of the selected polygons as a
            boundary, and limited the northern and southern USFS extent by stopping the area into the Rio
            Grande NF on the north at U.S. Highway 50 and by stopping the area into the Santa Fe NF on the
            south at U.S. Highway 64. Both U.S. 50 and U.S. 64 in these National Forests were included in

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            the analysis. We left all non-Federal lands found within the analysis area on edges and
            interstitial to Federal lands. Federally managed lands within the San Juan Mountains' historical
            range are made up of BLM, USFS, and U.S. Bureau of Reclamation (USBR) lands.

            Sierra Ne va do Mountai/75 HL<>'torica/ Range Ana/ys/Ls' Area


            We were able to locate an official analysis area for the Sierra Nevada Mountains defined as part
            of the USFS's EcoMap project
            (https://data.fs.usda.gov/geodata/edw/datasets.php?xmlKeyword=Ecomap). We reviewed this
            area in relation to the historical range of the grizzly bear, and concluded that the boundaries of
            the region that the USFS defined were appropriate for use as an analysis area. Federally
            managed lands within the Sierra Nevada Mountains' historical range are made up of BLM,
            USFS, National Park Service (NPS), U.S. Bureau of Reclamation (USBR), U.S. Fish and
            Wildlife Service (USFWS), and Department of Defense (DOD) lands.

             Roads

            We used road and trails data from the U.S. Census Bureau TIGER 2018 All Roads line file
            (https://www2.census.gov/geo/tiger/TGRGDBl8/tlgdb_20l8_a_us_roads.gdb.zip). These data
            include the best available data from a federal data steward. The All Roads line file includes all
            primary, secondary, local neighborhood, and rural roads, city streets, vehicular trails (4wd),
            ramps, service drives, alleys, parking lot roads, private roads for service vehicles (logging, oil
            fields, ranches, etc.), bike paths or trails, bridle/horse paths, walkways/pedestrian trails, and
            stairways. We selected the following road types from the data for use in secure core analysis
            using the codes MTFCC IN ( '81100' 7 'Sl200' 7 'Sl400' 7 'Sl500' 7 'Sl630' 7 'Sl640' 7 'Sl730' 7
            'Sl740', 'Sl780' ).
                 • Alley
                 .   Local neighborhood road, rural road, city street
                 .   Parking lot road
                 • Primary road
                 • Private road for service vehicles (logging, oil fields, ranches, etc.)
                 • Ramp
                 • Secondary road
                 • Service drive usually along a limited access highway
                 • Vehicular trail (4WD)

             Popu/a son Density by 8/ock


            The best available data for population density at a census block level is based en the 2010
            census. We pulled these data from the Census Bureau, and joined it to the
            tlgdb_20l5_a_us_block layer available at
            https://www2.census.gov/gee/tiger/TGRGDB18/tlgdb 2018 a us block.gdb.zip. We then
            calculated persons per square km for each block.




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             BLM and USFS Sheep Allotments

            The U.S. Forest Service makes their range allotment data available nationally. We downloaded
            the June 2018 update of this layer (https://catalog.data.gov/dataset/range-allotment-feature-
            layer). The field "Sheep" in the layer describes if a particular allotment is allotted for sheep
            grazing. BLM also makes their allotment data available nationally
            (https://gis.blm.gov/EGISDownload/LayerPackages/BLM_National_Grazing_Allotments.zip)
            and we downloaded the November 2018 update of this layer. Unfortunately, BLM does not
            provide information on grazing type in these data, so we used the BLM's online RAS system
            (https://reports.blm.gov/reports/RAS/) to pull sheep grazing data for all of the field offices and
            populate a new field called "RAS_AuthUse20190510" in the BLM allotment data to indicate if a
            specific allotment was allotted for sheep. We then merged the USFS and BLM sheep allotment
            data and dissolved to remove overlaps (BLM_USFS_Sheep_Allotments_SNMtns_dis and
            BLM_USFS_Sheep_Allotments_SJMtns_dis).

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            Secure Core and Secure Habitat Ca/cu/a sons

            Grizzly bear secure core and secure habitat analyses utilizes a buffering process to determine
            contiguous areas that are a distance of greater than 500 meters away from roads. Secure core are
            core areas managed as federal, tribal, or state lands that are at least 2,500 acres in size. Secure
            habitat are core areas managed as federal, tribal, or state lands that are at least 10 acres in size.
            We also wanted to understand the amount of area within these secure core/habitat areas that were
            authorized for sheep grazing by BLM or the USFS, or were in areas with populations greater
            than 50 persons per kilometer within census blocks. We used the following process to calculate
            secure core in the western U.S.

                   We clipped the roads and BLM surface management layers to the western U.S.
                   (RoadsClpWesternStatesAlbSubset)
                   Because of the large size of this data set and processing limitations, we split it into four
                   parts and then buffered each line file by 500 meters and dissolved the results .
                       O Final_FinalRoadsBuff500_Partl_dis
                       O Final_FinalRoadsBuff500_Part2_dis
                       O Final_FinalRoadsBuff500_Part3_dis
                       O Final_FinalRoadsBuff500_Part4_dis
                   We then unioned the four files together with a polygon file representing all areas in the
                   western U.S. Prior to this step and then coded a field called "Core" with "Non Core" for
                   the road buffers, and "Core" for the western states. This created a polygon file with
                   information about which polygons were made up non core area and which were made up
                   core area based on distance from roads. We then added a field called "Final Core" and
                   assigned all polygons a designation of core or non core based on the original "Core"
                   fields (WestwideSecureCore).
                   To further speed processing, we clipped the Westwide core layer (WestwideSecureCore),
                   the BLM surface management layer, the density per square km by block layer, and the


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                   BLM and USFS sheep allotments layers to the San Juan and Sierra Nevada Mountains
                   analysis area layers.
                   We then unioned the core layers for each analysis area to the BLM surface management
                   layer and calculated a new field called "ManagementCore" indicating those areas that
                   were federal, state, or tribal areas or not. Using this field and the "Final Core" field we
                   lastly calculated a field called "CoreByMgmt", which allowed us to code for core
                   managed by federal, state, or tribal agencies (federally managed core), core not managed
                   by these agencies (non federally managed core), and non core
                       O SanJuanMtnsStudyArea and
                       O SierraNevadaMtnsStudyArea
                   We next dissolved on the "CoreByMgmt" field (without multipart features checked). We
                   then recalculated acres and added a new field called "FinalSecCore" to calculate
                   contiguous acreages of secure core (federal, state and tribal lands with core >= 2,500
                   acres in size) and secure habitat (federal, state and tribal lands with core >= 10 acres in
                   size)
                       o SanJuanMtnsStudyAreaDis_20201006
                       O SierraNevadaMtnsStudyAreaDis_20201006
                   Finally, we unioned these layers with the population per square kilometer by block, sheep
                   allotment, and BLM surface management layers and recalculated acreages to create
                   tabular output that could be used in a pivot table to summarize the findings of the analysis
                       O SanJuanMtnsStudyArea_Final20201006 and
                           SanJuanMtnsStudyArea_Final2020l006.XLSX
                       O SierraNevadaMtnsStudyArea_Final20201006 and
                           SierraNevadaMtnsStudyArea_Final2020l006.XLSX

             Results

            Secure Core Acreages and Maps for the San Juan Mountains

            The tables and maps below show the breakdown of acres of secure core and non secure core
            areas for the San Juan historical range analysis area. These areas are also tabulated by surface
            management, within sheep allotments, and by census blocks with a population of 50 or more
            people per square mile.




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            Table I. San Juan Mountains Historical Range; Habitat areas by surface management.


                                     San Juan Mountains Historical Range
                                     Habitat    Acres    Percent Analysis Area
                                   Secure Core           3,447,488                  52.62
                                            Federal      3,381,062                  51.61
                                 State Government          40,594                    0.62
                                       Tribal Lands        25,832                    0.39
                                Non Secure Core          3,103,845                  47.38
                                            Federal      1,812,869                  27.67
                                 Local Government          33,102                    0.51
                                            Private      1,171,934                  17.89
                                 State Government          50,226                    0.77
                                       Tribal Lands        35,714                    0.55
                                Total Analysis Area      6,551,333

            Table 2. San Juan Mountains Historical Range; Habitat area within BLM or USFS sheep allotments.


                                      San Juan Mountains Historical Range



                    Habitat within Sheep Allotments                    Acres       Percent Analysis Area
                                   Secure Core                       281,795                     4.30
                                 Non Secure Core                     177,639                     2.71

            Table 3. San Juan Mountains Historical Range; Habitat areas with population of50 or more people per square
            mile.


                                      San Juan Mountains Historical Range

                       Habitat with Population >= 50
                             people / sq- mile                         Acres      Percent Analysis Area
                                    Secure Core                            38                               0.001
                                  Non Secure Core                      32,765                               0.500




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                   San Juan Mtns.
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                                                                                        Sources: SMA. BLM. 2017. USFS Allotments. 2018. BLM
                   Non Secure Core
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            Figure 2. San Juan Mountains secure core and surface management.




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                               Population >= 50                                                BLM/USFS Sheep
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                               Non Secure Core                                                 Non Secure Core
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            Figure 3. San Juan Mountains high population and sheep allotments in secure core and non secure core areas.




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            Secure Ha bits t Acreages and Maps for the San Juan Mountains

            The tables and maps below show the breakdown of acres of secure habitat and non secure habitat
            areas for the San Juan historical range analysis area. These areas are also tabulated by surface
            management, within sheep allotments, and by census blocks with a population of 50 or more
            people per square mile.

            Table 4. San Juan Mountains Historical Range; Habitat areas by surface management.


                                      San Juan Mountains Historical Range
                                     Habitat              Acres         Percent Analysis Area
                                 Secure Habitat     3,677,890                      56.14
                                            Federal 3,595,912                      54.89
                                 State Government     48,958                        0.75
                                       Tribal Lands   33,020                        0.50
                               Non Secure Habitat 2,873,440                        43.86
                                           Federal 1,598,017                       24.39
                                Local Government     33,103                         0.51
                                           Private 1,171,933                       17.89
                                State Government     41,862                         0.64
                                      Tribal Lands   28,526                         0.44
                               Total Analysis Area      6,551,330

            Table 5. San Juan Mountains Historical Range; Habitat area within BLM or USFS sheep allotments.


                                      San Juan Mountains Historical Range
                    Habitat within Sheep Allotments                    Acres       Percent Analysis Area
                                 Secure Habitat                      302,989                     4.62
                               Non Secure Habitat                    156,445                     2.39

            Table 6. San Juan Mountains Historical Range; Habitat areas with population of50 or more people per square
            mile.


                                      San Juan Mountains Historical Range
                       Habitat with Population >= 50
                             people / sq- mile                         Acres      Percent Analysis Area
                                  Secure Habitat                          169                                 0.003
                                Non Secure Habitat                     32,634                                 0.501




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            Figure 4. San Juan Mountains secure habitat and surface management.


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            Figure 5. San Juan Mountains high population and sheep allotments in secure habitat and non secure habitat
            areas.




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            Secure Core Acreages and Maps for the Sierra Ne va do Mountains

            The tables and maps below show the breakdown of acres of secure core and non secure core
            (including areas not 500 m from an open or gated motorized route and "core, non secure," areas
            that are greater than 500 m from an open or gated motorized route but are not 2,500 acres in size)
            for the Sierra Nevada historical range analysis area. These areas are also tabulated by surface
            management, within sheep allotments, and by census blocks with a population of 50 or more
            people per square mile.

            Table 7. Sierra Nevada Mountains Historical Range; Habitat areas by surface management.


                                  Sierra Nevada Mountains Historical Range
                                      Habitat               Acres       Percent Analysis Area
                                   Secure Core            5,591,258             43.07
                                            Federal      5,566,680                  42.88
                                 State Government          15,382                    0.12
                                       Tribal Lands         9,196                    0.07
                                 Non Secure Core         7,389,539                  56.93
                                            Federal      4,158,418                  32.04
                                 Local Government          40,667                    0.31
                                            Private      3,106,631                  23.93
                                 State Government          66,771                    0.51
                                       Tribal Lands        17,052                    0.13
                                Total Analysis Area      12,980,797

            Table 8. Sierra Nevada Mountains Historical Range; Habitat area within BLM or USFS sheep allotments.


                                  Sierra Nevada Mountains Historical Range
                 Habitat within Sheep Allotments                   Acres          Percent Analysis Area
                                Secure Core                       117,084                      0.90
                              Non Secure Core                     264,280                      2.04

            Table 9. Sierra Nevada Mountains Historical Range; Habitat areas with population of50 or more people per
            square mile.


                                  Sierra Nevada Mountains Historical Range
                   Habitat with Population >= 50
                         people / sq- mile                        Acres           Percent Analysis Area
                                Secure Core                        525                       0.004
                              Non Secure Core                    314,090                      2.42



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            Figure 6. Sierra Nevada Mountains secure core and surface management.

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            Figure 7. Sierra Nevada Mountains high population and sheep allotments in secure core and non secure core
            areas.




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            Secure Ha bitatAcreages and Maps for the Sierra Ne va do Mountains

            The tables and maps below show the breakdown of acres of secure habitat and non secure habitat
            (including areas not 500 m from an open or gated motorized route and "core, non secure," areas
            that are greater than 500 m from an open or gated motorized route but are not 10 acres in size)
            for the Sierra Nevada historical range analysis area. These areas are also tabulated by surface
            management, within sheep allotments, and by census blocks with a population of 50 or more
            people per square mile.

            Table 10. Sierra Nevada Mountains Historical Range; Habitat areas by surface management.


                                  Sierra Nevada Mountains Historical Range
                                      Habitat               Acres       Percent Analysis Area
                                 Secure Habitat           6,134,441                 47.26
                                           Federal        6,098,860                 46.98
                                State Government            24,333                   0.19
                                      Tribal Lands         11,248                    0.09
                               Non Secure Habitat         6,846,355                 52.74
                                           Federal        3,626,236                 27.94
                                Local Government            40,667                   0.31
                                           Private        3,106,631                 23.93
                                State Government            57,820                   0.45
                                      Tribal Lands         15,000                    0.12
                                Total Analysis Area      12,980,796

            Table II. Sierra Nevada Mountains Historical Range; Habitat area within BLM or USFS sheep allotments.


                                  Sierra Nevada Mountains Historical Range
                 Habitat within Sheep Allotments                   Acres          Percent Analysis Area
                               Secure Habitat                    151,007                   1.16
                             Non Secure Habitat                  230,357                   1.77

            Table 12. Sierra Nevada Mountains Historical Range; Habitat areas with population of50 or more people per
            square mile.


                                  Sierra Nevada Mountains Historical Range
                   Habitat with Population >= 50
                         people / sq- mile                        Acres           Percent Analysis Area
                               Secure Habitat                    1,1510                    0.01
                             Non Secure Habitat                  313,105                   2.41



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            Figure 8. Sierra Nevada Mountains secure habitat and surface management.


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            Figure 9. Sierra Nevada Mountains high population and sheep allotments in secure habitat and non secure habitat
            areas.



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